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                        UNITED STATES COURT OF APPEALS
                             FOR THE FIRST CIRCUIT

                                  NO. 24-1386
       _________________________________________________________________

                                  UNITED STATES,
                                    APPELLEE

                                           v.

                             MICHAEL FRANCIS,
                          DEFENDANT - APPELLANT
      __________________________________________________________________

             ON APPEAL FROM A JUDGMENT OF THE UNITED STATES
            DISTRICT COURT FOR THE DISTRICT OF NEW HAMPSHIRE
       _________________________________________________________________

                               JOINT APPENDIX
      __________________________________________________________________

                                                     Richard Guerriero
                                                     1st Circuit Bar ID 1164673
                                                     Oliver Bloom
                                                     1st Circuit Bar ID 1211240
                                                     Lothstein Guerriero, PLLC
                                                     39 Central Square, Suite 202
                                                     Keene, NH 03431
                                                     (603) 352-5000
                                                     richard@nhdefender.com
                                                     oliver@nhdefender.com
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                                                                  USNHD    4 CM/ECF
                                                                        Live     Date   Filed:
                                                                                    - U.S. District 09/06/2024
                                                                                                    Court        Entry ID: 6665919
                                                                                                    APPEAL,CLOSED,FILE,PRIOR

                                              U.S. District Court
                                    District of New Hampshire (Concord)
                             CRIMINAL DOCKET FOR CASE #: 1:21-cr-00153-PB-1


  Case title: USA v. Francis                                                           Date Filed: 09/13/2021

  Magistrate judge case number: 1:21-mj-00226-DL                                       Date Terminated: 04/10/2024


  Assigned to: Judge Paul J. Barbadoro
  Appeals court case number: 24-1386 First
  Circuit Court of Appeals

  Defendant (1)
  Michael Francis                                                        represented by Richard Guerriero
  TERMINATED: 04/10/2024                                                                Lothstein Guerriero
                                                                                        39 Central Sq, Ste 202
                                                                                        Keene, NH 03431
                                                                                        603 352-5000
                                                                                        Email: richard@nhdefender.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        Designation: CJA Appointment

                                                                                       Behzad Mirhashem (FPD)
                                                                                       Federal Defender's Office
                                                                                       The Ralph Pill Bldg
                                                                                       22 Bridge St
                                                                                       Concord, NH 03301
                                                                                       603 226-7360
                                                                                       Email: behzad_mirhashem@fd.org
                                                                                       TERMINATED: 01/19/2022
                                                                                       Designation: Public Defender or
                                                                                       Community Defender Appointment

                                                                                       Nicholas C. Howie
                                                                                       Howie Law Office
                                                                                       One Stiles Rd, Ste 103
                                                                                       Salem, NH 03079
                                                                                       603 893-8008
                                                                                       Email: nhowieesq@hotmail.com
                                                                                       TERMINATED: 03/15/2022
                                                                                       Designation: CJA Appointment

  Pending Counts                                                                       Disposition

                                                          JOINT APPENDIX 1


https://ecf.nhd.uscourts.gov/cgi-bin/DktRpt.pl?946141838014441-L_1_0-1                                                          1/19
  Case:
9/5/24, 2:11 24-1386
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                                                                        Live     Date   Filed:
                                                                                    - U.S. District 09/06/2024
                                                                                                    Court        Entry ID: 6665919
  21 U.S.C. §§ 841(a)(1) & 841(b)(1)(B)(ii)                                            Defendant to be imprisoned for a term of
  Possession with Intent to Distribute 500                                             150 months. 4 years Supervised Release
  Grams or More of Cocaine                                                             with mandatory, standard and special
  (2s)                                                                                 conditions. $100.00 Special Assessment.

  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                                                    Disposition
  18 U.S.C. §§ 922(g)(1), 924(a)(2)
  Possession of a Firearm by a Prohibited
                                                                                       Dismissed.
  Person
  (1)
  21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)(ii) and
  846 Conspiracy to distribute and Possess
  with Intent to Distribute 500 Grams or More                                          Dismissed.
  of Cocaine
  (1s)
  21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(vi) &
  841(b)(1)(A)(vii) Possession with Intent to
  Distribute 400 Grams or More of Fentanyl                                             Dismissed upon unopposed Oral Motion of
  and 50 Grams or More of                                                              the United States.
  Methamphetamine
  (3s)
  18 U.S.C. §§ 922(g)(1) & 924(a)(2)
  Possession of Firearms and Ammunition by                                             Dismissed upon unopposed Oral Motion of
  a Prohibited Person                                                                  the United States.
  (4s)
  18 U.S.C. § 924(c)(1)(A)(i) Possession of
  Firearms in Furtherance of a Drug                                                    Dismissed upon unopposed Oral Motion of
  Trafficking Crime                                                                    the United States.
  (5s)

  Highest Offense Level (Terminated)
  Felony

  Complaints                                                                           Disposition
  18 U.S.C. 922(g)(1) FELON IN
  POSSESSION OF A FIREARM



  Plaintiff
  USA                                                                    represented by Charles L. Rombeau
                                                                                        US Attorney's Office (NH)
                                                                                        James C Cleveland Federal Bldg
                                                          JOINT APPENDIX 2


https://ecf.nhd.uscourts.gov/cgi-bin/DktRpt.pl?946141838014441-L_1_0-1                                                            2/19
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                                                                                                    Court        Entry ID: 6665919
                                                                                       53 Pleasant St, 4th Flr
                                                                                       Concord, NH 03301
                                                                                       603 225-1552
                                                                                       Fax: 603 225-1470
                                                                                       Email: charles.rombeau@usdoj.gov
                                                                                       TERMINATED: 10/26/2023
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED
                                                                                       Designation: Retained

                                                                                       Aaron G. Gingrande
                                                                                       DOJ-USAO
                                                                                       MA
                                                                                       53 Pleasant St.
                                                                                       Concord, NH 02199
                                                                                       603-230-2504
                                                                                       Email: aaron.gingrande@usdoj.gov
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Jarad Hodes
                                                                                       US Attorney's Office (NH)
                                                                                       James C Cleveland Federal Bldg
                                                                                       53 Pleasant St, 4th Flr
                                                                                       Concord, NH 03301
                                                                                       603 225-1552
                                                                                       Email: jarad.hodes@usdoj.gov
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Joachim H. Barth
                                                                                       US Attorney's Office (NH)
                                                                                       James C Cleveland Federal Bldg
                                                                                       53 Pleasant St, 4th Flr
                                                                                       Concord, NH 03301
                                                                                       603 225-1552
                                                                                       Email: joachim.barth@usdoj.gov
                                                                                       TERMINATED: 10/17/2022
                                                                                       Designation: Assistant US Attorney


   Date Filed             #     Docket Text
   09/03/2021              1 COMPLAINT signed by Magistrate Judge Daniel J. Lynch as to Michael Francis
                             (1). (Attachments: # 1 Redacted Affidavit) Original document available in clerks
                             office.(kad) [1:21-mj-00226-DL] (Entered: 09/03/2021)
   09/03/2021                   Arrest Warrant Issued as to Michael Francis by Magistrate Judge Daniel J. Lynch.
                                Original warrant and copies to US Marshal and US Probation.(kad) [1:21-mj-00226-DL]
                                (Entered: 09/03/2021)
   09/07/2021                   Arrest of Michael Francis.(kad) [1:21-mj-00226-DL] (Entered: 09/07/2021)
   09/07/2021                   NOTICE OF HEARING as to Michael Francis. Initial Appearance set for 9/7/2021 01:30
                                PM before Magistrate Judge Andrea K. Johnstone. (kad) [1:21-mj-00226-DL] (Entered:
                                                          JOINT APPENDIX 3


https://ecf.nhd.uscourts.gov/cgi-bin/DktRpt.pl?946141838014441-L_1_0-1                                                          3/19
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                                                                                    - U.S. District 09/06/2024
                                                                                                    Court        Entry ID: 6665919
                             09/07/2021)
   09/07/2021              3 MOTION to Appoint Counsel with Financial Declaration by Michael Francis.
                             (Attachments: # 1 Financial Affidavit) Document available in clerks office. (kad) [1:21-
                             mj-00226-DL] (Entered: 09/07/2021)
   09/07/2021                   ENDORSED ORDER approving 3 Motion to Appoint Counsel. Behzad Mirhashem
                                appointed in the case as to Michael Francis (1). Text of Order: Request approved.
                                Appoint counsel. So Ordered by Magistrate Judge Andrea K. Johnstone. (kad) [1:21-
                                mj-00226-DL] (Entered: 09/07/2021)
   09/07/2021                   Minute Entry for proceedings held before Magistrate Judge Andrea K. Johnstone:
                                INITIAL APPEARANCE as to Michael Francis held on 9/7/2021. Court approves
                                financial affidavit. Defendant advised of rights & charges. Prosecutor's Brady disclosure
                                obligations confirmed. Defendant stipulated to detention without prejudice. PC hearing
                                scheduled for 9/16/2021 at 2:00 p.m. by video and video consent form executed. (Tape
                                #1:37) (Govt Atty: Joachim Barth) (Defts Atty: Behzad Mirhashem) (USP: Karin Hess)
                                (Total Hearing Time: 8 min.) (kad) [1:21-mj-00226-DL] (Entered: 09/07/2021)
   09/07/2021              4 STIPULATION TO DETENTION and WAIVER of Detention Hearing without prejudice
                             as to Michael Francis. Approved by Magistrate Judge Andrea K. Johnstone. (kad) [1:21-
                             mj-00226-DL] (Entered: 09/07/2021)
   09/07/2021                   ENDORSED ORDER as to Michael Francis: Pursuant to FRCrP 5. In compliance
                                with the Due Process Protections Act, the court issues the following Order:
                                Consistent with Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, the United
                                States is ordered to disclose all exculpatory information, in a timely manner, to the
                                defendant. This information includes, but is not limited to, evidence that is material
                                and is favorable to the accused. The failure to discharge this obligation may result in
                                consequences, including the reversal of any conviction, exclusion of evidence,
                                adverse jury instructions, dismissal of charges, contempt proceedings and/or
                                sanctions by the court. So Ordered by Magistrate Judge Andrea K. Johnstone. (kad)
                                [1:21-mj-00226-DL] (Entered: 09/07/2021)
   09/07/2021                   NOTICE OF HEARING as to Michael Francis. Show Cause Hearing re: Indictment and
                                compliance with 18:3161(b) is set for 10/8/2021 09:00 AM before Magistrate Judge
                                Andrea K. Johnstone. HEARING WILL NOT BE NECESSARY IF MOTION TO
                                EXTEND GRANTED OR INDICTMENT RETURNED PRIOR TO HEARING DATE.
                                (kad) [1:21-mj-00226-DL] (Entered: 09/07/2021)
   09/07/2021                   NOTICE OF HEARING as to Michael Francis. Preliminary Hearing via Video set for
                                9/16/2021 02:00 PM before Magistrate Judge Andrea K. Johnstone. (kad) [1:21-mj-
                                00226-DL] (Entered: 09/07/2021)
   09/07/2021              5 Consent to Video/Telephonic Conference and Waiver of Right to Appear in Person for
                             Preliminary Hearing Fed. R. Crim. P. 5.1, as to Michael Francis. (kad) [1:21-mj-00226-
                             DL] (Entered: 09/07/2021)
   09/07/2021                   ENDORSED ORDER as to Michael Francis approving 5 Consent to
                                Video/Telephonic Conference Waiver to Appear in Person. Text of Order:
                                APPROVED. So Ordered by Magistrate Judge Andrea K. Johnstone. (kad) [1:21-mj-
                                00226-DL] (Entered: 09/07/2021)



                                                          JOINT APPENDIX 4


https://ecf.nhd.uscourts.gov/cgi-bin/DktRpt.pl?946141838014441-L_1_0-1                                                          4/19
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                                                                                    - U.S. District 09/06/2024
                                                                                                    Court        Entry ID: 6665919
   09/10/2021              6 Arrest Warrant Returned Executed as to Michael Francis.(bt) [1:21-mj-00226-DL]
                             (Entered: 09/10/2021)
   09/13/2021              7 INDICTMENT as to Michael Francis (1) count 1 with Notice of Forfeiture. Original
                             document available in clerk's office.(ko) Modified on 9/15/2021 to add: Forfeiture
                             text(ko). (Entered: 09/14/2021)
   09/13/2021              9 Praecipe for Warrant by USA as to Michael Francis. (ko) (Entered: 09/14/2021)
   09/14/2021                   Arrest Warrant Issued as to Michael Francis. Original warrant and copies to US Marshal
                                and US Probation.(ko) (Entered: 09/14/2021)
   09/15/2021                   NOTICE OF HEARING as to Michael Francis. Arraignment via video set for 9/27/2021
                                02:00 PM before Magistrate Judge Andrea K. Johnstone. (bt) (Entered: 09/15/2021)
   09/20/2021             10 Arrest Warrant Returned Unexecuted as to Michael Francis.(lw) (Entered: 09/20/2021)
   09/22/2021             11 Assented to MOTION to Continue arraignment by Michael Francis. (Mirhashem (FPD),
                             Behzad) (Entered: 09/22/2021)
   09/23/2021                   ENDORSED ORDER granting: 11 Assented to MOTION to Continue arraignment
                                as to Michael Francis (1). Text of Order: Granted So Ordered by Magistrate Judge
                                Andrea K. Johnstone. Arraignment via video set for 10/6/2021 02:00 PM before
                                Magistrate Judge Andrea K. Johnstone. (bt) (Entered: 09/23/2021)
   09/28/2021             12 WAIVER of Personal Appearance at Arraignment and Entry of Plea of Not Guilty by
                             Michael Francis. (bt) (Entered: 09/29/2021)
   09/29/2021                   ENDORSED ORDER approving: 12 Waiver of Presence at Arraignment as to
                                Michael Francis. Text of Order: Approved So Ordered by Magistrate Judge Andrea
                                K. Johnstone. (bt) (Entered: 09/29/2021)
   09/29/2021                   TRIAL NOTICE: Final Pretrial Conference set for 10/27/2021 04:30 PM before Judge
                                Steven J. McAuliffe. JERS Statement due 11/2/2021. Jury Selection/Trial set for two
                                week period beginning 11/9/2021 09:30 AM before Judge Steven J. McAuliffe. (lw)
                                (Entered: 09/29/2021)
   09/29/2021                   ENDORSED ORDER - This case is scheduled for trial in November. Unless the case
                                has been continued by 10/8/2021, counsel shall file a Joint Trial Status Report on or
                                before that date. Counsel shall meet and confer, and defense counsel shall confer
                                with the defendant, prior to making any submission pursuant to this order. The
                                information provided in the Joint Trial Status report will be used to assist in
                                scheduling the case.
                                The court is no longer using a monthly priority list for trial scheduling. The court
                                anticipates scheduling this for trial in its two-week trial period.
                                So Ordered by Judge Steven J. McAuliffe. (lw) (Entered: 09/29/2021)
   10/01/2021             13 NOTICE OF ATTORNEY APPEARANCE Aaron G. Gingrande appearing for USA.
                             Attorney Aaron G. Gingrande added to party USA(pty:pla).(Gingrande, Aaron) (Entered:
                             10/01/2021)
   10/01/2021             14 Assented to MOTION to Continue Trial for 60 days (Waiver of Speedy Trial to be filed
                             conventionally) by Michael Francis. (Mirhashem (FPD), Behzad) (Entered: 10/01/2021)
   10/04/2021             15 ORDER granting 14 Assented to Motion to Continue Trial in the interest of justice
                             as to Michael Francis (1). Final Pretrial Conference set for 1/5/2022 10:00 AM
                                                          JOINT APPENDIX 5


https://ecf.nhd.uscourts.gov/cgi-bin/DktRpt.pl?946141838014441-L_1_0-1                                                          5/19
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                                                                         - U.S. District 09/06/2024
                                                                                         Court      Entry ID: 6665919
                             before Judge Steven J. McAuliffe. JERS Statement due 1/12/2022. Jury
                             Selection/Trial set for two week period beginning 1/19/2022 09:30 AM before Judge
                             Steven J. McAuliffe. So Ordered by Judge Steven J. McAuliffe.(lw) (Entered:
                             10/05/2021)
   12/03/2021             16 Assented to MOTION to Continue Trial for 30 days (Waiver of Speedy Trial to be filed
                             conventionally) by Michael Francis. (Mirhashem (FPD), Behzad) (Entered: 12/03/2021)
   12/06/2021             17 ORDER granting 16 Assented to Motion to Continue Trial in the interest of justice
                             as to Michael Francis (1). Final Pretrial Conference set for 2/2/2022 03:00 PM before
                             Judge Steven J. McAuliffe. JERS Statement due 2/8/2022. Jury Selection/Trial set
                             for two week period beginning 2/15/2022 09:30 AM before Judge Steven J.
                             McAuliffe. So Ordered by Judge Steven J. McAuliffe.(lw) (Entered: 12/06/2021)
   12/13/2021             18 SUPERSEDING INDICTMENT as to Michael Francis (1) counts 1s, 2s, 3s, 4s, 5s.
                             With Notice of Forfeiture. Original document available in clerks office.(lw) (Entered:
                             12/14/2021)
   12/13/2021             20 Praecipe for Warrant by USA as to Michael Francis. (lw) (Entered: 12/14/2021)
   12/14/2021                   Arrest Warrant Issued as to Michael Francis. Original warrant and copies to US Marshal
                                and US Probation.(lw) (Entered: 12/14/2021)
   12/15/2021                   NOTICE OF HEARING as to Michael Francis. Arraignment (SUPERSEDING
                                INDICTMENT) set for 12/29/2021 11:00 AM before Magistrate Judge Andrea K.
                                Johnstone. (kad) (Entered: 12/15/2021)
   12/17/2021             21 Arrest Warrant Returned Unexecuted as to Michael Francis.(lw) (Entered: 12/21/2021)
   12/27/2021             22 WAIVER of Personal Appearance at Arraignment and Entry of Plea of Not Guilty by
                             Michael Francis. (kad) (Entered: 12/27/2021)
   12/27/2021                   ENDORSED ORDER as to Michael Francis approving 22 Waiver of Presence at
                                Arraignment. Text of Order: WAIVER APPROVED. So Ordered by Magistrate
                                Judge Daniel J. Lynch. (kad) (Entered: 12/27/2021)
   01/06/2022             23 Assented to MOTION for Behzad Mirhashem to Withdraw as Attorney by Michael
                             Francis. (Mirhashem (FPD), Behzad) (Entered: 01/06/2022)
   01/19/2022                   ENDORSED ORDER granting 23 Assented to Motion for Behzad Mirhashem to
                                Withdraw as Attorney as to Michael Francis (1). Text of Order: Granted, the clerk's
                                office shall appoint new counsel from the CJA panel. So Ordered by Judge Steven J.
                                McAuliffe. (lw) (Entered: 01/19/2022)
   01/19/2022                   NOTICE of Appointment of Counsel as to Michael Francis. Attorney Nicholas C. Howie
                                appointed in this case. Appointment accepted on January 19, 2022. (lw) (Entered:
                                01/19/2022)
   01/19/2022                   ENDORSED ORDER as to Michael Francis. Text of Order: To minimize potential
                                exposure to the COVID-19 Omicron Variant following holiday gatherings and travel,
                                jury selection scheduled for February 15, 2022 is rescheduled to March 15, 2022. The
                                time period of this continuance will be excluded under the Speedy Trial Act, 18 U.S.C.
                                § 3161(h)(7)(A) due to the public health considerations associated with conducting
                                criminal jury trials during the COVID-19 pandemic. The court finds that the ends of
                                justice served by ordering this short continuance outweighs the best interest of the
                                public and the defendants right to speedy trial. Within seven (7) days of the date this
                                                          JOINT APPENDIX 6


https://ecf.nhd.uscourts.gov/cgi-bin/DktRpt.pl?946141838014441-L_1_0-1                                                    6/19
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                                                                        Date
                                                                          - U.S.Filed:    09/06/2024
                                                                                 District Court      Entry ID: 6665919
                             order is docketed, if there exists an individualized concern not addressed by this order,
                             the defendant may file a motion for a determination regarding his or her rights under
                             the Speedy Trial Act, and the court will consider the ends of justice finding de novo. So
                             Ordered by Judge Steven J. McAuliffe. (lw) (Entered: 01/19/2022)
   01/19/2022                   Rescheduled Trial Notice: Final Pretrial Conference reset for 3/8/2022 03:00 PM before
                                Judge Steven J. McAuliffe. JERS Statement due 3/8/2022. Jury Selection/Trial reset for
                                two week period beginning 3/15/2022 09:30 AM before Judge Steven J. McAuliffe. (lw)
                                (Entered: 01/19/2022)
   01/20/2022             24 BILL OF PARTICULARS by USA as to Michael Francis (Gingrande, Aaron) (Entered:
                             01/20/2022)
   01/21/2022                   ENDORSED ORDER re: 24 Bill of Particulars as to Michael Francis. Text of Order:
                                Reviewed. So Ordered by Judge Steven J. McAuliffe. (lw) (Entered: 01/21/2022)
   02/02/2022             25 Assented to MOTION to Continue Trial 60 days (Waiver of Speedy Trial to be filed
                             conventionally) by Michael Francis. (Howie, Nicholas) (Entered: 02/02/2022)
   02/03/2022             26 ADDENDUM re: 25 Assented to MOTION to Continue Trial 60 days (Waiver of Speedy
                             Trial to be filed conventionally) by Michael Francis. (Howie, Nicholas) (Entered:
                             02/03/2022)
   02/05/2022             27 ORDER granting 25 Assented to Motion to Continue Trial in the interest of justice
                             as to Michael Francis (1). Final Pretrial Conference set for 5/3/2022 02:00 PM before
                             Judge Steven J. McAuliffe. JERS Statement due 5/10/2022. Jury Selection/Trial set
                             for two week period beginning 5/17/2022 09:30 AM before Judge Steven J.
                             McAuliffe. So Ordered by Judge Steven J. McAuliffe.(lw) (Entered: 02/07/2022)
   03/09/2022             28 REQUEST for Appointment of New Counsel by Michael Francis. (lw) (Entered:
                             03/09/2022)
   03/09/2022                   ENDORSED ORDER granting 28 Request for Appointment of New Counsel.
                                Richard Guerriero appointed as substitute counsel for Nicholas C. Howie in the
                                case. Assignment accepted on 3/15/2022. Appointment Nunc Pro Tunc to 3/9/2022.
                                Counsel withdrawing from the case shall submit a completed CJA-20 through the
                                CJA eVoucher system within 45 days from the date of substitution. The voucher will
                                be held until the disposition of the case. Should counsel have grounds to justify
                                payment prior to the final disposition of the case, such a request should be made as
                                part of the CJA-20 voucher submission in eVoucher as to Michael Francis (1). Text
                                of Order: Granted. Defendant is reminded that he is not entitled to multiple successive
                                counsel absent legitimate reasons. As this is a first request and Attorney Mirhashem
                                was conflicted out, the court will grant the motion. So Ordered by Judge Steven J.
                                McAuliffe. (lw) (Entered: 03/15/2022)
   04/18/2022             29 Assented to MOTION to Continue Trial For Approximately 90 Days by Michael Francis.
                             (Guerriero, Richard) (Entered: 04/18/2022)
   04/18/2022             30 ADDENDUM re: 29 Assented to MOTION to Continue Trial For Approximately 90
                             Days by Michael Francis. (Guerriero, Richard) (Entered: 04/18/2022)
   04/19/2022             31 ORDER granting 29 Assented to Motion to Continue Trial in the interest of justice
                             as to Michael Francis (1). Final Pretrial Conference set for 8/3/2022 02:00 PM before
                             Judge Steven J. McAuliffe. JERS Statement due 8/9/2022. Jury Selection/Trial set

                                                          JOINT APPENDIX 7


https://ecf.nhd.uscourts.gov/cgi-bin/DktRpt.pl?946141838014441-L_1_0-1                                                   7/19
 Case:
9/5/24, 2:1124-1386
             PM           Document: 00118186996 USNHD Page:Live
                                                             11CM/ECF
                                                                   Date
                                                                      - U.S.Filed:    09/06/2024
                                                                             District Court      Entry ID: 6665919
                             for two week period beginning 8/16/2022 09:30 AM before Judge Steven J.
                             McAuliffe. So Ordered by Judge Steven J. McAuliffe.(lw) (Entered: 04/19/2022)
   07/18/2022             32 Assented to MOTION to Continue Trial for 60 days by Michael Francis. (Guerriero,
                             Richard) (Entered: 07/18/2022)
   07/22/2022             33 ORDER granting 32 Assented to Motion to Continue Trial in the interest of justice
                             as to Michael Francis (1). Final Pretrial Conference set for 10/5/2022 02:00 PM
                             before Judge Steven J. McAuliffe. JERS Statement due 10/11/2022. Jury
                             Selection/Trial set for two week period beginning 10/18/2022 09:30 AM before Judge
                             Steven J. McAuliffe. So Ordered by Judge Steven J. McAuliffe.(lw) (Entered:
                             07/22/2022)
   09/20/2022                   TRIAL REMINDER: There is an upcoming trial in this case. Any Motion to Continue
                                shall be filed 1 week before the Final Pretrial Conference or the Final Pretrial will be held
                                as scheduled. (lw) (Entered: 09/20/2022)
   09/27/2022             34 MOTION to Suppress EVIDENCE SEIZED AS A RESULT OF THE WARRANTLESS
                             PROTECTIVE SWEEP OF UNIT 3 AT 231 THORNTON STREET by Michael Francis.
                             HEARING REQUESTED.Follow up on Objection on 10/11/2022. The court only
                             follow up date DOES NOT include 3 additional days that may apply per FRCP 6(d) and
                             FRCrP 45(c). Certain exhibit(s) maintained conventionally in Clerks Office.
                             (Attorney filers must submit conventional materials to the court within 72 hours.)
                             (Attachments: # 1 Exhibit A Skerry Report, # 2 Exhibit B Search Application and Search
                             Warrant, # 3 Exhibit C Report of Arrest, # 4 Exhibit D Report of Arrest, # 5 Exhibit E
                             Report of Evidence from Apartment, # 6 Exhibit F Report Describing Protective Sweep, #
                             7 Exhibit G Search Warrant Log) (Guerriero, Richard) (Additional attachment(s) added
                             on 9/27/2022: # 8 Exhibit H & I - Notice of Conventional Filing) (lw). (Entered:
                             09/27/2022)
   09/27/2022             35 MOTION to Suppress EVIDENCE SEIZED WHEN EXECUTING SEARCH
                             WARRANT FOR A WHITE HONDA ACCORD by Michael Francis. HEARING
                             REQUESTED.Follow up on Objection on 10/11/2022. The court only follow up date
                             DOES NOT include 3 additional days that may apply per FRCP 6(d) and FRCrP 45(c).
                             (Attachments: # 1 Exhibit A Report of Search of Honda, # 2 Exhibit B Return of Search
                             of Honda, # 3 Exhibit C Search Warrant and Affidavit for Honda) (Guerriero, Richard)
                             (Entered: 09/27/2022)
   09/27/2022             36 MOTION to Suppress DEFENDANTS STATEMENTS ON SEPTEMBER 7, 2021 by
                             Michael Francis. HEARING REQUESTED.Follow up on Objection on 10/11/2022. The
                             court only follow up date DOES NOT include 3 additional days that may apply per FRCP
                             6(d) and FRCrP 45(c). Certain exhibit(s) maintained conventionally in Clerks Office.
                             (Attorney filers must submit conventional materials to the court within 72 hours.)
                             (Attachments: # 1 Exhibit A Report of Arrest, # 2 Exhibit B Interrogation 2021-09-01, # 3
                             Exhibit C Interrogation 2021-09-07, # 4 Notice ECF D and E - Notice of Conventionally
                             Filed) (Guerriero, Richard) (Entered: 09/27/2022)
   09/27/2022             37 NOTICE of of Conventional Filing of Exhibits H and I to 34 MOTION to Suppress
                             EVIDENCE SEIZED AS A RESULT OF THE WARRANTLESS PROTECTIVE
                             SWEEP OF UNIT 3 AT 231 THORNTON STREET and Exhibits D and E to 36
                             MOTION to Suppress DEFENDANTS STATEMENTS ON SEPTEMBER 7, 2021, by
                             Michael Francis. (lw) (Entered: 09/28/2022)


                                                          JOINT APPENDIX 8


https://ecf.nhd.uscourts.gov/cgi-bin/DktRpt.pl?946141838014441-L_1_0-1                                                      8/19
 Case:
9/5/24, 2:1124-1386
             PM           Document: 00118186996                   Page:Live
                                                                  USNHD  12CM/ECF
                                                                               Date
                                                                                  - U.S.Filed:    09/06/2024
                                                                                         District Court        Entry ID: 6665919
   09/28/2022             38 Assented to MOTION to Continue Trial Until Ruling On Pending Suppression Motions,
                             At Least 45 Days by Michael Francis. (Attachments: # 1 Exhibit) (Guerriero, Richard)
                             (Entered: 09/28/2022)
   10/03/2022             39 ORDER granting 38 Assented to Motion to Continue Trial in the interest of justice
                             as to Michael Francis (1). Final Pretrial Conference set for 11/30/2022 04:00 PM
                             before Judge Steven J. McAuliffe. JERS Statement due 12/6/2022. Jury
                             Selection/Trial set for two week period beginning 12/13/2022 09:30 AM before Judge
                             Steven J. McAuliffe. So Ordered by Judge Steven J. McAuliffe.(lw) (Entered:
                             10/03/2022)
   10/06/2022             40 Assented to MOTION to Extend Time to Object/Respond to 36 MOTION to Suppress
                             DEFENDANTS STATEMENTS ON SEPTEMBER 7, 2021 , 35 MOTION to Suppress
                             EVIDENCE SEIZED WHEN EXECUTING SEARCH WARRANT FOR A WHITE
                             HONDA ACCORD , 34 MOTION to Suppress EVIDENCE SEIZED AS A RESULT OF
                             THE WARRANTLESS PROTECTIVE SWEEP OF UNIT 3 AT 231 THORNTON
                             STREET to October 25, 2022 by USA as to Michael Francis. (Gingrande, Aaron)
                             (Entered: 10/06/2022)
   10/07/2022                   ENDORSED ORDER granting 40 Assented to Motion to Extend Time to
                                Object/Respond as to Michael Francis (1). Text of Order: Granted. So Ordered by
                                Judge Steven J. McAuliffe. Follow up on Objection on 10/25/2022. (lw) (Entered:
                                10/07/2022)
   10/17/2022             41 Notice to Substitute Attorney. Added attorney Charles L. Rombeau. Attorney Joachim
                             Barth terminated. Attorney Charles L. Rombeau added to party USA(pty:pla).(Rombeau,
                             Charles) (Entered: 10/17/2022)
   10/25/2022             42 Assented to MOTION to Extend Time to Object/Respond to 36 MOTION to Suppress
                             DEFENDANTS STATEMENTS ON SEPTEMBER 7, 2021 , 35 MOTION to Suppress
                             EVIDENCE SEIZED WHEN EXECUTING SEARCH WARRANT FOR A WHITE
                             HONDA ACCORD , 34 MOTION to Suppress EVIDENCE SEIZED AS A RESULT OF
                             THE WARRANTLESS PROTECTIVE SWEEP OF UNIT 3 AT 231 THORNTON
                             STREET to October 31, 2022 by USA as to Michael Francis. (Gingrande, Aaron)
                             (Entered: 10/25/2022)
   10/28/2022             43 Assented to MOTION for Protective Order by USA as to Michael Francis. (Attachments:
                             # 1 Proposed Order) (Gingrande, Aaron) (Entered: 10/28/2022)
   10/28/2022                   ENDORSED ORDER granting 42 Assented to Motion to Extend Time to
                                Object/Respond as to Michael Francis (1). Text of Order: Granted. So Ordered by
                                Judge Steven J. McAuliffe. Follow up on Objection on 10/31/2022. (lw) (Entered:
                                10/31/2022)
   10/31/2022             44 RESPONSE to Motion by USA as to Michael Francis re 34 MOTION to Suppress
                             EVIDENCE SEIZED AS A RESULT OF THE WARRANTLESS PROTECTIVE
                             SWEEP OF UNIT 3 AT 231 THORNTON STREET . (Rombeau, Charles) (Entered:
                             10/31/2022)
   10/31/2022             45 RESPONSE to Motion by USA as to Michael Francis re 36 MOTION to Suppress
                             DEFENDANTS STATEMENTS ON SEPTEMBER 7, 2021 . (Rombeau, Charles)
                             (Entered: 10/31/2022)


                                                          JOINT APPENDIX 9


https://ecf.nhd.uscourts.gov/cgi-bin/DktRpt.pl?946141838014441-L_1_0-1                                                        9/19
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9/5/24, 2:1124-1386
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                                                                               Date
                                                                                  - U.S.Filed:    09/06/2024
                                                                                         District Court        Entry ID: 6665919
   10/31/2022             46 OBJECTION by USA as to Michael Francis re 35 MOTION to Suppress EVIDENCE
                             SEIZED WHEN EXECUTING SEARCH WARRANT FOR A WHITE HONDA
                             ACCORD . (Attachments: # 1 Exhibit Informant's Falsification of Physical Evidence
                             Conviction, # 2 Exhibit Affidavit of Parole Officer Benard)(Gingrande, Aaron) (Entered:
                             10/31/2022)
   11/03/2022             47 Assented to MOTION to Extend Time to Object/Respond to 46 Objection to Motion, 35
                             MOTION to Suppress EVIDENCE SEIZED WHEN EXECUTING SEARCH
                             WARRANT FOR A WHITE HONDA ACCORD to 11/11/2022 by Michael Francis.
                             (Guerriero, Richard) (Entered: 11/03/2022)
   11/04/2022                   ENDORSED ORDER granting 47 Assented to Motion to Extend Time to
                                Object/Respond as to Michael Francis (1). Text of Order: Granted. So Ordered by
                                Judge Steven J. McAuliffe. Follow up on Reply on 11/11/2022. (lw) (Entered:
                                11/04/2022)
   11/10/2022             48 Assented to MOTION to Extend Time Time to Reply to Objection Until 11/18/2022 by
                             Michael Francis. (Guerriero, Richard) (Entered: 11/10/2022)
   11/10/2022                   ENDORSED ORDER granting 48 Assented to Motion to Extend Time to Reply to
                                Objection Until 11/18/2022 as to Michael Francis (1). Text of Order: Granted. So
                                Ordered by Judge Steven J. McAuliffe. (lw) (Entered: 11/14/2022)
   11/10/2022                   ENDORSED ORDER granting 43 Assented to Motion for Protective Order as to
                                Michael Francis (1). Text of Order: Granted; the proposed order is adopted as an order
                                of the court. So Ordered by Judge Steven J. McAuliffe. (lw) (Entered: 11/14/2022)
   11/10/2022             49 PROTECTIVE ORDER as to Michael Francis. So Ordered by Judge Steven J.
                             McAuliffe. (lw) (Entered: 11/14/2022)
   11/14/2022                   TRIAL REMINDER: There is an upcoming trial in this case. Any Motion to Continue
                                shall be filed 1 week before the Final Pretrial Conference or the Final Pretrial will be held
                                as scheduled. (lw) (Entered: 11/14/2022)
   11/20/2022             50 REPLY TO OBJECTION to Motion by Michael Francis re 35 MOTION to Suppress
                             EVIDENCE SEIZED WHEN EXECUTING SEARCH WARRANT FOR A WHITE
                             HONDA ACCORD . (Attachments: # 1 Exhibit Affidavit of Agent Burke from Another
                             Case)(Guerriero, Richard) (Entered: 11/20/2022)
   11/28/2022             51 Assented to MOTION to Continue Trial for 60 days by Michael Francis. (Guerriero,
                             Richard) (Entered: 11/28/2022)
   11/28/2022             52 Certification of Speedy Trial Waiver by Michael Francis (Guerriero, Richard) (Entered:
                             11/28/2022)
   11/28/2022             53 ORDER granting 51 Assented to Motion to Continue Trial in the interest of justice
                             as to Michael Francis (1). Final Pretrial Conference set for 2/8/2022 11:30 AM before
                             Judge Steven J. McAuliffe. JERS Statement due 2/15/2023. Jury Selection/Trial set
                             for two week period beginning 2/22/2023 09:30 AM before Judge Steven J.
                             McAuliffe. So Ordered by Judge Steven J. McAuliffe.(lw) (Entered: 11/29/2022)
   01/09/2023             54 MOTION to Suppress Cell Phone Evidence and Statements Resulting from
                             Unconstitutional Arrest by Michael Francis. HEARING REQUESTED.Follow up on
                             Objection on 1/23/2023. The court only follow up date DOES NOT include 3 additional
                             days that may apply per FRCP 6(d) and FRCrP 45(c). (Attachments: # 1 Exhibit A
                                                         JOINT APPENDIX 10


https://ecf.nhd.uscourts.gov/cgi-bin/DktRpt.pl?946141838014441-L_1_0-1                                                       10/19
 Case:
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                                                                       Date
                                                                          - U.S.Filed:    09/06/2024
                                                                                 District Court      Entry ID: 6665919
                             O'Neill arrest on PV re address, # 2 Exhibit B Lorenzo report re arrest and phone, # 3
                             Exhibit C O'Neill arrest on PV seizure of phone, # 4 Exhibit D Detention Order from
                             Parole Officer, # 5 Exhibit E Warrant from Parole Board, # 6 Exhibit F Francis Vehicle
                             Registration) (Guerriero, Richard) (Entered: 01/09/2023)
   01/09/2023             55 MOTION for Bail by Michael Francis. HEARING REQUESTED.Follow up on
                             Objection on 1/23/2023. The court only follow up date DOES NOT include 3 additional
                             days that may apply per FRCP 6(d) and FRCrP 45(c). (Guerriero, Richard) (Entered:
                             01/09/2023)
   01/17/2023                   ENDORSED ORDER re: 55 Motion for Bail as to Michael Francis (1). Text of
                                Order: Granted only to the extent that the clerk's office shall schedule a hearing. So
                                Ordered by US Magistrate Judge Andrea K Johnstone. (lw) (Entered: 01/18/2023)
   01/18/2023                   NOTICE OF HEARING as to Michael Francis. Bail Hearing set for 1/23/2023 03:00 PM
                                before US Magistrate Judge Andrea K Johnstone. (kad) (Entered: 01/18/2023)
   01/18/2023                   TRIAL REMINDER: There is an upcoming trial in this case. Any Motion to Continue
                                shall be filed 1 week before the Final Pretrial Conference or the Final Pretrial will be held
                                as scheduled. (lw) (Entered: 01/18/2023)
   01/23/2023                   RESCHEDULING NOTICE OF HEARING as to Michael Francis. Bail Hearing RESET
                                for 1/25/2023 at 04:30 PM before US Magistrate Judge Andrea K Johnstone. (bf)
                                (Entered: 01/23/2023)
   01/24/2023             56 Assented to MOTION to Extend Time to Object/Respond to 54 MOTION to Suppress
                             Cell Phone Evidence and Statements Resulting from Unconstitutional Arrest to February
                             6, 2023 by USA as to Michael Francis. (Gingrande, Aaron) (Entered: 01/24/2023)
   01/24/2023                   RESCHEDULING NOTICE OF HEARING as to Michael Francis. Bail Hearing reset for
                                1/30/2023 02:00 PM before US Magistrate Judge Andrea K Johnstone. (kad) (Entered:
                                01/24/2023)
   01/25/2023                   ENDORSED ORDER granting 56 Assented to Motion to Extend Time to
                                Object/Respond to 54 MOTION to Suppress Cell Phone Evidence and Statements
                                Resulting from Unconstitutional Arrest to February 6, 2023 as to Michael Francis
                                (1). Text of Order: Granted. So Ordered by Judge Steven J. McAuliffe. Follow up on
                                Objection on 2/6/2023. (lw) (Entered: 01/25/2023)
   01/30/2023                   Minute Entry for proceedings held before US Magistrate Judge Andrea K Johnstone:
                                BAIL HEARING as to Michael Francis held on 1/30/2023. Further bail hearing to be
                                scheduled. (Tape #2:10) (Govt Atty: Charles Rombeau) (Defts Atty: Richard Guerriero)
                                (USP: Riaka McCormick)(Total Hearing Time: 27 min)(CJA Time: 37 min) (bf) (Entered:
                                01/30/2023)
   01/30/2023             57 NOTICE OF HEARING as to Michael Francis. Bail Hearing set for 2/14/2023 at 10:00
                             AM before US Magistrate Judge Andrea K Johnstone. (bf) (Entered: 01/30/2023)
   01/30/2023             58 Assented to MOTION to Continue Trial to May 16, 2023 by Michael Francis. (Guerriero,
                             Richard) (Entered: 01/30/2023)
   01/30/2023             59 Certification of Speedy Trial Waiver by Michael Francis (Guerriero, Richard) (Entered:
                             01/30/2023)
   02/02/2023             60 ORDER granting 58 Assented to Motion to Continue Trial in the interest of justice
                             as to Michael Francis (1). Final Pretrial Conference set for 5/8/2023 11:00 AM before
                                                         JOINT APPENDIX 11


https://ecf.nhd.uscourts.gov/cgi-bin/DktRpt.pl?946141838014441-L_1_0-1                                                     11/19
 Case:
9/5/24, 2:1124-1386
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                                                                      Date
                                                                         - U.S.Filed:    09/06/2024
                                                                                District Court      Entry ID: 6665919
                             Judge Steven J. McAuliffe. JERS Statement due 5/9/2023. Jury Selection/Trial set
                             for two week period beginning 5/16/2023 09:30 AM before Judge Steven J.
                             McAuliffe. So Ordered by Judge Steven J. McAuliffe.(lw) Modified on 2/3/2023 to
                             correct FPT date (lw). (Entered: 02/03/2023)
   02/06/2023             61 OBJECTION by USA as to Michael Francis re 54 MOTION to Suppress Cell Phone
                             Evidence and Statements Resulting from Unconstitutional Arrest . (Attachments: # 1
                             Exhibit Conditions of Parole, Michael Francis, # 2 Exhibit Report of MPD Detective
                             Mefford)(Gingrande, Aaron) (Entered: 02/06/2023)
   02/12/2023             62 Supplement to Request for Bail by Michael Francis (Guerriero, Richard) (Entered:
                             02/12/2023)
   02/13/2023                   ENDORSED ORDER - Text of Order: At the February 14, 2023 hearing, the parties
                                shall be prepared to address what appears to be a consensus among courts rejecting the
                                argument that bond is appropriate for a defendant subject to a state detainer because
                                he will merely be transferred from federal to state custody. See United States v.
                                Dimmick, 82 F. Supp. 3d 866, 870 (N.D. Iowa 2015) (denying defendant's motion for
                                bond despite the fact that Defendant would remain in custody, albeit state custody). So
                                Ordered by US Magistrate Judge Andrea K Johnstone. (lw) (Entered: 02/13/2023)
   02/13/2023             63 REPLY TO OBJECTION to Motion by Michael Francis re 54 MOTION to Suppress Cell
                             Phone Evidence and Statements Resulting from Unconstitutional Arrest . (Guerriero,
                             Richard) (Entered: 02/13/2023)
   02/14/2023                   Minute Entry for proceedings held before US Magistrate Judge Andrea K Johnstone:
                                BAIL HEARING as to Michael Francis held on 2/14/2023. Motion for bail denied.
                                Defendant detained. Order to issue. (Tape #10:14) (Govt Atty: Charles Rombeau, Aaron
                                Gingrande) (Defts Atty: Richard Guerriero) (USP: Karin Hess)(Total Hearing Time: 22
                                min.)(CJA Time: 36 min.) (kad) (Entered: 02/14/2023)
   02/17/2023             64 ORDER OF DETENTION as to Michael Francis. So Ordered by US Magistrate
                             Judge Andrea K Johnstone. (kad) (Entered: 02/17/2023)
   04/25/2023                   TRIAL REMINDER: There is an upcoming trial in this case. Any Motion to Continue
                                shall be filed 1 week before the Final Pretrial Conference or the Final Pretrial will be held
                                as scheduled. (lw) (Entered: 04/25/2023)
   05/08/2023                   Final Pretrial Conference as to Michael Francis set for 5/8/2023 11:00 AM, via video
                                conference, before Judge Steven J. McAuliffe. (lw) (Entered: 05/08/2023)
   05/08/2023                   Minute Entry for proceedings held before Judge Steven J. McAuliffe: FINAL PRETRIAL
                                CONFERENCE as to Michael Francis held on 5/8/2023. (Govt Atty: Charles Rombeau,
                                Aaron Gingrande) (Defts Atty: Richard Guerriero)(Total Hearing Time: 05 min.)(CJA
                                Time: 05 min.) (lw) (Entered: 05/08/2023)
   05/08/2023                   NOTICE OF HEARING as to Michael Francis. Evidentiary Hearing set for 6/14/2023
                                01:30 PM before Judge Steven J. McAuliffe. (lw) (Entered: 05/08/2023)
   05/11/2023             65 Assented to MOTION to Continue Trial to August 15, 2023 Trial Period by Michael
                             Francis. (Guerriero, Richard) (Entered: 05/11/2023)
   05/11/2023             66 Certification of Speedy Trial Waiver by Michael Francis (Guerriero, Richard) (Entered:
                             05/11/2023)


                                                         JOINT APPENDIX 12


https://ecf.nhd.uscourts.gov/cgi-bin/DktRpt.pl?946141838014441-L_1_0-1                                                     12/19
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                                                                               Date
                                                                                  - U.S.Filed:    09/06/2024
                                                                                         District Court        Entry ID: 6665919
   05/22/2023             67 ORDER granting 65 Assented to Motion to Continue Trial in the interest of justice
                             as to Michael Francis (1). Final Pretrial Conference set for 8/2/2023 02:30 PM before
                             Judge Steven J. McAuliffe. JERS Statement due 8/8/2023. Jury Selection/Trial set
                             for two week period beginning 8/15/2023 09:30 AM before Judge Steven J.
                             McAuliffe. So Ordered by Judge Steven J. McAuliffe.(lw) (Entered: 05/22/2023)
   06/07/2023             68 FINAL WITNESS LIST by Michael Francis.(Guerriero, Richard) (Entered: 06/07/2023)
   06/13/2023             69 FINAL WITNESS LIST by USA as to Michael Francis.(Gingrande, Aaron) (Entered:
                             06/13/2023)
   06/14/2023             70 NOTICE of Supplemental Case Law To Be Cited at Suppression Hearing by USA as to
                             Michael Francis. (Gingrande, Aaron) (Entered: 06/14/2023)
   06/14/2023             71 Government's Exhibit List by USA as to Michael Francis (Gingrande, Aaron) (Entered:
                             06/14/2023)
   06/14/2023                   Minute Entry for proceedings held before Judge Steven J. McAuliffe: EVIDENTIARY
                                HEARING as to Michael Francis held on 6/14/2023. Witnesses Appearing: Ryan Burke,
                                Brian Benard, Joseph Lorenzo. Continuation of hearing to be rescheduled. (Court
                                Reporter: Liza Dubois) (Govt Atty: Aaron Gingrande, Charles Rombeau) (Defts Atty:
                                Richard Guerriero)(Total Hearing Time: 2 hrs. 40 min.)(CJA Time: 2 hrs. 40 min.) (lw)
                                (Entered: 06/16/2023)
   06/27/2023                   NOTICE OF HEARING as to Michael Francis. Evidentiary Hearing set for 7/12/2023
                                01:30 PM before Judge Steven J. McAuliffe. (lw) (Entered: 06/27/2023)
   06/27/2023             72 Supplemental Assented to MOTION for Protective Order by USA as to Michael Francis.
                             (Attachments: # 1 Exhibit Proposed Protective Order) (Gingrande, Aaron) (Entered:
                             06/27/2023)
   07/11/2023             73 Supplemental MOTION to Suppress EVIDENCE SEIZED WHEN EXECUTING
                             SEARCH WARRANT FOR A WHITE HONDA ACCORD by Michael Francis.
                             HEARING REQUESTED.Follow up on Objection on 7/25/2023. The court only follow
                             up date DOES NOT include 3 additional days that may apply per FRCP 6(d) and FRCrP
                             45(c). (Guerriero, Richard) Modified on 7/11/2023 to link to doc. no. 35 (lw). (Entered:
                             07/11/2023)
   07/11/2023             74 Assented to MOTION to File Exhibits Under Seal by Michael Francis. (lw) (Entered:
                             07/11/2023)
   07/12/2023                   Minute Entry for proceedings held before Judge Steven J. McAuliffe: EVIDENTIARY
                                HEARING - Day 2 as to Michael Francis held on 7/12/2023. Witnesses Appearing: Ryan
                                Burke. Counsel to file supplemental briefing within 10 days. Motions taken under
                                advisement. (Court Reporter: Brenda Hancock) (Govt Atty: Aaron Gingrande, Charles
                                Rombeau) (Defts Atty: Richard Guerriero)(Total Hearing Time: 1 hr. 42 min.)(CJA Time:
                                1 hr. 52 min.) (lw) (Entered: 07/12/2023)
   07/12/2023             76 FINAL WITNESS LIST by USA as to Michael Francis.(lw) (Entered: 07/13/2023)
   07/12/2023             77 FINAL WITNESS LIST by Michael Francis.(lw) (Entered: 07/13/2023)
   07/12/2023             78 FINAL EXHIBIT LIST by USA as to Michael Francis.(lw) (Entered: 07/13/2023)
   07/12/2023                   ORAL ORDER granting 72 Supplemental Assented to Motion for Protective Order
                                as to Michael Francis (1). So Ordered by Judge Steven J. McAuliffe. (lw) (Entered:
                                                         JOINT APPENDIX 13


https://ecf.nhd.uscourts.gov/cgi-bin/DktRpt.pl?946141838014441-L_1_0-1                                                       13/19
 Case:
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             PM           Document: 00118186996                   Page:Live
                                                                  USNHD  17CM/ECF
                                                                               Date
                                                                                  - U.S.Filed:    09/06/2024
                                                                                         District Court        Entry ID: 6665919
                             07/13/2023)
   07/12/2023             79 SUPPLEMENTAL PROTECTIVE ORDER as to Michael Francis. So Ordered by
                             Judge Steven J. McAuliffe. (lw) (Entered: 07/13/2023)
   07/17/2023                   TRIAL REMINDER: There is an upcoming trial in this case. Any Motion to Continue
                                shall be filed 1 week before the Final Pretrial Conference or the Final Pretrial will be held
                                as scheduled. (lw) (Entered: 07/17/2023)
   07/18/2023                   ENDORSED ORDER granting 74 Assented to MOTION to File Exhibits Under Seal
                                as to Michael Francis (1). Text of Order: Granted. So Ordered by Judge Steven J.
                                McAuliffe. (lw) (Entered: 07/20/2023)
   07/19/2023             80 Assented to MOTION to Continue Trial to October 17, 2023 by Michael Francis.
                             (Guerriero, Richard) (Entered: 07/19/2023)
   07/19/2023             81 Certification of Speedy Trial Waiver by Michael Francis (Guerriero, Richard) (Entered:
                             07/19/2023)
   07/21/2023             82 Assented to MOTION to Extend Time to Object/Respond to September 5, 2023 by USA
                             as to Michael Francis. (Gingrande, Aaron) (Entered: 07/21/2023)
   07/30/2023             83 ORDER granting 80 Assented to Motion to Continue Trial in the interest of justice
                             as to Michael Francis (1). Final Pretrial Conference set for 10/4/2023 03:00 PM
                             before Judge Steven J. McAuliffe. JERS Statement due 10/10/2023. Jury
                             Selection/Trial set for two week period beginning 10/17/2023 09:30 AM before Judge
                             Steven J. McAuliffe. So Ordered by Judge Steven J. McAuliffe.(lw) (Entered:
                             07/31/2023)
   07/30/2023                   ENDORSED ORDER granting 82 Motion to Extend Time to Object/Respond as to
                                Michael Francis (1). Text of Order: Granted. So Ordered by Judge Steven J.
                                McAuliffe. Follow up on Objection and supplemental briefing due 9/5/2023. (lw)
                                (Entered: 07/31/2023)
   09/07/2023             84 Assented to MOTION to Extend Time to Object/Respond to Order on Motion to Extend
                             Time to Object/Respond, to Sept 15, 2023 by USA as to Michael Francis. (Rombeau,
                             Charles) (Entered: 09/07/2023)
   09/12/2023                   ENDORSED ORDER granting 84 Motion to Extend Time to Object/Respond as to
                                Michael Francis (1). Text of Order: Granted. So Ordered by Judge Steven J.
                                McAuliffe. Follow up on Objection and supplemental briefing due on 9/15/2023. (lw)
                                (Entered: 09/13/2023)
   09/15/2023             85 MEMORANDUM in Opposition by USA as to Michael Francis re 54 MOTION to
                             Suppress Cell Phone Evidence and Statements Resulting from Unconstitutional Arrest -
                             Supplemental Memorandum. (Rombeau, Charles) (Entered: 09/15/2023)
   09/15/2023             86 OBJECTION by USA as to Michael Francis re 73 Supplemental MOTION to Suppress
                             EVIDENCE SEIZED WHEN EXECUTING SEARCH WARRANT FOR A WHITE
                             HONDA ACCORD . (Gingrande, Aaron) (Entered: 09/15/2023)
   10/03/2023             87 ORDER mooting 34 MOTION to Suppress EVIDENCE SEIZED AS A RESULT OF
                             THE WARRANTLESS PROTECTIVE SWEEP OF UNIT 3 AT 231 THORNTON
                             STREET; denying 35 MOTION to Suppress EVIDENCE SEIZED WHEN
                             EXECUTING SEARCH WARRANT FOR A WHITE HONDA ACCORD; mooting
                             36 MOTION to Suppress DEFENDANTS STATEMENTS ON SEPTEMBER 7,
                                                         JOINT APPENDIX 14


https://ecf.nhd.uscourts.gov/cgi-bin/DktRpt.pl?946141838014441-L_1_0-1                                                       14/19
 Case:
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             PM           Document: 00118186996 USNHD   Page:Live
                                                                18CM/ECF
                                                                      Date
                                                                         - U.S.Filed:    09/06/2024
                                                                                District Court      Entry ID: 6665919
                             2021; denying 54 MOTION to Suppress Cell Phone Evidence and Statements
                             Resulting from Unconstitutional Arrest; denying 73 Supplemental MOTION to
                             Suppress EVIDENCE SEIZED WHEN EXECUTING SEARCH WARRANT FOR
                             A WHITE HONDA ACCORD as to Michael Francis (1). Defendant's motion to
                             suppress evidence seized when executing the search warrant for the white Honda
                             Accord (document nos. 35 and 73) is DENIED. Defendant's motion to suppress cell
                             phone evidence and statements resulting from unconstitutional arrest (document no.
                             54) is DENIED.Defendant's motions to suppress the introduction of evidence gathered
                             by law enforcement during a search of his apartment on September 2, 2021, (document
                             no. 34), and to suppress his statements made on September 7, 2021, (document no. 36)
                             are deemed moot. So Ordered by Judge Steven J. McAuliffe. (lw) (Entered:
                             10/03/2023)
   10/04/2023                   Minute Entry for proceedings held before Judge Steven J. McAuliffe: FINAL PRETRIAL
                                CONFERENCE as to Michael Francis held on 10/4/2023. Counsel to file assented to
                                motion to continue trial to November trial period. (Govt Atty: Charles Rombeau, Aaron
                                Gingrande) (Defts Atty: Richard Guerriero)(Total Hearing Time: 05 min.)(CJA Time: 05
                                min.) (lw) (Entered: 10/04/2023)
   10/05/2023             88 Assented to MOTION to Continue Trial to November 14, 2023 by Michael Francis.
                             (Guerriero, Richard) (Entered: 10/05/2023)
   10/05/2023             89 Certification of Speedy Trial Waiver by Michael Francis (Guerriero, Richard) (Entered:
                             10/05/2023)
   10/05/2023             90 ORDER granting 88 Assented to Motion to Continue Trial in the interest of justice
                             as to Michael Francis (1). Final Pretrial Conference set for 11/1/2023 03:30 PM
                             before Judge Steven J. McAuliffe. JERS Statement due 11/7/2023. Jury
                             Selection/Trial set for two week period beginning 11/14/2023 09:30 AM before Judge
                             Steven J. McAuliffe. So Ordered by Judge Steven J. McAuliffe.(lw) (Entered:
                             10/06/2023)
   10/11/2023             91 Petition for Writ of Habeas Corpus ad Testificandum for Emilio Flores on 11/14/2023 and
                             thereafter as needed for trial re: defendant Michael Francis.(Guerriero, Richard) (Entered:
                             10/11/2023)
   10/11/2023                   Writ of Habeas Corpus ad Testificandum Issued as to Emilio Flores for 11/14/2023.(lw)
                                (Entered: 10/11/2023)
   10/26/2023             92 Notice to Substitute Attorney. Added attorney Jarad Hodes. Attorney Charles Rombeau
                             terminated. Attorney Jarad Hodes added to party USA(pty:pla).(Hodes, Jarad) (Entered:
                             10/26/2023)
   10/26/2023                   RESCHEDULING NOTICE OF HEARING (Time Change Only) as to Michael Francis.
                                Final Pretrial Conference set for 11/1/2023 11:00 AM, via video conference, before Judge
                                Steven J. McAuliffe. (lw) (Entered: 10/26/2023)
   11/01/2023                   Minute Entry for proceedings held before Judge Steven J. McAuliffe: FINAL PRETRIAL
                                CONFERENCE as to Michael Francis held on 11/1/2023. Order to Issue. (Govt Atty:
                                Aaron Gingrande, Jarad Hodes) (Defts Atty: Richard Guerriero)(Total Hearing Time: 10
                                min.)(CJA Time: 10 min.) (lw) (Entered: 11/01/2023)
   11/01/2023             93 Final Pretrial Order. Exhibit List and Witness List due by 11/7/2023. Motions in
                             Limine due by 11/6/2023. Responses due 11/13/2023. Jury Selection set for
                             11/14/2023 09:30 AM before Judge Steven J. McAuliffe. Jury Trial set for 11/15/2023
                                                         JOINT APPENDIX 15


https://ecf.nhd.uscourts.gov/cgi-bin/DktRpt.pl?946141838014441-L_1_0-1                                                  15/19
 Case:
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             PM           Document: 00118186996 USNHDPage:Live
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                                                                  Date
                                                                     - U.S.Filed:    09/06/2024
                                                                            District Court      Entry ID: 6665919
                             09:00 AM before Judge Steven J. McAuliffe. So Ordered by Judge Steven J.
                             McAuliffe. (Attachments: # 1 Procedure for Marking Exhibits) (lw) (Entered:
                             11/01/2023)
   11/02/2023             94 TRANSCRIPT of Proceedings as to Michael Francis for Evidentiary Hearing - Day 2
                             held on July 12, 2023. Court Reporter: Brenda Hancock, Telephone # 603 225-1454.
                             Transcript is available for public inspection, but may not be copied or otherwise
                             reproduced, at the Clerk's Office for a period of 90 days. Additionally, only attorneys of
                             record and pro se parties with an ECF login and password who purchase a transcript from
                             the court reporter will have access to the transcript through PACER during this 90-day
                             period. If you would like to order a copy, please contact the court reporter at the above
                             listed phone number.

                                NOTICE: Any party who requests an original transcript has 21 days from service of
                                this notice to determine whether it is necessary to redact any personal identifiers
                                and, if so, to electronically file a Redaction Request.

                                Redaction Request Follow Up 11/27/2023. Redacted Transcript Follow Up 12/4/2023.
                                Release of Transcript Restriction set for 1/31/2024. (lw) (Entered: 11/02/2023)
   11/02/2023             95 TRANSCRIPT of Proceedings as to Michael Francis for Evidentiary Hearing - Day 1
                             held on June 14, 2023. Court Reporter: Liza Dubois, Telephone # 603 225-1442.
                             Transcript is available for public inspection, but may not be copied or otherwise
                             reproduced, at the Clerk's Office for a period of 90 days. Additionally, only attorneys of
                             record and pro se parties with an ECF login and password who purchase a transcript from
                             the court reporter will have access to the transcript through PACER during this 90-day
                             period. If you would like to order a copy, please contact the court reporter at the above
                             listed phone number.

                                NOTICE: Any party who requests an original transcript has 21 days from service of
                                this notice to determine whether it is necessary to redact any personal identifiers
                                and, if so, to electronically file a Redaction Request.

                                Redaction Request Follow Up 11/27/2023. Redacted Transcript Follow Up 12/4/2023.
                                Release of Transcript Restriction set for 1/31/2024. (lw) (Entered: 11/02/2023)
   11/06/2023             96 JUROR QUESTIONNAIRES: Access to this document is available to the Court and
                             temporarily available to counsel for USA, Michael Francis only.

                                The retrieval or viewing of these questionnaires constitutes confirmation that you
                                will adhere to L.R. 47.1, which requires that any individual given access to the
                                questionnaires shall not disclose the questionnaires, or information contained
                                therein, to anyone other than the attorneys, their agents, or the parties involved in
                                trial. Violation of this rule may be treated as contempt of court.(lw) (Entered:
                                11/06/2023)
   11/06/2023             97 PLEA AGREEMENT as to Michael Francis. (lw) (Additional attachment(s) added on
                             11/6/2023: # 1 Filed Stamp Copy) (lw). (Entered: 11/06/2023)
   11/06/2023                   NOTICE OF HEARING as to Michael Francis. Change of Plea Hearing set for
                                11/14/2023 10:00 AM before Judge Steven J. McAuliffe. NOTICE: For cost
                                containment purposes, the court prefers that the USPO conduct the PSR interview
                                immediately following the COP hearing. Thus, prior to the COP hearing, a USPO

                                                         JOINT APPENDIX 16


https://ecf.nhd.uscourts.gov/cgi-bin/DktRpt.pl?946141838014441-L_1_0-1                                                  16/19
 Case:
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                                                                    Date
                                                                       - U.S.Filed:    09/06/2024
                                                                              District Court      Entry ID: 6665919
                             may contact counsel for the purpose of scheduling the PSR interview after the COP
                             hearing.(lw) (Entered: 11/06/2023)
   11/14/2023                   Minute Entry for proceedings held before Judge Steven J. McAuliffe: CHANGE OF
                                PLEA HEARING held on 11/14/2023 as to Michael Francis (1): Defendant sworn and
                                advised of rights/charge(s). No objection to offer of proof. Defendant plead guilty to
                                Count 2s. Court accepts guilty plea. Court defers acceptance of plea agreement
                                (stipulations) until time of sentencing. Oral request for a recommendation for the
                                defendant to participate in TC Program at Strafford County. Court made an oral
                                recommendation that should it be feasible to move Mr. Francis to Strafford County that
                                he be allowed to participate in the TC Program. Oral request to dismiss counts 3, 4, & 5
                                of Superseding Indictment. Upon no objection, Oral order dismissing counts 3, 4 & 5.
                                Defendant remanded to the custody of the US Marshal. (Court Reporter: Brenda
                                Hancock) (Govt Atty: Aaron Gingrande) (Defts Atty: Richard Guerriero)(Total Hearing
                                Time: 20 min.)(CJA Time: 25 min.) (lw) (Entered: 11/14/2023)
   11/14/2023                   ORAL MOTION to Dismiss Counts 3, 4 and 5 by USA as to Michael Francis. (lw)
                                (Entered: 11/14/2023)
   11/14/2023                   ORAL ORDER granting [ ] Oral Motion to Dismiss Counts 3, 4 and 5 as to Michael
                                Francis (1). So Ordered by Judge Steven J. McAuliffe. (lw) (Entered: 11/14/2023)
   11/14/2023                   NOTICE OF HEARING as to Michael Francis. Sentencing set for 2/20/2024 11:00 AM
                                before Judge Steven J. McAuliffe.The court has allotted 1 hour for the hearing. Please
                                contact the court immediately if you anticipate the hearing will exceed the allotted time.
                                Any motion seeking a departure or variance, as well as any sentencing
                                memorandum, shall be filed 10 days prior to the sentencing date. Any response shall
                                be filed 4 days prior to sentencing date. Defense counsel should advise the defendant
                                that any monetary portion of the sentence will be payable only by cash, bank check,
                                money order or debit or credit card via pay.gov (after obtaining a transaction ID
                                from the probation officer.) No card payments can be made at the counter.(lw)
                                (Entered: 11/14/2023)
   01/24/2024             99 Assented to MOTION to Continue Sentencing Hearing for Approximately 21 days by
                             Michael Francis. (Guerriero, Richard) (Entered: 01/24/2024)
   01/29/2024                   ENDORSED ORDER granting 99 Assented to MOTION to Continue Sentencing
                                Hearing for Approximately 21 days as to Michael Francis (1). Text of Order:
                                Granted. So Ordered by Judge Steven J. McAuliffe. Any motion seeking a departure
                                or variance, as well as any sentencing memorandum, shall be filed 10 days prior to
                                the sentencing date. Any response shall be filed 4 days prior to sentencing date.(lw)
                                (Entered: 01/31/2024)
   02/01/2024                   Case as to Michael Francis reassigned to Judge Paul J. Barbadoro. (lw) (Entered:
                                02/01/2024)
   02/01/2024                   RESCHEDULING NOTICE OF HEARING as to Michael Francis. Sentencing reset for
                                4/10/2024 11:00 AM before Judge Paul J. Barbadoro.The court has allotted 1 hour for the
                                hearing. Please contact the court immediately if you anticipate the hearing will exceed
                                the allotted time. Any motion seeking a departure or variance, as well as any
                                sentencing memorandum, shall be filed 10 days prior to the sentencing date. Any
                                response shall be filed 4 days prior to sentencing date.(lw) (Entered: 02/01/2024)


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https://ecf.nhd.uscourts.gov/cgi-bin/DktRpt.pl?946141838014441-L_1_0-1                                                     17/19
 Case:
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                                                                  USNHD  21CM/ECF
                                                                               Date
                                                                                  - U.S.Filed:    09/06/2024
                                                                                         District Court        Entry ID: 6665919
   03/26/2024           102 Assented to MOTION to Extend Time Deadline for Filing Sentencing Memorandum and
                            Request for a Variance from March 29, 2024 to April 2, 2024 by Michael Francis.
                            (Guerriero, Richard) (Entered: 03/26/2024)
   04/02/2024           103 SENTENCING MEMORANDUM And MOTION FOR DOWNWARD VARIANCE by
                            Michael Francis. (Guerriero, Richard) (Entered: 04/02/2024)
   04/03/2024                   ENDORSED ORDER granting 102 Motion to Extend Time Deadline for Filing
                                Sentencing Memorandum and Request for a Variance from March 29, 2024 to April
                                2, 2024 as to Michael Francis (1). Text of Order: Granted. So Ordered by Judge Paul
                                J. Barbadoro. (jwb) (Entered: 04/03/2024)
   04/08/2024           104 SENTENCING MEMORANDUM by USA as to Michael Francis. (Gingrande, Aaron)
                            (Entered: 04/08/2024)
   04/09/2024           105 SENTENCING MEMORANDUM to Replace ECF Document 104 by USA as to Michael
                            Francis. (Gingrande, Aaron) (Entered: 04/09/2024)
   04/09/2024           106 Assented to MOTION to Dismiss Bill of Particulars by USA as to Michael Francis.
                            (Gingrande, Aaron) (Entered: 04/09/2024)
   04/10/2024                   Minute Entry for proceedings held before Judge Paul J. Barbadoro: SENTENCING held
                                on 4/10/2024 for Michael Francis (1): Defendant sentenced on Count 2s. Court accepts
                                binding stipulations in plea agreement. Fine waived due to inability to pay. Appeal rights
                                to defendant. Defendant remanded to the custody of the US Marshal. (Court Reporter:
                                Liza Dubois) (Govt Atty: Aaron Gingrande) (Defts Atty: Richard Guerriero) (USP:
                                Maggie Gildea)(Total Hearing Time: 21 min.)(CJA Time: 32 min.) (lw) (Entered:
                                04/10/2024)
   04/10/2024                   ORAL ORDER granting 106 Motion to Dismiss Bill of Particulars as to Michael
                                Francis (1). So Ordered by Judge Paul J. Barbadoro. (lw) (Entered: 04/10/2024)
   04/10/2024           107 ACKNOWLEDGMENT of Sentencing Options by Michael Francis. (lw) (Entered:
                            04/10/2024)
   04/10/2024           108 JUDGMENT as to Michael Francis (1): Defendant to be imprisoned for a term of
                            150 months. 4 years Supervised Release with mandatory, standard and special
                            conditions. $100.00 Special Assessment. So Ordered by Judge Paul J. Barbadoro.
                            (lw) (Entered: 04/10/2024)
   04/18/2024           109 NOTICE OF APPEAL by Michael Francis re 87 Order on Motion to
                            Suppress,,,,,,,,,,,,,,,,,,,,,,,,. (No fee paid, USA or IFP.). [NOTICE TO COUNSEL: A
                            Transcript Report/Order Form, which can be downloaded from the Forms & Notices
                            section of the First Circuit website at www.ca1.uscourts.gov, MUST be completed and
                            submitted to the U.S. Court of Appeals for the First Circuit.]

                                NOTICE TO COUNSEL: Counsel should register for a First Circuit CM/ECF
                                Appellate Filer Account at http://pacer.psc.uscourts.gov/cmecf/. Counsel should also
                                review the First Circuit requirements for electronic filing by visiting the CM/ECF
                                Information section at http://www.ca1.uscourts.gov/cmecf (Guerriero, Richard)
                                (Entered: 04/18/2024)
   04/18/2024           110 Appeal Cover Sheet as to Michael Francis re: 109 Notice of Appeal. (lw) (Entered:
                            04/18/2024)

                                                         JOINT APPENDIX 18


https://ecf.nhd.uscourts.gov/cgi-bin/DktRpt.pl?946141838014441-L_1_0-1                                                       18/19
 Case:
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                                                                               Date
                                                                                  - U.S.Filed:    09/06/2024
                                                                                         District Court        Entry ID: 6665919
   04/18/2024           111 Clerk's Certificate transmitting Record on Appeal to US Court of Appeals, documents
                            numbered 87, 97, 108-111, as to Michael Francis to USCA re: 109 Notice of Appeal. A
                            copy of the Notice of Appeal mailed to all parties this date. (lw) (Entered: 04/18/2024)
   04/18/2024                   Appellate Case Number: First Circuit Court of Appeals 24-1386 for 109 Notice of
                                Appeal, filed by Michael Francis. (lw) (Entered: 04/18/2024)
   06/03/2024                   CJA 20 Payment Information as to Michael Francis. Authorization given to pay counsel
                                for representation under the Criminal Justice Act in the following amount. Nicholas C.
                                Howie: $1,316.65. Richard Guerriero: $26,128.23. (mp) (Entered: 06/03/2024)
   06/14/2024           113 TRANSCRIPT of Proceedings as to Michael Francis for Sentencing Hearing held on
                            April 10, 2024. Court of Appeals Docket Number 24-1386. Court Reporter: Liza Dubois,
                            Telephone # 603-225-1442. Transcript is available for public inspection, but may not be
                            copied or otherwise reproduced, at the Clerk's Office for a period of 90 days.
                            Additionally, only attorneys of record and pro se parties with an ECF login and password
                            who purchase a transcript from the court reporter will have access to the transcript
                            through PACER during this 90-day period. If you would like to order a copy, please
                            contact the court reporter at the above listed phone number.

                                NOTICE: Any party who requests an original transcript has 21 days from service of
                                this notice to determine whether it is necessary to redact any personal identifiers
                                and, if so, to electronically file a Redaction Request.

                                Redaction Request Follow Up 7/5/2024. Redacted Transcript Follow Up 7/15/2024.
                                Release of Transcript Restriction set for 9/12/2024. (jwb) (Entered: 06/14/2024)



                                                         PACER Service Center
                                                             Transaction Receipt
                                                                09/05/2024 14:10:44
                                    PACER Login: odbloom23               Client Code:
                                    Description:       Docket Report Search Criteria:   1:21-cr-00153-PB
                                    Billable Pages:    17                Cost:          1.70




                                                         JOINT APPENDIX 19


https://ecf.nhd.uscourts.gov/cgi-bin/DktRpt.pl?946141838014441-L_1_0-1                                                       19/19
Case: 24-1386      Document:
                   Case       00118186996Document
                        1:21-cr-00153-PB   Page: 23  Date 12/13/21
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                                     UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW HAMPSHIRE


      UNITED STATES OF AMERICA                       )
                                                     )         Criminal Case No. 1:21-cr-153-01-SM
              v.                                     )
                                                     )
      MICHAEL FRANCIS                                )
                                                     )

                                       SUPERSEDING INDICTMENT
       The Grand Jury charges:

                                                 COUNT ONE
                                [21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)(ii) & 846
                Conspiracy to Distribute and Possess with Intent to Distribute 500 Grams or
                                                More of Cocaine]

              From in or around May 2021 and continuing through September 2021, in the District of

       New Hampshire, the defendant,

                                             MICHAEL FRANCIS,

       did knowingly and willfully combine, conspire and agree with other persons known and

       unknown to the Grand Jury, to distribute and possess with the intent to distribute a controlled

       substance, specifically, 500 grams and more of a mixture and substance containing a detectable

       amount of cocaine, its salts, optical and geometric isomers, and salts of its isomers, a Schedule II

       controlled substance.

              In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(B)(ii), and

       846.

              MICHAEL FRANCIS’s conduct as a member of the conspiracy charged above, which

       includes the reasonably foreseeable conduct of other members of the narcotics conspiracy


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       charged above, involved 500 grams and more of a mixture and substance containing a detectable

       amount of cocaine, its salts, optical and geometric isomers, and salts of its isomers, a Schedule II

       controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1),

       (b)(1)(B)(ii), and 846.

                                                 COUNT TWO
                                 [21 U.S.C. §§ 841(a)(1) & 841(b)(1)(B)(ii)
                    Possession with Intent to Distribute 500 grams or More of Cocaine]


                On or about September 1, 2021, in the District of New Hampshire, the defendant,

                                             MICHAEL FRANCIS,

       did knowingly and intentionally possess with intent to distribute a controlled substance,

       specifically, 500 grams and more of a mixture and substance containing a detectable amount of

       cocaine, its salts, optical and geometric isomers, and salts of its isomers, a Schedule II

       controlled substance.

              In violation of Title 21, United States Code, Sections 841(a)(1) & 841(b)(1)(B)(ii).

                                                COUNT THREE
                       [21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(vi) & 841(b)(1)(A)(viii)
        Possession with Intent to Distribute 400 grams or More of Fentanyl and 50 grams or More
                                          of Methamphetamine]

                On or about September 1, 2021, in the District of New Hampshire, the defendant,

                                             MICHAEL FRANCIS,

       did knowingly and intentionally possess with intent to distribute controlled substances,

       specifically, 400 grams and more of a mixture and substance containing a detectable amount of

       N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide, also known as fentanyl, a Schedule

       II controlled substance, and 50 grams and more of methamphetamine, its salts, isomers, and



                                          JOINT APPENDIX 21
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       salts of its isomers, a Schedule II controlled substance, in violation of Title 21, United States

       Code, Sections 841(a)(1), 841(b)(1)(A)(vi) & 841(b)(1)(A)(vii).



                                                COUNT FOUR
                                     [18 U.S.C. §§ 922(g)(1) & 924(a)(2)
                      Possession of Firearms and Ammunition by a Prohibited Person]

                On or about September 1, 2021, in the District of New Hampshire, the defendant,

                                             MICHAEL FRANCIS,

       knowing he had previously been convicted of a crime punishable by imprisonment for a term

       exceeding one year, did knowingly possess in and affecting interstate and foreign commerce,

       firearms and ammunition, namely:

          •     a Springfield Armory, model XDm-40, .40 S&W caliber pistol bearing serial number
                MG126009;
          •     a Bulgarian, model Makarov, 9 x 18 caliber pistol bearing serial number BA19 281;
          •     a Sig Sauer, model 320, 9 mm pistol bearing serial number 58C317762;
          •     a Glock, Model 23, .40 S&W caliber pistol bearing serial number EKM675;
          •     five rounds of Fiochhi 9x18 Makarov caliber ammunition;
          •     three rounds of Hornady 9x18 Makarov caliber ammunition;
          •     twenty-six rounds of Starline Brass .40 S&W caliber ammunition;
          •     five rounds of Atlanta Arms .40 S&W caliber ammunition;
          •     ten rounds of Winchester 9mm caliber ammunition; and
          •     twelve rounds of Hornady .40 S&W caliber ammunition.

          In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).



                                                 COUNT FIVE

                                         [18 U.S.C. § 924(c)(1)(A)(i)
                                           Possession of Firearms
                                in Furtherance of a Drug Trafficking Crime]

                On or about September 1, 2021, in the District of New Hampshire, the defendant,


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                                              MICHAEL FRANCIS,

       did knowingly possess firearms, namely, the firearms described in Count 4 of this Superseding

       Indictment, in furtherance of a drug trafficking crime for which he may be prosecuted in a court

       of the United States, namely, Possession with Intent to Distribute Controlled Substances as

       charged in Count 3 of this Superseding Indictment.

              In violation of Title 18, United States Code, Section 924(c)(1)(A)(i).



                                         NOTICE OF FORFEITURE

              Upon conviction of the offense alleged in Count One of this Superseding Indictment, the

       defendant shall forfeit to the United States pursuant to 21 U.S.C. § 853, any property

       constituting, or derived from, proceeds obtained, directly or indirectly, as a result of the charged

       offenses and any property used, or intended to be used, in any manner or part, to commit, or to

       facilitate the commission of the charged offense.

              Upon conviction of one or more of the offenses alleged in Counts One through Five of this

       Superseding Indictment, the defendant shall forfeit to the United States pursuant to 18 U.S.C. §

       924(d) and 28 U.S.C. § 2461(c), any firearms and ammunition used, or intended to be used, to

       commit, or to facilitate the commission of the charged offense.




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                                                  A TRUE BILL



       Dated: December 13, 2021                   /s/ Foreperson of the Grand Jury
                                                  Foreperson of the Grand Jury


             JOHN J. FARLEY
             Acting United States Attorney


       By:   /s/ Aaron G. Gingrande
             Aaron G. Gingrande
             Assistant U.S. Attorney




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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW HAMPSHIRE

       UNITED STATES OF AMERICA

                      v.                                                      No. 1:21-cr-00153-01-SM

       MICHAEL FRANCIS

                    MOTION TO SUPPRESS EVIDENCE SEIZED WHEN EXECUTING
                       SEARCH WARRANT FOR A WHITE HONDA ACCORD

              Michael Francis is charged in a 5-count superseding indictment with conspiracy and

       possession with intent to distribute cocaine, fentanyl, and methamphetamine, and two firearms

       charges. The Government’s evidence against Mr. Francis includes evidence seized from his

       Honda Accord pursuant to a search warrant. That evidence should be suppressed because the

       search was not justified by probable cause. The claimed probable cause is based on information

       from a confidential informant, but the facts stated in the affidavit for the search warrant are

       insufficient to establish the reliability of the informant. More importantly, if the defense is

       correct about the identity of the informant, the agent recklessly failed to disclose to the court that

       the informant has a prior conviction for falsifying physical evidence – a felony crime of

       dishonesty. If that information had been provided to the Magistrate, the search warrant would not

       have issued. The Government is not saved by the good-faith exception because that exception

       applies when the police rely on the mistake of a third party. Here, the Magistrate’s mistaken

       issuance of the search warrant was the result of law enforcement not including information

       highly relevant to the informant’s credibility. Law enforcement cannot claim good-faith reliance

       when their omission caused wrongful issuance of the search warrant. Thus, the evidence seized

       from the car should be suppressed.




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       Factual Background1

                At some point prior to September 1, 2021, law enforcement developed the belief that

       Michael Francis was illegally selling drugs and that, because of his status of a felon, he was

       unlawfully possessing a firearm. The primary source of information was an informant. The

       identity of the informant and the dates the informant provided information have not been

       revealed to the defense, despite requests. That information is redacted from the documents

       provided to the defense in discovery. Nonetheless, the defense believes it has identified the

       informant, as explained below. The defense does not state the informant’s name in this motion

       for obvious reasons.

               Special Agent Ryan Burke put the information from the confidential informant in an

       application for a search warrant for Mr. Francis’s car. That affidavit is attached to this motion as

       Exhibit C. The search warrant was executed on September 1, 2021, and evidence, including

       cocaine, was seized. Exhibits A and B.

               The information from the informant, as stated in the application for the warrant, is

       described below, along with a description of what information was not provided.

               The informant had been arrested twice before agreeing to cooperate with law

       enforcement. Exhibit C, pars. 7 and 8. Both times the informant was arrested with significant

       quantities of illegal drugs including methamphetamine, fentanyl, and crack cocaine. Id. The

       informant claimed that he had obtained drugs from Mr. Francis, first through another person, and

       then directly. Id. at pars 10 and 11. The informant described what he claimed were multiple prior

       purchases of drugs from Mr. Francis. Id. at par. 12. He said Mr. Francis is a member of the



       1
        The factual allegations in this motion are based directly on the discovery provided by the Government to the
       defense. Selected reports and the relevant search warrant application and search warrant for the Honda are attached
       as exhibits A, B, and C.
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       Gangster Disciples. Id. at par. 10. The informant said Mr. Francis drove a white Honda Accord

       with New Hampshire plates. Id. at par. 14. The informant also said Mr. Francis had a firearm in

       the white Honda Accord. Id. at par. 9 and 14. The agents confirmed through vehicle registration

       records, and Mr. Francis’s parole officer, that Mr. Francis drove a white Honda Accord. Id. at

       par. 15. They also confirmed that Mr. Francis is a felon. Id. at par. 14. Finally, the informant

       claimed the sales took place some blocks away an address the police believed was associated

       with Mr. Francis.

              The application includes almost no significant facts which confirm the accuracy of the

       informant’s information or his credibility. The allegations made by the informant were

       allegations of alleged past crimes of Mr. Francis. The affidavit does not state that those alleged

       past crimes were corroborated by other witnesses or evidence. The facts corroborated by the

       agents were innocent facts, such as that Mr. Francis drove a white Honda Accord and that the

       sales were near an address police associated with Mr. Francis (whether or not he lived there).

       The informant never predicted any future criminal, or even suspicious, conduct by Mr. Francis

       which the agents corroborated. The informant only claimed to be a witness to past conduct not

       corroborated by other evidence. The informant never made a controlled buy from Mr. Francis.

       The informant never made a law enforcement monitored phone call to Mr. Francis in which Mr.

       Francis made an incriminating statement. The informant never had some other kind of

       corroborated communication with Mr. Francis, such as a text message, in which Mr. Francis

       incriminated himself. Nor did the agents corroborate any of the informant’s claims through

       forensic evidence, such as fingerprints or DNA on an object Mr. Francis alleged touched (a

       plastic baggie containing drugs for example).




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               Regarding the informant’s reliability in general, the affidavit does not say that the

       informant had provided reliable information in prior cases. The affidavit does not describe any

       similar indicia of reliability. In other words, this was not an informant with a track record of

       credibility. The only background offered by Agent Burke regarding the informant was the

       pending drug charges the informant faced. Exhibit C, par. 9. In the first instance, it is clear that

       those pending charges provided a strong motivation for the informant to curry favor with an FBI

       agent. The informant surely knew he was facing a lengthy period of incarceration which he could

       mitigate by cooperating with police.

               Second, and more importantly, it would be common for the agents to run a criminal

       background check on an arrestee / informant. This is significant because the defense believes that

       a criminal background check on this informant would have revealed devastating information

       about his lack of credibility. Yet, that information is not in the affidavit.

               The defense does not make this claim lightly. Based on public records regarding pending

       prosecutions in state and federal court, the dates of alleged offenses, the specific drugs involved,

       and the specific weights of the specific drugs, the defense believes it knows the identity of the

       informant. For example, the affidavit in support of the complaint in this court against the

       suspected informant is signed by the same agent, Agent Burke. The complaint affidavit regarding

       the informant describes two motor vehicle stops of the suspected informant, just as in the

       affidavit for the search warrant for the Honda. The amounts and kinds of drugs seized in each

       stop are the same in both the complaint against the suspected informant and the affidavit for the

       search of the Honda. Defense counsel told the government the name of the person the defense

       believes to be the informant, but the government has not confirmed whether the defense is

       correct. Again, for obvious reasons, the defense is not stating that name in this motion.


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              If the defense is correct about the identity of the informant, that person not only has a

       serious criminal record which was not revealed to the court, one of those convictions is a felony

       conviction in New Hampshire Superior Court for falsifying physical evidence. To be clear, the

       defense believes the informant had a felony conviction for a crime of dishonesty, but that

       conviction was not revealed to the magistrate in the affidavit which bases probable cause almost

       entirely on the credibility of that same informant. The suspected informant’s criminal record,

       obtained by the defense, has been provided to the government. The defense expects that, if the

       defense is correct about the informant’s identity, the government will confirm as much and will

       provide an official criminal record check and other information consistent with the government's

       Brady obligations. The defense would, of course, agree to any reasonable protective order the

       government requested.

              In any event and in summary, the defense asserts that Agent Burke’s affidavit for the

       warrant to search Michael Francis’s white Honda Accord is so defective that the evidence

       obtained when that warrant was executed must be suppressed. It is defective because it does not

       state probable cause for the search of the Honda. Moreover, it is defective because the agent

       failed to include in the affidavit that the informant, who was the agent’s primary source of

       information, had a conviction for a prior felony involving acts of dishonesty.


       The Warrant Was Defective Because the Information from the Informant Did Not Establish
       Probable Cause to Search the Honda.

                Under the Fourth Amendment, a person has the right to “be secure in their persons,

       houses, papers, and effects, against unreasonable searches and seizures,” and “no warrants shall

       issue, but upon probable cause, supported by oath….” Although there are exceptions to the

       warrant requirement for cars, see generally Pennsylvania v. Labron, 518 U.S. 938 (1996); United

       States v. Ross, 456 U.S. 798 (1982), law enforcement here did not rely on such an exception.
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       Instead, they claim they had a valid search warrant based on the information Agent Burke

       received from his informant. Furthermore, if the Government responds by relying on such an

       exception, the argument will still fail because the agents did not have probable cause to search

       the car and cannot rely on the good-faith exception, as explained in this motion.

              In Illinois v. Gates, 462 U.S. 213, 103 S. Ct. 2317 (1983), the Supreme Court abandoned

       the two-pronged approach for evaluating probable cause in the context of confidential informant

       reliability from Aguilar v. Texas, 378 U.S. 108, 84 S. Ct. 1509 (1964) and Spinelli v. United

       States, 393 U.S. 410, 89 S. Ct. 584 (1969), and instead adopted a totality-of-the-circumstances

       approach. Gates, 462 U.S. at 238. While an informant’s “‘veracity,’ ‘reliability,’ and ‘basis of

       knowledge’ are all highly relevant in determining the value of his report,” “these elements

       should not be understood as entirely separate and independent requirements to be rigidly exacted

       in every case” but “should be understood simply as closely intertwined issues that may usefully

       illuminate the commonsense, practical question whether there is ‘probable cause’ to believe that

       contraband or evidence is located in a particular place.” Id. at 230. When assessing whether

       sufficient probable cause exists, the magistrate judge “is simply to make a practical, common-

       sense decision whether, given all the circumstances set forth in the affidavit before him,

       including the ‘veracity’ and ‘basis of knowledge’ of persons supplying hearsay information,

       there is a fair probability that contraband or evidence of a crime will be found in a particular

       place.” Id. at 238. The majority opinion referred to prior decisions, Jones v. United States, 362

       U.S. 257 (1960), Aguilar v. Texas, 378 U.S. 108 (1964), and Draper v. United States, 358 U.S.

       307 (1959), “that recognized the value of corroboration of details of an informant’s tip by

       independent police work.” Gates, 462 at 241.




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              In United States v. Maglio, 21 F.4th 179 (U.S. 1st Cir. 2021), a challenge to a search of a

       marijuana grow that relied, in part, on the information from an informant, the First Circuit

       summarized its jurisprudence regarding an informant’s credibility:

              “An informant’s trustworthiness may be enhanced in a number of ways, including his
              willingness to reveal his identity, the level of detail in his account, the basis of his
              knowledge, and the extent to which his statements are against his interest.” United States
              v. Tanguay, 787 F.3d 44, 50 (1st Cir. 2015) (citation omitted). “A probable cause finding
              may be based on an informant’s tip so long as the probability of a lying or inaccurate
              informer has been sufficiently reduced.” United States v. Gifford, 727 F.3d 92, 99 (1st
              Cir. 2013). In addition to the factors demonstrating probable veracity cited above, we
              consider “whether some or all of the informant's factual statements were corroborated
              wherever reasonable or practicable” and “whether a law enforcement affiant assessed,
              from his professional standpoint, experience, and expertise, the probable significance of
              the informant's provided information.”

       See id.,Maglio, 21 F.4th at 185.

              As to indicia of trustworthiness, the First Circuit in Maglio pointed to the facts that the

       informant’s identity was revealed, that he was in law enforcement custody, that he provided

       personal, first-hand observations of criminal activity, and that he was potentially implicating

       himself in a criminal conspiracy. Id. at 185-86. In addition, “the affidavit independently

       corroborated critical portions of [the informant’]s information. Id. at 186.

              The First Circuit’s discussion in United States v. Gifford, 727 F.3d 92 (1st Cir. 2013),

       affirming the trial court’s suppression of evidence, expounds on the factors necessary for a

       magistrate to credit the informant’s credibility:

              We apply a ‘nonexhaustive list of factors’ to examine the affidavit’s probable cause
              showing, which include, among others: (1) whether the affidavit establishes the probable
              veracity and basis of knowledge of persons supplying hearsay information; (2) whether
              an informant’s statements reflect first-hand knowledge; (3) whether some or all of the
              informant’s factual statements were corroborated wherever reasonable or practicable
              (e.g., through police surveillance); and (4) whether a law enforcement affiant assessed,
              from his professional standpoint, experience, and expertise, the probable significance of
              the informant’s provided information.

       Id. at 99, 102 (citing United States v. Tiem Trinh, 665 F.3d 1, 10 (1st Cir. 2011)).

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              The First Circuit has also opined on how an informant’s criminal record affects his

       credibility. So, for example, in United States v. Brown, 500 F.3d 48 (1st Cir. 2007), where the

       defendant was arrested for drug trafficking and then challenged whether the informant’s

       information supplied probable cause in light of the informant’s criminal record and outstanding

       criminal charges, the court said:

              To be sure, factors like an informant’s prior criminal record and desire to advantage
              himself with respect to pending criminal charges are to be considered in evaluating his
              reliability. But such considerations are not dispositive. The fact of the matter is that those
              who possess information about the inner workings of the drug trade are unlikely to be
              persons of impeccable moral integrity. While the source’s general credibility must be
              considered, all that the law requires is that, when all the pertinent considerations are
              weighed, the information reasonably appears to be reliable.

       Id. at 55. Because the confidential informant “provided a plethora of details about the alleged

       drug trafficker’s modus operandi” specifically “the type and quantity of the drugs in transit, the

       transporter’s method of travel, what bus line he would patronize, and the name of one of his

       confederates” as well as “the date, time, and place of the suspect’s arrival [], the identity of the

       person who would meet him there, the exact vehicle that would be deployed, and the suspect’s

       intended destination…the tip was sufficiently laden with details to demonstrate that the CI had

       inside knowledge of the events that he was describing.” Id. Thus, “the CI’s description, viewed

       in light of the totality of the circumstances, was constitutionally sufficient to justify reasonable

       suspicion.” Id.

              In United States v. Link, 238 F.3d 106 (1st Cir. 2001), a defendant challenged the

       probable cause for his arrest for being a felon in possession of a firearm on the grounds that the

       informant’s information was “either uncorroborated, non-incriminating, or unreliable.” Id. at

       109. The First Circuit disagreed because the district court had “correctly looked to the totality of

       the circumstances in evaluating whether Link’s arrest was supported by probable cause,”


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       specifically the “numerous pieces of information corroborated by the police.” Id. (internal

       quotations and citation omitted). The defendant also challenged the district court’s limitations on

       his cross-examination of the informant’s criminal history and police compensation. Id. at 111.

       The First Circuit disagreed, because Link was permitted to establish that the informant had a

       criminal record and his fee arrangement with police. Id. In addition, however, the court said,

       “any additional evidence concerning the informant’s convictions or payments was ultimately

       irrelevant” because “cross-examination serves to impeach credibility and expose witness’s biases

       and possible motives” and “[t]hat purpose becomes less germane where, as here, the information

       underlying a probable cause determination has already been corroborated.” Id. (internal citations

       and quotations omitted). Because “the informant’s tips in this case were diligently verified and,

       combined with the officers’ own observations,” there was “ample probable cause” and “[n]either

       a detailed account of the informant’s criminal record nor a further description of his payment

       schedule would alter this analysis.” Id. at 112.

              In United States v. Campbell, 732 F.2d 1017 (1st Cir. 1984), the First Circuit found

       insufficient probable cause for a search that relied on hearsay from two individuals, including a

       confidential informant. Id. at 1019-20. While not explicitly addressing how criminal records

       factor into a confidential informant’s credibility, the court did say, “[i]n substitution for a track

       record of reliability…the fact that he was not a professional informant, but a private citizen with

       no known criminal record or other criminal contacts, who came forward on his own…the

       informant’s story may be more easily accepted.” Id. at 1019 (citing Gates, 462 U.S. at 233;

       United States v. Burke, 517 F.2d 377, 379-81 (2d Cir. 1975); United States v. Mark Polus, 516

       F.2d 1290 (1st Cir., 1975), cert. denied, 423 U.S. 895, 46 L. Ed. 2d 127, 96 S. Ct. 195 (1975)).

       The First Circuit has referenced this language in United States v. Scalia, 993 F.2d 984, 987 (1st


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       Cir. 1993) (“In the absence of a prior record of reliability, we have recognized that, where

       the informant was not a professional . . . but a private citizen with no known criminal record or

       other criminal contacts, who came forward on his own . . . [,] the informant’s story may be more

       easily accepted . . . .”) (italics in original, quotation omitted);

       United States v. Tanguay, 787 F.3d 44, 50 (1st Cir. 2015) (“the statements of a law-abiding

       eyewitness to a crime are generally considered reliable without further corroboration”); United

       States v. Croto, 570 F.3d 11, 14 (1st Cir. 2009) (same); United States v. Schaefer, 87 F.3d 562,

       567 (1st Cir. 1996) (neighbors’ “complaints enjoy special stature since information provided by

       ordinary citizens has particular value in the probable cause equation”).

               Considering the law as established by the United States Supreme Court and the First

       Circuit, the totality of the circumstances stated in the affidavit for the search of the Honda do not

       establish probable cause for the search.

               Veracity. The informant’s veracity is not demonstrated in the affidavit. He was facing

       charges including 284 grams of methamphetamine in one instance, and 463 grams of

       methamphetamine in the other instance. He surely knew he was facing many years of prison. He

       had every motive to lie to help himself. In addition, there is no evidence that he had a track

       record of providing reliable information. The only track record he had was that, unlike a

       presumably reliable law-abiding private citizen, he had a long criminal record.

               Basis of Knowledge. The informant’s claimed basis of knowledge was that he purchased

       drugs in person from the defendant. He asserted purchases of certain amounts of drugs for certain

       prices. He claimed that the purchases were at or near Francis’s Honda, and that Francis had a gun

       in the car. However, these details of the alleged drug sales were not corroborated in any way.




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              Corroboration. The only corroboration of the informant’s claims are innocent facts. The

       informant stated the fact, which could be observed by anyone in public, that Francis drove a

       white Honda Accord. The informant also claimed that the location of the sales was some blocks

       from an address police associated with Mr. Francis in their database. Otherwise, the informant’s

       claims are uncorroborated. The agents did not observe Francis appearing to make a sale near the

       white Honda. The agents did not send the informant to make an undercover buy. The agents did

       not obtain fingerprints or some other link between the drugs the informant had and Francis. The

       informant did not even predict any innocent future behavior of Francis (beyond continued

       ownership of a white Honda).

              Law Enforcement Assessment of the Probable Significance of the Informant’s

       Information. Considering the pending charges and background of the informant, one would have

       expected the law enforcement assessment of the informant’s credibility to be thorough and

       detailed. It would be reasonable to expect that they would try to corroborate important details, or

       otherwise establish some basis for believing the informant was reliable. In the alternative, in

       some situations, the agent might describe how the informant had provided reliable information in

       other past cases. However, there is no such confirmation of reliability in Agent Burke’s affidavit.

       Thus, the law enforcement assessment of credibility should be given little weight.

              In summary, when an informant has a strong motive to lie and no track record as a

       reliable informant, there has to be something more, typically corroboration of the information

       provided, or a prediction of future criminal behavior by the suspect which comes to pass, or

       documented interaction involving a crime, such as a drug sale. That is simply lacking in Agent

       Burke’s application for a warrant to search the Honda. The affidavit does not establish the

       probable veracity and basis of the informant’s information. Rather, the informant has no track


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       record of providing reliable information. To the contrary, it is clear the informant has a

       motivation to lie to help himself try to avoid harsh sentence in his pending criminal cases.

       Considering these flaws in the affidavit, the court should find that it did not state probable cause

       for a search of the car.


       The Warrant Was Defective Because the Agent Omitted Critically Important Information About
       the Informant’s Credibility Which Further Confirms the Unreliability of the Informant.

               The lack of probable cause in the warrant is only the preliminary question because, if all

       of the information about the informant had been included, it would have been entirely clear that

       the informant lacked credibility.

               As noted above, it is common for informants to have criminal records. A criminal record

       alone would not raise major concerns. The distinction here is that this informant has a felony

       record for dishonesty. This information should be treated differently from merely “having a

       criminal record.” This point is explained in United States v. Rumney, 867 F.2d 714 (1st Cir.

       1989). In that case the defendant asked for a hearing pursuant to Franks v. Delaware, 438 U.S.

       154 (1978) (discussed in detail below). The defendant alleged omissions in the affidavit for a

       search warrant, one of which was the informant’s criminal record. Id. at 720. The First Circuit

       rejected the argument, finding that “the inclusion of [the informant’s] criminal record would not

       have altered the finding of probable cause” because “appellant d[id] not contend that [the

       informant’s] crimes were ones involving perjury or false statements[, a] criminal record, no

       matter how lengthy, does not necessarily impugn one’s veracity[, a]nd [the informant’s] criminal

       record ha[d] no bearing on his intimate knowledge of the crime.” Id. at 720-21. See also,

       Tanguay, 787 F.3d at 82 (“Excluding from a warrant application bare arrests for crimes that do

       not impugn an informant’s veracity does not offend the Franks standard.”).


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              This case has the critical fact which was missing in Rumney. If the defendant is correct

       about the informant’s identity, he was convicted of a crime of dishonesty. The agent either knew

       or should have known about that conviction, yet it was not in the affidavit. For this reason, the

       court should conduct a “Franks” hearing regarding the omission of that information, and

       thereafter grant the motion to suppress.

              The Supreme Court’s decision in Franks allowed defendants to attack the veracity of a

       warrant’s affidavit after the warrant had been issued and executed. The First Circuit’s

       understanding of the Franks’ standard is well-captured in United States v. McLellan, 792 F.3d

       200 (1st Cir. 2015) and thus worth quoting in full:

              As we have repeatedly emphasized, “[a]n affidavit supporting a search warrant is
              presumptively valid.” United States v. Gifford, 727 F.3d 92, 98 (1st Cir. 2013). Still, a
              defendant may attempt to rebut this presumption and challenge the veracity of the
              affidavit. Id.; see also Franks, 438 U.S. at 171. To do so, he or she must make “two
              substantial preliminary showings.” United States v. Rigaud, 684 F.3d 169, 173 (1st Cir.
              2012) (internal quotation marks omitted). First, the defendant must show “that a false
              statement or omission in the affidavit was made knowingly and intentionally or with
              reckless disregard for the truth.” Id.; see also Franks, 438 U.S. at 155-56; [United States
              v. ]Grant, 218 F.3d [72,] 77 [(1st Cir. 2000).]. Second, this “falsehood or omission [must
              have been] necessary to the finding of probable cause.” Rigaud, 684 F.3d at 173. In the
              case of an omission, this means establishing that the inclusion of the omitted information
              “would have led to a negative finding by the magistrate on probable cause.” Id. at 173
              n.5. A failure to make a showing on either of these two elements dooms the defendant’s
              challenge. Id. at 173.

              If, however, this preliminary showing is made, the defendant is entitled to a hearing –
              known as a Franks hearing – where he or she can try to establish by a preponderance of
              the evidence that the affiant did in fact make a false statement or omission “knowingly
              and intentionally, or with reckless disregard for the truth” and that “with the recklessly
              omitted information added to the affidavit, the reformed affidavit fails to establish
              probable cause.” Gifford, 727 F.3d at 98 (internal quotation marks omitted); see also
              Franks, 438 U.S. at 156; Rigaud, 684 F.3d at 173. Should the defendant establish by
              proof that these standards have been met, the warrant is voided and the fruits of the
              search are excluded. Gifford, 727 F.3d at 98; see also Franks, 438 U.S. at 156; Rigaud,
              684 F.3d at 173.

              As to the second prong, a warrant is based on probable cause when “‘the affidavit upon
              which a warrant is founded demonstrates in some trustworthy fashion the likelihood that

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              an offense has been committed and that there is sound reason to believe that a particular
              search will turn up evidence of it.’” United States v. Chiaradio, 684 F.3d 265, 279 (1st
              Cir. 2012)(quoting United States v. Aguirre, 839 F.2d 854, 857-58 (1st Cir. 1988)). It is
              not necessary, however, for that “’belief [to] be correct or more likely true than
              false.’” United States v. Feliz, 182 F.3d 82, 86 (1st Cir. 1999) (quoting Texas v. Brown,
              460 U.S. 730, 742, 103 S. Ct. 1535, 75 L. Ed. 2d 502 (1983) (plurality opinion)); see also
              United States v. Khounsavanh, 113 F.3d 279, 283 (1st Cir. 1997) (“[P]robable cause need
              not be tantamount to proof beyond a reasonable doubt. . . . Probability is the touchstone.”
              (alteration in original) (internal quotation marks omitted)). Instead, we “examine [an]
              affidavit in a practical, commonsense fashion.” United States v. Woodbury, 511 F.3d 93,
              98 (1st Cir. 2007) (alteration in original) (quoting Feliz, 182 F.3d at 86).

       McLellan, 792 F.3d at 208-9.

              In McLellan, the defendant appealed the denial of his request for a Franks hearing tied to

       a search of his residence for evidence of child pornography. Id. at 204. The First Circuit

       concluded that the information omitted from the warrant—namely the origins of the tip and links

       to other individuals—would have been “immaterial to the probable cause determination” nor

       would it have rendered the information in the warrant stale. Id. at 209-10. Because the

       defendant’s claim failed to satisfy Franks’ second prong, the First Circuit never addressed the

       Franks first prong. Id. at 210.

              The First Circuit’s decision in Tanguay, 787 F.3d 44, (a case arising from this court),

       provides an additional wrinkle to the Franks analysis. In Tanguay, the defendant appealed the

       district court’s denial of his motion to suppress on the grounds that with the inclusion of omitted

       material, the affidavit no longer supported a finding of probable cause, and that the district court

       erred in its “categorical ruling that the Franks doctrine is never implicated by the omission from

       a warrant affidavit of facts unknown to the affiant at the time of the application.” Id. at 48. As to

       the first argument, the First Circuit considered the question “close,” but nevertheless upheld “the

       district court’s conclusion that the affidavit, reformed only to include the recklessly omitted

       facts, remain[ed] sufficient to establish probable cause.” Id. at 51. But as to second argument, the


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       First Circuit held “that the district court erred in ruling as a matter of law that an affiant never

       has a duty to make further inquiry before presenting a warrant application to a magistrate.” Id. at

       53. The court added:

               All that is required to trigger an officer’s duty of further inquiry is her knowledge of an
               obvious and unexplored reason to doubt the truthfulness of the allegations. See [United
               States v. ]Ranney, 298 F.3d [74,] 78 [(1st Cir. 2002)]. When confronted with such a red
               flag, the officer should look into the matter even if she does not believe that what she will
               discover is likely to vitiate probable cause. After all, the officer is the only party who, in
               this context, has the tools to undertake any meaningful investigative work.

               The trigger for further investigation may function even when the officer’s obvious reason
               only serves to diminish her confidence to some modest degree. Pieces of evidence should
               not be assessed in isolation: “the whole sometimes can exceed the sum of the parts, and
               the appropriate test focuses on the totality of the circumstances.” Mariko v. Holder, 632
               F.3d 1, 6-7 (1st Cir. 2011).

       Tanguay, 787 F.3d at 53. As Circuit Judge Selya framed the discussion: “[i]t is common ground

       that a police officer seeking to obtain a search warrant should include in the affidavit

       accompanying the warrant application any facts known to her that are material to the existence

       vel non of probable cause.” Id. at 46 (citing United States v. Stewart, 337 F.3d 103, 107 (1st

       Cir.), as amended (Oct. 14, 2003)). “Under some limited circumstances, however, the officer’s

       duty may be broader: she may be obliged to inquire further in order to dispel serious doubts

       about either the credibility of an informant upon whom she relies or the veracity of the

       allegations underlying the attempted showing of probable cause.” Tanguay, 787 F.3d at 46. The

       First Circuit remanded the “fact-sensitive” inquiry to the district court so it could determine

       “whether the information known to [the officer] gave her an obvious reason to doubt [the

       informant’s] truthfulness and, thus, triggered a duty of further inquiry,” and “[i]f so, the court

       then must ask whether [the officer’s] doubts were of such a magnitude that her failure to conduct

       an additional inquiry evinced a reckless disregard for the truth as opposed to, say, mere

       negligence.” Id. at 54 (citing Ranney, 298 F.3d at 78).

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              On remand, Judge Laplante concluded that information known to police about the

       informant—namely that he had mental health issues, was a “police groupie,” and had a criminal

       record, most critically a conviction for uttering a false prescription—triggered the officer’s duty

       of inquiry. United States v. Tanguay, 2015 DNH 188 at *3. The court also found the officer to be

       reckless, and not merely negligent, in failing to inquire further, “by inference from circumstances

       evincing obvious reasons to doubt the veracity of the allegations.” Id. at *4 (quoting Tanguay,

       787 F.3d at 52). Next, the district court found that had the officer made good-faith efforts to

       inquire further, she “would have discovered new information that should have been included in

       the affidavit,” namely the informant’s juvenile adjudication for making a false report to law

       enforcement. Id. at *9-10. However, the district court then concluded that even with the

       additional information, the totality of circumstances still supported a finding of probable cause

       because the informant, was an eyewitness not involved in the crime of which he reported, had no

       ulterior motive, admitted that compromising photos of himself would be found in the defendant’s

       possession, and was willing to be identified despite the potential revelation of his sexual

       orientation. Id. at *12-13. The district court thought these factors were not overborne “by the

       1998 false report juvenile adjudication” given the latter’s staleness and lack of false accusation

       against any specific individual. Id. at *14. On appeal to the First Circuit a second time, the court

       affirmed the district court’s finding. United States v. Tanguay, 811 F.3d 78 (1st Cir. 2016).

              Here, the defense asserts that the omission of the critically important material fact – that

       the informant had a criminal record for dishonesty – was at least reckless. Even if Agent Burke

       did not subjectively know that the informant had a felony criminal record for dishonesty, it was

       reckless of him to not find out that information and include it in the application for the warrant.

       After all, he had the informant in custody for serious drug charges. Both for investigative and


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       security purposes, it would be normal to run a criminal records check. If the omitted information

       had been included in the affidavit, it would have tipped the balance towards not issuing the

       warrant. The affidavit was already lacking indicia of the informant’s reliability. Under New

       Hampshire law, the crime of falsifying physical evidence is a crime in the chapter of the

       Criminal Code called “Falsification in Official Matters.” The crime is committed when,

       “believing that an official proceeding . . . or investigation is pending or about to be instituted,”

       the person “[a]lters, destroys, conceals or removes any thing with a purpose to impair its verity

       or availability in such proceeding or investigation,” or “[m]akes, presents or uses any thing

       which he knows to be false with a purpose to deceive a public servant who is or may be engaged

       in such proceeding or investigation.” See NH RSA 641:5. In other words, Agent Burke presented

       the Magistrate with information from an informant who, unbeknownst to the Magistrate, was

       exactly the kind of person who is not reliable – someone who has been convicted of falsification

       in an official proceeding.

              Agent Burke knew or should have known about the informant’s conviction. When the

       conviction is considered along with the lack of corroboration in the affidavit, it is clear probable

       cause is lacking. If Magistrate Lynch had known of the informant’s conviction, he would not

       have issued the search warrant for the car.


       The Good-Faith Exception Does Not Save the Government Here.

              “Suppression therefore remains an appropriate remedy if the magistrate or judge in

       issuing a warrant was misled by information in an affidavit that the affiant knew was false or

       would have known was false except for his reckless disregard of the truth. Franks v. Delaware,

       438 U.S. 154 (1978).” United States v. Leon, 468 U.S. 897, 923 (1984). See also. Illinois v.

       Gates, 462 U.S. 213, 264 (1983), White, J., concurring (“Similarly, the good-faith

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       exception would not apply if the material presented to the magistrate or judge is false or

       misleading….”).

              In Leon, the Supreme Court held that even in the absence of probable cause, the

       exclusionary rule should apply only where excluding evidence would have a substantial deterrent

       effect on the police. See 468 U.S. at 906. Thus, the police are not entitled to rely on a warrant

       where, inter alia, the issuing magistrate "was misled by information in an affidavit that the

       affiant knew was false or would have known was false except for his reckless disregard of the

       truth." Id. at 924. Stated another way, the police cannot claim good-faith reliance on a

       magistrate’s determination of probable cause when the police have reckless failed to provide the

       magistrate with important information. First Circuit law is, of course, in agreement. See United

       States v. Vigeant, 176 F.3d 565, 571-72 (1st Cir. 1999) (refusing to apply good-faith exception

       where affiant's “numerous omissions of material facts were at least reckless” and government

       “offered no rational explanation” for them); see also Pagán-González v. Moreno, 919 F.3d 582,

       613 (1st Cir. 2019), Barron, J., concurring.

              For this reason, the Government cannot point to Magistrate Lynch’s issuance of the

       search warrant and claim that law enforcement relied on that. In plain English, it would not be

       fair to let law enforcement recklessly fail to provide information to the court, then claim good-

       faith reliance on the court’s issuance of a warrant.


       The Court Should Conduct an Evidentiary Hearing on this Motion

              If the only issue raised was the sufficiency of the affidavit, a hearing would not be

       necessary. However, the defense asserts that Agent Burke omitted important evidence regarding

       the credibility of the informant, namely, that he was convicted of a crime of dishonesty. This is

       information which the Agent should have known, and which would have resulted in the search

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       warrant not being issued. Unless the government is able to demonstrate by evidence filed with

       the court that the defense is wrong about the identity of the informant, the court should hold an

       evidentiary hearing. The defense has shown “that material facts are in doubt or dispute, and that

       such facts cannot reliably be resolved on a paper record . . . .” United States v. Maglio, 21 F.4th

       179, 187 (1st Cir. 2021), quoting United States v. Ponzo, 853 F.3d 558, 572 (1st Cir. 2017)

       (internal quotation marks and other citations omitted).


       Conclusion

              For the foregoing reasons, the defense requests that all evidence seized from the white

       Honda Accord be suppressed.

               WHEREFORE, the defense respectfully asks the court to schedule a hearing on this

       motion and thereafter suppress from use at trial all evidence resulting from the search of the

       Honda Accord described in Exhibit C, including the evidence described in Exhibits A and B.

       Date: September 27, 2022                                      Respectfully submitted
                                                                     by counsel for Michael Francis,

                                                                     /s/ Richard Guerriero
                                                                     Richard Guerriero, Esq.
                                                                     N.H. Bar No. 10530
                                                                     Lothstein Guerriero, PLLC
                                                                     Chamberlain Block Building
                                                                     39 Central Square, Suite 202
                                                                     Keene, NH 03431
                                                                     Telephone: (603) 352-5000
                                                                     richard@nhdefender.com

                                         CERTIFICATE OF SERVICE

               I hereby certify that this document, filed through the ECF system, will be sent
       electronically to registered participants identified on the Notice of Electronic Filing (NEF) and
       paper copies will be sent to the nonregistered participants on the date the document was signed
       by me.
               _                                                      /s/ Richard Guerriero
                                                                      Richard Guerriero

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                                 Manchester NH Police Department
                                          405 Valley St, Manchester, NH 03103
                                                     603-668-8711

                                                                                              Case Number: 21-012527


 In speaking with Francis's Parole officer, PPO Duffy, it was established by PPO Duffy that Francis would be violated on
 his Parole. At the above said time, Francis was observed exiting his white 2021 Honda Accord NH 4917333, and entering
 into T.D. Bank on 293 S. Main St. Another subject in the vehicle identified as:



 (SUSPECT)

 Emilio Flores

       1991



 Manchester NH



 had a Parole Warrant issued for his violations of Rules 1,3,7, and 11 which were signed into effect on 05/22/2019 by
 PPO Bernard.



 Both subjects were identified and MPD SWAT took both subjects into custody without incident.

 Francis's vehicle was seized and towed to Manchester Police Department Headquarters (MPDHQ). The vehicle was
 followed into HQ by Detective Nocella.

 The vehicle was secured in the MPD HQ secure lot and a search warrant issued by the FBI was effected on the vehicle.
 Inside the vehicle was located $10,000.00 and 1,017.2 grams of a white powdery substance which tested positively
 presumptive for cocaine.




 NFI/CMM




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                                         Manchester Police Department                                     Case Number: 21-012527
                                          405 Valley St, Manchester, NH 03103


 Officer(s):
 Officer:                                Involvement Date:                                Involvement Type:
 Nocella, Matthew 100493                 09/01/2021 17:31:00                              REPORT: :Reporting

 Event Details:
 Date I Time Reported:                   Start Date I Time:                               End Date / Time:


 Location of Incident:




 Suspect(s):
            Name:                          DOB:                                           Hair:    Eye:    Height:    Weight:
   1        FRANCIS, MICHAEL T             -987                                           BLK BRO 6'00"               215
 Address:                                  Phone 1:                                       Email:
                          , Chester,NH
 031025235
 Employer:                                 Occupation Type:                               Work Phone:




            Name:                                                    Age:    Race: Sex:   Hair:    Eye:    Height:    Weight:
   2        FLORES, EMILIO                .1991                      30      w     M      BRO BRO 6'03"               245
 Address:                                  Phone 1:                  Phone 2:             Email:
                         Manchester,NH 03103 --0689
 Employer:                                 Occupation Type:                               Work Phone:
 UNEMPLOYED                                UNEMPLOYED




 Organization(s):
                                           Address:                                           Phone:




 Involved Person(s):
                                           DOB:                       Age:   Race: Sex:   Hair:    Eye:     Height:       Weight:
   1                                                                                                      I Ill       '

 Address:                                  Phone 1:                   Phone 2:            Email:


 Employer:                                 Occupation Type:                               Work Phone:


                                          1                                               1


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                                                          Manchester Police Department                              Case Number: 21-012527
                                                          405 Valley St, Manchester, NH 03103


 Property:
           Description:                                                                Status:            Make:                  Model:
   1       MN1 Holster                                                                 SEIZED
 Serial Number:                                  Color:                  Quantity:               Value:            Property Taken into Evidence?
                                                                                                                   Yes
           Description:                                                                Status:            Make:                  Model:
   2       MN2 Black lphone                                                            SEIZED
 Serial Number:                                  Color:                  Quantity:               Value:            Property Taken into Evidence?
                                                                                                                   Yes
           Description:                                                                Status:            Make:                  Model:
   3       MN3 Silver lphone                                                           SEIZED
 Serial Number:                                  Color:                  Quantity:               Value:            Property Taken into Evidence?
                                                                                                                   Yes
           Description:                                                                Status:            Make:                  Model:
   4 MN7 (2) Black Bandanas                                                            SEIZED
 Serial Number:                                  Color:                  Quantity:               Value:            Property Taken into Evidence?
                                                                         2.0000                                    Yes
           Description:                                                                Status:            Make:                  Model:
   5       MN4 $5,000                                                                  SEIZED
 Serial Number:                                  Color:                  Quantity:               Value:            Property Taken into Evidence?
                                                                                                                   Yes
           Description:                                                                Status:            Make:                  Model:
   6       MN5 $5,000                                                                  SEIZED
 Serial Number:                                  Color:                  Quantity:               Value:            Property Taken into Evidence?
                                                                                                                   Yes


 Vehicle(s):
           Plate#:        rPlate State:   Plate Type:            Year:                 Make:              Model:                 Colors:
   1       4917333         �H                                    2021                  Honda              ACCORDS                White
 VIN:                                                            Vehicle Type:                            Value:
 1 HGCV1 F5XMA001620
 Status:                                  Towed?                                 Towed By:                         Towed To:



 Drug(s):
           Drug Type:             Quantity:               Drug Description:
           COCAINE (ALL           1017.2000 GRAM          MN6 Cocaine
   1       FORMS EXCEPT
           "CRACK")                                       1


 Narrative
 Nocella - Search Warrant I Evidence Tech - 09/01/2021
 MO: Executed a search warrant on NH 4917333 at the MPD secured lot.
 On 09/01/2021 at approximately 0900 I (Detective Nocella) was assigned to the Special Enforcement
 Division / Street Crime Unit. I was dressed in plain clothes while operating an unmarked police
 vehicle. At the aforementioned date and time, surveillance was set on 231 Thornton Street in



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                                    Manchester Police Department                 Case Number: 21-012527
                                     405 Valley St, Manchester, NH 03103

 reference to a search warrant that had been signed for the following vehicle:

 NH Reg: 4917333
 2021 Honda Accord
 White

 The search warrant for the aforementioned vehicle was signed by the Honorable Daniel J. Lynch out
 of the Federal Court District of NH. The registered owner of the vehicle was identified as:
 Michael Francis
 DOB:        1987
                     City
 Francis was ultimately stopped at the TD Bank located at 293 S. Main Street, City, and placed under
 arrest. The front passenger of the vehicle at the time was identified as:
 Emilio Flores
 DOB:         1991
                        City
 and also placed under arrest. Queen City responded to the scene to tow the aforementioned vehicle
 back to HQ for the search warrant. I secured the vehicle and followed the tow back to HQ calling in
 the proper mileage. Once off at HQ, Sergeant Lorenzo and I executed the search of the vehicle.
 Prior to beginning the search, I took overview photos of the exterior and interior of the vehicle. These
 photographs were saved on my Bodyworn Camera. At approximately 1620, the search began and
 the following items of evidentiary value were seized and entered into evidence as follows:
 MN1: At approximately 1633, I located a tan Blackhawk firearm holster underneath the driver seat.
 MN2: At approximately 1635, Sergeant Lorenzo located a Black lphone on the front passenger seat.
 MN3: At approximately 1635, Sergeant Lorenzo located a Silver lphone on the front passenger
 floorboard.
 MN4: At approximately 1638, I located US currency in the center console. This would later be
 counted and totaled $5,000.00 which was all in one hundred dollar bill denominations (50 one
 hundred dollar bills).
 MN5: At approximately 1639, Sergeant Lorenzo located US currency in the front passenger side
 door handle. This would later be counted and totaled $5,000.00 which was all in one hundred dollar
 bill denominations (50 one hundred dollar bills).
 MN6: At approximately 1642, Sergeant Lorenzo located a large amount of suspected Cocaine on the
 rear passenger side seat. The suspected Cocaine was inside of a white gift bag with tissue paper
 stuffed inside of it. Upon further examination, the suspected Cocaine was pressed and in the form of
 a "Brick" which is the terminology used to describe the appearance and the weight which is usually
 equivalent to a kilogram. The suspected Cocaine was in a vacuum sealed plastic packaging, and this
 was placed into a large freezer zip lock bag. The suspected Cocaine also had a stamp on it which is
 usually developed when a press is utilized to package the substance in the form of a brick. I would
 photograph this stamp and save it on my Bodyworn Camera. I weighed the suspected Cocaine




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                                  Manchester Police Department               Case Number: 21-012527
                                   405 Valley St, Manchester, NH 03103

 which was 1017.2 grams. I then utilized a SIRCHIE NARK test kit #NAR10013. The test produced a
 brilliant blue flaky precipitate which is indicative of Cocaine.
 MN7: At approximately 1649, Sergeant Lorenzo located (2) Black Bandanas in the trunk of the
 vehicle.
 The search was concluded at 1653. All items seized as evidence during the search were
 photographed in place and saved to my Bodyworn Camera. I would then take interior and exterior
 photographs of the vehicle after the search was completed and save them on my Bodyworn Camera.
 During the search, 38 photographs were taken and the following is a description of each:
 1: Front of the vehicle prior to the search.
 2: Driver side of the vehicle prior to the search.
 3: Trunk of the vehicle prior to the search.
 4: Passenger side of the vehicle prior to the search.
 5: Interior of driver side door prior to the search.
 6: Interior of the driver side prior to the search.
 7: Interior of the rear driver side door prior to the search.
 8: Interior of the rear driver side prior to the search.
 9: Interior of the trunk prior to the search.
 10: Interior of the rear passenger side door prior to the search.
 11: Interior of the rear passenger side prior to the search.
 12: Interior of the front passenger side door prior to the search.
 13: Interior of the front passenger side prior to the search.
 14: Tan Blackhawk holster located under the drivers seat (MN 1).
 15: Close up of tan Blackhawk holster located under the drivers seat (MN 1).
 16: Black lphone located on the front passenger seat (MN2).
 17: Silver lphone located on the front passenger floorboard (MN3).
 18: $5,000.00 located in the center console (MN4).
 19: $5,000.00 located in the door handle of the front passenger door (MN5).
 20: Suspected Cocaine located in a white gift bag on the rear passenger side seat (MN6).
 21: Black bandana located in the trunk (MN?).
 22: Black Bandana located in the trunk (MN?)
 23: Vehicle registration to Michael Francis for the aforementioned vehicle.
 24: Vehicle identification number (VIN#) for the aforementioned vehicle.
 25: Copy of the search warrant and evidence log.
 26: Interior of the driver side door after the search
 27: Interior of the driver side after the search.
 28: Interior of the rear driver side door after the search.
 29: Interior of the rear driver side after the search.
 30: Interior of the trunk after the search.
 31: Interior of the rear passenger side door after the search.
 32: Interior of the rear passenger side after the search.
 33: Interior of the front passenger side door after the search.
 34: Interior of the front passenger side after the search.
 35: Front of the vehicle after the search.



       9/2/2021 10:43:23 AM                   Page 4 of 5                   Inform RMS System
                                                                            Account
                                      JOINT APPENDIX 48



                                                                                        USAN H-00000015
Case: 24-1386 Case
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                                    Manchester Police Department          Case Number: 21-012527
                                    405 Valley St, Manchester, NH 03103

 36: Driver side of the vehicle after the search.
 37: Trunk of the vehicle after the search.
 38: Passenger side of the vehicle after the search.
 NFI/MN




       9/2/2021 10:43:23 AM                    Page 5 of 5                Inform RMS System
                                                                          Account
                                       JOINT APPENDIX 49



                                                                                     USAN H-00000016
Case: 24-1386 Case 1:21-cr-00153-PB
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AO 93C (08/18) Warrant by Telephone or Other Reliable Electronic Means                   0 Original                O Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                            for the
                                                                District of New Hampshire

                  In the Matter of the Search of                                )
              (Briefly describe the property to be searched                     )
               or identi.fj, the person by name and address)                    )      Case No. 21-mj-220-01-DL
 WHITE 2021 HONDA ACCORD REGISTERED TO                                          )
 "FRANCIS, l\lnCHAEL T" ASSJNGED NH LICENSE                                     )
 PLATE 4917333 WlTH A LISTED VIN OF
                                                                                )
 IHGCV1FSXMA00l620 AS OF AUGUST 23, 2021
                 WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search and seizure
of the following person or property located in the   _ _   _ __ _      _ _ District of                New Hampshire
(idemijj, the person or describe the property to be searched and give ifs location):
  See Attachment A




        1 find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identijj, the person or describe the property to be seized):
 See Attachment B




          YOU ARE COMMANDED to execute this warrant on or before _ _________    _                        (not to exceed 14 days)
      t;f in the daytime 6:00 a.m. to 10:00 p.m. 0 at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the prope1ty taken to the
person from whom, or from whose premises, the prope1iy was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                          Daniel J. Lynch
                                                                                                      (United Stales Magistrate Judge)

     0 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result I isted in 18 U .S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property will be searched or seized (check the appropriate box)
     0 for _ _    days {not to exceed 30) 0 until, the facts justifying, the later specific date of


Date and time issued:


City and state:     Concord, New Hampshire
                                                               JOINT APPENDIX 50



                                                                                                                                         USANH-00000189
Case: 24-1386 Case 1:21-cr-00153-PB
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AO 93C {08/18) Warrant b)' Telephone or Other Reliable Electronic Means (Page 2)

                                                                              Return
Case No.:                       Date and time warrant executed:                            Copy of warrant and inventory left with:
 21-rnj- 220-01-DL               9/1/2021 @ 1620                                            Left in vehicle
Inventory made in the presence of:
                                                Sgt. Joe Lorenzo
Inventory of the prope1ty taken and name(s) of any person(s) seized:
       See attached search warrant log.




                                                                           Certification


        l declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.


                                                                                   Ryan s Burke
                                                                                                                 Digitally signed by Ryan S. Burke
                                                                                                                 DN: �n=Ryan s. Bu�ke, o, ou=FBI,
                                                                                               •                 email=rsburke@fb1.gov, c=US
 Date:      09/08/2021                                                                                           Date. 202t:09.08 13.59.�'00'-"
                                                                                                   Executing officer's signature
                                                                                   Ryan S. Burke, Special Agent
                                                                                                      Printed name and title




                                                                JOINT APPENDIX 51



                                                                                                                                     USANH-00000190
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                                   Manchester Police Department
                                       Search Warrant Log

     Location of Search Warrant:___lj_tO._._________________
     Name of Defen da n t: _.!..,_                      l.
                               f ___:1 �:c=· -=.:..:;__J!.-Jt..,_JfG¼�\ l:::..._;_( ___________
                                                 v



    Search _s�art: Date                       tf./r (l\               Time        f t>iO
    Search End:                 Date         qµ,f1J                   Time        1653
     Item#          Time                    Evidence Seized                          Location of Evidence                Seized by

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                                                             JOINT APPENDIX 52
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    ;\!PD FOR.\12-11 (m·isrd -1/6/17)



                                                                                                                             USAN H-00000191
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                                               ATTACHMENT A

                                             Property to be Searched

                The property to be searched is the entire passenger compartment and trunk or storage space,

         and any closed or locked containers found therein, including mobile electronic devices, of the

                       White 2021 Honda Accord registered to "Francis, Michael T" assigned New
                       Hampshire license plate 4917333 with a listed Vehicle Identification Number of
                       IHGCVl F5XMA001620, as of August 23, 2021,

         which is currently in the possession of Michael Francis within the District of New Hampshire.




                                           JOINT APPENDIX 53



                                                                                                     USANH-00000192
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                                                     ATTACHMENT B

                                      Description of Information or Items to Be Seized

        L      All records, in whatever form, and tangible objects that constitute evidence, fruits, or

        instrumentalities of 18 U.S.C. § 922(g)(1) [Felon in Possession of Ammunition & Firearm], 18

        U .S.C. § 924(c) [Possession of a Firearm in Fmiherance of a Drug Trafficking Offense], 21 U .S.C.

        § 841 [Distribution of Controlled Substances], 21 U.S.C. § 846 [Conspiracy to Distribute

        Controlled Substances], and 18 U.S.C. § 521 [Criminal Street Gangs], including information and

        items related to:

                   a. The identities of who uses, occupies, or controls the vehicle;
                   b. Firearms, weapons, ammunition, and firearms-related accessories;
                   c. Controlled substances and materials consistent with controlled substances
                      packaging;
                   d. DNA sample(s) from the vehicle's occupants;
                   e. Criminal street gang affiliation and criminal street gang activity, such as acts of
                      violence and other criminal activity in furtherance of the criminal street gang or
                      conducted by its members;
                   f. United States currency, foreign currencies, and other forms of currency acquired
                      or used during transactions involving contraband;
                   g. Places and locations where evidence of the above-referenced criminal offenses
                      was obtained or discarded, or is currently stored;
                   h. The identities of any co-conspirators, as well as any co-conspirators' acts taken in
                      furtherance of the offenses enumerated in this application;
                   1.         Electronic devices, including mobile electronic equipment, serial numbers or any
                              electronic identifiers that serve to identify the equipment, and the information
                              stored electronically on the devices, specifically:
                         i.          telephone logs, contact lists, other records reflecting names, aliases,
                                     addresses, telephone numbers, and other contact or identification data;

                        11.          the actual and attempted possession, purchase, receipt, sale, pawn, trade,
                                     transfer, transpo1iation, shipment, or other disposition of firearms and
                                     ammunition and controlled substances, including buyer lists, seller lists,
                                     notes, pay-owe sheets, records of sales, logs, receipts, and communications;


                                                 JOINT APPENDIX 54



                                                                                                            USANH-00000193
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                    iii.      criminal street gang affiliation and criminal street gang activity, such as acts
                              of violence and other criminal activity in fu1therance of the criminal street
                              gang or conducted by its members;

                    1v.       messages and other communications related to firearms and controlled
                              substances violations and criminal street gang affiliation and activity;

                     v.       photographs, images, and depictions of firearms, controlled substances,
                              criminal street gang affiliation and activity, and currency;

                    vi.       who used, owned or controlled the equipment;

                   vii.       when the equipment was used;

                   v111.      the travel and whereabouts of the user of the equipment;

                    1x.       the attachment of other hardware or storage media;

                     x.       the use of counter-forensic programs and associated data that are designed
                              to eliminate data;

                    xi.       passwords, encryption keys, and other access devices that may be necessary
                              to use the equipment;

                   x11.       accounts associated with software services or services providing Internet
                              access or remote storage of either data or storage media; and

                  x111.       serial numbers and any electronic identifiers that serve to identify the
                              equipment.

        IL     For any computer or storage medium whose seizure is otherwise authorized by this

        warrant, and any computer or storage medium that contains or in which is stored records or

        information that is otherwise called for by this warrant (hereinafter, "COMPUTER"):

                   a. Items described in Paragraph f (a) through (i);
                   b. evidence of who used, owned, or controlled the COMPUTER at the time the
                      things described in this warrant were created, edited, or deleted, such as logs,
                      registry entries, configuration files, saved usernames and passwords, documents,
                      browsing history, user profiles, email, email contacts, "chat," instant messaging
                      logs, photographs, and correspondence;
                   c. evidence of software that would allow others to control the COMPUTER, such as
                      viruses, Trojan horses, and other forms of malicious software, as well as evidence
                      of the presence or absence of security software designed to detect malicious
                      software;



                                          JOINT APPENDIX 55



                                                                                                        USANH-00000194
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                   d. evidence of the lack of such malicious software;
                   e. evidence indicating how and when the computer was accessed or used to
                      determine the chronological context of computer access, use, and events relating
                      to crime under investigation and to the computer user;
                   f. evidence indicating the computer user's state of mind as it relates to the crimes
                      under investigation;
                   g. evidence of the attachment to the COMPUTER of other storage devices or similar
                      containers for electronic evidence;
                   h. evidence of counter-forensic programs (and associated data) that are designed to
                      eliminate data from the COMPUTER;
                   1.   evidence of the times the COMPUTER was used;

                   J·   passwords, encryption keys, and other access devices that may be necessary to
                        access the COMPUTER;
                   k. documentation and manuals that may be necessary to access the COMPUTER or
                      to conduct a forensic examination of the COMPUTER;
                   I.   records of or information about Internet Protocol addresses used by the
                        COMPUTER;
                   m. records of or information about the COMPUTER's Internet activity, including
                      firewall logs, caches, browser history and cookies, "bookmarked" or "favorite"
                      web pages, search terms that the user entered into any Internet search engine, and
                      records of user-typed web addresses;
                   n. contextual information necessary to understand the evidence described in this
                      attachment.

               As used above, the terms "records" and "information" includes all forms of creation or

        storage, including any form of computer or electronic storage (such as hard disks or other media

        that can store data); any handmade form (such a;; writing); any mechanical form (such as printing

        or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,

        videotapes, motion pictures, or photocopies).

               The term "computer" includes all types ofelectronic, magnetic, optical, electrochemical,

        or other high speed data processing devices perforn,ing logical, arithmetic, or storage functions,

        including desktop computers, notebook computers, 111.obile phones, tablets, server computers, and



                                           JOINT APPENDIX 56



                                                                                                      USAN H-00000195
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         network hardware.

                The term "storage medium" includes any physical object upon which computer data can

         be recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs, and

         other magnetic or optical media.

                This warrant authorizes a review of electronic storage media and electronically stored

         information seized or copied pursuant to this warrant in order to locate evidence, fruits, and

         instrumentalities described in this warrant. The review of this electronic data may be conducted

         by any government personnel assisting in the investigation, who may include, in addition to law

         enforcement officers and agents, attorneys for the government, attorney support staff, and

        technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the seized or

         copied electronic data to the custody and control of attorneys for the government and their

        suppmt staff for their independent review.

                During the execution of the search of the property described in Attachment A, law

         enforcement officers are authorized to ( 1) press or swipe the fingers (including thumbs) of any

        individual, who is found in the Target Vehicle and reasonably believed by law enforcement to be

        a user of the device, to the fingerprint scanner of the device; and/or (2) hold the device in front of

        the face of those same individuals and activate the facial recognition feature, for the purpose of

        attempting to unlock the device in order to search its contents as authorized by this warrant.




                                            JOINT APPENDIX 57



                                                                                                          USANH-00000196
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   AO 106!\ (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                          UNITED STATES DISTRICT COURT
                                                                          for the
                                                              District of New Hampshire

                 In the Matter of the Search of
                                                                                  )
             (Briefly describe the property to be searched                        )
                                                  Case No. 21-mj- 220-01-DL
              or identify the person by name and address)
                                                                                  )
  WHITE 2021 HONDA ACCORD REGISTERED TO
                                                                                  )
  "FRANCIS , MICHAEL T" ASSrNGED NH LICENSE PLATE                                 )
  4917333 WITH A LISTED VIN OF IHGCVIF5XMA001620                                  )
  AS OF AUGUST 23, 2021
      APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of pe1j ury that l have reason to believe that on the following person or property (identi/jl the person or describe the
   property to be sear ched and give its location):
     See Attachment A

   located in the                                     District of -         New Hampshire- -
                                                                          --------'--
                                                                          -                - , there is now concealed (identify the
   person or describe the properly to be seizeclj:
    See Attachment B


             The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
                  � evidence of a crime;
                  � contraband, fruits of crime, or other items illegally possessed;
                    0 property designed for use, intended for use, or used in committing a crime;
                    0 a person to be arrested or a person who is unlawfully restra.ined.
             The search is related to a violation of:
                Code Section                                                                  Offense Description
          18 USC §922(g)(I ); 18 USC§924(c)           Felon in Possession of Ammunition and Firearm; possession of firearm in furtherance of Drug Trafficking
          21 USC§§846; 84l(a)                          Conspiracy to Distribute and Distribution ol'Controlled Substances
          18USC§521                                    Criminal Street Gang

            The application is based on these facts:
           See the Affidavit of Ryan S. Burke, FBI

              Ji" Continued on the attached sheet.
              0 Delayed notice of __ days (give exact ending date !f more than 30 days: ----                                     - J is requested under
                18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                                               /s/ Ryan S. Burke
                                                                                                               Applicant's signature

                                                                                                            Ryan S. Burke, SA FBI



                                                                                                                            0v__....
                                                                                                               Printed name and title

   Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4. l by
                                                                         {,p,dfY -,Hob/,e/ec              a ,)-         •
                                                                                                           :
                                                                                                �

                                                                                                                  �ro

   City and state: Concord, New Hampshire                                                         Daniel J. Lynch, US Magistrate Judge
                                                                                                              Printed name and title


                                                              JOINT APPENDIX 58



                                                                                                                                                   USANH-00000857
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                                    AFFIDAVIT IN SUPPORT OF AN
                                APPLICATION FOR A SEARCH WARRANT

                I, Ryan S. Burke, depose and state as follows:

                                            AGENT BACKGROUND

                1.     I am a Special Agent of the Federal Bureau of Investigation ("FBI") and have been

         so employed since October 2012. I am currently assigned to the FBI's New Hampshire Resident

         Agency where I am tasked with investigating violent criminals and major offenders throughout the

        state. I primarily work alongside the Manchester Police Department ("MPD") as part of an

        initiative focused on reducing gun violence and other crime in the city of Manchester.

                2.     Throughout my career, I have led and/or been involved with investigations of

        robberies, kidnappings, murders, fugitives, extortions, threats, drug distribution, illegal possession

        of firearms, and other crimes. My investigations have included the use of the following

        investigative techniques: physical surveillance; handling of cooperating sources and witnesses;

        exploitation of cellular, social media, and Internet Protocol ("IP") based communications data;

        execution of search and seizure warrants; wire, electronic, and oral wiretaps; and the execution of

        arrest warrants.

                3.     Based on my training, experience, and information provided to me by other law

        enforcement officers, I am familiar with the modus operandi used by individuals engaged in the

        violation of various criminal offenses, such as those related to acts of violence, firearms, and

        controlled substances. For example, I have handled many cooperating sources and witnesses who

        have provided information to me specifically related to shootings, the distribution of controlled

        substances, and various firearms offenses. I have also reviewed thousands· of court-authorized

        wiretap intercepts between drug traffickers, violators of firearm offenses, individuals conspiring

        to commit armed robbe�ies, and individuals engaged in the violation of other offenses. Many of




                                           JOINT APPENDIX 59



                                                                                                        USAN H-00000858
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        these investigations have resulted in the execution of search warrants, arrest warrants, and eventual

        convictions.

                                             PURPOSE OF AFFIDAVIT

               4.         I submit this affidavit in support of an application for a warrant to search the

        following vehicle (hereafter, the "Target Vehicle"):

                     a.       White 2021 Honda Accord registered to "Francis, Michael T"
                              assigned New Hampshire license plate 4917333 with a listed
                              Vehicle Identification Number of 1HGCV1F5XMA001620, as of
                              August 23, 2021.

                5.        Based on the information contained herein, there is probable cause to believe that

        the Target Vehicle contains evidence, fruits, and instrumentalities of the crimes of 18 U .S.C. §

        922(g)(l) [Felon in Possession of Ammunition & Firearm], 18 U.S.C. § 924(c) [Possession of a

        Firearm in Furtherance of a Drug Trafficking Offense], 21 U .S.C. § 841 [Distribution of Controlled

        Substances], 21 U.S.C. § 846 [Conspiracy to Distribute Controlled Substances], and 18 U.S.C. §

        521 [Criminal Street Gangs].

               6.         The information set forth in this affidavit is based on my personal paiticipation in

        this investigation, as well as my training and experience, and information received from other law

        enforcement officers. I have not set forth every detail I or other law enforcement officers know

        about this investigation but have set fo1th facts that I believe are sufficient to evaluate probable

        cause as it relates to the issuance of the requested warrant.

                                                PROBABLE CAUSE

               7.         On_, 2021, MPD conducted a motor vehicle stop of

                                                          As a result of the motor vehicle stop, the -

        -was seized pending application for a search warrant, which was ultimately granted. The

        search of the vehicle resulted in the seizure of approximately 284.5 grams of a substance which


                                                           2


                                             JOINT APPENDIX 60



                                                                                                        USAN H-00000859
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        field-tested positive for methamphetamine, 85.9 grams of a substance believed to be

        heroin/fentanyl, 7 .5 grams of a substance which field-tested positive for crack cocaine, and a

        digital scale commonly used by drug traffickers. These items were all retrieved from a backpack

        located in the area where                        during the motor vehicle stop. Consequently, a

        warrant was issued for -for Controlled Drug Violations [RSA 318-B:2].

               8.      On- 2021, MPD conducted another motor vehicle stop--

                                                                                               As a result

                                          the �as seized pending application for a search warrant,

        which was ultimately granted. The search of the vehicle resulted in the seizure of approximately

        -in US currency, approximately 464.7 grams of a substance which field-tested positive for

        methamphetamine, and two digital scales commonly used by drug traffickers. Consequently,

        another warrant was issued                 for Controlled Drug Violations [RSA 318-B:2].

               9.      On-2021,-arrested in- NH pursuant to the active state

        warrant for Controlled Drug Violations referenced above.                           transported to



                                                                                                      ■
        MPD for processing and to be interviewed. Prior to the interview,.as informed orllllMiranda

        rights, acknowledged .understanding of those rights, and signed a form to memorialize

        willingness to answer questions without an attorney present. In the audio-video recorded interview

        that followed,.provided, amongst other things, information related to.supplier's storage of

        a firearm and controlled substances inside the Target Vehicle.

               10.                   the controlled substances from the first motor vehicle stop were

        personally provided to-a member of the Gangster Disciples

                                                  and maintained a personal relationship- Prior




                                                        3



                                           JOINT APPENDIX 61



                                                                                                     USAN H-00000860
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        to the first motor vehicle stop,                      hat the controlled substances originated from

                                            Gangster Disciples member Michael Francis (YOB: 1987).

                11.                                                                                   as of



        ■
        the writing of this affidavit.                               as contacted by Francis who informed

             that he would now be supJ?lying controlled substances to                       Consequently,

        the controlled substances from the second motor vehicle stop were personally provided to-by

         Francis.

                12.                      received controlled substances from Francis

        average,                 would receive approximately one pound of methamphetamine ($6, 600

        $6,800 per pound), a couple ounces of cocaine ($1,400 per ounce), and a half-pound of




        --
        heroin/fentanyl ($5,000 per 500 grams) lllllllrrom Francis .• would subsequently distribute

        it to customers located in and between



                13.                        nd Francis would meet                    to conduct-

        controlled substances transactions including near

                                   The meetings would be arranged by traditional cellular voice calls and

        text messages.-believed Francis lives near the intersection of Rimmon Street at Putnam Street.

                14.     Francis would meet with                   to supply.with controlled substances

                                                                  Francis would drive a "white Honda

        Accord ... newer. .. got greyish rims on it ...20s ... permanent plates [from NH]" - the Target

        Vehicle - to conduct the deals. During some deals, Francis would have the controlled substances

        in the passenger compartment of the Target Vehicle and other times he would have the controlled

        substances in the trunk of the Target Vehicle. Additionally,                observed Francis keep



                                                          4



                                             JOINT APPENDIX 62



                                                                                                      USAN H-00000861
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        a pistol tucked between the driver's seat and the center console of the Target Vehicle during the

        controlled substances transactions. Based on a review of the criminal history for Francis, I know

        he has been convicted of a crime punishable by imprisonment for a term exceeding one year.

        Therefore, Francis is federally prohibited from possessing firearms.

               15.      A records check for vehicles registered to Francis led investigators to the Target

        Vehicle, which matches the description provided by                           Francis' parole officer

        informed law enforcement that Francis uses the Target Vehicle. On August 20, 2021, law

        enforcement identified a residence associated with Francis located at 231 Thornton Street,

        Manchester, NH via the search of a database accessible by law enforcement which collates various

        public records, Later that day, a shittless individual matching the description of and believed to be

        Francis (based on physical characteristics and the presence of tattoos) was observed in the rear

        parking lot of the residence next to the Target Vehicle. The residence is located in the immediate

        vicinity of the intersection of Rimmon Street at Putnam Street, which corroborates -

        -regarding where Francis would be living.

                  16.   Based on the above information, I believe the Target Vehicle will contain at least

        one firearm, ammunition, controlled substances, and electronic devices which likely contain

        various content and communications related to violations of 18 U.S.C. § 922(g)(l) [Felon in

        Possession of Ammunition & Firearm], 18 U .S.C. § 924(c) [Possession of a Firearm in Furtherance

        of a Drug Trafficking Offense], 21 U.S.C. § 841 [Distribution of Controlled Substances], 21 U.S.C.

        § 846 [Conspiracy to Distribute Controlled Substances], and 18 U.S.C. § 521 [Criminal Street

        Gangs].

                  COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS




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                17.    As described in Attachment B, this application seeks permission to search for

        records that might be found in the Target Vehicle, in whatever form they are found. One form in

        which the records might be found is data stored on a computer's hard drive or other storage media.

        Thus, the warrant applied for would authorize .the s,eizure of electronic storage media or,

        potentially, the copying of electronically stored information, all under Rule 41 (e)(2)(B).

                18.    Based on my training and experience, [ use the following technical terms to

        convey the following meanings:


                         a. IP Address: The Internet Protocol address (or simply "[P address") is a

                             unique numeric address used by computers on the Internet. An IP address

                             looks like a series of four numbers, each in the range 0-255, separated by

                             periods (e.g., 121.56.97.178). Every computer attached to the Internet must

                             be assigned an IP address so that Internet traffic sent from and directed to

                             that computer may be directed properly from its source to its destination.

                             Most [nternet service providers control a range of IP addresses. Some

                             computers have static-that is, long-tenn-IP addresses, while other

                             computers have dynamic-that is, frequently changed�]P addresses.


                         b. Internet The Internet is a global network of computers and other electronic

                             devices that communicate with each other. Due to the structure of the

                             Internet, connections between devices on the Internet often cross state and

                             international borders, even when the devices communicating with each other

                             are in the same state.




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                          c. Storage medium: A storage medium is any physical object upon which

                              computer data can be recorded. Examples include hard disks, RAM, floppy

                             disks, flash memory, CD-ROMs, and other magnetic or optical media.

                I 9.    Probable cause. I submit that if a computer or storage medium is found in the

         Target Vehicle, there is probable cause to believe those records will be stored on that computer

         or storage medium, for at least the following reasons:

                          a. Based on my lmowledge, training, and experience, r know that computer files

                             or remnants of such files can be recovered months or even years after they

                             have been downloaded onto a storage medium, deleted, or viewed via the

                             Internet. Electronic files downloaded to a storage medium can be stored for

                             years at little or no cost. Even when files have been deleted, they can be

                             recovered months or years later using forensic tools. This is so because when

                             a person "deletes" a file on a computer, the data contained in the file does not

                             actually disappear; rather, that data remains on the storage medium until it is

                             overwritten by new data.

                         b. Therefore, deleted files, or remnants of deleted files, may reside in free space

                             or slack space-that is, in space on the storage medium that is not currently

                             being used by an active file-for long periods of time before they are

                             overwritten. In addition, a computer's operating system may also keep a

                             record of deleted data in a "swap" or "recovery" file.

                         c. Wholly apart from user-generated files, computer storage media�in

                             particular, computers' internal hard drives-contain electronic evidence of

                             how a computer has been used, what it has been used for, and who has used



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                             it. To give a few examples, this forensic evidence can take the form of

                            operating system configurations, artifacts from operating system or

                            application operation, file system data structures, and virtual memory "swap"

                            or paging files. Computer users typically do not erase or delete this evidence,

                            because special software is typically required for that task. However, it is

                            technically possible to delete this information.

                         d. Similarly, files that have been viewed via the Internet are sometimes

                            automatically downloaded into a temporary Internet directory or "cache."

               20.     Forensic evidence. As further described in Attachment B, this application seeks

        permission to locate not only computer files that might serve as direct evidence of the crimes

        described on the warrant, but also for forensic electronic evidence that establishes how computers

        were used, the purpose of their use, who used them, and when. There is probable cause to believe

        that this forensic electronic evidence will be on any storage medium in the Target Vehicle

        because:

                        a. Data on the storage medium can provide evidence of a file that was once on

                            the storage medium but has since been deleted or edited, or of a deleted

                            portion of a file (such as a paragraph that has been deleted from a word

                            processing file). Virtual memory paging systems can leave traces of

                            information on the storage medium that show what tasks and processes were

                            recently active. Web browsers, e-mail programs, and chat programs store

                            configuration information on the storage medium that can reveal information

                            such as online nicknames and passwords. Operating systems can record

                            additional information, such as the attachment of peripherals, the attachment



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                       of USB flash storage devices or other external storage media, and the times

                       the computer was in use. Computer file systems can record information about

                       the dates files were created and the sequence in which they were created,

                       although this information can later be falsified.

                    b. As explained herein, information stored within a computer and other

                       electronic storage media may provide crucial evidence of the "who, what,

                       why, when, where, and how" of the criminal conduct under investigation, thus

                       enabling the United States to establish and prove each element or

                       alternatively, to exclude the innocent from further suspicion. In my training

                       and experience, information stored within a computer or storage media (e.g.,

                       registry information, communications, images and movies, transactional

                       information, records of session times and durations, internet history, and anti­

                       virus, spyware, and malware detection programs) can indicate who has used

                       or controlled the computer or storage media. This "user attribution" evidence

                       is analogous to the search for "indicia of occupancy" while executing a search

                       warrant at a residence. The existence or absence of anti�virus, spyware, and

                       malware detection programs may indicate whether the computer was

                       remotely accessed, thus inculpating or exculpating the computer owner.

                       Further, computer and storage media activity can indicate how and when the

                       computer or storage media was accessed or used. For example, as described

                       herein, computers typically contain information that log: computer user

                       account session times and durations, computer activity associated with user

                       accounts, electronic storage media that connected with the computer, and the



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                        IP addresses through which the computer accessed networks and the internet.

                        Such information allows investigators to understand the chronological

                       context of computer or electronic storage media access, use, and events

                       relating to the crime under investigation. Additionally, some information

                       stored within a computer or electronic storage media may provide crucial

                       evidence relating to the physical location of other evidence and the suspect.

                       For example, images stored on a computer may both show a paiticular

                       location and have geolocation information incorporated into its file data. Such

                       file data typically also contains information indicating when the file or image

                       was created. The existence of such image files, along with external device

                       connection logs, may also indicate the presence of additional electronic

                       storage media (e.g., a digital camera or cellular phone with an incorporated

                       camera). The geographic and timeline information described herein may

                       either inculpate or exculpate the computer user. Last, information stored

                       within a computer may provide relevant insight into the computer user's state

                       of mind as it relates to the offense under investigation. For example,

                       information within the computer may indicate the owner's motive and intent

                       to commit a crime (e.g., internet searches indicating criminal planning), or

                       consciousness of guilt (e.g., running a "wiping" program to destroy evidence

                       on the computer or password protecting/encrypting such evidence in an effort

                       to conceal it from law enforcement).

                    c. A person with appropriate familiarity with how a computer works can, after

                       examining this forensic evidence in its proper context, draw conclusions




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                            about how computers were used, the purpose of their use, who used them, and

                            when.

                         d. The process of identifying the exact files, blocks, registry entries, logs, or

                            other forms of forensic evidence on a storage medium that are necessary to

                            draw an accurate conclusion is a dynamic process. While it is possible to

                            specify in advance the records to be sought, computer evidence is not always

                            data that can be merely reviewed by a review team and passed along to

                            investigators. Whether data stored on a computer is evidence may depend on

                            other information stored on the computer and the application of knowledge

                            about how a computer behaves. Therefore, contextual information necessary

                            to understand other evidence also falls within the scope of the warrant.

                        e. Further, in finding evidence of how a computer was used, the purpose of its

                            use, who used it, and when, sometimes it is necessary to establish that a

                            particular thing is not present on a storage medium. For example, the presence

                            or absence of counter-forensic programs or anti-virus programs (and

                            associated data) may be relevant to establishing the user's intent.

               21.     Necessity of seizing or copying entire computers or storage media. In most cases,

        a thorough search of a premises for information that might be stored on storage media often

        requires the seizure of the physical storage media and later off-site review consistent with the

        warrant. In lieu of removing storage media from the premises, it is sometimes possible to make an

        image copy of storage media. Generally speaking, imaging is the taking of a complete electronic

        picture of the computer's data, including all hidden sectors and deleted files. Either seizure or

        imaging is often necessary to ensure the accuracy and completeness of data recorded on the storage



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        media, and to prevent the loss of the data either from accidental or intentional destruction. This is

        true because of the following:

                         a. The time required for an examination. As noted above, not all evidence takes

                             the form of documents and files that can be easily viewed on site. Analyzing

                             evidence of how a computer has been used, what it has been used for, and

                             who has used it requires considerable time, and taking that much time on

                             premises could be unreasonable. As explained above, because the warrant

                             calls for forensic electronic evidence, it is exceedingly likely that it will be

                             necessary to thoroughly examine storage media to obtain evidence. Storage

                             media can store a large volume of information. Reviewing that information

                             for things described in the warrant can take weeks or months, depending on

                             the volume of data stored, and would be impractical and invasive to attempt

                             on-site.

                         b. Technical requirements. Computers can be configured in several different

                             ways, featuring a variety of different operating systems, application software,

                             and configurations. Therefore, searching them sometimes requires tools or

                             knowledge that might not be present on the search site. The vast array of

                             computer hardware and software available makes it difficult to know before

                             a search what tools or knowledge will be required to analyze the system and

                             its data on the Premises. However, taking the storage media off-site and

                             reviewing it in a controlled environment will allow its examination with the

                             proper tools and knowledge.




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                          c. Variety of forms of electronic media. Records sought under this warrant could

                              be stored in a variety of storage media formats that may require off-site

                              reviewing with specialized forensic tools.

                22.      Nature of exam;nation. Based on the foregoing, and consistent with Rule

        4 l (e)(2)(8), the warrant J am applying for would permit seizing, imaging, or otherwise copying

        storage media that reasonably appear to contain some or all of the evidence described in the

        warrant, and would authorize a later review of the media or information consistent with the

        warrant. The later review may require techniques, including but not limited to computer-assisted

        scans of the entire medium, that might expose many parts of a hard drive to human inspection in

        order to determine whether it is evidence described by the warrant.

            AUTHORIZATION TO USE BIOMETRIC FEATURES TO UNLOCK DEVICES

                   23.   The warrant I am applying for would permit law enforcement to obtain from certain

        individuals the display of physical biometric characteristics (such as fingerprint, thumbprint, or

        facial characteristics) in order to unlock devices subject to search and seizure pursuant to this

        warrant.

                24.      I know from my training and experience, as well as from information found in

        publicly available materials published by device manufacturers, that many electronic devices,

        particularly newer mobile devices and laptops, offer their users the ability to unlock the device

        through biometric features in lieu of a numeric or alphanumeric passcode or password. These

        biometric features include fingerprint scanners and facial recognition features. Some devices offer

        a combination of these biometric features, and the user of such devices can select which features

        they would like to utilize.




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                25.    If a device is equipped with a fingerprint scanner, a user may enable the ability to

        unlock the device through his or her fingerprints. For example, Apple offers a feature called

        "Touch ID," which allows a user to register up to five fingerprints that can unlock a device. Once

        a fingerprint is registered, a user can unlock the device by pressing the relevant finger to the

        device's Touch ID sensor, which is found in the round button (often referred to as the "home"

        button) located at the bottom center of the front of the device. The fingerprint sensors found on

        devices produced by other manufacturers have different names but operate similarly to Touch ID.

                26.    If a device is equipped with a facial recognition feature, a user may enable the

        ability to unlock the device through his or her face. For example, Apple offers a facial recognition

        feature called "Face ID." During the Face ID registration process, the user holds the device in front

        of his or her face. The device's camera then analyzes and records data based on the user's facial

        characteristics. The device can then be unlocked if the camera detects a face with characteristics

        that match those of the registered face. Facial recognition features found on devices produced by

        other manufacturers have different names but operate similarly to Face JD.

               27.     In my training and experience, users of electronic devices often enable the

        aforementioned biometric features because they are considered to be a more convenient way to

        unlock a device than by entering a numeric or alphanumeric passcode or password. Moreover, in

        some instances, biometric features are considered to be a more secure way to protect a device's

        contents. This is patticularly true when the users of a device are engaged in criminal activities and

        thus have a heightened concern about securing the contents of a device.

               28.     As discussed in this affidavit, based on my training and experience I believe that

        one or more digital devices will be found during the search. The passcode or password that would

        unlock the device(s) subject to search under this warrant is not known to law enforcement. Thus,



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        law enforcement personnel may not otherwise be able to access the data contained within the

        device(s), making the use of biometric features necessary to the execution of the search authorized

        by this warrant.

                29.    I also know from my training and experience, as well as from information found in

        publicly available materials including those published by device manufacturers, that biometric

        features will not unlock a device in some circumstances even if such features are enabled. This can

        occur when a device has been restarted, inactive, or has not been unlocked for a ce11ain period of

        time.

                30.    For example, Apple devices cannot be unlocked using Touch ID when (1) more

        than 48 hours has elapsed since the device was last unlocked or (2) when the device has not been

        unlocked using a fingerprint for 4 hours and the passcode or password has not been entered in the

        last 156 hours. Biometric features from other brands carry similar restrictions. Thus, in the event

        law enforcement personnel encounter a locked device equipped with biometric features, the

        opportunity to unlock the device through a biometric feature may exist for only a short time.

                31.    In my training and experience, the person who is in possession of a device or has

        the device among his or her belongings at the time the device is found is likely a user of the device.

        However, in my training and experience, that person may not be the only user of the device whose

        physical characteristics are among those that will unlock the device via biometric features, and it

        is also possible that the person in whose possession the device is found is not actually a user of

        that device at all. Furthermore, in my training and experience, I know that in some cases it may

        not be possible to know with certainty who is the user of a given device, such as if the device is

        found in a common area of a premises without any identifying information on the exterior of the

        device. Thus, it will likely be necessary for law enforcement to have the ability to require any



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        individual, who is found in the subject Target Vehicle and reasonably believed by law enforcement

        to be a user of the device, to unlock the device using biometric features in the same manner as

        discussed above.

               32.     Due to the foregoing, if law enforcement personnel encounter a device that is

        subject to search and seizure pursuant to this warrant and may be unlocked using one of the

        aforementioned biometric features, the warrant] am applying for would permit law enforcement

        personnel to (I) press or swipe the fingers (including thumbs) of any individual, who is found in

        the subject Target Vehicle and reasonably believed by law enforcement to be a user of the device,

        to the fingerprint scanner of the device; (2) hold the device in front of the face of those same

        individuals and activate the facial recognition feature, for the purpose of attempting to unlock the

        device in order to search its contents as authorized by this warrant.

                            AUTHORIZATION TO COLLECT DNA SAMPLES

               33.     Because the Target Vehicle may be occupied by numerous individuals, I

        respectfully request authorization to obtain DNA (Deoxyribonucleic acid) samples from Francis

        and other occupants at the time of seizure. The DNA samples would be used for comparative

        analyses of any firearms, ammunition, controlled substances, or other items seized from the Target

        Vehicle, and any other relevant items collected during the course of this investigation. The request

        to collect DNA samples from Francis is subject to his presence in the Target Vehicle during the

        execution of the requested warrant.

                                                 CONCLUSION

               34.     I submit that this affidavit supports probable cause for a warrant to search the

        Target Vehicle described in Attachment A and seize the items described in Attachment B. The

        seizure of these items will aid law enforcement in their investigation of various violations of 18



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        U.S.C. § 922(g)(l) [Felon in Possession of Ammunition & Firearm], 18 U.S.C. § 924(c)

        [Possession of a Firearm in Furtherance of a Drug Trafficking Offense], 21 U.S.C. § 841

        [Distribution of Controlled Substances], 21 U.S.C. § 846 [Conspiracy to Distribute Controlled

        Substances], and 18 U.S.C. § 521 [Criminal Street Gangs] committed by                 Francis.

                                          REQUEST FOR SEALING

               35.     I request that the Court order that all papers in support of these applications,

        including the affidavit and search warrants, be sealed until further order of the Cou11. These

        documents discuss an ongoing criminal investigation that is neither public and/or known to all

        patiies relevant to the investigation. Accordingly, there is good cause to seal these documents

        because their premature disclosure may seriously jeopardize that investigation.




                                                     Isl Rvan S. Burke
                                                     Ryan S. Burke, Special Agent
                                                     Federal Bureau of Investigation


        The affiant appeared before me by telephonic conference on this date pursuant to Fed. R. Crim.
        P. 4.1 and affim1ed under oath the content of this affidavit and application.



         Date:   9 ll�/Z..I
         Time:   ,-i. � "l,1 f"'                                     LJ.     CH
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                                              ATTACHMENT A

                                            Property to be Searched

               The property to be searched is the entire passenger compartment and trunk or storage space,

        and any closed or locked containers found therein, including mobile electronic devices, of the

                      White 2021 Honda Accord registered to "Francis, Michael T" assigned New
                      Hampshire license plate 4917333 with a listed Vehicle Identification Number of
                      I HGCVl F5XMA001620, as of August 23, 2021,

        which is currently in the possession of Michael Francis within the District of New Hampshire.




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                                                     ATTACHMENT B

                                      Description of Information or Items to Be Seized

        L      All records, in whatever form, and tangible objects that constitute evidence, fruits, or

        instrumentalities of 18 U.S.C. § 922(g)(1) [Felon in Possession of Ammunition & Firearm], 18

        U.S.C. § 924(c) [Possession of a Firearm in Fmiherance of a Drug Trafficking Offense], 21 U .S.C.

        § 841 [Distribution of Controlled Substances), 21 U.S.C. § 846 [Conspiracy to Distribute

        Controlled Substances], and 18 U.S.C. § 521 [Criminal Street Gangs], including information and

        items related to:

                    a. The identities of who uses, occupies, or controls the vehicle;
                   b. Firearms, weapons, ammunition, and firearms-related accessories;
                   c. Controlled substances and materials consistent with controlled substances
                      packaging;

                   d. DNA sample(s) from the vehicle's occupants;
                   e. Criminal street gang affiliation and criminal street gang activity, such as acts of
                      violence and other criminal activity in furtherance of the criminal street gang or
                      conducted by its members;
                   f.         United States currency, foreign currencies, and other forms of currency acquired
                              or used during transactions involving contraband;
                   g. Places and locations where evidence of the above-referenced criminal offenses
                      was obtained or discarded, or is currently stored;
                   h. The identities of any co-conspirators, as well as any co-conspirators' acts taken in
                      furtherance of the offenses enumerated in this application;
                   1.         Electronic devices, including mobile electronic equipment, serial numbers or any
                              electronic identifiers that serve to identify the equipment, and the information
                              stored electronically on the devices, specifically:
                        i.           telephone logs, contact lists, other records reflecting names, aliases,
                                     addresses, telephone numbers, and other contact or identification data;

                        11.          the actual and attempted possession, purchase, receipt, sale, pawn, trade,
                                     transfer, transpo1iation, shipment, or other disposition of firearms and
                                     ammunition and controlled substances, including buyer lists, seller lists,
                                     notes, pay-owe sheets, records of sales, logs, receipts, and communications;




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                    iii.      criminal street gang affiliation and criminal street gang activity, such as acts
                              of violence and other criminal activity in fu1therance of the criminal street
                              gang or conducted by its members;

                    1v.       messages and other communications related to fireaims and controlled
                              substances violations and criminal street gang affiliation and activity;

                     v.       photographs, images, and depictions of firearms, controlled substances,
                              criminal street gang affiliation and activity, and currency;

                    vi.       who used, owned or controlled the equipment;

                   vii.       when the equipment was used;

                   v111.      the travel and whereabouts of the user of the equipment;

                    1x.       the attachment of other hardware or storage media;

                     x.       the use of counter-forensic programs and associated data that are designed
                              to eliminate data;

                    xi.       passwords, encryption keys, and other access devices that may be necessary
                              to use the equipment;

                   xii.       accounts associated with software services or services providing Internet
                              access or remote storage of either data or storage media; and

                  x111.       serial numbers and any electronic identifiers that serve to identify the
                              equipment.

        IL     For any computer or storage medium whose seizure is otherwise authorized by this

        warrant, and any computer or storage medium that contains or in which is stored records or

        information that is otherwise called for by this warrant (hereinafter, "COMPUTER"):

                   a. Items described in Paragraph I (a) through (i);
                  b. evidence of who used, owned, or controlled the COMPUTER at the time the
                     things described in this warrant were created, edited, or deleted, such as logs,
                     registry entries, configuration files, saved usernames and passwords, documents,
                     browsing history, user profiles, email, email contacts, "chat," instant messaging
                     logs, photographs, and correspondence;
                  c. evidence of software that would allow others to control the COMPUTER, such as
                     viruses, Trojan horses, and other forms of malicious software, as well as evidence
                     of the presence or absence of security software designed to detect malicious
                     software;




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                   d. evidence of the lack of such malicious software;
                   e. evidence indicating how and when the computer was accessed or used to
                      determine the chronological context of computer access, use, and events relating
                      to crime under investigation and to the computer user;
                   f. evidence indicating the computer user's state of mind as it relates to the crimes
                      under investigation;
                   g. evidence of the attachment to the COMPUTER of other storage devices or similar
                      containers for electronic evidence;
                   h. evidence of counter-forensic programs (and associated data) that are designed to
                      eliminate data from the COMPUTER;
                   1. evidence of the times the COMPUTER was used;

                   J·   passwords, encryption keys, and other access devices that may be necessary to
                        access the COMPUTER;
                   k. documentation and manuals that may be necessary to access the COMPUTER or
                      to conduct a forensic examination of the COMPUTER;
                   I. records of or information about Internet Protocol addresses used by the
                      COMPUTER;
                   m. records of or information about the COMPUTER's Internet activity, including
                      firewall logs, caches, browser history and cookies, "bookmarked" or "favorite"
                      web pages, search terms that the user entered into any Internet search engine, and
                      records of user-typed web addresses;
                   n. contextual information necessary to understand the evidence described in this
                      attachment.

               As used above, the terms "records" and "information" includes all forms of creation or

        storage, including any form of computer or electronic storage (such as hard disks or other media

        that can store data); any handmade form (such a;; writing); any mechanical form (such as printing

        or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,

        videotapes, motion pictures, or photocopies).

               The term "computer" includes all types ofelectronic, magnetic, optical, electrochemical,

        or other high speed data processing devices perforrt,ing logical, arithmetic, or storage functions,

        including desktop computers, notebook computers, rnobile phones, tablets, server computers, and




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        network hardware.

               The term "storage medium" includes any physical object upon which computer data can

        be recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs, and

        other magnetic or optical media.

               This warrant authorizes a review of electronic storage media and electronically stored

        information seized or copied pursuant to this warrant in order to locate evidence, fruits, and

        instrumentalities described in this warrant. The review of this electronic data may be conducted

        by any government personnel assisting in the investigation, who may include, in addition to law

        enforcement officers and agents, attorneys for the government, attorney support staff, and

        technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the seized or

        copied electronic data to the custody and contra I of attorneys for the government and their

        suppo1t staff for their independent review.

               During the execution of the search of the property described in Attachment A, law

        enforcement officers are authorized to (1) press or swipe the fingers (including thumbs) of any

        individual, who is found in the Target Vehicle and reasonably believed by law enforcement to be

        a user of the device, to the fingerprint scanner of the device; and/or (2) hold the device in front of

        the face of those same individuals and activate the facial recognition feature, for the purpose of

        attempting to unlock the device in order to search its contents as authorized by this warrant.




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AO 93C (08/18) Warrant bv Telephone or Other Reliable Electronic Means                   0 Original                O Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                           for the
                                                                District of New Hampshire

                  In the Matter of the Search of                                )
              {Briefly describe the property lo be searched                     )
               or identify the person by name and address)                      )      Case No. 21-mj-220-01-DL
 WHITE 2021 HONDA ACCORD REGISTERED TO                                          )
 "FRANCIS, rvnCHAEL T" ASSINGED NH UCENSE                                       )
 PLATE 4917333 WITH A LISTED VIN OF
                                                                                )
 lHGCVlFSXMA001620 AS OF AUGUST 23, 2021
                 WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search and seizure
of the following person or property located in the   _ _  ___ _        _ _ District of                New Hampshire
(idemijj, the person or describe !he property lo be searched and give ils location):
  See Attachment A




        l find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identi.fj, the person or describe 1he property to be seized):
  See Attachment B




        YOU ARE COMMANDED to execute this warrant on or before _ _________     _                        (not to exceed 14 days)
      � in the daytime 6:00 a.m. to l 0:00 p.m. 0 at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the prope1iy was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of tbe warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                          Daniel J. Lynch
                                                                                                      (United Stales Magistrate Judge)

     0 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result I isted in 18 U .S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     0 for__ days {not 10 exceed 30) 0 until, the facts justifying, the later specific date of


Date and time issued:

City and state:     Concord, New Hampshire                                                                  ynch, US Magistrate Judge
                                                                                                            Printed name and title



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AO 93C {08/18) Warrant by Telephone or Other Reliable Electronic Means (Page 2)

                                                                             Return
Case No.:                       Date and time warrant executed:                          Copy of warrant and inventory left with:
 21-rnj- 220-01-DL
Inventory made in the presence of:

Inventory of the prope1ty taken and name(s) of any person(s) seized:




                                                                         Certification


        l declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer's signature


                                                                                                   Printed name and title




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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW HAMPSHIRE


      UNITED STATES OF AMERICA                        )
                                                      )        Criminal Case No. 1:21-cr-153-SM
              v.                                      )
                                                      )
      MICHAEL FRANCIS                                 )
                                                      )

           OBJECTION TO DEFENDANT’S MOTION TO SUPPRESS EVIDENCE SEIZED
                   FROM SEARCH OF DEFENDANT’S HONDA ACCORD


              On September 1, 2021, law enforcement officers executed a federal search warrant issued

       on August 25, 2021, which authorized the search of the defendant’s car. The search yielded a

       kilogram of cocaine, $10,000 in cash, a gun holster, and other evidence showing the defendant

       and a passenger in his vehicle, Emilio Flores, were engaged in drug distribution. The defendant

       now seeks to suppress this evidence, arguing (1) the warrant was unsupported by probable cause

       because the affidavit did not establish the reliability and credibility of the named informant who

       provided the bulk of the information in the supporting affidavit; and (2) the government is not

       entitled to good faith reliance on the warrant due to alleged material omissions about the named

       informant’s criminal history.

              The Court should deny defendant’s motion because the affidavit contained ample support

       for the reliability of the informant’s information, and it established probable cause to search the

       car. Alternatively, even if this Court finds that that affidavit did not establish probable cause,

       under the good faith exception to the warrant requirement, investigators were entitled to rely on

       the magistrate’s probable cause finding.

              The information provided by the informant was inherently credible. He was not an

       anonymous tipster, but rather was known to law enforcement and provided information while in
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       law enforcement custody, which allowed investigators to assess his credibility. The informant

       was named in the affidavit, so he could be held accountable if the information he provided was

       false. Perhaps most significantly, the informant provided statements against his penal interest by

       implicating himself in a drug distribution conspiracy that subjected him to greater criminal

       liability than he would have faced had he remained silent. Additionally, the informant was

       incentivized to be accurate because he hoped to receive consideration on his pending charges by

       providing information, but also risked receiving no benefit and possibly additional charges if he

       provided false information. The informant shared detailed information showing his personal

       knowledge about the defendant taking over the informant’s former drug supplier’s business; the

       prices and amounts of drugs the defendant sold; the defendant’s appearance, gang affiliation, and

       vehicle; and the defendant’s use of the vehicle in criminal activity. Finally, law enforcement

       corroborated portions of the informant’s information through investigation and surveillance.

              The defendant’s argument for a Franks hearing on the grounds that the affiant

       intentionally or recklessly omitted from the affidavit the informant’s conviction for falsifying

       physical evidence lacks merit and his request for a Franks hearing should be denied. A Franks

       hearing is not warranted because the defendant has made no showing that the omission was a

       deliberate effort by the affiant to present false information to the court or was the product of the

       affiant’s reckless disregard for the truth. Moreover, even if the omission of the conviction was

       deliberate or reckless, including the conviction in the affidavit does not vitiate the magistrate’s

       probable cause finding. Since these foundational requirements have not been met, the defendant

       is not entitled to a Franks hearing. United States v. Rumney, 867 F.2d 714, 720 (1st Cir. 1989).

              Even if probable cause were a close question, the magistrate’s decision is entitled to great

       deference, and law enforcement was entitled to rely on the magistrate’s issuance of the warrant in


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       good faith in searching the defendant’s vehicle. Finally, the evidence from the search should not

       be suppressed regardless since it would have inevitably been discovered during a search of the car

       based on Flores’s parole violation.

                                     I.       FACTUAL BACKGROUND

              A. The Affidavit Supporting the Application for a Search Warrant of the
                 Defendant’s Vehicle

              An informant named in the unredacted affidavit provided information about the

       defendant in a post-arrest interview with law enforcement on August 19, 2021. Affidavit at ¶ 9. 1

       The informant was arrested on warrants related to two separate motor vehicle stops leading to the

       seizure of large amounts of drugs, as described in the affidavit. First, a June 13, 2021, traffic stop

       by the Manchester Police Department (“MPD”) of a vehicle occupied by the informant led to

       issuance of a search warrant and subsequent seizure of approximately 284.5 grams of

       methamphetamine, 85.9 grams of heroin/fentanyl, and 7.5 grams of crack cocaine, along with a

       digital scale commonly used by drug traffickers. ¶ 7. These items were all retrieved from a

       backpack located in the area where the informant had been sitting, and a warrant was issued for

       his arrest for Controlled Drug Act violations. ¶ 7. Second, an authorized search of a different

       vehicle the informant was driving on July 30, 2021, resulted in the seizure of approximately

       $2,408 in US currency, 464.7 grams of methamphetamine, and two digital scales commonly used

       by drug traffickers. ¶ 8. Consequently, another warrant was issued for the informant’s arrest for

       Controlled Drug Act violations [RSA 318-B:2]. Id.




       1
         All paragraph references are to the affidavit in support of the search warrant of the defendant’s
       Honda Accord, which is contained in Exhibit C to the defendant’s instant motion to suppress.
       Once the Court signs the proposed protective order in this matter, the government will produce
       the unredacted affidavit to the defendant and file it under seal as an Exhibit to this Objection.
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               On August 19, 2021, the informant was arrested pursuant to the above-mentioned

       warrants. ¶ 9. In a post-arrest interview, the informant waived his Miranda rights and provided

       detailed information about his drug suppliers. Id. Specifically, the informant stated that the drugs

       seized in the first motor vehicle stop were personally provided to him by a member of the

       Gangster Disciples, whom the informant had met in prison and with whom the informant

       subsequently maintained a relationship (the “initial supplier”). 2 This initial supplier had told the

       informant the drugs originated from another member of the Gangster Disciples gang: the

       defendant, Michael Francis. ¶ 10.

               In early July 2021, the initial supplier was arrested in Manchester. ¶ 11. Following the

       initial supplier’s arrest, the defendant contacted the informant and said he would now be his drug

       supplier, given the initial supplier’s incarceration. Id. Consequently, the drugs from the second

       motor vehicle stop were personally provided to the informant by the defendant. Id.

               The informant provided details about the price and quantity of drugs he received from the

       defendant. The informant stated he received drugs from the defendant on a daily basis: on

       average each day, one pound of methamphetamine at a price of $6,600 to $6,800 per pound, a

       couple ounces of cocaine at a price of $1,400 per ounce, and a half-pound of heroin/fentanyl at a

       price of $5,000 per 500 grams. ¶ 12. The informant confessed that he would distribute these

       drugs to customers located throughout New Hampshire. Id.

               The informant provided locations where the drug transactions with the defendant would

       take place. The informant would meet the defendant personally—with no drug “runner”




       2
        The initial supplier is named in the unredacted affidavit the government provided to the
       magistrate, but to protect the identity of both the informant and the initial supplier, the initial
       supplier’s name is redacted in the publicly filed version of the affidavit.
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       involved—in Manchester to conduct their daily drug transactions, including near Rimmon St.

       and Putnam St. ¶¶ 13-14. The informant believed the defendant lived near this intersection. ¶ 13.

              The informant described the vehicle the defendant would use to conduct drug

       transactions: a “white Honda Accord…newer…got greyish rims on it…20s…permanent plates

       [from New Hampshire]” (the “Target Vehicle,” the subject of the search warrant). ¶ 14. The

       informant described that, during some deals, the defendant would have drugs in the passenger

       compartment of the Target Vehicle and other times he would store the drugs in the trunk. Id.

              The informant also observed the defendant regularly keep a pistol tucked between the

       driver’s seat and the center console of the Target Vehicle during drug transactions. ¶ 14.

              Law enforcement corroborated various facts provided by the informant. Law enforcement

       corroborated that the initial supplier the informant named was arrested in early July 2021, and

       remained incarcerated as of the writing of the affidavit, ¶ 11, thus confirming the reason the

       informant gave for the defendant becoming his drug supplier.

              Furthermore, law enforcement conducted a record check for vehicles registered to the

       defendant, and corroborated that the Target Vehicle matched the description provided by the

       informant. ¶ 15. Law enforcement also confirmed with the defendant’s parole officer that the

       defendant regularly used the Target Vehicle. Id.

              Finally, investigators used a law enforcement database to corroborate that the defendant

       resided at 231 Thornton Street in Manchester, which was near the vicinity that the informant said

       he conducted drug transactions with the defendant. ¶¶ 13 and 15. On August 20, 2021, law

       enforcement conducted surveillance at this address and observed a shirtless individual in the rear

       parking lot of the residence next to the Target Vehicle. The man appeared to law enforcement to

       be the defendant, based on his physical characteristics. ¶ 15.


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              Law enforcement also determined that the defendant, whom the informant described as

       regularly carrying a gun in the Target Vehicle, was a convicted felon. ¶ 14. The defendant was

       thus federally prohibited from possessing a firearm. Id.

              B. Signing of the Search Warrant, Arrest of the Defendant, and Search of the
                 Defendant’s Vehicle

              On August 25, 2021, the magistrate issued the warrant for the Target Vehicle. On

       September 1, 2021, law enforcement conducted surveillance of the defendant’s Thornton Street

       residence. Law enforcement observed the defendant leave the residence, enter the Target

       Vehicle, and drive to a residence on Joliette Street in Manchester. There, he picked up an

       associate whom Manchester Police identified as Emilio Flores. Flores was known by

       Manchester Police to be subject to arrest for a 2018 parole violation. The defendant, who was

       also on parole, was prohibited by his parole conditions from associating with other parolees.

              After the defendant’s arrival at the Joliette Street residence, law enforcement observed

       Flores carry a bag out of that residence and place it in the back seat of the Target Vehicle, then

       enter the front passenger seat. The defendant and Mr. Flores then traveled together in the Target

       Vehicle to a TD Bank in Manchester.

              Law enforcement contacted the defendant’s parole officer and notified him about what

       had transpired. Once the defendant parked in the TD Bank parking lot, the defendant exited the

       Target Vehicle and entered the TD Bank, while Flores remained in the vehicle. Law enforcement

       arrested the defendant inside the TD bank on a parole detention hold. At the time of his arrest,

       the defendant was attempting to deposit a check for over $50,000. Law enforcement also arrested

       Flores on his outstanding parole violation while Flores was sitting inside the Target Vehicle. The

       Target Vehicle was subsequently towed to the Manchester Police Department.

              The Target Vehicle was searched later that day, resulting in the seizure of, among other

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       items, a tan Blackhawk firearm holster underneath the driver’s seat; a black bandana, affiliated

       with members of the Gangster Disciples, in the trunk; $5,000 in cash in the center console;

       another $5,000 in cash in the front passenger side door handle; and what Drug Enforcement

       Administration lab analysis later revealed to be a one kilogram “brick” of cocaine in a vacuum-

       sealed plastic bag placed in a large freezer bag within a bag on the rear passenger side seat.

               The kilogram of cocaine from the Target Vehicle forms the basis of the conspiracy and

       possession with intent to distribute counts of the superseding indictment against the defendant.

                                                  ARGUMENT

          I.      The Totality of the Circumstances Stated in the Affidavit Provides Probable
                  Cause for the Search of the Defendant’s Vehicle

                  A. The Information in the Affidavit Establishes Probable Cause
               A warrant application “must demonstrate probable cause to believe that (1) a crime has

       been committed—the ‘commission’ element, and (2) enumerated evidence of the offense will be

       found at the place to be searched—the so-called ‘nexus’ element.” United States v. Feliz, 182

       F.3d 82, 86 (1st Cir. 1999). There must be “a fair probability that contraband or evidence of a

       crime will be found in a particular place.” Illinois v. Gates, 462 U.S. 213, 238 (1983). As the

       defendant points out in his brief, in United States v. Gifford and other cases, the First Circuit has

       cited a “nonexhaustive list of factors” for a judge to assess in determining whether information

       provided by an informant establishes probable cause for a search warrant, including:

                      (1) whether the affidavit establishes the probable veracity and basis
                      of knowledge of persons supplying hearsay information; (2)
                      whether an informant's statements reflect firsthand knowledge; (3)
                      whether some or all [of] the informant's factual statements were
                      corroborated wherever reasonable and practicable (e.g., through
                      police surveillance); and (4) whether a law enforcement affiant
                      assessed, from his professional standpoint, experience, and
                      expertise, the probable significance of the informant's provided
                      information.

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       Defendant’s Brief (“Def’s Br.”) at 7, citing United States v. Gifford, 727 F.3d 92 (1st Cir. 2013);

       see United States v. Leonard, 17 F.4th 218, 225 (1st Cir. 2021) (citing same factors). None of the

       factors is indispensable; stronger evidence on one or more factors may compensate for a weaker

       showing on another. United States v. Zayas–Diaz, 95 F.3d 105, 111 (1st Cir. 1996).

              Each of these four Gifford factors supports the magistrate’s finding of probable cause.

              (1) The Affidavit establishes the veracity and basis of knowledge of the informant’s
                  information

              The defendant argues the informant did not provide reliable information to law

       enforcement, because the affidavit does not say he had provided reliable information in other

       cases and does not include “similar indicia of reliability” (Def’s Br. at 4). But here, the

       informant was not an anonymous tipster; he was a known individual in law enforcement custody

       who was named in the unredacted affidavit submitted to the magistrate. The information

       provided by the informant had strong indicators of veracity and reliability, and showed the

       informant’s firsthand knowledge—he was not simply reporting hearsay. The information

       therefore easily satisfied the first of the Gifford factors supporting probable cause.

              Regarding the informant’s veracity and reliability, the defendant rightfully cites the First

       Circuit’s decision in United States v. Maglio where the Court found probable cause based on

       information provided by an informant, and explained that the following constitute indicia of the

       informant’s trustworthiness: (a) the informant’s identity was revealed; (b) the informant was in

       law enforcement custody; (c) the informant provided personal firsthand observations of criminal

       activity; and (d) the informant was potentially implicating him or herself with the information the

       informant shared with law enforcement. Def’s Br. at 7, citing United States v. Maglio, 21 F.4th

       179 (1st Cir. 2021). Here, as in Maglio, law enforcement knew the informant’s identity, “which

       in itself bolsters [the informant’s] credibility because it opens [the informant] up for charges

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       related to making a false report.” United States v. Croto, 570 F.3d 11, 14 (1st Cir. 2009). The

       fact that an informant is named, as here, when supported by other indicators of reliability,

       strongly supports a finding of probable cause. See Maglio, 21 F.4th at 186; United States v.

       Pelham, 801 F.2d 875, 878 (6th Cir.1986) (“When a witness has seen evidence in a specific

       location in the immediate past, and is willing to be named in the affidavit, the ‘totality of the

       circumstances’ presents a ‘substantial basis’ for conducting a search for that evidence.”)

              Other indicia of reliability are also present in the Affidavit. Also as in Maglio, the

       informant was in law enforcement custody, and provided information in a post-arrest interview.

       Unlike a faceless telephone communication from an anonymous tipster, a face-to-face encounter

       with a known informant like the post-arrest interview of the informant here can afford law

       enforcement the ability to assess many of the elements relevant to determining whether

       information is sufficiently reliable to warrant law enforcement action. See Alabama v. White, 496

       U.S. 325, 328, 110 S. Ct. 2412, 2415 (1990). The post-arrest interview gave law enforcement

       “the opportunity to perceive and evaluate personally [the] informant's mannerisms, expressions,

       and tone of voice (and, thus, to assess the informant's veracity ...).” United States v. Romain, 393

       F.3d 63, 73 (1st Cir. 2004). In-person communications also tend to be more reliable because,

       having revealed one’s physical appearance and location, the informant knows that he or she can

       be tracked down and held accountable if his or her assertions prove inaccurate. See id. (citing

       Fla. v. J.L., 529 U.S. 266, 270, 120 S. Ct. 1375, 1378 (2000)).

              As described further below, the information the informant provided was based on his

       firsthand knowledge of the defendant’s criminal activity, and the defendant’s use of the Target

       Vehicle to carry it out, which rendered it inherently more reliable than hearsay from a third party.

              Furthermore, as in Maglio, in this case, the informant made statements that subjected him


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       to further prosecution, including self-incriminating statements that he purchased large quantities

       of various drugs from the defendant, which he distributed to customers throughout New

       Hampshire. The informant also acknowledged he personally observed drugs and a firearm in the

       defendant’s possession. His statements implicated him in a conspiracy with both the defendant

       and his prior supplier, who was already incarcerated. The informant’s statements against penal

       interest have inherent reliability. Cf. United States v. Leonard, 17 F.4th 218, 225 (1st Cir. 2021)

       (finding probable cause where informant known to the police who provided information about

       defendant’s drug-dealing and gun possession implicated himself and noting that this enhanced

       his trustworthiness). In United States v. Harris, 403 U.S. 573, 583, 91 S.Ct. 2075, 29 L.Ed.2d

       723 (1971), a plurality of the Supreme Court explained

                      [p]eople do not lightly admit a crime and place critical evidence in
                      the hands of the police in the form of their own admissions.
                      Admissions of crime, ... carry their own indicia of credibility—
                      sufficient at least to support a finding of probable cause to
                      search. Id.

              Finally, while the defendant argues the informant had “every motive to lie to help

       himself” since he was facing drug charges, Def’s Br. at 10, the opposite is true: an informant’s

       interest in obtaining leniency creates a strong incentive to supply accurate information. United

       States v. Miller, 925 F.2d 695, 699 (4th Cir.1991); United States v. Reivich, 793 F.2d 957, 962–

       963 (8th Cir. 1986) (offers of leniency are consistent with inferences of reliability that attach to

       statements against penal interest). As the First Circuit recognized in United States v.

       Vongkaysone, when an informant “ha[s] been caught dealing in drugs, it [is] to his advantage to

       produce accurate information to the police so as to qualify for the leniency he [seeks].” 434 F.3d

       68, 74 (1st Cir. 2006). This provides reason to credit the information the informant provides.

       See United States v. Batista, 31 F.4th 820, 823 (1st Cir. 2022) (upholding denial of motion to


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       suppress and finding the information provided by an informant, who had been arrested in a

       fentanyl trafficking investigation and agreed to provide information about the defendant,

       supported probable cause). Moreover, the Affidavit clearly presented to the magistrate the

       context in which the informant, having been arrested on multiple drug charges, was supplying

       the information about the defendant, and the magistrate was entitled to draw his own inferences

       about the reliability of the information in that context. That inference is entitled to deference.

              (2) The Informant’s statements reflected firsthand knowledge

              The informant also demonstrated personal knowledge of the information he provided,

       meeting the second of the Gifford factors cited above and supporting probable cause. “The

       credibility of an informant is enhanced to the extent he has provided information that indicates

       first-hand knowledge.” United States v. Barnard, 299 F.3d 90, 93–94 (1st Cir. 2002) (citing

       United States v. Taylor, 985 F.2d 3, 6 (1st Cir.1993)); see also Gates, 462 U.S. at 234 (stating

       that the informant’s “explicit and detailed description of alleged wrongdoing, along with a

       statement that the event was observed first-hand entitles the tip to greater weight than might

       otherwise be the case”). Here, the informant provided explicit and detailed descriptions of the

       defendant’s drug trafficking based on personal observation as a participant. He described that

       the defendant took over supplying him with drugs after the informant’s former supplier—with

       whom the informant had established a personal relationship in prison and knew to be a member

       of the same gang as the defendant (the Gangster Disciples)—was incarcerated; he said he

       personally met the defendant near Rimmon Street and Putnam Street to conduct drug deals; and

       he provided the quantities and prices of drugs he received from the defendant, described where

       the drugs were kept in the defendant’s car (the Target Vehicle) during drug deals, and stated that

       the defendant regularly stored a pistol in between the driver’s seat and center console in the


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       Target Vehicle. 3 This “first-hand information provided a link between the illegal activity

       observed and the place to be searched”—in this case, the Target Vehicle—and demonstrated the

       informant’s “knowledge of concealed illegal activity as opposed to easily knowable,

       nonincriminating facts.” Barnard, 299 F.3d at 94 (finding informant’s firsthand observations of

       two firearms at defendant’s house and his identifying types of guns, along with his statement that

       the defendant had threatened him with the SKS, showed knowledge of concealed illegal activity

       that provided assurance of reliability, and overturning district court’s suppression of evidence in

       felon-in-possession case) (quoting United States v. Tiem Trinh, 665 F.3d 1, 10 (1st Cir. 2011)).

              (3) Law enforcement corroborated portions of the information provided by the
                  informant

              In this case, law enforcement was able to corroborate a number of important pieces of

       information the informant provided, establishing the third of the Gifford factors. Specifically, the

       informant reported that the informant’s drug deals with the defendant, which the two conducted

       in person, took place near Rimmon St. and Putnam St. Law enforcement conducted a search of a

       database to find the defendant’s residence, which was near that intersection. The magistrate

       could reasonably find that the proximity of the informant’s reported drug deals to the defendant’s

       confirmed address corroborated the informant’s information.

              Law enforcement also confirmed, through contacting the defendant’s parole officer and

       through on-site surveillance, that the defendant’s vehicle matched the detailed description

       provided by the informant (which included the make, color, and license plates of the vehicle,

       showing the informant’s familiarity with the vehicle).


       3
        That the defendant regularly carried a gun in the Target Vehicle supported that the gun would
       still be in the vehicle and the criminal activity was “ongoing.” United States v. Lamon, 930 F.2d
       1183, 1188 (7th Cir. 1991) (reasoning that passage of time between the report of criminal
       behavior and a search does not render the information stale when criminal activity is ongoing).

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              Furthermore, the informant described that the defendant took over supplying the

       informant with drugs after the informant’s former supplier, a member of the same gang as the

       defendant, the Gangster Disciples, was incarcerated, and law enforcement corroborated that that

       former supplier was arrested in early July 2021 and was still incarcerated as of the writing of the

       Affidavit. This is corroborative of the informant’s description that the defendant took over the

       informant’s former supplier’s operations after the former supplier was arrested, which was

       between the first traffic stop resulting in seizure of drugs from the informant’s vehicle on June

       13, 2021, and the second car stop resulting in additional drug seizure on July 30, 2021.

              The informant’s description of the amount of methamphetamine he bought from the

       defendant each week—one pound—was consistent with the amount recovered from the

       informant’s vehicle in the second car search (464.7 grams—roughly one pound).

              Finally, law enforcement determined that the defendant was a convicted felon. “An

       affiant’s knowledge of the target’s prior criminal activity or record clearly is material to the

       probable cause determination.” United States v. Taylor, 985 F.2d 3, 6 (1st Cir. 1993) (citing

       United States v. Asselin, 775 F.2d 445, 446 (1st Cir.1985)). The defendant’s being a felon both

       lent credibility to the informant’s assertions that the defendant was engaging in illegal activity

       and confirmed that his regularly carrying a gun in between the driver’s seat and center console of

       the Target Vehicle, as reported by the informant, was itself criminal activity.

              Although law enforcement did not observe or corroborate any illegal activity firsthand,

       law enforcement did not have to do so to establish the reliability of the informant’s information.

       As the Supreme Court reasoned in Illinois v. Gates:

                      Because an informant is right about some things, he is more
                      probably right about other facts—including the claim regarding
                      the [defendants’] illegal activity. This may well not be the type of
                      “reliability” or “veracity” necessary to satisfy some views of the

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                      “veracity prong” of Spinelli, but we think it suffices for the
                      practical, common-sense judgment called for in making a probable
                      cause determination.

       462 U.S. at 244 (citing Spinelli v. United States, 393 U.S. 410, 89 S.Ct. 584 (1969), which the

       Gates court overturned). Similarly, in order for an informant’s information to establish probable

       cause, it was not necessary for law enforcement to be certain that the informant was not lying.

       “[T]he risk that an informant is lying or in error need not be wholly eliminated.” United States v.

       Barnard, 299 F.3d 90, 94 (1st Cir. 2002). In Illinois v. Gates, the Supreme Court reasoned that

       law enforcement’s corroboration of seemingly innocent facts, events described in an anonymous

       letter, sufficed to establish a fair probability that the defendants were engaged in the

       (uncorroborated) criminal activity that the letter described. Gates, 462 U.S. at 246. The

       Supreme Court reasoned:

                      [P]robable cause does not demand the certainty we associate with
                      formal trials. It is enough that there was a fair probability that the
                      writer of the anonymous letter had obtained his entire story either
                      from the [defendants] or someone they trusted. Id.

              Here, the informant’s account already carried much greater reliability than the

       anonymous letter in Gates, based on the indicia of reliability described at length above. A

       fortiori, and per the reasoning in Gates, law enforcement’s corroboration of portions of the

       information provided by the informant was sufficient to establish a “fair probability” that the

       informant was being truthful and accurate about the defendant’s criminal activity, and a search of

       the defendant’s car would yield evidence of such criminal activity. See United States v. Taylor,

       985 F.2d 3, 6 (1st Cir. 1993) (holding that an informant's detailed and specific account that the

       appellant was growing marijuana established probable cause for a search of appellant’s residence

       and was corroborated where law enforcement simply conducted a criminal background check of

       the defendant which revealed marijuana convictions in her past).

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                (4) The affiant assessed the probable significance of the informant's information

                Finally, the Affidavit establishes the fourth of the Gifford factors because the affiant

       found, based on the informant’s information and law enforcement’s corroboration of portions of

       it, there was probable cause to believe the Target Vehicle would “contain at least one firearm,

       ammunition, controlled substances, and electronic devices” which relate to, inter alia, violations

       of 18 U.S.C. 922(g)(1) [Felon in Possession of Ammunition and a Firearm], 21 U.S.C. 841

       [Distribution of Controlled Substances], and 21 U.S.C. 846 [Conspiracy to Distribute Controlled

       Substances]. Aff. ¶ 16. The magistrate could rightfully attribute weight to that assessment

       because the affiant’s opinion was based on his experience “handl[ing] many cooperating sources

       and witnesses who have provided information to [him] specifically related to shootings, the

       distribution of controlled substances, and various firearms offenses” and his knowledge of “the

       modus operandi used by individuals engaged” in such offenses. Aff. ¶ 3. The defendant’s point

       that the affidavit does not establish the informant’s past record of reliability is of little moment to

       the probable cause analysis. The informant was not an anonymous tipster. He was known to law

       enforcement, he was in their custody, and he was named in the affidavit. “[A] known informant’s

       statement can support probable cause even though the affidavit fails to provide any additional

       basis for the known informant’s credibility and the informant has never provided information to

       the police in the past.” United States v. Kinison, 710 F.3d 678, 682–83 (6th Cir. 2013).

                    B. The Magistrate’s Finding of Probable Cause Was Proper and Is Entitled to
                        Deference
                In reviewing a magistrate’s decision to issue a warrant, the court gives “considerable

       deference” to the magistrate’s determination that information in the affidavit establishes probable

       cause and focuses on whether the magistrate had a “substantial basis” for concluding probable

       cause existed. United States v. Taylor, 985 F.2d 3, 6 (1st Cir 1993). The reviewing court must


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       read the affidavit in Aa practical, >common sense= fashion, and [ ] accord considerable deference

       to reasonable inferences the [issuing magistrate] may have drawn from the attested facts.=@

       United States v. Bucuvalas, 970 F. 2d 937, 940 (1st Cir. 1992) (citations omitted). Moreover,

       given the strong preference for warrants under Fourth Amendment jurisprudence, a reviewing

       court will normally defer to an issuing magistrate=s Aprobable cause@ determination in a marginal

       case. United States v. Zayas-Diaz, 95 F.3d 105, 111 (1st Cir. 1996).

                 Hence, even if it were a close call as to whether the Affidavit established probable cause

       to search the defendant’s car (and it is not), the Court should defer to the magistrate’s finding.

           II.      Defendant Has Not Met the High Standard for a Franks Hearing
                 The defendant argues for a Franks hearing on the grounds that a physical falsification

       conviction from the informant’s criminal history 4 was either recklessly or intentionally omitted

       from the Affidavit, and that including it would have led the magistrate not to find probable cause.

       To obtain a Franks hearing, a defendant must make “a substantial preliminary showing that a

       false statement knowingly and intentionally, or with reckless disregard for the truth, was

       included by the affiant in the warrant affidavit, and [that] the allegedly false statement is

       necessary to the finding of probable cause.” United States v. Cartagena, 593 F.3d 104, 112 (1st

       Cir.2010) (quoting Franks, 438 U.S. at 155–56). “In the case of an omission, this means

       establishing that the inclusion of the omitted information would have led to a negative finding by

       the magistrate on probable cause.” United States v. McLellan, 792 F.3d 200, 208-9 (1st Cir.

       2015). A failure to prove either of these elements—that an omission was made knowingly and

       intentionally or with reckless disregard for the truth, and inclusion of the information would have

       led to a finding of no probable cause, “dooms the defendant’s challenge.” Id.


       4
        A copy of the informant’s criminal history, with personal identifying information redacted, has
       been provided to defense counsel as of the time of filing of this Objection.
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                Because the defendant cannot show that this information was intentionally omitted from

       the Affidavit or omitted with reckless disregard for the truth, and because the informant’s

       physical falsification conviction did not involve an element of deceit or any false statement and

       would not have changed the finding of probable cause had it been referenced in the affidavit, his

       request for a Franks hearing should be denied. These issues will be addressed in reverse order.

          A. Inclusion of the Informant’s Falsification Conviction Would Not Negate a Finding
             of Probable Cause
                Because the nature of the “physical falsification” conviction in the informant’s criminal

       record does not impugn the veracity of the information he provided to law enforcement in his

       post-arrest interview, including the conviction in the affidavit would not have undermined

       probable cause. As documented in the certified copy of the informant’s physical falsification

       conviction, attached hereto as Exhibit A, the violation of NH RSA 641:6 for which the informant

       was convicted was based on the informant’s “conceal[ing] what appeared to be drugs by

       dropping them to the ground and stepping on them in order to impair their availability [in a

       simple drug possession investigation].” The language in this description of the informant’s

       offense conduct tracks subsection I of the New Hampshire Statute, RSA 641:6, which states:

                       641:6 Falsifying Physical Evidence. A person commits a class B
                       felony if, believing that an official proceeding, as defined in RSA
                       641:1, II, or investigation is pending or about to be instituted, he:

                       I. Alters, destroys, conceals or removes any thing with a purpose to
                       impair its verity or availability in such proceeding or investigation; or

                       II. Makes, presents or uses any thing which he knows to be false
                       with a purpose to deceive a public servant who is or may be
                       engaged in such proceeding or investigation.
                While Subsection II of the statute criminalizes making knowing falsehoods with “a

       purpose to deceive,” the informant was not charged with violating this subsection. Instead, the

       informant was charged with violating Subsection I, relating to physical acts. Though attempting

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       to render drugs unavailable to be used in a trial against oneself is certainly a criminal act, it is

       comparable to a criminal trying to hide evidence or dust off his fingerprints so he does not get

       caught. The Subsection under which the informant was convicted, in contrast to Subsection II,

       does not establish an element related to deceit or lying to law enforcement.

                Therefore, the facts in this case are more similar to the facts of United States v. Rumney,

       cited in the defendant’s brief on page 12, where the First Circuit found “the inclusion of [the

       informant’s] criminal record would not have altered the finding of probable cause” because

       “appellant d[id] not contend that [the informant’s] crimes were ones involving perjury or false

       statements” and “a criminal record, no matter how lengthy, does not necessarily impugn one’s

       veracity.” Rumney, 867 F.2d at 720. As in Rumney, the informant’s crimes in this case do not

       involve perjury or false statements. Moreover, as in Rumney, the informant’s criminal record

       here “ha[d] no bearing on his intimate knowledge of the crime.” Id. Simply put, the informant’s

       act of trying to destroy drugs before they could be used against him in a simple possession case

       does not in any way negate his intimate knowledge of the drug distribution activities (or gun

       possession) of the defendant, who was the informant’s most recent drug supplier.

                Moreover, the fact that an informant has a criminal conviction for falsification does not

       mean that his account cannot establish probable cause: “information from dishonest informants

       may still provide a basis for probable cause.” United States v. Patayan Soriano, 361 F.3d 494,

       506–07 (9th Cir. 2004). The defendant cites United States v. Tanguay, 907 F. Supp. 2d 165, 184

       (D.N.H. 2012), aff'd, 811 F.3d 78 (1st Cir. 2016), and aff'd, 811 F.3d 78 (1st Cir. 2016) in his

       brief. Def’s Br. at 15. In that case, the trial court held an omission from an affidavit in support of

       a search warrant of an informant’s conviction for uttering a false prescription did not alter the

       finding of probable cause in light of other indicators of reliability, including: the informant’s


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       exposure to prosecution by providing information implicating himself in a crime; his personal

       knowledge of the defendant and relevant events; and law enforcement’s corroboration of certain

       information he provided. In upholding the trial court’s finding of probable cause despite the

       omission of the falsification charge, the First Circuit Court of Appeals reasoned:

                       Here, we do not think that the court erred in ascribing such limited
                       significance to the altered prescription conviction. . . . An
                       informant's trustworthiness may be enhanced in a number of ways,
                       including his willingness to reveal his identity, the level of detail in
                       his account, the basis of his knowledge, and the extent to which his
                       statements are against his interest. A number of such factors
                       bolster the district court's determination that the essence of [the
                       informant’s] account was worthy of credence.

       United States v. Tanguay, 787 F.3d 44, 50 (1st Cir. 2015) (internal citation omitted).

                Similarly, here, the indicia of reliability of the informant’s information—statements

       against penal interest implicating the informant in conspiracy and drug distribution the informant

       made in law enforcement’s custody during a post-arrest interview, which reflect the informant’s

       personal knowledge of the defendant and his criminal activity—coupled with law enforcement’s

       corroboration of portions of the information, demonstrate that including the informant’s

       falsification charge in the affidavit would not have changed the magistrate’s finding of probable

       cause. And even if the informant had reasons to level false criminal charges against the

       defendant, a warrant application need not entirely eliminate the risk that the informant was lying

       to establish probable cause. Barnard, 299 F.3d at 94; United States v. Capozzi, 347 F.3d 327,

       333 (1st Cir. 2003). Instead, the application must merely “suggest a ‘fair probability’ that

       evidence of a crime will be found in the place to be searched.” Gates, 462 U.S. at 238. The

       affiant’s Affidavit does so and would do so regardless of reference to the falsification conviction.

                Accordingly, inclusion of the conviction would not have changed the probable cause

       determination. The defendant fails to meet the standard for a Franks hearing.

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          B. Defendant cannot show that the informant’s falsification conviction was omitted
             intentionally or with reckless disregard for the truth

                Should the Court proceed to assess whether the informant’s falsification conviction was

       intentionally or recklessly omitted (and it need not), the Court should find that the informant’s

       2015 conviction for falsifying physical evidence was not omitted from the Affidavit with

       reckless disregard for the truth, let alone intentionally to mislead the magistrate. “To prove

       reckless disregard for the truth, the defendant must prove that the affiant ‘in fact entertained

       serious doubts as to the truth’ of the allegations.’” United States v. Ranney, 298 F.3d 74, 78 (1st

       Cir. 2002) (quoting United States v. Williams, 737 F.2d 594, 602 (7th Cir. 1984). The First

       Circuit has made it clear that the focus of the inquiry is upon the information known to the law

       enforcement agent making the statements in the affidavit at the time the statements were made.

       See United States v. Tzannos, 460 F.3d 128, 138 (1st Cir. 2006).

                There is no evidence whatsoever that the affiant entertained such doubts as to the truth of

       the informant’s allegations of the defendant’s criminal activity. To the contrary, the affiant’s

       opinions and his and other law enforcement officers’ corroboration of information show that he

       believed the information provided by the affiant to be true. Any omitted evidence that otherwise

       may have called the informant’s reliability into question is undermined by the corroboration of

       the information the informant provided, as well as the many other indicia of reliability of the

       information discussed above. United States v. Rigaud, 684 F.3d 169, 175 (1st Cir. 2012) (“We

       also agree with the district court that ample corroboration of the information that Trainor

       provided neutralizes any apparent untrustworthiness….”).

                Moreover, the disclosures in the Affidavit belie the defendant’s unfounded contention




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       that the affiant deliberately or recklessly omitted the informant’s past convictions. 5 The affiant

       made “no secret” of the informant’s criminality. See United States v. Belton, 414 F. Supp. 2d

       101, 110 (D.N.H. 2006). The Affidavit describes the informant had been arrested on two separate

       criminal warrants for drug offenses, and he provided information about the defendant in a post-

       arrest interview. The Affidavit’s statements about the large quantities of fentanyl,

       methamphetamine, and crack cocaine found in the informant’s possession, the informant’s

       associations with gang members and convicts, and the fact the informant had met his former drug

       supplier while in prison, all put the magistrate on notice the informant “was not a model citizen,”

       and provided sufficient context for the magistrate to assess his reliability. Id.; see United States v.

       Hall, 171 F.3d 1133, 1143 (8th Cir. 1999) (concluding that omission of informant’s full criminal

       history from warrant application was immaterial to probable cause where application cited her

       participation in prostitution and auto theft); United States v. Avery, 295 F.3d 1158, 1168 (10th

       Cir. 2002) (abrogated on other grounds) (finding affidavit that did not mention the informant’s

       criminal history nonetheless sufficient to show informant was not a model citizen and violated

       laws where it stated informant sold cocaine in the past). The defendant has not made the

       showing to warrant a Franks hearing, and the request should be denied.

           III.      The Leon Good Faith Exception Militates Against Suppression
                  Even if the magistrate’s probable cause determination was in error, the evidence derived

       from the search of the defendant’s car is still admissible under the Leon “good faith” exception.

       United States v. Leon, 468 U.S. 897 (1984). In Leon, the Supreme Court held that suppression of

       evidence seized in reliance on a warrant later found invalid is only required where: (1) the


       5
        Even if the Court were to find the falsification conviction should have been specifically
       referenced in the Affidavit, and it was negligent not to do so, a negligent omission is insufficient
       to require a Franks hearing. Franks, 438 U.S. at 171.

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       issuing magistrate was misled by information in the affidavit the affiant knew was false or would

       have known was false except for reckless disregard of the truth; (2) the issuing magistrate wholly

       abandoned his detached and neutral judicial role; (3) the affidavit is so lacking in indicia of

       probable cause as to render official belief in its existence entirely unreasonable; or (4) a warrant

       is so facially deficient the executing officers cannot reasonably presume it to be valid. Id. at 923.

                None of these four circumstances exist here. As described above, the affiant did not

       recklessly or intentionally omit material information about the informant’s criminal history from

       the affidavit, or otherwise mislead the magistrate. Inclusion of the additional information about

       the informant’s falsification conviction would not have changed the finding of probable cause.

                Furthermore, the affidavit is not so lacking in indicia of probable cause as to render law

       enforcement’s reliance on the magistrate’s issuance of the warrant improper. In conducting this

       inquiry, the Court should look to whether the executing officers “reasonably believed that the

       warrant was properly issued, not whether probable cause existed in fact.” United States v.

       Laughton, 409 F.3d 744, 752 (6th Cir.2005) (quotations omitted). If the warrant was later held

       invalid, that error “rests with the issuing magistrate, not the police officer, and punishing the

       errors of judges is not the office of the exclusionary rule.” Davis, 131 S. Ct. at 2428.

                Even if the Court were to conclude that the magistrate's decision was “arbitrarily

       exercised,” Gates, 462 U.S. at 248, 103 S. Ct. at 2317, the police conduct here does not justify

       the “heavy toll” generated by excluding the evidence in this case. Davis v. United States, 564

       U.S. 229, 236-37 (2011). In Davis, the Supreme Court made clear that exclusion is “not a

       personal constitutional right,” nor is it designed to “redress the injury occasioned by an

       unconstitutional search;” instead, the “sole purpose” of the exclusionary rule “is to deter further

       Fourth Amendment violations.” Id. at 237 (citing Herring v. United States, 555 U.S. 135, 141,


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       129 S.Ct. 695, 172 L.Ed.2d 496 (2009)). As the Court described in Davis, exclusion is only

       appropriate as a “last resort” where the deterrent effect outweighs the costs:

                       The analysis must also account for the “substantial social costs”
                       generated by the rule. Exclusion exacts a heavy toll on both the
                       judicial system and society at large. It almost always requires
                       courts to ignore reliable, trustworthy evidence bearing on guilt or
                       innocence. And its bottom-line effect, in many cases, is to
                       suppress the truth and set the criminal loose in the community
                       without punishment. Our cases hold that society must swallow this
                       bitter pill when necessary, but only as a “last resort.” For
                       exclusion to be appropriate, the deterrence benefits of suppression
                       must outweigh its heavy costs. Id.
                In this case, there is simply no law enforcement conduct that evidences a “deliberate,

       reckless, or grossly negligent” disregard for the defendant’s Fourth Amendment rights justifying

       application of the exclusionary rule. Id. (describing that such level of disregard is the necessary

       level of culpability for the value of exclusion to “tend to outweigh resulting costs”). To the

       contrary, the informant provided detailed information based on his personal knowledge about the

       defendant’s criminal activity—ranging from drug quantities and amounts obtained on a daily

       basis from the defendant, to the fact that defendant regularly carried a gun in the Target Vehicle

       tucked between the driver’s seat and center console—as well as information corroborated by law

       enforcement related to that activity—such as the informant’s description of the defendant’s

       vehicle, the defendant’s associate and fellow gang member (the informant’s prior supplier), and

       the defendant’s criminal history—such that law enforcement was well-founded in their belief

       that the magistrate properly found probable cause when issuing the warrant.

                Therefore, the officers executing the search warrant were entitled to rely on the apparent

       legality of their doing so, and no deterrence benefit would be gained by suppression here.




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          IV.      Even If the Search Warrant Lacked Probable Cause, Suppression of the
                   Evidence Seized from the Defendant’s Vehicle Is Inappropriate Because the
                   Evidence Would Have Inevitably Been Discovered
                Finally, even were the Court to hold the search warrant invalid, and the good faith

       exception unavailable, the evidence recovered from the defendant’s vehicle should not be

       suppressed because it would have inevitably been discovered. “Evidence which comes to light by

       unlawful means nonetheless can be used at trial if it ineluctably would have been revealed in

       some other (lawful) way.” United States v. Zapata, 18 F.3d 971, 978 (1st Cir. 1994). To

       determine applicability of the inevitable discovery doctrine, courts use the following test:

                       first, whether the legal means by which the evidence would have
                       been discovered was truly independent; second, whether the use of
                       the legal means would have inevitably led to the discovery of the
                       evidence; and third, whether applying the inevitable discovery rule
                       would either provide an incentive for police misconduct or
                       significantly weaken constitutional protections.

       United States v. Almeida, 434 F.3d 25, 28 (1st Cir. 2006); see also United States v. Crespo–

       Ríos, 645 F.3d 37, 42 (1st Cir. 2011). The government must show the doctrine's applicability by

       a preponderance of the evidence. United States v. Infante–Ruiz, 13 F.3d 498, 503 (1st Cir. 1994).

                Here, a search of the Target Vehicle would have inevitably occurred as a result of the

       parole violations of both Emilio Flores and the defendant, which subjected their persons and

       property to a warrantless search based on their parole conditions. See Exhibit B, Parole Officer

       Brian Benard’s Affidavit in Support of Objection to Motion to Suppress, at ¶¶ 10-12. On

       September 1, 2021, law enforcement conducted surveillance of the defendant and observed him

       pick up Emilio Flores, who was known by Manchester Police to be subject to arrest for a 2018

       parole violation. Flores carried a bag into the defendant’s vehicle and the two men then drove

       together to a TD bank. Both men were on parole and prohibited by their parole conditions from

       associating with other parolees. See Ex. B at ¶¶ 9-12.

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                If called to testify, Flores’s parole officer would explain that, had law enforcement not

       already obtained a signed warrant authorizing the search of the defendant’s vehicle, he would have

       searched the vehicle, including the bag that Flores brought into the vehicle, to make sure it did not

       contain additional evidence of parole violations, such as narcotics. See Ex. B at ¶¶ 12-13. Flores’s

       parole officer had authority to conduct this search, supported by the defendant’s and Flores’s

       parole conditions, which require them to submit to searches of their person, property, and

       possessions as requested by the parole officer. See id. at ¶¶ 9-14.

                Accordingly, the evidence at issue, including the kilogram of cocaine inside the bag that

       Flores brought into the Target Vehicle, would have been inevitably discovered, independent of the

       authorization of the search warrant. This satisfies the first two parts of the test described in

       Almeida. Almeida, 434 F.3d at 28. The third part of the test is also satisfied because, as described

       above, there was simply not any egregious misconduct or reckless disregard for Fourth

       Amendment rights that would be encouraged by applying the inevitable discovery rule in this case.

                Because the kilogram of cocaine in the bag and other evidence in defendant’s car would

       have inevitably been discovered even absent the search warrant, it should not be suppressed.

                                                  CONCLUSION
                For the foregoing reasons, the Court should deny the defendant’s motion to suppress

       evidence seized from the Target Vehicle, the defendant’s Honda Accord.

                Dated: October 31, 2022                      Respectfully submitted,

                                                             JANE E. YOUNG
                                                             United States Attorney

                                            By:               /s/ Aaron G. Gingrande
                                                             Aaron G. Gingrande
                                                             Assistant United States Attorney
                                                             53 Pleasant Street, 4th Floor
                                                             Concord, New Hampshire 03301

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                                     EXHIBIT A




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                                     EXHIBIT B




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                AFFIDAVIT IN SUPPORT OF OBJECTION TO MOTION TO SUPPRESS

                I, Brian Benard, depose and state as follows:

                1.       I am a Probation/Parole Officer of the New Hampshire Department of Corrections,

       with offices based in Manchester, New Hampshire.             I was hired by the New Hampshire

       Department of Corrections on February 2, 2007. I was promoted to Probation/Parole Officer in

       September 2008, and have remained employed in that capacity since then. In my capacity as a

       Probation/Parole Officer, I provide supervision of adult probationers and parolees and enforce

       compliance with conditions imposed by the New Hampshire courts and New Hampshire Adult

       Parole Board in accordance with state law and departmental policies.

                2.       In my capacity as a Probation/Parole Officer, I have been involved in numerous

       investigations of parole violations. In my experience, such investigations often include searching

       a defendant’s residence, vehicle, or personal property for evidence, such as contraband, supporting

       the violation.

                3.       I submit this affidavit in support of the government’s objection to a motion to

       suppress evidence obtained pursuant to a search of a vehicle belonging to the defendant, Michael

       Francis, in which a parolee I was supervising, Emilio Flores, was a passenger on the day that the

       defendant and Mr. Flores were arrested.

                4.       In November of 2014, Mr. Flores was released on parole from a term of

       incarceration in connection with a sentence for armed robbery and burglary. He was assigned to

       the supervision of another Parole Officer upon the inception of his parole, and I became his

       supervising Parole Officer in May of 2018. His parole did not expire until August 23, 2022.

                5.       While he was on parole, Mr. Flores violated his conditions of parole by failing to

       report to me in October 2018 as instructed, failing to obtain my permission before changing


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       residences, and by consuming THC on multiple occasions.               On September 30, 2018, law

       enforcement also found heroin in his vehicle in connection with an investigation of a report of

       suspicious activity at the Country Inn and Suites in Bedford, New Hampshire. Mr. Flores was

       criminally charged with possession of heroin as a result of the incident.

                6.       After Mr. Flores’s arrest on the above-referenced heroin charge, he posted bail, and

       then absconded from parole supervision.           Furthermore, he failed to appear for the court

       proceedings in Hillsborough Superior Court North in connection with that criminal charge, and

       instead became a fugitive from justice.

                7.       Mr. Flores was still on parole, and was still wanted on this parole violation, as of

       September 1, 2021, when he was arrested by the Manchester Police Department in the parking lot

       of TD Bank in Manchester. Just prior to his arrest, Mr. Flores was an occupant of a vehicle

       belonging to Michael Francis that was parked in that parking lot.

                8.       I know that on the day of Mr. Flores’s arrest, law enforcement had observed Mr.

       Flores associating with Michael Francis, who was also on parole at the time and was supervised

       by my office.

                9.       One of Mr. Flores’s conditions of parole at the time includes our standard condition

       that the parolee will not associate with other criminal companions, including other parolees.

                10.      Another one of Mr. Flores’s conditions of parole includes our standard condition

       that the parolee will permit the parole officer to visit the parolee’s residence at any time for the

       purpose of examination and inspection in the enforcement of the conditions of parole, and submit

       to searches of the parolee’s person, property, and possessions as requested by the parole officer.

       This condition authorizes the parole officer to conduct reasonable searches of the parolee, his

       residence, and his property and possessions, including but not limited to a vehicle.


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                11.    Because Mr. Francis was also being supervised by my office and through

       conversations with his parole officer, I am aware that Mr. Francis was subject to the same standard

       parole conditions stated above on the date of his and Mr. Flores’s arrest.

                12.    Based on the knowledge I had during the time surrounding Mr. Flores’s arrest, had

       law enforcement not already obtained a search warrant to search Mr. Francis’s vehicle, in which

       Mr. Flores had been an occupant, I would have conducted a search of Mr. Francis’s vehicle,

       including a search of the bag that Mr. Flores was seen carrying into that vehicle. In my capacity

       as a Parole Officer, I would have had authority to search Mr. Francis’s person and property,

       including his vehicle, based on his status as a parolee.

                13.    I would have conducted this search based on what I knew: (a) Mr. Flores was

       wanted for arrest on a parole violation; (b) Mr. Flores had been charged with possessing heroin;

       (c) Mr. Flores was a fugitive from justice; and (d) Mr. Flores had been associating with Mr.

       Francis, another parolee. Accordingly, I would have conducted the search of the vehicle and Mr.

       Flores’s person and personal property for evidence of a further parole violation, such as contraband

       that Mr. Flores had carried into the vehicle, or drugs that Mr. Flores was otherwise in the presence

       of in the vehicle.

                14.    Conducting a search of Mr. Francis’s vehicle, including the bag that Mr. Flores

       carried into the vehicle, would have been consistent with New Hampshire Department of

       Corrections’ policy and standard procedure, and in accordance with my training and experience as

       a parole officer.


       Date: October 31, 2022                        /s/ Brian Benard
                                                     Brian Benard, Probation/Parole Officer
                                                     Division of Field Services
                                                     New Hampshire Department of Corrections


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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW HAMPSHIRE

       UNITED STATES OF AMERICA

                       v.                                                   No. 1:21-cr-00153-01-SM

       MICHAEL FRANCIS

                              REPLY TO GOVERNMENT OBJECTION
                   TO MOTION TO SUPPRESS EVIDENCE SEIZED WHEN EXECUTING
                        SEARCH WARRANT FOR A WHITE HONDA ACCORD

                The defense submits this reply, pursuant to Local Rule 7.1(e)(1), to rebut factual and

       legal arguments raised in the Government’s Objection to the Motion to Suppress Evidence

       Seized When Executing Search Warrant for a White Honda Accord.

                The Government argues that the affidavit offered in support of the search warrant

       provided probable cause and that, in any event, the good faith exception bars application of the

       exclusionary rule. To the defense assertion that the Franks doctrine applies because of the

       agent’s deliberate or reckless omission of evidence of the informant’s dishonesty, the

       Government claims that there is no evidence of dishonesty and that the defense has not made a

       showing of deliberate or reckless conduct by the agent. Finally, if all else fails, the Government

       claims it is saved by the “inevitable discovery” doctrine. All of the Government’s arguments fail,

       as set forth in the original motion and below.


       The Agent Ran a Criminal Record Check on the Informant On the Day the Agent Applied for the
       Warrant Yet Failed to Reveal the Informant’s Felony Conviction for a Crime of Dishonesty to
       the Magistrate, Thus Compounding the Flaws of the Affidavit.

                The Government says a Franks hearing is not necessary because the defense has not

       shown that the informant was convicted of a crime of dishonesty, that the agent recklessly or

       deliberately omitted evidence from the affidavit, or that the evidence would have made a

       difference to the Magistrate. The Government is wrong on all counts.
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                The Government acknowledges the informant’s prior conviction but argues that

       “Falsifying Physical Evidence,” under N.H. RSA 641:6, I, is not a crime of dishonesty that

       reflects on the informant’s credibility. First, the name of the crime includes the word

       “falsifying.” Second, the crime is in Chapter 641 of the New Hampshire Criminal Code, which is

       entitled “Falsification in Official Matters.” Nonetheless, the Government argues that since the

       informant was convicted of trying to conceal evidence of his guilt from law enforcement, the

       informant did not have a purpose to deceive. That argument defies common sense. A person

       worried about being charged with drug possession who hides the drugs from police is obviously

       trying to deceive the police into believing that the person does not possess drugs. Moreover, as a

       matter of New Hampshire law, when the informant pleaded guilty, he admitted to more than

       simple abandonment of the evidence. He admitted to actively concealing evidence of a crime

       with a purpose to prevent disclosure. See In re Juvenile 2003-187, 151 N.H. 14, 17 (2004) (the

       offense requires more than “simple abandonment” of the evidence); see also State v. Daoud, 158

       N.H. 334, 337 (2009). Finally, the Government fails to give any weight to the fact that the very

       person the informant sought to deceive when committing the crime of Falsifying Physical

       Evidence was a law enforcement officer. See Doc. 46-1, p.5 (the indictment of the informant).

       Surely, a law enforcement officer asking a United States Magistrate to take the word of an

       informant should have told the Magistrate that the informant has a prior felony conviction not

       just for dishonesty, but for trying to deceive a fellow law enforcement officer. Isn’t that exactly

       the kind of information a Magistrate needs to assess probable cause and the reliability of an

       informant?

                Next, the Government says it does not matter if the informant was convicted of a felony

       crime of dishonesty, because Agent Burke did not recklessly or deliberately leave that conviction


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       out of his affidavit. In his affidavit to search the Honda, Agent Burke does not mention that the

       informant has any criminal record, at all, much less a conviction for a felony crime of

       dishonesty. See Doc. 35-3, p. 3-6. Although he did not reveal it, Agent Burke very well knew the

       informant’s record. Agent Burke had in fact run a criminal record check of the informant on the

       same day that he filed the affidavit in this case. In a different affidavit he filed in this court in

       another case, Burke describes running a criminal record check on several people, including the

       informant from this case. See attached Exhibit A, p. 3, par. 8 (the attached affidavit is redacted to

       maintain confidentiality of the informant). Agent Burke states in that other affidavit that he

       reviewed the criminal history of the informant and that the informant has been convicted of a

       crime punishable by a term longer than one year. Id. Thus, there is no doubt that Agent Burke

       knew the informant’s criminal record, which includes conviction of a felony crime of dishonesty.

       The failure to include that criminal record in the affidavit for the search of the Honda was at least

       reckless.

                Notably, Agent Burke was careful in his affidavit to describe all of the other records he

       reviewed. Without mentioning that he had run a criminal history on the informant, Burke said he

       had run a criminal history on Francis. See Doc. 35-3, p. 6, par. 14. Burke also checked the motor

       vehicle registry to determine what kind of car was registered to Francis. Id. at par. 15. And Burke

       used a law enforcement database to search for addresses associated with Francis. Id. In this

       context, where the agent discussed many other relevant records, it is not reasonable to believe

       that the failure to mention the informant’s conviction of a crime of dishonesty, or even that he

       had a criminal record, was unintentional. It was, at a minimum, reckless.

                Contrary to the Government’s arguments, having the criminal history would have made a

       difference to Magistrate Lynch when he was deciding whether to issue a search warrant for the


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       Honda. Agent Burke was asking Magistrate Lynch to make a finding of probable cause based on

       the claims of an informant who had everything to gain by currying favor with law enforcement.

       The informant told an elaborate story. The Government even says, “the information the

       informant provided was based on his firsthand knowledge of the defendant’s criminal activity.”

       Government Objection, p. 9. Despite such claims, the Government and Agent Burke have

       nothing more than the informant’s word. The only corroborated information from the informant

       was an address and the kind of car Francis drove. That was information which almost any person

       could provide about another person with minimal effort. The Government argues that the

       informant provided so much detail that his claims must be true. Perhaps uncorroborated details

       claimed by an informant would carry some weight if the informant was a normal citizen. Here,

       such uncorroborated details must be viewed with skepticism. This is not a case where a

       concerned citizen has related details he would not be expected to have. Rather, the context here

       is that a felon, previously convicted of trying to deceive law enforcement, told a detailed story

       about criminal conduct but the agent did not verify a single instance of criminal conduct by the

       suspect. Rather, the agent omitted the informant’s background from his affidavit.

                The omission of the Falsifying Physical Evidence conviction should also be considered in

       light of what is not in Agent Burke’s affidavit. There is no account of the informant making a

       controlled buy of drugs from Francis. There is no incriminating evidence from any other witness.

       There is not a single text message, much less a recorded phone call, in which Francis and the

       informant discuss some drug deal. There is no evidence that the informant provided reliable

       information in some other case, and thus had a track record of credibility.

                Finally, the Government’s claim that the informant’s credibility was bolstered because he

       incriminated himself along with Francis, is wrong and contrary to the practical reality of what


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       happens in criminal cases. The informant did not take a risk by naming Francis. He kept himself

       safe by naming Francis. The informant was arrested for drug amounts that would surely send him

       to prison for a long time. His only way out was to give law enforcement the name of a person

       who would have a hard time defending himself. This informant knew Francis because they had

       both been incarcerated. The informant knew Francis would be an easy person to accuse because

       of Francis’s criminal record. A serious concern for the Magistrate reviewing the warrant

       application would have been whether the informant was trying to save himself by telling a tale

       about Francis. Unfortunately, the Magistrate had no opportunity to assess such motivations

       because the informant’s background of trying to deceive law enforcement in drug cases was not

       revealed by Agent Burke.

                As noted in the original motion, the Government cannot rely on the good faith exception

       where the Magistrate was misled by law enforcement’s reckless omission of important

       information. See United States v. Vigeant, 176 F.3d 565, 571-72 (1st Cir. 1999). What has been

       confirmed since the filing of the original motion is that there was a reckless omission of very

       important information. The informant had a conviction for a felony of trying to deceive law

       enforcement in a drug case. Even though the agent’s claim of probable cause was based almost

       entirely on the word of the informant, the agent did not reveal the conviction to the Magistrate.

       In these circumstances, the Government cannot claim good faith reliance on the Magistrate’s

       determination of probable cause when that determination resulted from the reckless and

       misleading omission by a government agent.

       The Inevitable Discovery Doctrine Does Not Apply.

                The Government claims that, if its other arguments fail, it is nonetheless saved by the

       “Inevitable Discovery” doctrine. Under that doctrine:


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                Evidence improperly obtained under the Fourth Amendment may, nevertheless, be
                admissible, notwithstanding the exclusionary rule, if that evidence would have been
                discovered inevitably.

       United States v. Wilson, 2019 DNH 208, 2019 U.S. Dist. LEXIS 212524, at *16, citing United

       States v. Almeida, 748 F.3d 41, 49 (1st Cir. 2014).

                The inevitable discovery doctrine only applies, “[i]f the prosecution can establish by a

       preponderance of the evidence that the information ultimately or inevitably would have been

       discovered by lawful means . . . .” United States v. Soto-Peguero, 978 F.3d 13, 20 (1st Cir.

       2020), citing Nix v. Williams, 467 U.S. 431, 446 (1984). Therefore, the preliminary point

       regarding this issue is that the Government cannot prevail unless it presents evidence at a hearing

       and proves inevitable discovery by a preponderance of the evidence. In the absence of such

       proof, the claimed exception does not apply. United States v. Del Rosario-Acosta, 968 F.3d 123,

       130 (1st Cir. 2020).

                When attempting to carry its burden of proof at a hearing, “[t]he government bears the

       burden of showing, by reference to demonstrated historical facts and by a preponderance of the

       evidence, that the information or item would inevitably have been discovered by lawful means.”

       (quotation marks and citation omitted). United States v. Delgado-Pérez, 867 F.3d 244, 258 (1st

       Cir. 2017). Furthermore, the trial court must consider whether “‘the lawful means of [the

       evidence’s] discovery are independent and would necessarily have been employed’ absent the

       earlier unlawful search, and whether ‘discovery by that [lawful] means is in fact inevitable.’” Id.,

       citing United States v. Zapata, 18 F.3d 971, 978 (1st Cir. 1994). Moreover, the Government

       cannot carry its burden by mere speculation about how a suspect might have acted if the illegal

       search had not taken place. Delgado-Pérez, 867 F.3d at 259. Finally, the court must also consider

       whether the law enforcement officer whose conduct was unconstitutional acted intentionally and


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       thus whether allowing an exception to the exclusionary rule would create an incentive to violate

       the constitution. Soto-Peguero, 978 F.3d at 21.

                The Government will not be able to carry its burden of proving inevitable discovery in

       this case. The Government says that a “search of the Target Vehicle would have inevitably

       occurred as a result of the parole violations of both Emilio Flores and the defendant, which

       subjected their persons and property to a warrantless search based on their parole conditions.”

       Government Objection, p. 24. While the defense has no obligation to prove the inapplicability of

       the inevitable discovery doctrine here, the defense notes that the Government’s proffered

       explanation of inevitable discovery is the kind of speculation the First Circuit has rejected.

                The Government’s claim that a search of the Honda and the discovery of cocaine there

       would have inevitably taken place is pure speculation. By the Government’s own account,

       Francis drove his car to an apartment building where Flores put a bag in the back seat of the car.

       The cocaine was in that bag. The only person whoever handled that bag was Flores. No agent

       claims to have seen Francis touch or even look in the bag. The Government cannot offer any

       evidence that Flores put the bag in Francis’s car at Francis’s instruction. The Government does

       not even have any evidence that Francis knew what was in Flores’s bag. Most importantly, the

       Government cannot offer any evidence that the bag belonging to Flores would have remained in

       Francis’s car until the time of some other “inevitable” search in the future. To the contrary, there

       is every reason to believe that Flores would not have left his bag in the Honda for very long at

       all. And the agents’ own conduct shows that they did not intend to make an arrest based only on

       parole violations for violating the rule against felons associating with each other. After all, they

       had observed Francis and Flores together an hour and a half earlier at 231 Thornton Street, and

       then later at 153 Joliette Street, but no arrest was made at those times when the bag from Flores


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       was not in the Honda. In short, the Government speculation here is just the kind of speculation

       about a suspect’s future conduct which the First Circuit rejected in Delgado-Perez and which this

       court should reject after a hearing.

                Finally, the court should recognize that applying the inevitable discovery doctrine in this

       case would incentivize unconstitutional conduct. As set forth in the Franks discussion above,

       Agent Burke’s conduct in omitting the informant’s record was either reckless or intentional. He

       had run the informant’s criminal record the same day that he applied for the search warrant in

       this case. The informant had a conviction for a felony of attempting to deceive law enforcement

       in a drug investigation. Burke knew his search warrant application depended on the Magistrate

       accepting the word of the informant, yet he did not mention the informant’s criminal record at

       all. In these circumstances, application of the inevitable discovery doctrine would “sully the

       prophylaxis of the Fourth Amendment.” Zapata, 18 F.3d at 978; see also United States v.

       Hughes, 640 F.3d 428, 440 (1st Cir. 2011).


       Conclusion.

                If the court agrees that the affidavit is flawed on its face, it should grant the motion to

       suppress without a heading. Otherwise, a hearing is necessary, both to address the Franks issue

       and to address the Government’s assertion of the inevitable discovery doctrine. Whether or not

       there is a hearing, after considering the law and facts before it, the court should grant the defense

       motion to suppress all evidence seized from the white Honda Accord.




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       Date: November 20, 2022                                      Respectfully submitted
                                                                    by counsel for Michael Francis,

                                                                    /s/ Richard Guerriero
                                                                    Richard Guerriero, Esq.
                                                                    N.H. Bar No. 10530
                                                                    Lothstein Guerriero, PLLC
                                                                    Chamberlain Block Building
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                                         CERTIFICATE OF SERVICE

               I hereby certify that this document, filed through the ECF system, will be sent
       electronically to registered participants identified on the Notice of Electronic Filing (NEF) and
       paper copies will be sent to the nonregistered participants on the date the document was signed
       by me.
               _                                                      /s/ Richard Guerriero
                                                                      Richard Guerriero




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                                        UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEW HAMPSHIRE


       UNITED STATES OF AMERICA                               )
                                                              )
                  v.                                          )          No. 1:21-cr-00153-SM
                                                              )
       MICHAEL FRANCIS                                        )

                           GOVERNMENT’S NOTICE OF SUPPLEMENTAL CASE LAW

                 The government submits this notice to inform the Court and the defendant that, at the

       upcoming hearing on the defendant’s motions to suppress in the above-captioned matter, the

       government intends to reference in its oral argument the following cases, which are not otherwise

       cited in the parties’ briefs:

                       •   United States v. Cardona, 903 F.2d 60 (1st Cir. 1990)
                       •   United States v. Comer, 565 F. App'x 729, 733–34 (10th Cir. 2014)
                       •   United States v. Naranjo, 309 F. App'x 859, 864–65 (5th Cir. 2009)

       Each of the above cases is hyper-linked to where they can be found on Westlaw, for ease of

       review.


                                                                  Respectfully submitted,

                                                                  JANE E. YOUNG
                                                                  United States Attorney
       Dated: June 14, 2023
                                                                  /s/ Aaron G. Gingrande
                                                        By:       Aaron G. Gingrande
                                                                  Assistant U.S. Attorney
                                                                  53 Pleasant Street, 4th Floor
                                                                  Concord, New Hampshire 03301
                                                                  (603) 225-1552




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                *NO COPY OF THIS TRANSCRIPT MAY BE MADE PRIOR TO JANUARY 31, 2024


                                        UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEW HAMPSHIRE


                 * * * * * * * * * * * * * * * * * * * *
                                                       *
                 UNITED STATES OF AMERICA              *
                                                       *             1:21-cr-153-SM
                              v.                       *             June 14, 2023
                                                       *             1:36 p.m.
                 MICHAEL FRANCIS                       *
                                                       *
                 * * * * * * * * * * * * * * * * * * * *


                               TRANSCRIPT OF HEARING ON MOTION TO SUPPRESS
                                BEFORE THE HONORABLE STEVEN J. MCAULIFFE


                 Appearances:



                 For the Government:                Charles L. Rombeau, AUSA
                                                    Aaron G. Gingrande, AUSA
                                                    United States Attorney's Office




                 For the Defendant:                 Richard Guerriero, Esq.
                                                    Lothstein Guerriero




                 Court Reporter:                    Liza W. Dubois, RMR, CRR
                                                    Official Court Reporter
                                                    United States District Court
                                                    55 Pleasant Street
                                                    Concord, New Hampshire 03301
                                                    (603)225-1442




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                                                                                                 2

            1                                        I N D E X

            2

            3
                 WITNESS:                   Direct     Cross     Redirect      Recross
            4
                 Ryan Burke
            5      By Mr. Rombeau               6                     56
                   By Mr. Guerriero                      31
            6

            7    Brian Benard
                   By Mr. Gingrande            60                     99
            8      By Mr. Guerriero                      85

            9
                 Joseph Lorenzo
           10      By Mr. Gingrande           111
                   By Mr. Guerriero                     131
           11

           12
                 EXHIBITS:                                 FOR ID                      IN EVD.
           13
                 (None marked.)
           14

           15

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           17

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            1                               P R O C E E D I N G S

            2                  THE CLERK:     The court is in session and has for

            3    consideration an evidentiary hearing in the matter of the

            4    United States vs. Michael Francis, criminal case

            5    21-cr-153-01-SM.

            6                  THE COURT:     All right.     Mr. Gingrande.

            7                  MR. GINGRANDE:      Yes, your Honor.

            8                  THE COURT:     Fire away.

            9                  MR. GINGRANDE:      Oh, all right.      Well, I will defer

           10    then to --

           11                  THE COURT:     All right.     Mr. Guerriero?

           12                  MR. GUERRIERO:      Could I bring up one preliminary

           13    matter, your Honor?

           14                  THE COURT:     Of course.

           15                  MR. GUERRIERO:      Seated to my right is Oliver Bloom.

           16    He's not quite yet a lawyer.          He's interned for us the last

           17    couple of summers.       He's studying for the New Hampshire Bar

           18    right now.     And the government doesn't have any objection to

           19    him joining me at counsel table, if that's okay with the Court.

           20                  THE COURT:     That's fine.      Welcome.

           21                  MR. BLOOM:     I appreciate it.

           22                  MR. GUERRIERO:      Thank you.

           23                  MR. ROMBEAU:      Your Honor, I'm going to present the

           24    testimony from Agent Burke, but there's one preliminary matter

           25    I wanted to address with the Court.


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            1                  We submitted the unredacted copy of the affidavit

            2    for the search warrant here that's been marked as Government's

            3    Exhibit 1.     If there's no objection from the defense, we would

            4    like to keep that under seal in this case.             So I know we

            5    normally do this in advance, but I'd like to make an oral

            6    motion to keep that under seal for this proceeding and if

            7    there's any appeal that follows for that unredacted copy.

            8                  THE COURT:     You lost me.      It is under seal.

            9                  MR. ROMBEAU:      Yes.   Well, I don't think we had

           10    actually ever made a motion to seal it, your Honor --

           11                  THE COURT:     Oh, okay.

           12                  MR. ROMBEAU:      -- so I just wanted to do that.          I

           13    know we submitted it saying we wanted it to be under seal, but

           14    since we hadn't submitted a motion, I wanted to do that here in

           15    open court.

           16                  THE COURT:     Okay.     Any objection?

           17                  MR. GUERRIERO:      No objection, your Honor.         And my

           18    intention is to refer to the person referenced in that

           19    under-seal affidavit as the CI, for lack of a better phrase.                  I

           20    won't use his name during the proceedings and I redacted the

           21    affidavit that I filed with my motion.

           22                  THE COURT:     All right.     Appreciate it.

           23                  MR. GUERRIERO:      Okay.    If the government has any

           24    other witnesses or if there are any witnesses in the courtroom,

           25    I would request the witness be sequestered except for the first


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                                                                                                5

            1    witness.

            2                  THE COURT:     The government only has one witness,

            3    right?

            4                  MR. ROMBEAU:      We expect that this case will probably

            5    just turn on the testimony of Agent Burke, your Honor, but

            6    there are a couple other witnesses that the government has made

            7    available that Attorney Guerriero had subpoenaed.               But we're

            8    only expecting to call Agent Burke, really, at this point.                 And

            9    then there's a possibility, depending on how that goes, we may

           10    get into issues with a Probation Officer Benard who is here.

           11    But I expect this is largely going to be about the testimony of

           12    Agent Burke.

           13                  THE COURT:     All right.     Any witnesses -- I don't

           14    know who they are.       Any anticipated witnesses?

           15                  MR. ROMBEAU:      Our -- the law enforcement witnesses

           16    subpoenaed by Attorney Guerriero have been sequestered.

           17                  THE COURT:     Okay.

           18                  MR. ROMBEAU:      Okay.    With that, the government will

           19    call Special Agent Ryan Burke, your Honor.

           20                  THE CLERK:     Please remaining standing and raise your

           21    right hand.

           22                  RYAN BURKE, having been first duly sworn, testified

           23    as follows:

           24                  THE CLERK:     Thank you.     Please state your full name

           25    for the record.


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            1                  THE WITNESS:      Ryan Burke, R-y-a-n, B-u-r-k-e.

            2                  THE CLERK:     Please be seated.

            3                  THE WITNESS:      Thank you.

            4                  Good afternoon, your Honor.

            5                  THE COURT:     Good afternoon.

            6                                 DIRECT EXAMINATION

            7    BY MR. ROMBEAU:

            8           Q.     Good afternoon, Special Agent Burke.

            9                  Could you start by telling the Court where you're

           10    currently employed?

           11           A.     Sorry.    I am currently employed with the FBI here in

           12    New Hampshire on the Major Offender Task Force.

           13           Q.     Okay.    And how long have you worked for the FBI in

           14    total?

           15           A.     Ten and a half years.

           16           Q.     Did you work in law enforcement prior to joining the

           17    FBI?

           18           A.     I did.    I was a police officer for the Transit

           19    Police in Boston for two years.

           20           Q.     And in your -- were there any other jobs in law

           21    enforcement other than that?

           22           A.     No.

           23           Q.     Okay.    In your time here -- well, I'm sorry.

           24                  In your time overall at the FBI, have you had a

           25    particular subject matter of focus of the kinds of cases you


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            1    work?

            2            A.    Yes.    I've been assigned in three geographic regions

            3    and primarily worked on gang and drug task forces, along with

            4    violent crime task forces.

            5            Q.    And has that been consistent with the type of work

            6    you've done in the three or so years you've been assigned here

            7    to New Hampshire?

            8            A.    Yes.

            9            Q.    Okay.    And over the course of your career, have you

           10    drafted a number of search warrant or arrest complaint warrant

           11    affidavits?

           12            A.    I have, dozens, probably over a hundred.

           13            Q.    And in your current role here in New Hampshire, are

           14    you frequently collaborating with local law enforcement or are

           15    you tending to work on your own with federal agencies?

           16            A.    Generally, everything I do is with local and state

           17    law enforcement officers.

           18            Q.    Okay.    And I think you alluded to a task force.

           19    What -- who makes up the task force that you're a part of right

           20    now?

           21            A.    It's myself, another agent -- the particular

           22    agencies?

           23            Q.    Yes.

           24            A.    New Hampshire State Police, Manchester Police,

           25    Goffstown Police, Rockingham County Sheriff's Office, Rochester


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            1    Police, Hudson Police.        I may have forgotten one or two, but

            2    there's a total of eight agencies that work on the task force.

            3           Q.     And how many agents from the FBI are assigned to it?

            4           A.     Myself and one other.

            5           Q.     I want to shift your focus, Special Agent Burke, to

            6    the investigation that brings you to court today.

            7                  And back in the summer of 2021, you -- were you

            8    already up here in New Hampshire then?

            9           A.     I was, yes.

           10           Q.     Okay.    And can you tell the Court how you first

           11    became familiar with the name Michael Francis?

           12           A.     So at the time I was not on the task force that I'm

           13    on now, but instead I was working essentially full time with

           14    the Manchester Police Department anticrime unit.               And during

           15    that time I was, you know, in the city of Manchester on a daily

           16    basis and I was familiar with Michael Francis through my

           17    Manchester Police colleagues and prison officials and knew him

           18    to be a member of the Gangster Disciples in a leadership role

           19    as well.

           20           Q.     Okay.    And what -- what exactly are the Gangster

           21    Disciples?

           22           A.     They're a criminal street gang, and Mr. Francis was

           23    purported to be the leader of them in New Hampshire.

           24           Q.     And so you alluded to being made aware of him.              Were

           25    there particular criminal activity that you were focused on


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            1    connecting -- connected to Mr. Francis?

            2           A.     So at the time there was -- there had been a string

            3    of shootings in the city.

            4                  MR. GUERRIERO:      Excuse me, sir.       Excuse me, sir.

            5                  Your Honor, I have an objection.           The focus of a

            6    Franks hearing, once we get beyond general background, is

            7    really limited to the evidence relating to whether or not there

            8    was an omission of an important fact from the affidavit.                 I

            9    don't think it's appropriate for the government to try to

           10    reform an affidavit that the Court is supposed to judge on its

           11    four corners by putting in other evidence relating to the

           12    alleged criminal activity of the defendant.

           13                  The Court is going to be looking at what is in this

           14    affidavit; what was --

           15                  THE COURT:     Correct me --

           16                  MR. GUERRIERO:      -- left out that should have been --

           17                  THE COURT:     -- if I'm wrong, but the omission is the

           18    prior conviction of the confidential informant; isn't it?

           19                  MR. GUERRIERO:      That's right.

           20                  THE COURT:     There's no other claim.

           21                  MR. GUERRIERO:      That's right.

           22                  THE COURT:     All right.     There's no harm.

           23                  MR. GUERRIERO:      And in some -- I don't think it's

           24    been raised in this circuit.          In other circuits, there have --

           25    there's case law on the issue of the corrected affidavit


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            1    doctrine where essentially the government would say, well, if

            2    the defendant wants to add in information to the affidavit, we

            3    want to try to reform the affidavit to show there was more

            4    facts to support probable cause.          And that's been rejected, for

            5    example, in the Second Circuit and other circuits and I would

            6    suggest it's not proper for the Court to try to introduce that

            7    kind of evidence.

            8                 So, for example, other --

            9                 THE COURT:     Is that what you're trying to do?

           10                 MR. ROMBEAU:     No, your Honor.

           11                 THE COURT:     Okay.   I didn't think so.       I don't think

           12    he's trying to add information to the affidavit.            The affidavit

           13    is what it is.

           14                 MR. GUERRIERO:      Right.

           15                 THE COURT:     I agree.

           16                 MR. GUERRIERO:      I just -- and I'm fine with the

           17    background because the Gangster Disciples are mentioned in the

           18    affidavit.    But once we go beyond who -- the question he was

           19    asked was what other criminal activities.           And I think at that

           20    point I have to say, no, let's stick to the affidavit.

           21                 THE COURT:     Well, I suppose it goes to his

           22    expertise, experience, and analytical talent, I suppose.

           23                 All right.     To the extent you've objected, it's

           24    overruled.

           25                 Go ahead, Mr. Rombeau.


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            1           Q.    So -- so we talked a little bit about the -- your

            2    prior knowledge of Mr. Francis.         And then did an arrest occur

            3    in August of 2021 of an individual I'll refer to as the

            4    cooperating witness or cooperating informant that advanced your

            5    interest in Mr. Francis?

            6           A.    Yes, there was an arrest of an individual that did.

            7           Q.    Okay.    And how would you like to refer to this

            8    individual in the hearing today, Special Agent Burke, as the

            9    cooperating witness, cooperating informant?           What terminology

           10    would you prefer I use?

           11           A.    Well, to be frank, he's referred to by true name in

           12    my report in the affidavit.        He's on video.     But, I mean, I

           13    understand the concerns amongst the counselors here.             So he's

           14    certainly not an informant by any stretch according to the FBI,

           15    but I can refer to him however we agree.

           16           Q.    All right.     Well, we'll get back to that.         So we'll

           17    start with I'll just say the cooperating witness.

           18                 And so I want to talk a little bit about the

           19    background of the trouble the cooperating witness had gotten

           20    himself into.     Can you tell the Court about that, what -- what

           21    happened, how did he -- he come to be interviewed by you and

           22    other members of law enforcement?

           23           A.    So in June, the individual had been stopped by

           24    Manchester Police Department.        The vehicle was seized from him,

           25    subsequently searched.       There was a significant amount of


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            1    controlled substances located in the vehicle.            Charges were

            2    filed, arrest warrant was issued.

            3                 Then later in July or late July, the individual was

            4    stopped again by Manchester Police Department, arrested on the

            5    previously issued arrest warrants.         Car was seized,

            6    subsequently searched.       A pound of methamphetamine was found in

            7    the vehicle.     He had -- he had been quickly released, bailed on

            8    the initial charges, and then another arrest warrant was issued

            9    for him which led to my participation in his arrest in August

           10    just prior to our interview with him.

           11           Q.    Okay.    And so was that on or about August 19th that

           12    the cooperating witness is arrested on these outstanding

           13    warrants from the two traffic stops?

           14           A.    Yes.

           15           Q.    Okay.    And what happened after he's arrested?

           16           A.    He was transported from Loudon.         He was arrested at

           17    a hotel in Loudon.      He was transported back to Manchester

           18    Police Department because of -- that's where the arrest

           19    warrants had been issued.

           20                 And there, myself and a detective from the

           21    Manchester Police Department read him his rights, elicited

           22    incriminating statements from him regarding his possession of

           23    the drugs from those two car stops, and then segued into any

           24    information he might have or would be willing to provide us

           25    about where those drugs came from.


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            1           Q.    Okay.    So let's -- let's break that out a little

            2    bit.

            3                 So you said the witness waived his rights.            Was he

            4    represented by counsel during that interview?

            5           A.    No.

            6           Q.    Okay.    And was that interview -- was that interview

            7    given subject to any sort of proffer agreement with the

            8    government, as far as you know?

            9           A.    No, it was not.

           10           Q.    Okay.    And was it recorded?

           11           A.    It was audio- and video-recorded, correct.

           12           Q.    Okay.    And did -- over the course of that -- about

           13    how long did the interview last, if you recall?

           14           A.    I believe it was an hour and 54 minutes.

           15           Q.    Okay.    And during -- during that hour-plus

           16    interview, did the CW talk about his own criminal conduct that

           17    led to his arrest that day?

           18           A.    He did.

           19           Q.    Okay.    And did he talk about individuals other than

           20    Michael Francis?

           21           A.    He did, yes.

           22           Q.    Okay.    And did -- in talking about his own criminal

           23    conduct, did the CW admit to possessing the drugs from the two

           24    traffic stops that served as the basis for the charges?

           25           A.    Yes, he did.


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            1           Q.    And is that -- is that meaningful to you as an

            2    investigator?

            3           A.    It was meaningful.       He admitted to us that not only

            4    was, you know, he the possessor of those drugs but that he

            5    intended to distribute them throughout the state of New

            6    Hampshire and that that was what he did on a daily basis to

            7    generate income.

            8                 He had been informed, you know, prior to those

            9    admissions that, you know, just based on the quantity of

           10    controlled substances he was caught with and his criminal

           11    history that he would be charged federally no matter what.               And

           12    so he -- you know, he made those admissions to us.

           13           Q.    And shifting to the information that he provided

           14    about Mr. Francis, did you, following that interview with the

           15    CW, begin an investigation into Mr. Francis?

           16           A.    Yes.

           17           Q.    Okay.    And in connection with that investigation, a

           18    few days later did you draft and obtain the search warrant

           19    that's at issue in the hearing today?

           20           A.    I did.

           21           Q.    Okay.    And did you have a chance to review that

           22    affidavit prior to the hearing today?

           23           A.    Yes, I have.

           24                 MR. ROMBEAU:     Okay.    Your Honor, may I approach the

           25    witness?


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            1                 THE COURT:     Of course.    Anytime.

            2           Q.    Special Agent, just so the record's clear on this, I

            3    have provided you what's been marked as Exhibit 1, Government's

            4    Exhibit 1 under seal in this matter.          Is that the unredacted

            5    affidavit that you submitted in connection with this search

            6    warrant?

            7           A.    It is.

            8           Q.    Okay.    And was the information provided to you by

            9    the CW on August 19th the primary source of the information you

           10    relied upon in seeking that warrant?

           11           A.    Yes.

           12           Q.    Okay.    Did you include every fact from your

           13    interview with the CW that you alluded to a few minutes ago in

           14    your affidavit?

           15           A.    No.

           16           Q.    Did you include every fact that you knew about the

           17    investigation in your affidavit?

           18           A.    No.

           19           Q.    Okay.    Why not?

           20           A.    Well, I only included facts I thought were relevant

           21    in the application to search Mr. Francis's vehicle.             And I

           22    also -- you know, we also knew that Mr. Francis was on parole,

           23    so we likely didn't need a warrant, but we, out of an abundance

           24    of caution, decided we might as well submit for one and if not,

           25    you know, we could always rely on the parole conditions.              But I


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            1    produced this affidavit and kept the facts limited to what was

            2    specifically related to the vehicle.

            3           Q.    Okay.    I want to spend a little time on the facts

            4    that are in the affidavit and what the cooperating witness told

            5    you on August 19th.      And I -- I think that really starts in

            6    paragraph 10 on page 3.

            7                 Have you found that, Special Agent?

            8           A.    Yes.    I'm sorry.

            9           Q.    So when the -- the CW is arrested in August and is

           10    talking about his two incidents, the June incident and the July

           11    incident, did he identify the source of the drugs from his June

           12    incident?

           13           A.    He did.

           14           Q.    Okay.    And was that individual Mr. Francis?

           15           A.    His direct supplier --

           16           Q.    Poor question.      Let me rephrase.

           17                 Did he say that the June -- the drugs he had at the

           18    June stop had been provided to him directly by Mr. Francis?

           19           A.    No.

           20           Q.    Who, in fact, had they been provided by?

           21           A.    An individual named Ryan Call, who's a fellow

           22    Gangster Disciples member.

           23           Q.    Okay.    And -- but did the informant have any

           24    information that he received from Mr. Call about the origin of

           25    those drugs from the June stop?


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            1           A.    Mr. Call told the individual that they -- they came

            2    from Mr. Francis.

            3           Q.    Okay.    And did the -- and then sort of

            4    fast-forwarding to the July stop, did there come a change in

            5    the supply to the confidential -- to the cooperating witness?

            6           A.    Yes.

            7           Q.    Okay.    What did he say happened?

            8           A.    So he mentions that Mr. Call had been arrested in

            9    Manchester and following that arrest, he was contacted by

           10    Mr. Francis who informed him that he would now be directly

           11    providing the controlled substances to the interviewee.

           12           Q.    Okay.    And in -- and did that, in fact, continue as

           13    sort of recapped by that initial phone call?            Is that what the

           14    confidential -- the cooperating witness ultimately said

           15    happened from that point forward?

           16           A.    He did.    And it -- and it made sense to us because

           17    Mr. Call and Mr. Francis were known by law enforcement to be

           18    close associates, both members of the Gangster Disciples.              And,

           19    in fact, the interviewee didn't know Mr. Francis personally; he

           20    met him through Mr. Call.        And so it would -- it made sense to

           21    us that when Mr. Call was arrested that someone else in the

           22    gang would probably reach out to continue that supply.

           23           Q.    Okay.    And how much controlled substances did the

           24    cooperating witness say he was obtaining from Mr. Francis once

           25    Mr. Francis became his supplier?


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            1           A.      He approximated that he would be directed to meet

            2    with Mr. Francis in Manchester on a -- nearly a daily basis and

            3    each time would receive approximately, and it wasn't the same

            4    each day, but a pound of methamphetamine, a half pound to a

            5    half kilo -- kilogram of fentanyl, and a few ounces of coke or

            6    crack.

            7           Q.      All right.   And was the cooperating witness able to

            8    identify the prices that he paid Francis for those -- those

            9    drugs?

           10           A.      He did.   And they were approximated at about 66- to

           11    $6,800 per pound of methamphetamine, $1,400 per ounce of

           12    cocaine, and then $5,000 per half kilo of fentanyl.

           13           Q.      And based on your knowledge of drug trafficking in

           14    and around the Manchester area, were those prices consistent

           15    with what you had been seeing in drug trafficking at the time?

           16           A.      They were, yes.

           17           Q.      Okay.   And so the -- the cooperating witnesses I

           18    think you said alluded to making that purchase on a daily

           19    basis.      Did -- did he tie it to the July 30th stop that you

           20    spoke about a few minutes ago?

           21           A.      Yes.

           22           Q.      Okay.   And what did he say about the drugs that he

           23    had at that July 30th stop?

           24           A.      They were provided to him directly by Mr. Francis.

           25           Q.      Okay.   And did he say when the last time he had been


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            1    supplied by Mr. Francis was?

            2            A.   Two days prior to our interview on August 19th.

            3            Q.   Okay.

            4                 MR. GUERRIERO:      Excuse me.    Your Honor, I just want

            5    to make my objection to any facts relating to probable cause

            6    that are beyond the scope of the affidavit.           Could I just make

            7    that a continuing objection?        I understand you've overruled it,

            8    but to the extent that he's -- for example, he's talking about

            9    specific dates that things happened.          Some of those dates are

           10    not in the affidavit.       And so I'd -- I really want to make sure

           11    I'm objecting to any expansion of the factual basis for

           12    probable cause in the affidavit.         I have to make a record on

           13    that.

           14                 THE COURT:     Of course.    I don't see a problem with

           15    that.    But we're not here to decide that, are we?           We're here

           16    to decide just the Franks issue with respect to this.

           17                 MR. GUERRIERO:      Exactly.

           18                 THE COURT:     Yeah.

           19                 MR. GUERRIERO:      Thank you.

           20                 THE COURT:     I got it.

           21                 MR. ROMBEAU:     And I --

           22                 THE COURT:     You're not challenging probable cause

           23    except with respect to the omission?

           24                 MR. GUERRIERO:      That's exactly -- well, we're saying

           25    the affidavit is insufficient on its own and that even if


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            1    that's a close case, then we're saying, well, with Franks, it

            2    definitely pushes it over the edge.

            3                 THE COURT:     Let's clear it up then.

            4                 It's not insufficient on its own.          It's perfectly

            5    fine.   It's solid.

            6                 Now, the next issue is you claim there was a

            7    material omission deliberately or recklessly made --

            8                 MR. GUERRIERO:      Yes.

            9                 THE COURT:     -- that would detract from the -- would

           10    negate the probable cause if included.

           11                 MR. GUERRIERO:      Yes.

           12                 THE COURT:     That's what we're here for.

           13                 MR. GUERRIERO:      Yes.

           14                 THE COURT:     All right.    I get it.     What are you

           15    troubled by?     You seem very upset about --

           16                 MR. GUERRIERO:      To the extent --

           17                 THE COURT:     Usually defense counsel will take all

           18    the information they can get as a discovery tool.             I'm happy to

           19    hear you want to limit it, but what's the problem really?

           20                 MR. GUERRIERO:      Well, we -- I understand your Honor

           21    just ruled contrary to this, but our position in our motion is

           22    that the affidavit on its face does not state probable cause --

           23                 THE COURT:     Yeah, that's not even credible.         That's

           24    not even close.     The affidavit is perfectly fine to establish

           25    probable cause.


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            1                  Now we're at the real issue.

            2                  MR. GUERRIERO:     Now you're saying yes, but had it

            3    included critical material information, that would have negated

            4    probable cause and that information was deliberately or

            5    recklessly excluded.       That's what we're here for.

            6                  MR. GUERRIERO:     I agree.

            7                  THE COURT:    Okay.

            8                  MR. GUERRIERO:     And so --

            9                  THE COURT:    Well --

           10                  MR. GUERRIERO:     -- any facts --

           11                  THE COURT:    Mr. Rombeau, you know, I'm on board with

           12    let's keep this focused and short and save time.

           13                  MR. ROMBEAU:    I apologize.

           14                  THE COURT:    I don't need to hear all the background.

           15    I'm not going to try the case.         The jury is.

           16                  MR. ROMBEAU:    I appreciate that, your Honor.         I

           17    think we had come in expecting the need to establish the

           18    probable cause for the warrant, so I'll -- your Honor having

           19    ruled on --

           20                  THE COURT:    No, the affidavit is absolutely solid.

           21           Q.     Okay.   So we'll just cover this next portion in more

           22    of a summary fashion then, Special Agent Burke.

           23                  In receiving the daily deliveries or the daily

           24    distribution from Mr. Francis, did the cooperating witness

           25    identify the means in which it was provided to him for which he


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            1    would obtain the narcotics?

            2           A.    Yes.    The individual didn't live in Manchester, but

            3    he would be directed to Manchester.          And during his near daily

            4    meetings with Mr. Francis, Mr. Francis would arrive in the

            5    vehicle which we requested to search and then sometimes

            6    actually do the transactions inside that vehicle with the

            7    interviewee.

            8           Q.    Okay.    And was the witness able to identify the

            9    vehicle with any sort of specificity?

           10           A.    He did.    He described it to a T, a white Honda

           11    Accord, newer, grayish rims, 20s, which are the type of rim,

           12    with the permanent plate from New Hampshire which is, you know,

           13    a vehicle that we identified that was registered to Mr. Francis

           14    and one which he had reported to parole as well.

           15           Q.    Okay.    And did the cooperating witness mention ever

           16    being inside that vehicle?

           17           A.    He did.

           18           Q.    And did he make any observations of note to you from

           19    inside the vehicle?

           20           A.    He described it on -- and, of course, there are many

           21    of these, but sometimes the drugs would be somewhere within the

           22    passenger compartment of the vehicle, sometimes they were

           23    stored in the trunk.      And then additionally Mr. -- he described

           24    that Mr. Francis would regularly keep a pistol tucked between

           25    the driver's seat and the center console.


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            1           Q.    Okay.    And so after this interview ends on

            2    August 19th, did you undertake efforts to corroborate any of

            3    the information provided to you?

            4           A.    We did.    So we contacted -- well, we first looked

            5    at Department of Motor Vehicle records and confirmed that the

            6    vehicle described to us by the interviewee was actually a

            7    vehicle registered to Mr. Francis.

            8                 He had also just told us that Mr. Francis was on

            9    parole, which we had known originally, but we contacted parole,

           10    they were familiar with this particular vehicle, and so that

           11    checked out.

           12                 He had described an area on the west side of

           13    Manchester where he suspected Mr. Francis lived, although he

           14    had never been there, just suspicion based on the general

           15    meeting location that they would -- a location they would

           16    typically meet.      You know, we were able to identify a residence

           17    that was consistent with that area and then ultimately observed

           18    Mr. Francis with the vehicle in question at -- in that area at

           19    that residence.

           20           Q.    All right.     And I think the one thing you didn't

           21    mention that -- were you able to confirm this timeline

           22    regarding the arrest of the original supplier, Ryan Call, and

           23    whether or not he was, in fact, incarcerated?

           24           A.    He was.    He -- the interview -- during the interview

           25    described that he had been arrested in early July and, in fact,


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            1    Mr. Call was arrested I believe it was July 6th or 7th in

            2    Manchester after a large standoff and was incarcerated

            3    following that incident.

            4           Q.    Okay.    And you mentioned, I think, doing a little

            5    bit of surveillance on the area and seeing Mr. Francis; is that

            6    right?

            7           A.    Yes.

            8           Q.    How -- did you personally do that surveillance?

            9           A.    I did.

           10           Q.    Okay.    And how did you identify Mr. Francis in

           11    connection with the vehicle?

           12           A.    I observed an individual that matched his

           13    description.     He was shirtless, many tattoos exposed, and

           14    consistent with skin color, height, weight, stuff like that,

           15    next to the vehicle registered to Mr. Francis.

           16           Q.    And what sort of background did you do to review to

           17    be able to identify Mr. Francis prior to going out to do your

           18    surveillance?

           19           A.    Previous booking photographs from Manchester Police.

           20           Q.    Okay.    And shifting back to the cooperating witness,

           21    I think you alluded to earlier that you were going to refer his

           22    case to federal prosecutors to adopt.          Did that, in fact,

           23    happen?

           24           A.    It did.

           25           Q.    Okay.    And did you obtain a complaint on that


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            1    cooperating witness within a couple days of the -- that

            2    interview?

            3           A.     About 18 hours later.

            4           Q.     Uh-huh.   And as part of that process in getting a

            5    complaint or referring it to the U.S. Attorney's Office, did

            6    you run the cooperating witness's criminal history?

            7           A.     I did.

            8           Q.     Okay.    And just so the timeline is clear, was that

            9    prior to getting the warrant at issue here on August 25th?

           10           A.     Yes, it was.

           11           Q.     Okay.    Do you recall reviewing that criminal history

           12    after obtaining it?

           13           A.     I did, yes.

           14           Q.     Did -- did anything stand out to you from that

           15    review that you made note of?

           16           A.     Numerous felony convictions, drugs.         There was a

           17    falsifying physical evidence.        There might have been some other

           18    offenses, but a significant criminal history which was part of

           19    the decision to bring forth this case in federal court.

           20           Q.     And you would agree with me, Special Agent, that the

           21    affidavit in connection with the car warrant here does not make

           22    any mention of the cooperating witness's criminal history; is

           23    that right?

           24           A.     That's right.

           25           Q.     Okay.    Why did you not include anything about the


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            1    informant's criminal history at -- in that affidavit?

            2           A.    He's -- he wasn't an informant.         He hasn't been an

            3    informant for the FBI.       It's been my understanding and my

            4    practice that when we're referring to some individual providing

            5    information in an affidavit and that person's described

            6    anonymously that as a means to permit the magistrate who's

            7    evaluating probable cause and, you know, the credibility of

            8    that individual's statement, in lieu of their name and full

            9    identification, we'll provide a summary of their background,

           10    criminal history, any other information they provided that

           11    we've been able to evaluate ourselves.

           12                 And in this case, because he -- he was simply an

           13    individual that was arrested and we conducted a Mirandized

           14    postarrest interview, he wasn't someone that we -- I viewed it

           15    as an informant.      I've referred to him as true name in my

           16    report and the affidavit and because of that, I -- I just

           17    didn't feel at the time that it was required I include a

           18    criminal history.

           19           Q.    All right.     And based on your experience as an

           20    FBI agent, did you have an understanding as to whether the

           21    cooperating witness faced substantial exposure for -- were this

           22    case to be adopted -- were his case to be adopted federally?

           23           A.    Absolutely, which he was told.

           24           Q.    And did -- did that fact have bearing on your --

           25    your determination of his credibility?


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            1           A.    It did.    It was explained to him at the onset that,

            2    you know, you've been arrested in vehicles with multiple --

            3    with large quantities of controlled substances; you will be

            4    charged federally.

            5                 In fact, at the conclusion of the interview, we told

            6    him he was going to federal custody.          There was a bit of a

            7    snafu, so he didn't go until a few days later, but it was very

            8    clear, you are going to end up in federal court; because of the

            9    drugs you've been found with, you're facing significant time.

           10                 And -- and, yeah, so he was -- he was aware of that.

           11    And because of that he knew that, you know, it was sort of his

           12    moment to make a decision whether or not he wanted to provide

           13    information in hopes of some leniency and -- which was

           14    difficult for him because he was also in great fear for his

           15    safety because of statements that -- as far as the individual

           16    told us -- Mr. Francis had made to him about threatening him if

           17    he cooperated with law enforcement.

           18                 So it wasn't -- it wasn't information that he

           19    provided to us lightly.       It was under great consideration.          But

           20    I found it to be completely credible.

           21           Q.    Okay.    Shifting briefly to the postissuance of the

           22    warrant and the actual arrest, because there's a second motion

           23    to suppress here related to the day of the arrest, after you

           24    got the warrant on August 25th, did you and your team

           25    immediately execute the warrant?


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            1           A.    No, not until September 1st.

            2           Q.    Okay.    And, generally speaking, can you tell us what

            3    happened on September 1st?

            4           A.    Sure.    So myself and a significant number of

            5    Manchester Police Department detectives and officers initiated

            6    surveillance at the residence at 231 Thornton Street, where we

            7    had observed Mr. Francis.        We also had the FBI surveillance

            8    plane with us conducting recorded surveillance as well.              We

            9    observed -- and long story short, I suppose, we eventually

           10    observed an individual -- another parolee arrive at the

           11    residence and then depart who was identified.

           12                 Mr. Francis ultimately departed the residence in the

           13    vehicle for which we had obtained a search warrant.             He drove

           14    around town for some time, picked up Mr. Flores.            Mr. Flores --

           15    this is the other parolee -- was observed putting a bag in the

           16    back seat of Mr. Francis's car.         They eventually made their way

           17    to a bank in Manchester, at which point the execution of the

           18    search warrant was initiated.

           19           Q.    Okay.    Where was Mr. Francis at the point you

           20    actually descend on the vehicle to execute the warrant?

           21           A.    He -- ultimately he was in the bank, more or less,

           22    because when they had parked in the parking lot, there were

           23    some tactical discussions going on about whether that was safe

           24    to execute there.

           25           Q.    Okay.    And did you -- where were you personally


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            1    during all of this?

            2           A.    I would say a car or two behind the SWAT team that

            3    initiated the issuance of the search warrant.

            4           Q.    Okay.    And had you or other members of the team been

            5    in touch with Mr. Francis's probation officer or parole officer

            6    with the state that day?

            7           A.    Yes, another Manchester detective had been.

            8           Q.    Okay.    And who was his state parole officer?

            9           A.    PPO Duffy.

           10           Q.    Okay.    And then did you have any understanding at

           11    that time as to whether PPO Duffy had authorized the arrest of

           12    Mr. Francis in connection with a parole violation?

           13           A.    It's -- I'm unclear of the terminology that was used

           14    in that conversation, but I -- I recall over the radio hearing

           15    that contact had been made with PPO Duffy, circumstances

           16    explained to him about, you know, the residence that had been

           17    not reported to parole, and then Mr. Francis's association that

           18    day with another parolee, both of which are violations of his

           19    parole conditions.      And it was everyone's understanding that

           20    that would result in a violation of his parole.

           21           Q.    And so when Mr. Francis is approached while he's

           22    inside the TD Bank, do you have any understanding, is he placed

           23    under arrest or what happens?

           24           A.    Whether those individuals felt like they were

           25    arresting him, detaining him, I mean, unclear to me what their


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            1    mindset was.     I mean, we were executing the search warrant on

            2    his vehicle, so --

            3                 THE COURT:     You -- you didn't arrest him.

            4                 THE WITNESS:     I did not.

            5                 THE COURT:     All right.

            6           Q.    And did you have any understanding of what he was

            7    doing inside the bank?

            8           A.    It turns out he was -- he had an approximately

            9    $50,000 check from a casino that he was trying to deposit into

           10    his account and then receive immediately a bank check in

           11    return.

           12           Q.    And the actual search of the vehicle, so it was --

           13    is Mr. Flores in the vehicle when law enforcement descends to

           14    seize the vehicle for the search?

           15           A.    Yes, he was.     And he had an active parole warrant at

           16    the time, so he was arrested.

           17           Q.    And so he's removed from the vehicle.           And did you

           18    or anyone do any sort of immediate triage search on site prior

           19    to towing the vehicle?

           20           A.    We did.    I -- I pulled into the lot a minute or two

           21    later and then maybe a minute or two after that, since we had a

           22    warrant for the vehicle, peeked into the bag that Mr. Flores

           23    had put in the back seat and it was clearly a kilogram of

           24    cocaine in there.

           25                 MR. ROMBEAU:     Okay.    Nothing further.      Thank you,


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            1    your Honor.

            2                  THE COURT:    All right.    Mr. Guerriero?

            3                  MR. GUERRIERO:     Yes, your Honor.

            4                  THE COURT:    Just before you start, Mr. Guerriero,

            5    Agent Burke, do I understand correctly you -- if you were

            6    dealing with an anonymous confidential informant, you would --

            7    you would disclose the -- the criminal background?

            8                  THE WITNESS:    I would have, yes, your Honor.

            9                  THE COURT:    But you didn't in this case because I

           10    guess it's your practice if it's a named, known, identified

           11    informant or reporter, then you generally don't provide them

           12    with the background?

           13                  THE WITNESS:    Yes.

           14                  THE COURT:    It seems like the criminal background

           15    would be relevant to credibility.

           16                  THE WITNESS:    It was just -- I guess I -- it was a

           17    postarrest interview and not an informant, not someone that was

           18    going to work for us anonymously.         And so at the time I just,

           19    as I would with any witness or --

           20                  THE COURT:    Because they're named, identified?

           21                  THE WITNESS:    Yes.

           22                  THE COURT:    All right.

           23                                 CROSS-EXAMINATION

           24    BY MR. GUERRIERO:

           25           Q.     Maybe let's start there.


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            1                 You said that you did not regard this person the

            2    government's calling a cooperating witness to be what you refer

            3    to as an informant; is that right?

            4           A.    He's not an FBI informant.

            5           Q.    Okay.    And so what is the FBI definition of an

            6    informant?

            7           A.    Someone we sign up, provide a code name and a code

            8    number, to make some agreement that the information he or she

            9    provides will be reported anonymously --

           10           Q.    Okay.

           11           A.    -- I think is the general definition we could use.

           12           Q.    Okay.    But the witness in this case provided

           13    information that you used in order to obtain a search warrant,

           14    right?

           15           A.    Yes.

           16           Q.    And his name was redacted from the search warrant,

           17    right?

           18           A.    I didn't -- I used his true name.          I didn't redact

           19    anything.

           20                 THE COURT:     From the affidavit?

           21                 MR. GUERRIERO:      From the affidavit, sorry.

           22           Q.    From the affidavit in support of the search warrant,

           23    wasn't his name redacted from that?

           24           A.    Not by me.

           25           Q.    Was the application for the warrant filed under


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            1    seal?

            2            A.   I believe there was a motion to seal, yes.

            3            Q.   Okay.    And it was filed under seal because it would

            4    jeopardize the investigation to have the witness's name out

            5    there?

            6                 THE COURT:     Well, but the real question is did the

            7    magistrate know.      Right?

            8            A.   He did.

            9            Q.   Did the magistrate know the name of the person?

           10            A.   Yes, he did.      Yes.

           11            Q.   All right.     Let me go back a -- well, what do you

           12    call a person who's not, quote, unquote, signed up as an

           13    informant and is just giving you information about somebody

           14    else, a cooperating witness?

           15            A.   A witness, I suppose.

           16            Q.   A witness?

           17            A.   If I go interview any witness, victim, subject,

           18    they're all informing me of information, but they're not

           19    informants necessarily until I'm making some agreement that --

           20            Q.   Okay.

           21            A.   -- they'll be referred to anonymously.

           22            Q.   You hit the nail on the head.         They're all informing

           23    you and providing information, but they're not technically an

           24    informant, according to an Attorney General or FBI definition?

           25            A.   Correct.     Everyone's an informant, so to speak.


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            1           Q.    Right.    Okay.

            2                 Just a couple of things -- more things about your

            3    background, if we could go back to that.

            4                 I mean, I -- I won't belabor the point, but I assume

            5    you've had -- between being a police officer and then being a

            6    special agent with the FBI, you've had a fair amount of

            7    training?

            8           A.    Yes.

            9           Q.    And you've had a fair amount of training working

           10    with, let's say, informants and witnesses who provide

           11    information for you in investigations?

           12           A.    Correct.

           13           Q.    Okay.    And are there -- with respect to the

           14    informants, are there specific policies and procedures that you

           15    have to follow?

           16           A.    Yes.

           17           Q.    Okay.

           18           A.    Many.

           19           Q.    And those don't necessarily apply to someone that

           20    you would regard as a witness rather than an informant, right?

           21           A.    Those policies would not apply to this individual,

           22    correct.

           23           Q.    Okay.    Do you think some of them apply?

           24           A.    No, I don't.

           25           Q.    Okay.    So, for example, when you're assessing


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            1    someone to be an informant, do you make a determination of

            2    whether or not the person is credible and reliable?

            3           A.     Of course.

            4           Q.     Okay.   And if you were relying on a witness to

            5    obtain a search warrant, would you also assess that person's

            6    credibility and reliability?

            7           A.     Absolutely.

            8           Q.     So there are things in common between the two?

            9           A.     There's absolutely -- policy, maybe not, but yes,

           10    absolutely.

           11           Q.     Okay.   Well, I'm just thinking about specific things

           12    in the policy.

           13                  For example, another thing in the policy -- is it

           14    called a suitability determination for an informant?

           15           A.     If that's the specific policy.        I don't recollect

           16    offhand, but --

           17           Q.     Okay.

           18           A.     -- I'd be happy to review it.

           19           Q.     Is one of the factors you consider for an informant

           20    the person's motivation in providing information?

           21           A.     Yes.

           22           Q.     Okay.   And would you agree that that also applies to

           23    any other witness, like if the witness had a motive to help the

           24    police or a motive to help themselves, or a motive to impede an

           25    investigation, you would want to know what their motive was,


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            1    right?

            2           A.    For everyone I talk to, yes.

            3           Q.    Okay.    And you would also want to know the person's

            4    relationship or lack of relationship with the suspect?

            5           A.    Would I?

            6           Q.    Yeah, in assessing their credibility.

            7           A.    Absolutely.     I get background from everyone, yeah.

            8           Q.    So if people were, you know, closely related and

            9    friends, that might affect their credibility; if they were

           10    enemies, that might affect their credibility?

           11           A.    Yes.

           12           Q.    And if they were unknown to each other, that could

           13    be a factor?

           14           A.    Yes.

           15           Q.    Do you also look at the kind of information the

           16    person is providing to you?

           17           A.    I suppose I do.

           18           Q.    So, for example, if the person provided information

           19    about a suspect that anybody could obtain from being in public

           20    or searching the Internet, that might not be as reliable as

           21    some private, personal information that's not readily

           22    available, right?

           23           A.    Agreed.

           24           Q.    So if somebody said, you know, Guerriero's office is

           25    on Green Street a half a block from here, that doesn't tell you


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            1    much because anybody can see that, right?

            2           A.    Right.

            3           Q.    Okay.    But if a witness provides you with

            4    information that's not generally available to the public, then

            5    that indicates some special knowledge and maybe that they're

            6    more reliable?

            7           A.    Right.    Yes.

            8           Q.    Do you also look at whether or not they can predict

            9    any future conduct of the suspect?

           10           A.    I mean, not specifically.        I guess I don't think of

           11    it that way, but --

           12           Q.    Okay.    Suppose they say, look, this guy meets me

           13    once a week behind the Dunkin' Donuts on such and such street

           14    and that's when I pick up my drugs from him and then that

           15    prediction comes true when you sent -- when the person is there

           16    and you observe it at a distance, that would be an indication

           17    of reliability, right?

           18           A.    It would, yes.

           19           Q.    Okay.    Would you also -- and I'm kind of going

           20    through a list of things.

           21                 Would you also look at evidence of any phone contact

           22    between the two?

           23           A.    That could help.

           24           Q.    Okay.    Including phone calls or text messages?

           25           A.    Yes, if available.


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            1           Q.    I mean, we're all familiar with Cellebrite now.             You

            2    do these phone dumps and say, okay, there's 500 text messages

            3    between this witness and this suspect or at least between this

            4    suspect's phone number, some indication that they know each

            5    other and they have dealings with each other?

            6           A.    That would be helpful.

            7           Q.    Okay.    Would you also look for anything negative

            8    about the informant or the witness?

            9           A.    Yes.

           10           Q.    Prior criminal record?

           11           A.    Yes.

           12           Q.    Would you want to know if they had ever attempted to

           13    deceive law enforcement?

           14           A.    Yes.

           15           Q.    Okay.    Because you wouldn't want to, or at least you

           16    would want to think twice about relying on someone who had

           17    attempted to deceive law enforcement before?

           18           A.    Sure.

           19           Q.    One way to find out whether or not a person has a

           20    record of dishonesty would be to look at their criminal record

           21    because there's crimes that involve dishonesty, right?

           22           A.    There are some, yes.

           23           Q.    And there is a specific crime in New Hampshire

           24    called falsifying physical evidence?

           25           A.    There is a specific crime called that.


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            1            Q.   Okay.    And one version of that crime is to move or

            2    conceal or otherwise alter physical evidence with a purpose to

            3    make it not available to a law enforcement officer?

            4            A.   That's a widely used crime, yes.

            5            Q.   Yeah.

            6            A.   That is a very widely used statute I'm familiar

            7    with.

            8            Q.   And if a person was convicted of that crime and if

            9    the conviction required that they have a purpose to deceive law

           10    enforcement, that would be pretty important in assessing their

           11    credibility?

           12            A.   It would.     It's also, as you know, brought like a

           13    broad statute that covers much more than specifically deceiving

           14    law enforcement.

           15            Q.   Right.    I'm not asking you a legal question.          I'm

           16    just saying -- I'm asking you, in your experience as an

           17    experienced FBI agent, if the New Hampshire state law said in

           18    order to be convicted of this, you have to acknowledge a

           19    purpose to deceive and a person had been convicted of a crime

           20    that required a purpose to deceive law enforcement, that's

           21    something that would be important to a special agent relying on

           22    that guy's information, right?

           23            A.   Well, it is, but I also understand the broad use of

           24    that statute and that -- I mean, based on my experience, that

           25    wasn't enough for me to dismiss the other indications of his


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            1    credibility that he provided in the interview.            I was very much

            2    aware of that condition.

            3           Q.    Would you ignore it completely?

            4           A.    I would -- it would definitely override it if there

            5    was enough information provided during an interview that

            6    corroborated and was plausible, yes.

            7           Q.    Okay.    You said that you've applied for many search

            8    warrants and arrest warrants.        I'm sure that's true.

            9                 Now, you have a pretty good understanding of how the

           10    search warrant and the arrest warrant application process

           11    works, right?

           12           A.    I do.

           13           Q.    You prepare an application with an attached

           14    affidavit and often there's attachments to the affidavit that

           15    kind of have this boilerplate.         You've done that hundreds or

           16    even thousands of times, right?

           17           A.    Probably hundreds, maybe not thousands.

           18           Q.    Hundreds.     Well, I'm old.     I think of everything in

           19    thousands.

           20                 And the way the process works is that you complete

           21    this application with your affidavit and attachments and it's

           22    not up to you to determine whether there's probable cause,

           23    right?

           24           A.    Correct.

           25           Q.    It's up to a judge.


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            1            A.   Right.

            2            Q.   Or magistrate in federal court, magistrate judge.

            3            A.   Yes.

            4            Q.   Okay.    And you understand that the judge doesn't

            5    have any information other than what you put in the affidavit?

            6            A.   Correct.

            7            Q.   And in this case, and in many cases, I believe the

            8    government's question to you was was the primary source of

            9    information for the affidavit in this case the cooperating

           10    witness that we're talking about.

           11            A.   And it was.

           12            Q.   And so this affidavit in this case that we're

           13    talking about, the affidavit for the white Honda or search

           14    warrant for the white Honda, that pretty much depended on the

           15    credibility of the cooperating witness we're discussing?

           16            A.   It did.

           17            Q.   So I want to go through the chronology a little bit

           18    more.

           19                 In -- what was your -- you were with the task force

           20    in June of 2021 in Manchester, the drug traffic force?

           21            A.   Well, I worked -- I was alone by myself as an FBI

           22    agent working with their anticrime unit.

           23            Q.   Okay.    All right.    I guess what I'm getting at is,

           24    like, is there -- like in this investigation, is there one

           25    person in charge of the investigation or is it kind of


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            1    everybody doing their own thing, or --

            2           A.    Well, we work as a team, but, you know, obviously

            3    I'm the affiant here, so --

            4           Q.    Yeah.

            5           A.    -- it would sort of be led by me.

            6           Q.    Is it correct to say you were the lead investigator

            7    in this investigation?

            8           A.    That's fair.

            9           Q.    Okay.    And so this cooperating witness, I guess the

           10    first time he was arrested was on June 13th of 2021.             Does that

           11    sound right?

           12           A.    It does.

           13           Q.    And he had 284 grams of meth, 85 grams of

           14    heroin/fentanyl and 7.5 grams of crack and a scale?

           15           A.    Correct.

           16           Q.    Does that sound right?

           17           A.    Uh-huh.

           18           Q.    Okay.

           19           A.    Yes.

           20           Q.    And then somehow he got out on bail for that, or he

           21    didn't get charged quick enough, and he got arrested again on

           22    July 30th?

           23           A.    Correct.

           24           Q.    Okay.    And this time he had $2,400 and 464 grams of

           25    meth and two scales?


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            1           A.    He did.

            2           Q.    And so when he finally got arrested and brought to

            3    the Manchester Police Department on August 19th, as you said,

            4    he's looking at a pretty substantial penalty in terms of

            5    federal mandatory minimums and wherever he gets prosecuted,

            6    he's looking at a very long sentence?

            7           A.    He is.

            8           Q.    And so he's substantially motivated to do something

            9    to try to help himself?

           10           A.    He is, but he's also been threatened by Mr. Francis

           11    that if he cooperated with law enforcement, he would be killed.

           12    So it was -- he -- you know, it's not an easy decision.

           13    Although probably wanted a lesser sentence, probably also

           14    didn't want to risk physical harm to himself, which was part of

           15    my sort of --

           16           Q.    Well, let's talk about that.

           17                 So who -- of all the people in the whole world and

           18    all the evidence that you have that Mr. Francis ever threatened

           19    this cooperating witness, like who do you have?            Do you have

           20    anybody besides this cooperating witness?

           21           A.    Just the statement.

           22           Q.    Okay.    So like you don't have like a message, hey,

           23    you rat me out, you're going to get it; or you don't have a

           24    message from some other possibly known gang member; you don't

           25    have, like, anybody observe Mr. Francis engaging in threatening


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            1    behavior; you don't have anything like that?

            2           A.    No, we don't.

            3           Q.    Just a claim made by this witness?

            4           A.    Right, that we certainly didn't want to dismiss,

            5    because he was --

            6           Q.    Of course.

            7           A.    -- emotional at the interview.

            8           Q.    But it's an uncorroborated, unverified claim?

            9           A.    Correct.

           10           Q.    Okay.    And I believe you confirmed that you had

           11    actually run a criminal record check on this cooperating

           12    witness, not just in connection with this case but in

           13    connection with another case as well, right, to apply for

           14    another search warrant based on his information?

           15           A.    Yes.

           16           Q.    Okay.    And you represented in there, like, literally

           17    on the same day you applied for a different search warrant and

           18    you represented in the affidavit for that search warrant that

           19    you had run a criminal history on this cooperating witness?

           20           A.    I did, absolutely.

           21           Q.    Okay.    So there's -- you had -- well, let's see.

           22                 Do you remember seeing that he had a falsifying

           23    physical evidence conviction?

           24           A.    Today, do I remember?       No.   But, I mean, I'm

           25    thorough.    I would have noticed that.


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            1           Q.    Okay.

            2           A.    It was someone we were charging in federal court, so

            3    his criminal history would have been relevant --

            4           Q.    Okay.

            5           A.    -- in making that evaluation.

            6           Q.    Okay.    So is it fair to say you looked at his

            7    criminal record, saw a falsifying physical evidence conviction,

            8    and you decided that that was not a relevant thing to put in

            9    the application for the search warrant?

           10           A.    Like I said, I didn't view -- whether right or

           11    wrong, he's not an informant for us.          He was not -- his

           12    information wasn't listed in the affidavit anonymously; it was

           13    his true name.     I sort of equated him to any other witness who

           14    might provide information on other crimes who I -- you know, I

           15    don't include their criminal histories and I'm just referring

           16    to the information that they provide so long as I, you know,

           17    have reason to believe it's credible.

           18           Q.    Well, I'll break one of the rules for a defense

           19    lawyer and ask why would you think that a judge considering

           20    whether to issue a search warrant would not want to know that

           21    the witness that you had -- that the primary witness for your

           22    affidavit had a falsifying physical evidence conviction?

           23           A.    Well, in the state of New Hampshire I see all types

           24    of people get charged in -- with falsifying physical evidence

           25    and it could be as -- for as simple as covering up a beer can


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            1    when you get stopped by the police or, you know, throwing a

            2    joint on the street when a police officer approaches you.              It's

            3    not necessarily -- it's such a commonly charged statute that,

            4    to me, it's just not indicative of any real significant --

            5           Q.     Well, it could be --

            6           A.     -- necessarily a crime.

            7           Q.     In some instances it could be, right?

            8           A.     Well, it could be, but the judge obviously wouldn't

            9    have the context of that case just by looking at a list of

           10    bulleted convictions.

           11           Q.     All right.    And would you have the ability to

           12    conduct a follow-up investigation and look, for example, in the

           13    Concord Police files or the Merrimack Police files or the

           14    Manchester Police files and say, hey, send me the report on

           15    this falsifying physical case so -- physical evidence case so I

           16    can see what happened?       Could you do that?

           17           A.     I could, and I did, to State Police and it's been

           18    archived.    I don't recall seeing what the background on that

           19    charge was.

           20           Q.     Either you or somebody in your office has access to

           21    the state court system online, right?

           22           A.     The state what?

           23           Q.     To the -- to the state courts, to the superior

           24    courts.     Could you access the superior courts and look at the

           25    nature of the charges there?


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            1           A.    I -- I don't have access to that.

            2           Q.    Okay.    Did you do any investigation about this

            3    falsifying physical evidence conviction to determine, okay, you

            4    know, was this a falsifying physical evidence where somebody

            5    hid the murder weapon or was it a guy hiding half a marijuana

            6    cigarette behind his car?        Did you do that?

            7           A.    I didn't investigate that incident, no, and,

            8    frankly, you know, the information provided during the

            9    interview and the affidavits doesn't include all the details,

           10    but the -- you know, as a -- as an interviewer who has

           11    interviewed maybe thousands of people, hundreds at least, when

           12    you listen to certain facts being provided by individuals, some

           13    of which you are already aware of and are sort of automatically

           14    instantly corroborated with corroboration and others that you

           15    follow up on afterwards, you can make some assessment of

           16    whether or not you believe the person's telling the truth.

           17                 I'm not sure the falsifying charge would have --

           18    would not have swayed my opinion whether or not the interviewee

           19    was providing accurate information and, frankly, investigating

           20    drugs, violent crime, and gangs for the last ten years,

           21    virtually everyone I interview has a lengthy criminal history.

           22    So it's also not uncommon to me.         It's just sort of part of the

           23    business, so to speak.

           24                 And I just found -- I found the interviewee to be

           25    credible for -- because of the details of the information he


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            1    provided.    And I was aware of his criminal history, didn't

            2    think it was necessary to include it because he was not an

            3    informant, he was listed by true name, the judge saw his true

            4    name --

            5           Q.    Okay.

            6           A.    -- and that was my rationale.

            7           Q.    Okay.    So you didn't give that information to the

            8    judge; you decided that it wasn't -- the judge didn't need to

            9    know about that?

           10           A.    I didn't include it because I didn't feel like it

           11    was necessary -- again, right or wrong -- was my rationale.

           12           Q.    Well, and since you mention it, you said that you

           13    didn't think it was necessary because of the other detail that

           14    was provided.

           15                 Did any witness other than this cooperating witness

           16    ever tell you that they had seen Mr. Francis and this

           17    cooperating witness together?

           18           A.    No, we didn't have any --

           19           Q.    Do you have any evidence from anywhere that they've

           20    ever been together at any point other than the cooperating

           21    witness's word?

           22           A.    No.

           23           Q.    Did you ask the cooperating witness for his cell

           24    phone and look on his phone to see if there were text messages

           25    between him and a known number with Mr. Francis?


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            1           A.     No.

            2           Q.     Did you look at his call log on his phone to see if

            3    he had any calls associated with a phone number with

            4    Mr. Francis?

            5           A.     Well, we didn't apply for a search warrant for his

            6    phones until after the fact, so no.

            7           Q.     No, but he was cooperating with you and giving you

            8    information about a suspect, right?

            9           A.     He was.

           10           Q.     If he said -- if you had said, okay, you know, if

           11    you want to do this and show us you're credible so that you

           12    don't get a mandatory minimum X number of years, let us look at

           13    your phone, he would have done that, right?

           14           A.     Well, we did have a phone that day from his

           15    girlfriend.     And he had -- he told us it was a phone that he

           16    used but it belonged to his girlfriend and so we didn't ask for

           17    his consent to search his girlfriend's phone.            So, no, we

           18    didn't have a phone.

           19           Q.     So there's no information in the affidavit that you

           20    corroborated some contact between the cooperating witness and

           21    Mr. Francis by telephone?

           22           A.     No.

           23           Q.     Did -- and, again, I'm focusing on the details that

           24    you said are the explanation for leaving out the falsifying

           25    physical evidence conviction.


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            1                 In a lot of cases I see, they have the cooperating

            2    witness make a controlled buy.         Did you have this guy make a

            3    controlled buy?

            4           A.    No, because I was sending him to federal custody.

            5           Q.    Okay.

            6           A.    So he wouldn't have had the ability to do that.

            7           Q.    Okay.    Could you have arranged for him to at least

            8    have some contact with Mr. Francis?

            9           A.    No, I couldn't have.       I mean, he was -- he was not

           10    getting -- our purpose that day was to take him into federal

           11    custody.    He was not going to be given the opportunity to then

           12    go back on the street and make contact.           That wasn't -- that

           13    wasn't an option.

           14           Q.    So are you saying that because of the seriousness of

           15    his drug offense, you were not going to use him as an

           16    informant; is that what you're saying?

           17           A.    Well, and we also would -- there were concerns for

           18    his safety if we were to do that and -- which is we weren't

           19    going to release him again after he'd been stopped multiple

           20    times with all those drugs.

           21                 And, again, frankly, this application was made

           22    truly; we felt we could easily, very easily, coordinate with

           23    his -- Mr. Francis's parole officer to search his car whenever

           24    we wanted.    And, honestly, maybe we shouldn't have applied for

           25    a warrant; we should have just done that.           But we thought, why


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            1    not, let's just put the facts we have together today, send them

            2    to a magistrate.      If -- it was Judge Lynch that day.         If he

            3    grants it, great; otherwise, he's still subject to parole

            4    conditions; we can search his vehicle when we want.             So we just

            5    thought we would do due diligence and at least present the

            6    information we had.

            7           Q.     I'm going to get to that in a second.

            8                  Had this cooperating witness provided you any

            9    information in prior cases?

           10           A.     That was the first I had met him.         No.

           11           Q.     So it's not like he had a track record of

           12    reliability.

           13           A.     He wasn't an informant, no.        He was just a

           14    postarrest interview.       First time I met him.

           15           Q.     Okay.

           16           A.     Took a confession, additional information was

           17    provided, and he went to jail.

           18           Q.     All right.    But it's also not like a private citizen

           19    that said, oh, my God, they're dealing drugs on my corner, let

           20    me tell you about it; this is a guy who is himself a drug

           21    dealer.     Right?

           22           A.     Agreed.   I probably would not believe the random

           23    citizen who said Mr. Francis was a drug dealer, but the guy who

           24    has been caught two times with a significant amount of drugs

           25    seems to me like someone who would have information about, you


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            1    know, high-level drug trafficking.         So that did help my

            2    assessment of his -- the information he was providing.

            3           Q.    Okay.    So it sounds like in your view that the

            4    determination of the credibility and the reliability of the

            5    informant, that that's your job and not the judge's?

            6           A.    Well, I do a lot of assessment myself, sure, but I

            7    obviously recognize I'm not the one issuing warrants.             It's

            8    totally up to the judge.

            9           Q.    All right.

           10           A.    But just in the course of doing our job, we -- we

           11    have to make decisions on whether someone's telling the truth

           12    or not telling the truth, guide investigations, and ultimately

           13    do a lot of that.

           14           Q.    With regard to the parole issue, did PPO Duffy from

           15    the New Hampshire Department of Corrections, did he make a

           16    request that -- to you that you arrest Mr. Francis on

           17    September 1st?

           18           A.    He didn't request I arrest him, no.

           19           Q.    Or before September 1st?        Was there any request from

           20    New Hampshire parole, Department of Corrections parole of

           21    New Hampshire to arrest Mr. Francis on or about September 1st?

           22           A.    No, not to my knowledge.

           23           Q.    Okay.    Was there any request from New Hampshire

           24    probation -- I mean DOC parole to search Mr. Francis's car?

           25    Did parole request that you search the car?


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            1           A.    No.

            2           Q.    Okay.    And what you're saying is that you believed

            3    that since he was on parole that, really, if you wanted to, you

            4    could arrange for his car to be searched by a parole officer?

            5           A.    Yes, because he signed a form acknowledging that.

            6           Q.    Well, that's a --

            7           A.    It's on his parole condition form that his -- his

            8    car, residence, can be searched at any time.

            9           Q.    Okay.    You think that's what the form says?

           10           A.    Something to that effect, yes.

           11           Q.    Okay.    Does -- it's condition 9 of the standard

           12    New Hampshire parole conditions.         Are you familiar with that?

           13           A.    Probably not as familiar as you are.          I can't recite

           14    it, but I've reviewed it before.

           15           Q.    All right.     Are you aware that condition 9 says "on

           16    request he shall submit"?

           17           A.    I don't recall, but I trust that you --

           18           Q.    Okay.

           19           A.    -- seem to know it.       Sure.

           20           Q.    All right.

           21           A.    But, regardless, we've collaborated with parole

           22    before --

           23           Q.    All right.

           24           A.    -- and, you know, have -- in task force

           25    environments, we sort of rely on each other's different


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            1    authorities.     In fact, prior to my time on the FBI task force,

            2    we used to have a probation/parole officer on there and, you

            3    know, that's the point of a task force.           So if someone's on

            4    parole, you -- we collaborate with our fellow law enforcement

            5    officers and if it makes sense for them to utilize their

            6    authorizations in an investigation, that's typical.

            7           Q.    But that's not what happened here, right?

            8           A.    Well, we didn't need to because we got a warrant

            9    issued --

           10           Q.    That --

           11           A.    -- but, otherwise, we would have.

           12           Q.    That's what I'm saying is that the search that

           13    happened here was not because of a request or direction from

           14    parole, although you're saying you thought you could do that;

           15    the search that happened here happened pursuant to the search

           16    warrant, right?

           17           A.    It did.    Had we not had the search warrant, we would

           18    have collaborated with parole.

           19           Q.    Okay.    Is there anything in the affidavit in support

           20    of the search warrant about parole or any contact with

           21    New Hampshire DOC parole?

           22           A.    I don't believe so.

           23           Q.    If I told you I don't think there's anything there,

           24    would you agree?

           25           A.    I don't --


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            1           Q.    This speaks for itself, but --

            2           A.    Right.    I didn't think his parole conditions were

            3    relevant to the particular federal crimes that are -- you know,

            4    we're describing in the affidavit.         So --

            5           Q.    And, just to be clear, like sometimes a judge or

            6    magistrate reads an application for a warrant and they ask for

            7    some additional information.        In my experience, they always

            8    make a note of it somewhere.

            9                 But you didn't provide any additional information to

           10    Magistrate Lynch in this case that's not in your affidavit, did

           11    you?

           12           A.    I don't believe so.

           13                 MR. GUERRIERO:      Okay.   Could I have one second, your

           14    Honor?

           15                 THE COURT:     Of course.

           16           Q.    I believe you indicated on your direct testimony

           17    that there was a -- a warrant for a parole violation.             Do you

           18    remember saying that?

           19           A.    For Mr. Flores, yes.

           20           Q.    Yeah.    And I can show it to you if you want, but if

           21    I told you that the warrant for the parole violation -- and

           22    this is attached to Document 54 as Exhibit 5.

           23                 If I told you that the warrant for the parole

           24    violation is dated on September 8th, a week after Mr. --

           25                 THE COURT:     Well, are you -- he's talking about


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            1    Flores.      Are you talking about the defendant?

            2                   MR. GUERRIERO:    Yes.

            3                   THE COURT:    He's talking about Flores.

            4                   MR. GUERRIERO:    Oh, okay.     I'm sorry.

            5                   THE WITNESS:     That's okay.

            6                   MR. GUERRIERO:    Say your answer again because the

            7    judge is right; I totally misheard what you said.

            8           A.      I believe my -- in my direct testimony, the

            9    reference, parole warrant, was for Emilio Flores.

           10           Q.      Oh, okay.    It was for Flores.     Okay.    Well, then,

           11    let me ask the question:        Was there a warrant from DOC for

           12    Mr. Francis's arrest on September 1st, 2021?

           13           A.      There was not.

           14                     MR. GUERRIERO:     Okay.    That's all I have, your

           15    Honor.      Thank you.

           16                   THE COURT:    All right.     Thank you.

           17                   Any redirect?

           18                   MR. ROMBEAU:     Very brief, your Honor.

           19                                REDIRECT EXAMINATION

           20    BY MR. ROMBEAU:

           21           Q.      Special Agent Burke, you were asked a number of

           22    questions about the cooperating witness's motivation at the

           23    time of providing you information.          What did you understand

           24    that motivation to be?

           25           A.      I think he recognized that he was facing significant


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            1    exposure, he knew his criminal history, that it would result in

            2    you know, a lengthy prison sentence.          And so it's not something

            3    he probably wanted to do and decided the only way to

            4    potentially receive consideration is to provide truthful

            5    information to us that we could then verify.            Otherwise,

            6    obviously, if he provided fake information to us, that could

            7    just backfire.

            8                   So I believe that motivated him to provide accurate

            9    information so that he could eventually, hopefully, receive

           10    some type of compensation or benefit.

           11           Q.      And there was a reference towards the end about

           12    the communications with the parole officer on the day of the

           13    warrant execution.      Were you the one in direct contact with

           14    either PPO Duffy or PPO Benard that day?

           15           A.      No, I wasn't.

           16                   MR. ROMBEAU:    Okay.   Nothing further, your Honor.

           17    Thank you.

           18                   THE COURT:     All right.   Mr. Guerriero?

           19                   MR. GUERRIERO:    I just want to retrieve my water.

           20    Thank you.

           21                   THE COURT:     All right.   Thank you, Special Agent

           22    Burke.      Appreciate it.

           23                   THE WITNESS:    Thank you, your Honor.

           24                   THE COURT:     You may step down.    You're excused as a

           25    witness.


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            1                               (Witness excused.)

            2                 THE COURT:     Any other witnesses you'd like to call,

            3    Mr. Rombeau or Mr. Gingrande?

            4                 MR. GINGRANDE:      So, your Honor -- so I just wanted

            5    to clarify with the Court that we are here discussing two

            6    separate motions to suppress today.

            7                 THE COURT:     Right.    Right.

            8                 MR. GINGRANDE:      The first is, obviously, as to the

            9    affidavit -- the search of the vehicle and that warrant.              The

           10    second is the motion to suppress a statement and cell phone

           11    that were seized incident to his arrest.

           12                 And so in regards to that second -- well, that

           13    second motion, when it comes to parole involvement, I would

           14    like to call a witness and I'd -- and as to a threshold legal

           15    issue that we discuss in the brief as to the -- the

           16    expectations of privacy or lack thereof that someone on parole

           17    may have that applies to, frankly, both of these warrants, I

           18    would like to call the same witness, and it's Parole Officer

           19    Benard, and then I would seek to introduce his testimony.

           20                 THE COURT:     So far you haven't established that he

           21    has been arrested.

           22                 MR. GINGRANDE:      I'm sorry.    Haven't established --

           23                 THE COURT:     That he was arrested.

           24                 MR. GINGRANDE:      That Mr. Francis -- well, that's

           25    true, and that's -- that's the -- that's the, I imagine, the


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            1    burden of the defense.       But I -- I will --

            2                 THE COURT:     Well, you're claiming search incident to

            3    an arrest.

            4                 MR. GINGRANDE:      Well, sure.      The defense is

            5    saying -- okay.     Fair enough, your Honor.

            6                 THE COURT:     I assumed.     Maybe I'm wrong.     What are

            7    you claiming?

            8                 MR. GINGRANDE:      Yeah.    No, we are -- we are claiming

            9    a search incident to arrest --

           10                 THE COURT:     Okay.   So it's step one, he was

           11    arrested.

           12                 MR. GINGRANDE:      Right.

           13                 THE COURT:     All right.

           14                 MR. GINGRANDE:      Sure.    Sure.

           15                 THE COURT:     You don't have any evidence of that.

           16                 MR. GINGRANDE:      Okay.    Sure, your Honor.

           17                 So if I could call Parole Officer Benard.

           18                 THE COURT:     Of course.

           19                 MR. GINGRANDE:      Thank you.

           20                 Your Honor, I apologize.        I just learned that he

           21    just went to the restroom.        If we could just --

           22                 THE COURT:     You know, it's probably a good time to

           23    take a break anyway.      Why don't we take 10 or 15 minutes.

           24                 MR. GINGRANDE:      Thank you.

           25                 THE CLERK:     All rise.


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            1                (Recess taken from 2:47 p.m. until 3:03 p.m.)

            2                  THE COURT:    All right.     Mr. Gingrande.

            3                  MR. GINGRANDE:     Thank you, your Honor.

            4                  Just before the government calls its next witness, I

            5    did want to put on the record that the parties have agreed in

            6    this case that the exhibits to the filings, the -- for the two

            7    motions, the objections, replies, should all be admitted as

            8    exhibits and the Court can rely on --

            9                  THE COURT:    Of course.

           10                  MR. GUERRIERO:     Agreed.

           11                  THE COURT:    They're attached.      Sure.    Thank you.

           12                  MR. GINGRANDE:     Thank you, your Honor.

           13                  With that, the government calls to the stand Parole

           14    Officer Brian Benard.

           15                  THE CLERK:    Please remain standing and raise your

           16    right hand.

           17                  BRIAN BENARD, having been first duly sworn,

           18    testified as follows:

           19                  THE CLERK:    Thank you.     Please be seated.

           20                  And please state your full name for the record.

           21                  THE WITNESS:     It's Brian Benard.

           22                                DIRECT EXAMINATION

           23    BY MR. GINGRANDE:

           24           Q.     Good afternoon, Parole Officer Benard.

           25                  Can you tell the Court, please, where you're


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            1    employed?

            2           A.     With the New Hampshire Department of Corrections.

            3           Q.     Okay.   And what is your title at --

            4           A.     Probation and parole officer.

            5           Q.     Okay.   How long have you been employed in that

            6    capacity?

            7           A.     I've been with the department since February 2nd of

            8    2007 and a parole officer since September of 2008.

            9           Q.     Okay.   And prior to working for the New Hampshire

           10    Department of Corrections, what was your work experience?

           11           A.     I came right from college to work for the

           12    department.

           13           Q.     Okay.   Now, so, I'm sorry.      If I'm doing the math

           14    right -- well, could you do the math for us?            How many years

           15    actually, what was that, that you've been --

           16           A.     So roughly 16 and a half years total, about 15 of it

           17    as a parole officer.

           18           Q.     Okay.   And prior to your experience as a parole

           19    officer there, what were you?

           20           A.     I'm sorry?

           21           Q.     Prior to -- prior to being a parole officer there --

           22           A.     Yes, I was a correctional officer at the state

           23    prison in Concord from my hire date in '07 to September of '08.

           24           Q.     Okay.   Thank you.

           25                  And based on your years working for the


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            1    New Hampshire Department of Corrections, are you familiar with

            2    the system of parole?

            3           A.    I am.

            4           Q.    And are you familiar with its policies and

            5    practices?

            6           A.    Yes.

            7           Q.    And are you familiar with its goals?

            8           A.    Yes.

            9           Q.    Are you familiar with conditions of release for

           10    parolees?

           11           A.    Yes.

           12           Q.    Are you familiar with the defendant in this case,

           13    Michael Francis?

           14           A.    Yes.

           15           Q.    And how do you know Mr. Francis?

           16           A.    During my time in my capacity working at the prison

           17    as a parole officer, him being in the system, it's not an

           18    overly large system, so the name is familiar to me and I

           19    believe I've dealt with him in some capacities over the years.

           20           Q.    Okay.    And is one of the basis -- bases through

           21    which you know Mr. Francis through Emilio Flores or his

           22    associations with Emilio Flores?

           23           A.    Yes.    So also he -- he's also on parole at the time

           24    out of my office.      So even though it was a different parole

           25    officer -- obviously we have all caseloads, but we do deal with


                                   JOINT APPENDIX 210
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            1    everybody that comes through the door.          So as well as

            2    Mr. Flores, yes.

            3           Q.    Okay.    And how long did you supervise Mr. Flores,

            4    approximately?

            5           A.    I believe it was only a few months before he

            6    absconded from parole.       I think he was out for less than a year

            7    before he absconded.

            8           Q.    Okay.    And when you say absconded from parole, can

            9    you explain what that meant?

           10           A.    Yup.    So he ran into some new criminal charges

           11    allegedly and so he was due to report to me and he never did.

           12    He was no longer residing where he was supposed to be residing.

           13    Therefore, I could not locate him, so a warrant was obtained

           14    for absconding from parole.

           15           Q.    Okay.    And do you know what -- why he was on parole

           16    to begin with?

           17           A.    Mr. -- I don't recall.       It was -- yeah, I don't --

           18    it's like six years ago.

           19           Q.    Okay.    That's fair.

           20                 So I'd like to show you now what is document -- it's

           21    been filed as Document 61-1.        That's the ECF number.

           22                 Your Honor, should I use the ELMO or --

           23                 THE COURT:     Whatever's convenient.

           24                 MR. GINGRANDE:      Okay.   If you don't mind, I'm going

           25    to -- I think I will do that just so everyone can kind of see


                                   JOINT APPENDIX 211
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            1    it at the same time.

            2                  Parole Officer Benard, are you able to view that

            3    document on the screen in front of you?

            4           A.     I am.

            5           Q.     Okay.    And what is this document?

            6           A.     It is a parole certificate for Mr. Michael Thomas

            7    Francis.

            8           Q.     Okay.    And so -- and this is the -- that's the

            9    defendant in this case; is that correct?

           10           A.     Correct.

           11           Q.     Now, I'd like to turn to the second page of this

           12    document.

           13                  Okay.   It's just a little small, and I can zoom in

           14    as I direct you to the specific provisions, but for now, just

           15    looking at this, can you tell the Court what this is?

           16           A.     Yup.    So these were the conditions for adult parole.

           17    They would be 1 through 12 are the standard conditions and

           18    rule -- sorry, condition 13A through I would be special

           19    conditions.

           20           Q.     And can you explain what -- what -- what a special

           21    condition is versus a standard condition?

           22           A.     Yup.    So a standard condition 1 through 12 would be

           23    every individual that's released on to parole would agree to

           24    these terms.     It's verbatim the same thing, same copy,

           25    everything.


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Case: 24-1386 Case
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            1                 When you get into rule 13A through I, that's where

            2    you have specifics of the case and the individual, depending

            3    upon what they need for their release and their restrictions to

            4    be released and/or what they need to accomplish while they're

            5    out.

            6           Q.    Understood.     So every parolee who is subject to

            7    the -- the jurisdiction, if you will, of the New Hampshire

            8    Department of Corrections has those same first 12 conditions;

            9    is that correct?

           10           A.    Correct.

           11           Q.    Okay.    Now, I'd like to direct your attention to

           12    condition 8 and so I will zoom in for you.

           13                 I hope that does it.

           14                 All right.     I'm going to try to move it so the

           15    whole -- okay.      Yeah, I think I can just get it on the page.

           16                 So if you look at that number there --

           17           A.    Yup.

           18           Q.    -- and you just lead with your eye to where it says

           19    "I will submit to breath," do you see that?

           20           A.    Yeah, I do.

           21           Q.    Okay.    Could you just read that for us?

           22           A.    Sure.    So it states:     I will submit to breath,

           23    blood, or urinalysis testing for the presence of any substance

           24    or provide such other sample for testing or submit to such

           25    other test or procedure as may be directed by the parole board


                                   JOINT APPENDIX 213
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            1    or my parole officer.

            2           Q.     Okay.    And can you explain to the Court what -- what

            3    this provision means?

            4           A.     Yup.    So it grants us the authority to do

            5    breathalyzer tests.      We can conduct those in the field at the

            6    office, which would be for alcohol.

            7                  Blood test, I have never personally come across

            8    actually mandating a blood test for an individual, but per the

            9    condition, we could actually do that, if necessary, if we feel

           10    like there's a reason to go to that level.

           11                  And then the last part talks about urinalysis, would

           12    be a urine test for illicit substances.

           13           Q.     Okay.    And when can you conduct those tests?

           14           A.     At any time.

           15           Q.     Okay.    And what's the purpose of this condition?

           16           A.     Specifically to confirm or dispel any belief that

           17    there's -- an individual is using things they shouldn't be,

           18    whether it's illegal substances and/or not prescribed

           19    medication.

           20           Q.     Okay.    And I think you said earlier this is a

           21    standard condition for all parolees; is that right?

           22           A.     Yes.

           23           Q.     Okay.    And, by the way, just because I don't think

           24    we discussed it, do you know approximately how many parolees

           25    there are in the New Hampshire Department of Corrections


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            1    system?

            2           A.    I don't know the number.        I know the office I work

            3    out of in Manchester, we cover half of Hillsborough County.

            4    There's probably close to 1,500 cases just in half that county

            5    alone.

            6           Q.    1,500 cases just in half the county?

            7           A.    Yeah.

            8           Q.    Okay.    And safe to say that New Hampshire Department

            9    of Corrections has parolees located throughout the state of New

           10    Hampshire?

           11           A.    Correct.     There's 70 some-odd parole officers

           12    throughout the state of New Hampshire.

           13           Q.    Okay.    So now I'd like to direct your attention to

           14    condition number 9, and that's the one that begins "I will

           15    permit the parole officer."

           16                 If you could just read that out loud.

           17           A.    Yup.

           18                 "I will permit the parole officer to visit my

           19    residence at any time for the purpose of examination and

           20    inspection and the enforcement of the conditions of parole and

           21    submit to searches of my person, property, and possessions as

           22    requested by the parole officer."

           23           Q.    Okay.    And what does this condition mean?

           24           A.    So it -- this condition gives us the authority to

           25    conduct searches without applying for a search warrant and/or


                                   JOINT APPENDIX 215
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            1    consent from the individual.

            2           Q.    Okay.    And, specifically -- well, I think -- I think

            3    we'll come back to this in a minute, but can you explain

            4    generally what these -- which searches are authorized by this

            5    condition?

            6           A.    It would be any search of an individual, their

            7    property.    If you go to their house, you can search their

            8    house, curtilage, vehicle, their -- their person as you will,

            9    you know, pockets or whatnot, even just areas in close

           10    proximity to the individual, depending on circumstance.

           11           Q.    Okay.    I'm going to ask you some more questions on

           12    that in just a minute, but for now I want to proceed to

           13    condition 10.

           14                 Can you read condition 10?        It's the one that says

           15    "I will not associate with criminal companions."

           16           A.    Yup.

           17                 "I will not associate with criminal companions or

           18    such other individuals as shall be ordered by the Court or

           19    parole board.     Prohibited contacts include victims, other

           20    parolees or probationers, and other persons known to the board

           21    or to the parole officer as having criminal records."

           22           Q.    Okay.    And what does this mean?

           23           A.    So there's a prohibition against individuals that

           24    are on supervision, whether it's probation or parole, and/or

           25    have criminal records to associate with one another.


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            1           Q.    Okay.    Now, if I could direct your attention to

            2    condition number 3.      Can you read what that says?

            3           A.    States --

            4           Q.    I'm sorry.     There it is.

            5           A.    Yup.

            6                 "I will obtain the parole officer's permission

            7    before changing residence or employment or traveling out of

            8    state."

            9           Q.    Okay.    And what's the purpose of that condition?

           10           A.    So, again, you know, we're accountable for where

           11    individuals are residing and, per the conditions, they're

           12    supposed to obtain permission prior to making a change in any

           13    of those three things, whether it's a residence where they're

           14    residing, where they're employed, or before they're -- prior to

           15    traveling out of state.

           16           Q.    Okay.    And upon a parolee first coming within the

           17    jurisdiction of the New Hampshire Department of Corrections,

           18    are parolees required to provide their address?

           19           A.    I'm sorry.     Say it one more time.

           20           Q.    When someone is first -- first comes into the parole

           21    system, for lack of a better phrase --

           22           A.    Gotcha, yup.

           23                 So they do what's called a parole plan.           Okay?    So

           24    they'll submit a packet to the parole board which comes to the

           25    office and they will investigate the residence that they


                                   JOINT APPENDIX 217
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            1    propose to live at as well as any potential employment.

            2           Q.    Okay.    And this condition says that if that

            3    residence is different than -- if it changes, they have to

            4    report that; is that right?

            5           A.    Correct.     They're supposed to get permission, but

            6    the very least notify.

            7           Q.    Okay.    Now I'd like to direct your attention to the

            8    bottom of the document.       And I think I'll just see after this.

            9                 Do you see that there's a signature block?

           10           A.    I do.

           11           Q.    This keeps going in.       Sorry.

           12                 Do you see a signature block at the bottom of that

           13    document?

           14           A.    Yes.

           15           Q.    Now, are parolees required to sign the conditions of

           16    their parole?

           17           A.    They are.

           18           Q.    Okay.    And are there other ways in which parolees

           19    may or may not be made aware of the conditions of their parole?

           20           A.    So aside from signing this document prior to

           21    release, they also have it reviewed with them when they are

           22    released.    As the parole officer supervising them, you do that

           23    as part of their case opening.         You review the rules with them,

           24    their conditions again.

           25           Q.    Okay.    Now, I'd like to go back and discuss that


                                   JOINT APPENDIX 218
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            1    condition, I believe it was condition number 9, about searches.

            2                  So -- and you started getting into this, but what is

            3    the scope of your authority as a parole officer to search a

            4    parolee?

            5           A.     So the purpose is obviously to enforce the

            6    conditions of parole, and one of the ways we're able to do that

            7    is our ability to conduct these searches without warrants

            8    and/or without consent in order to, unfortunately sometimes,

            9    discover the truth of a situation.

           10                  You know, people, when they're up to things that

           11    they shouldn't be doing as far as parole is concerned, they're

           12    going to try to hide that.        So this allows us to search their

           13    person, whether they're carrying something they shouldn't be

           14    carrying, it could be something in the bedroom, something in

           15    the fridge, it could be something in the car, it could be

           16    something outside.

           17                  So, again, it gives us the power to do our job,

           18    which is to investigate those circumstances and, again, to

           19    either confirm or dispel whether or not they're following those

           20    conditions of parole.

           21           Q.     Okay.   And can you search a parolee for any reason

           22    or do you need probable cause?

           23           A.     Any reason.

           24           Q.     Okay.   Can you search them even when they're not at

           25    their home?     I think --


                                   JOINT APPENDIX 219
Case: 24-1386 Case
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            1           A.    Yes.

            2           Q.    -- what you just said suggests it, but can you

            3    answer that question?

            4           A.    Yes.

            5           Q.    Yes, you can?      Okay.

            6                 And does it matter where their vehicle is located

            7    when you search it?

            8           A.    No.

            9           Q.    Okay.    So you can conduct the search of the vehicle

           10    anyplace that vehicle may be?

           11           A.    Correct.

           12           Q.    What about the time of day or night?          Does that

           13    matter when you conduct a search of a parolee?

           14           A.    It does not.

           15           Q.    Okay.    And -- and that's true as to parolees and

           16    their property as well; is that right?

           17           A.    Correct.

           18           Q.    Okay.    Now, is that -- that different from someone

           19    who is on probation as opposed to parole?

           20           A.    Slightly, yes.

           21           Q.    Okay.    And what's the difference?

           22           A.    I don't have it front of me, but I believe that the

           23    only difference in language for that condition which would be

           24    the rule number 9 is instead of at any time, it states at a

           25    reasonable time.


                                    JOINT APPENDIX 220
Case: 24-1386 Case
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            1                 So probation specifically states at a reasonable

            2    time.    It's not defined so obviously it's up for

            3    interpretation, but that's the only verbiage differences, at a

            4    reasonable time versus saying at any time as the parole

            5    conditions say.

            6            Q.   Thank you.

            7                 Now, so you were talking about the purpose of

            8    including a condition of searching parolees and I think you had

            9    mentioned that one of those purposes is to ensure compliance

           10    with the terms of parole; is that fair?

           11            A.   Correct.

           12            Q.   Are there other purposes that you would want to

           13    search a parolee?

           14            A.   It could be suspicion, whether you have an

           15    individual that you've dealt with over time, you may have

           16    things that will rise your suspicion as to whether or not they

           17    may be up to something they shouldn't be doing, so, therefore,

           18    you may conduct a search at that point because of multiple

           19    different factors.

           20                 It could be simply for officer safety purposes.

           21    When you deal with somebody, just as a police officer would do

           22    a patdown, we may do the same exact thing just to make sure

           23    that while we're dealing with this individual they're not armed

           24    with something.

           25            Q.   Okay.    And so is it fair to say that there's a


                                   JOINT APPENDIX 221
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            1    public safety element of these searches?

            2           A.    Absolutely.

            3           Q.    Okay.    What about when it comes to the specific

            4    individual, you know, are you trying to prevent them from

            5    recidivating, possibly, by conducting searches?

            6           A.    Correct.

            7           Q.    Okay.    So now I'd like to talk about the authority

            8    of police officers in relation to your authority to authorize

            9    searches.

           10                 So do you have authority to utilize police officers

           11    to search a parolee for you?

           12           A.    Yes.

           13           Q.    Okay.    And -- and when I say you, I mean you as a

           14    parole officer.      The parole officers have this authority?

           15           A.    Correct.

           16           Q.    Can police officers conduct that search even if you

           17    are not available to be on the scene at the time of the search?

           18           A.    Yes.

           19           Q.    Okay.    Now I'd like to discuss scope of arrests.

           20                 THE COURT:     What's the authority for that?         Where

           21    does that come from?

           22                 MR. GINGRANDE:      I'm sorry, your Honor?

           23                 THE COURT:     What's the --

           24                 MR. GINGRANDE:      504-A --

           25                 THE COURT:     Sorry.


                                   JOINT APPENDIX 222
Case: 24-1386 Case
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            1                 MR. GINGRANDE:      504-A:4 for the scope of arrests.

            2                 THE COURT:     It doesn't say anything about searches.

            3                 MR. GINGRANDE:      I'm sorry, your Honor?

            4                 THE COURT:     RSA 504-A:4 says not a word about

            5    searches.

            6                 MR. GINGRANDE:      That's -- that's true, your Honor.

            7    You're asking for the --

            8                 THE COURT:     You asked about searches.

            9                 MR. GINGRANDE:      Oh, I'm sorry.     I apologize.     So --

           10                 THE COURT:     Not a word about searches in that

           11    statute.

           12            Q.   Okay.    So -- so, Parole Officer Benard, can you

           13    discuss authority for working with parole officers to

           14    conduct -- I'm sorry -- working with police officers to conduct

           15    searches?

           16            A.   Yup.    So over my time throughout my career,

           17    obviously we have policies, we have procedures, state law.               We

           18    also have training we do and real-life scenarios that we deal

           19    with.

           20                 I've come across in my career where I'll get a phone

           21    call -- it might be after hours, might be a weekend, might be a

           22    holiday, I might be out of state -- where maybe a law

           23    enforcement agency is interacting with one of my individuals

           24    that I supervise.      In a case where they have a -- you know,

           25    whether they pulled him over in a motor vehicle stop, maybe


                                   JOINT APPENDIX 223
Case: 24-1386 Case
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            1    it's a stop on the street, if I have reason to believe that

            2    they may be in violation of their parole, I can request that

            3    the officer search the individual on my behalf, because I'm not

            4    expected to be there 24/7 to conduct that, if I feel it's

            5    necessary.

            6           Q.    Okay.    And so you -- you alluded to these --

            7    these -- these various sorts of authority.           I think -- so you

            8    said one is policy documents; is that right?

            9           A.    Yes.

           10           Q.    Okay.    And what, if anything, can you say about

           11    those policy documents?       Is this something that is distributed

           12    or -- distributed throughout New Hampshire probation --

           13           A.    The policy?

           14           Q.    -- and parole?      Yeah, the policy authorizing you to

           15    work with police officers to search parolees.

           16           A.    Yeah, we do have a -- yeah, we do have a policy,

           17    yes.

           18           Q.    Okay.    And when it comes to -- to the law, I'm not

           19    going to ask you for specific cases or any other authorities.

           20    I can cite those in argument, I suppose.           But you're generally

           21    aware that it is lawful for you to use police officers to

           22    conduct searches?

           23           A.    Yes.    Under certain circumstances, yup.

           24           Q.    Okay.    So -- so now I'd like to discuss arrests.

           25                 So what's the scope of your authority to arrest a


                                   JOINT APPENDIX 224
Case: 24-1386 Case
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            1    parolee?

            2           A.    So we have the ability to either arrest somebody

            3    when there's an active warrant, whether that's a warrant that

            4    we do ourselves or any -- any valid warrant signed by a judge,

            5    or we can do a warrantless arrest.

            6           Q.    Okay.    And what are the conditions for a warrantless

            7    arrest?

            8           A.    So a warrantless arrest, our authority states that

            9    if we believe that someone's committed a criminal offense or

           10    they're acting in a way to be a menace to public safety, we can

           11    arrest them, as well as if we believe that they are going to --

           12    they're a threat to abscond from supervision or commit new

           13    criminal offenses if not arrested, that is when we can effect a

           14    warrantless arrest.

           15           Q.    Okay.    And -- and do you -- do you have authority to

           16    utilize police officers to conduct an arrest of a parolee for

           17    you?

           18           A.    Yes.

           19           Q.    And can police officers conduct that arrest even if

           20    you're not available to be on the scene at the time of that

           21    arrest?

           22           A.    Yes.

           23           Q.    Okay.    Now, when it comes to each of these things

           24    we've discussed, using police officers to conduct searches,

           25    using police officers to conduct arrests, are these things that


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            1    you have done in your career as a -- as a parole officer?

            2           A.     Yes.

            3           Q.     Okay.   Numerous occasions, you've done this?

            4           A.     Yes.

            5           Q.     Okay.   Is it fairly standard practice?

            6           A.     It seems to be.     It depends.     A lot of it depends on

            7    the area of coverage.       We have a lot of rural places that, you

            8    know, we cover as far as parole goes and so a lot of times

            9    it'll be just one PO, so they will have a lot of assistance

           10    from local and/or state authorities or sheriffs.

           11           Q.     Okay.   So now I'd like to direct your attention to a

           12    document that I'll put on the ELMO.          This document is ECF

           13    Document 46-2.

           14                  Okay.   Now, I will zoom in on this, Officer Benard,

           15    but for now, can you please tell the Court what this is?

           16           A.     Yeah.   It's an affidavit in support of the objection

           17    to motion to suppress.

           18           Q.     Okay.   And there are -- there are two pages here.

           19    I'm sorry.    There's actually -- there's -- there's more than

           20    two pages; there's three pages, 14 paragraphs.            Is that -- is

           21    that right?

           22           A.     Correct.

           23           Q.     Okay.   Now, is there -- is there anything in this

           24    affidavit -- well, is there -- would you say that everything in

           25    this affidavit is still true and accurate to the best of your


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            1    knowledge?

            2           A.     Yes.

            3           Q.     Okay.    You already discussed Emilio Flores a bit,

            4    but I want to discuss a little more specifically, and perhaps

            5    drawing your attention to certain paragraphs.

            6                  So let's start with paragraph 5.

            7                  Was -- okay.    Can you see that or do you need me to

            8    blow it up?     You can see it?

            9           A.     Yup.

           10           Q.     And then it continues on to the next page.           Do you

           11    see that there?

           12           A.     (Nods head.)

           13           Q.     So -- so did -- did Mr. Flores have an outstanding

           14    drug charge from September 30th of 2018 at the time that --

           15    that he absconded?

           16           A.     So September 30th, 2018, is when he had contact with

           17    Bedford Police.       I don't know -- I would assume a warrant would

           18    have been later because it would have been a failure to appear.

           19    So it would have been a UBW after the fact.

           20           Q.     Okay.    And so I think you actually reference in

           21    paragraph 6, is that right, you say:          After Mr. Flores's arrest

           22    on the above-referenced heroin charge, he posted bail and then

           23    absconded from parole supervision.

           24                  Is that right?

           25           A.     Correct.


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            1           Q.      Okay.    So what did you do at that time, when he

            2    absconded from your supervision?

            3           A.      So Mr. Flores was due to report to me in October of

            4    2018 and he failed to report as directed.           I also confirmed

            5    with his last known residence that he was no longer residing

            6    there.      So he at that point had been absconded from

            7    supervision.

            8                   So at some point very near to that date I would have

            9    obtained a warrant from the parole board for absconsion as well

           10    as probably the TAC use.

           11           Q.      Okay.    Prior to September 1st of 2021, had

           12    Mr. Flores been apprehended by either the parole officer or law

           13    enforcement?

           14           A.      Not to my knowledge, no.

           15           Q.      Okay.    And so -- and so, to your knowledge, he was

           16    still wanted by parole and Bedford PD at that time?

           17           A.      Yes.

           18           Q.      All right.      And do you know whether he was located

           19    on September 1st, 2023?

           20           A.      Yes.    20 --

           21           Q.      I'm sorry.      Yeah, I got the date wrong.     2021.    I

           22    apologize.

           23           A.      Yes.

           24           Q.      Thank you for the correction.

           25                   And do you know -- generally, without you -- you


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            1    don't have to go into any specifics that you don't know, but to

            2    the extent you are aware, do you know the general circumstances

            3    of how he was located or --

            4           A.    Yeah.    I was informed -- I don't think it was the

            5    day of, it may have been either later that evening or the next

            6    day that he was taken into custody and he was -- when he was

            7    arrested, he was with another parolee, Mr. Michael Francis.

            8           Q.    Okay.    And do you know whether Mr. Francis and

            9    Mr. Flores were violating their parole in any way on

           10    September 1st, 2021?

           11           A.    Simply by associating with one another would be a

           12    violation.    And the fact that Mr. Flores was a fugitive from

           13    justice could be construed as potentially, you know, a criminal

           14    act by Mr. Michael Francis by potentially harboring a fugitive.

           15    I mean, you're associating with somebody that has an active

           16    warrant, so obviously that's not something we want to

           17    encourage.

           18           Q.    Okay.    And were they also -- were would they also

           19    have been -- I'm sorry.

           20                 Would Mr. Francis also have been violating the terms

           21    of his parole if they were at an address that he not did report

           22    to parole officers?

           23           A.    If he -- what about the address?

           24           Q.    If there was an address that Mr. Francis had not

           25    provided to parole officers of a place of his residence.


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            1           A.    Correct, yes.

            2           Q.    Okay.    And do you know whether or not -- well, first

            3    let me ask you this.

            4                 Do you know who Mr. Francis's parole officer is?

            5           A.    Yes.

            6           Q.    Okay.    Who is it?

            7           A.    Well, it -- at the time it was --

            8           Q.    At the time.

            9           A.    -- William Duffy.

           10           Q.    Okay.

           11           A.    Bill Duffy.

           12           Q.    Okay.    And do you know from -- from Mr. Duffy

           13    whether or not he was aware at the time of various violations

           14    of parole that Mr. Francis was -- was conducting at that time

           15    of -- as of September 1st of 2021?

           16           A.    Yeah, I believe Bill was the one who told me that

           17    Emilio was arrested with Mr. Francis.

           18           Q.    Okay.    Thank you.

           19           A.    Mr. Flores.

           20           Q.    Now, I'd like to direct your attention to paragraph

           21    12.   Can you see that?

           22                 Can you see that, Parole Officer Benard?

           23           A.    I can.

           24           Q.    Okay.    And can you please -- can you read it?

           25           A.    Sure.


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            1                 "So based on the knowledge I had during the time

            2    surrounding Mr. Flores's arrest, had law enforcement not

            3    already obtained a search warrant to search Mr. Francis's

            4    vehicle in which Mr. Flores had been an occupant, I would have

            5    conducted a search of Mr. Francis's vehicle, including a search

            6    of the bag that Mr. Flores was seen carrying into the vehicle.

            7    In my capacity as a parole officer, I would have had authority

            8    to search Mr. Francis's person and property including his

            9    vehicle based on his status as a parolee."

           10           Q.    Okay.    And would you also have had the authority,

           11    based even on just Mr. Flores's conduct, to search a bag that

           12    he had brought into that vehicle?

           13           A.    Yes.

           14           Q.    Okay.    Now, directing your attention to the

           15    following paragraph, 13, and I can ask you -- you don't have to

           16    necessarily say it verbatim, but what -- what was the reason

           17    that you would have conducted that search?

           18           A.    So with Mr. Flores being wanted for absconding from

           19    parole, obviously I was aware it had been many years he had

           20    been absconded for.      A couple that things we would do,

           21    obviously, at the time of arrest is there could be new criminal

           22    charges.

           23           Q.    Uh-huh.

           24           A.    So if an individual is taken into custody, they

           25    could very often be violating as far as how they came into


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            1    contact with police.      It could be a new criminal charge,

            2    resisting, could be possession of new illegal substances, a

            3    weapon.

            4                 And on top of that, we also do a criminal record

            5    check because we could have confirmed if while they were a

            6    fugitive if they committed more criminal offenses.

            7                 And the reason for doing those things is because

            8    we're not just limited to just the violation that was filed at

            9    the time of the absconsion.        So if I come across more

           10    information as far as more alleged criminal -- sorry, not

           11    criminal, but conduct as opposed to following the rules, I

           12    can file what's called a supplemental parole violation and,

           13    therefore, add to what's already potentially being faced by the

           14    parolee at the time of seeing the parole board.

           15           Q.    Understood.     And, now, just to -- just to -- to make

           16    it clear, could you have used police officers to conduct --

           17    actually, I'll scratch that.

           18                 So when it comes to the -- the association -- the --

           19    these additional supplemental parole violations, if you will,

           20    that you described, you know, in this particular case, would

           21    you have been interested in exploring those?

           22           A.    Absolutely.

           23           Q.    Okay.    Now, do you know whether Mr. Flores was taken

           24    into custody on September 1st, 2021?

           25           A.    He was.


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            1           Q.     Okay.   And do you know if Mr. Francis was taken into

            2    custody on September 1st, 2021?

            3           A.     Yes.

            4           Q.     Okay.   And do you know that they were both arrested

            5    that day?

            6           A.     Yes.

            7                  MR. GINGRANDE:     Okay.    Just -- one minute, your

            8    Honor?

            9                  THE COURT:     Of course.

           10                  MR. GINGRANDE:     I'd just request the Court's

           11    indulgence.     Thank you.

           12                  Thank you, Parole Officer Benard.         No further

           13    questions at this time.

           14                  THE COURT:     Mr. Guerriero?

           15                  MR. GUERRIERO:     You can leave that up, that exhibit.

           16                  MR. GINGRANDE:     Oh, sure.

           17                                 CROSS-EXAMINATION

           18    BY MR. GUERRIERO:

           19           Q.     Good afternoon, sir.

           20           A.     Good afternoon.

           21           Q.     I'm Richard Guerriero.       I represent Mr. Francis.

           22                  I guess I have a couple of different categories of

           23    questions, but first of all, so you were Mr. Flores's parole

           24    officer, not Mr. Francis's parole officer; is that right?

           25           A.     Correct.


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            1           Q.    And as of September 1st, 2021, there was a warrant

            2    to arrest Mr. Flores from the parole board for absconding?

            3           A.    Prior to that.

            4           Q.    Yes.

            5           A.    Yes.

            6           Q.    Yes.    As of that day.

            7           A.    Yes.

            8           Q.    Yes.

            9           A.    Yes.

           10           Q.    So on September 1st, there was a warrant for his

           11    arrest?

           12           A.    Correct.

           13           Q.    To your knowledge, there was not a warrant for the

           14    arrest of Mr. Francis?

           15           A.    Nope.

           16           Q.    You didn't make any request to Manchester PD or the

           17    FBI to arrest Mr. Francis?

           18           A.    No, I did not.

           19           Q.    You did not make any request to the Manchester PD or

           20    the FBI to search Mr. Francis or any of his belongings on that

           21    day, September 1st?

           22           A.    No.

           23           Q.    And any request that you're aware of came after that

           24    day?

           25           A.    I don't know who requested any of those things.             I


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            1    wasn't involved in that conversation.

            2           Q.     Okay.    So I want to ask you questions in two

            3    categories:     One deals with what you described as your

            4    authority to request law enforcement to make an arrest and the

            5    other category is what you described as your authority to

            6    request law enforcement to engage in a search.            Okay?   On your

            7    behalf for a parolee, to be clear.

            8                  Can you -- do you believe that according to the law

            9    you can ask, say, Manchester PD to arrest a parolee for a

           10    parole violation that is not itself an independent crime?

           11           A.     Yes.

           12           Q.     You can?

           13           A.     Yes.

           14           Q.     So something like not notifying you of a change of

           15    address?

           16           A.     That wouldn't be one of the examples, no.

           17           Q.     It would not?

           18           A.     No.

           19           Q.     Okay.

           20           A.     Not in and of itself.      I guess my -- to answer your

           21    question, it would depend on the situation.           Again, it's --

           22    every case is unique.       So the factors involved with that

           23    individual, that's what the parole officer would have to take

           24    into account when making that decision.

           25           Q.     Okay.


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            1           A.    So it's not necessarily tied to a specific rule that

            2    would trigger that, if that makes sense.

            3           Q.    Okay.    Are you aware of any law or rule that says,

            4    well, you can authorize law enforcement to make an arrest on

            5    your behalf, on behalf of the parole officer of a parolee, if

            6    they've committed a violation that's a new crime or if they're

            7    going to abscond or if they're a menace to the public?

            8           A.    Yup, that's the statute.        Yup.

            9           Q.    Okay.    And are you also aware that there's a statute

           10    that says if they haven't committed a new crime, if there's no

           11    information that they're going to abscond, and if they're not

           12    apparently a threat to the public at the moment but they are in

           13    violation of their parole that you cannot request law

           14    enforcement to do that; you have to get a warrant from the

           15    parole board.     Right?

           16                 MR. GINGRANDE:      Your Honor, I would object to this

           17    question on the grounds that it's a mischaracterization of the

           18    law.   It's legal argument.       And I don't think this witness --

           19                 THE COURT:     It's legal argument.       Overruled.

           20                 I'm curious.     What statute?      What's the statute?

           21                 MR. GUERRIERO:      It is RSA 504-A:4, I believe.

           22                 THE COURT:     It doesn't say any such thing.

           23                 MR. GUERRIERO:      Well -- and I know your Honor's

           24    looking at it, so --

           25                 THE COURT:     I am.


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            1                 MR. GUERRIERO:      -- how about I just read it to him?

            2                 THE COURT:     First of all, it's poorly written.          You

            3    can construe it many different ways.

            4                 Before we go much further, though, let me ask you,

            5    what are we arguing about?        Are we arguing about a Fourth

            6    Amendment violation here or are we arguing about violation of a

            7    state statute authorizing arrests?

            8                 MR. GUERRIERO:      I would agree with you if your

            9    Honor's --

           10                 THE COURT:     You can't agree with me.       I'm asking a

           11    question.

           12                 MR. GUERRIERO:      Okay.   We are arguing about a Fourth

           13    Amendment violation.      I understand that a violation of state

           14    law may not necessarily result in application of the

           15    exclusionary rule, but I'm in this circumstance where it was

           16    unlawful for the -- it would have been unlawful for the parole

           17    officer to authorize law enforcement to engage in this search.

           18                 I mean, this is their explanation for inevitable

           19    discovery, that it would be a lawful search pursuant to state

           20    law.   I mean, they're not offering this as the -- as the --

           21    as -- as the basis for the search.         They're saying it's

           22    inevitable discovery or a lack of expectation of privacy.

           23                 THE COURT:     They have a couple of arguments, as I

           24    understand it.

           25                 MR. GUERRIERO:      Yup.


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            1                 THE COURT:     One of them is it's consistent with

            2    504-A:4.    I'm not sure it is, but that's the argument.

            3                 And the other argument is inevitable discovery.

            4    Once the drugs are found in the car, of course he's going to be

            5    arrested; and once he's arrested, of course they're going to

            6    search the phone and, by the way, we've got a warrant to search

            7    the phone.

            8                 Right?    Isn't that their argument?

            9                 MR. GUERRIERO:      That's their argument.       It is.

           10                 THE COURT:     Yeah.   But I'm curious about whether --

           11    I -- obviously I'm going to have to think about it more, but

           12    you know, in the state hierarchy, violations aren't crimes.

           13    They're still offenses of some sort.          Right?

           14                 MR. GUERRIERO:      I respectfully disagree, your Honor.

           15    I --

           16                 THE COURT:     You think they're not offenses?

           17                 MR. GUERRIERO:      Yeah.   And I practice in the state

           18    court system.     I mean, they are -- I mean, as -- you know, as a

           19    practical effect, if you have a violation of parole, you go

           20    before the parole board on your violation and you can get a

           21    setback, 90 days --

           22                 THE COURT:     That's because terms of probation and

           23    parole --

           24                 MR. GUERRIERO:      Yes.

           25                 THE COURT:     -- are not necessarily crimes.


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            1                 MR. GUERRIERO:      It's not even necessarily an

            2    offense.    For example, changing your address without giving

            3    proper notice, that's not an offense of any kind.

            4                 THE COURT:     I know we're going far afield here just

            5    for a moment, but how do you read the statute?            The -- the --

            6    as I'm -- one reading that I see here is the parolee may be

            7    arrested anytime any probation or parole officer or any other

            8    officer authorized to arrest -- means sworn police officers, I

            9    assume -- upon request of the probation or parole officer when

           10    the probation or parole officer has reason to believe that he

           11    probably has committed a new criminal offense, conducting

           12    himself in such a way as to be a menace to public safety, or

           13    there's probable cause to believe that the probationer or

           14    parolee will abscond or commit new criminal offenses if not

           15    arrested.

           16                 Does it specifically say for a violation of the

           17    terms of parole under the section titled Violation of Terms?

           18                 MR. GUERRIERO:      I struggled with this, too, and I

           19    think that -- honestly, I think the problematic language, at

           20    least I -- in my opinion, is at the end of the first line and

           21    the beginning of the second line, "any other officer."

           22                 And I would agree that that -- does that mean any

           23    other parole officer or does it mean any --

           24                 THE COURT:     No, it means any other police officer, a

           25    sworn -- I think the term is sworn officer, but anybody with


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            1    the power to arrest, power -- you know, anybody imbued with the

            2    power to arrest.      That's the way I would construe it.

            3                 It says authorized to arrest, but arrest for what?

            4    Upon request.     So this -- this statute seems to require prior

            5    request from a probation or parole officer, which makes sense

            6    to me if it's related to a violation of the terms of probation

            7    or parole, because sometimes parole officers may not want them

            8    arrested; sometimes they may want to work with them; sometimes

            9    they may want to seek a warrant from the board or whatever.

           10                 But it doesn't seem to -- it doesn't seem to say the

           11    obvious:    If you violate the terms of parole, you can be

           12    arrested.

           13                 MR. GUERRIERO:      Right.   And --

           14                 THE COURT:     I understand that's not our point.          Your

           15    point is he doesn't fall into any of these other -- first,

           16    there's no request; and, second, he doesn't fall into any of

           17    these categories.

           18                 MR. GUERRIERO:      That's exactly right.

           19                 THE COURT:     That's your point.

           20                 And then the -- then that gives rise to the

           21    question, so what.      This statute doesn't limit the power of a

           22    sworn officer in this state to make an arrest under the usual

           23    circumstances to prevent commission of crime, because you're

           24    engaged in crime, because there's probable cause to believe

           25    you're engaged in crime or about to engage in crime.             Right?


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            1                 MR. GUERRIERO:      Right.   So, I mean -- I'm sorry.         I

            2    didn't mean to interrupt.

            3                 THE COURT:     Yeah.   So -- so a sworn officer doesn't

            4    need a request from a parole officer to do any of that.

            5                 MR. GUERRIERO:      If they had probable cause to

            6    arrest.

            7                 THE COURT:     Correct.    Right.

            8                 MR. GUERRIERO:      If I may, I mean, our contention

            9    is --

           10                 THE COURT:     So that gives rise to the --

           11                 MR. GUERRIERO:      They didn't --

           12                 THE COURT:     So what are we talking about?         You're

           13    talking about Fourth Amendment.         If you're just strictly

           14    limited to the Fourth Amendment, violation of the terms of

           15    parole, you're saying an arrest for -- based on probable cause

           16    to believe someone has violated -- is violating the terms of

           17    their parole or probation somehow violates the Fourth

           18    Amendment?

           19                 MR. GUERRIERO:      I'm saying that --

           20                 THE COURT:     It might violate the statute in the

           21    sense that you're not authorized to make the arrest, but how

           22    does it violate the Fourth Amendment if a crime, an offense,

           23    has been -- is being committed?

           24                 MR. GUERRIERO:      It -- it would not violate the

           25    Fourth Amendment if they had probable cause to believe that a


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            1    felony had been committed.        I think that that would be -- they

            2    can make a warrantless arrest.

            3                 THE COURT:     A misdemeanor in their presence --

            4                 MR. GUERRIERO:      But that --

            5                 THE COURT: -- that also counts.         Misdemeanor in

            6    their presence counts as well.         You can arrest based on -- the

            7    fact that you think a misdemeanor is being committed in your

            8    presence.

            9                 MR. GUERRIERO:      In your presence, yes.

           10                 THE COURT:     It doesn't have to be a felony.

           11                 MR. GUERRIERO:      That's right.

           12                 THE COURT:     And so then -- so this violation fits

           13    where?

           14                 MR. GUERRIERO:      This violation, well --

           15                 THE COURT:     Below misdemeanor but still an offense,

           16    a crime?

           17                 MR. GUERRIERO:      I -- it's not a crime.

           18                 THE COURT:     Okay.

           19                 MR. GUERRIERO:      I mean, I think that the -- we'll

           20    see.

           21                 THE COURT:     So you're saying it's a Fourth Amendment

           22    issue because it's an arrest not based on probable cause to

           23    believe a crime has been committed or is being committed.

           24                 MR. GUERRIERO:      And I -- and on that point, it's

           25    very important for us to be clear that at the time that


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            1    Mr. Francis was arrested, and we'll hear from Detective O'Neill

            2    and Detective Lorenzo, but at the time he was arrested, there

            3    had not been a search of the car, so they didn't have the kilo

            4    of cocaine from in the car; there had not been a search of

            5    Mr. Francis's apartment at the time when they had the --

            6                 THE COURT:     No, no, no, I don't think anybody's

            7    claiming there was some other independent probable cause basis

            8    for an arrest.

            9                 MR. GUERRIERO:      But that's important, because if

           10    they don't have probable cause to believe that he committed a

           11    felony or misdemeanor in the presence of an officer, then it's

           12    a violation of the Fourth Amendment.          That's the answer to your

           13    question.

           14                 THE COURT:     Okay.   All right.     Thanks.

           15                 MR. GUERRIERO:      Okay.

           16                 Let me get back to where I was.         All right.

           17                 All right.     I think I will -- I think I will not ask

           18    further questions about the seizure issue.           I think we've

           19    sorted that out.

           20                 THE COURT:     Well, this witness didn't request an

           21    arrest, didn't make the arrest.

           22                 MR. GUERRIERO:      Yes.    Yeah.

           23           Q.    And you didn't request a search that day --

           24           A.    No.

           25           Q.    -- of Mr. Francis's vehicle or of Mr. Flores or


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            1    anybody; you didn't make any request that day?

            2           A.    Nope.

            3           Q.    Okay.    And just maybe one last area with regard to

            4    this condition number 9.

            5                 And, again, I'll violate my own rule but ask you, I

            6    mean, this says, I will permit the parole officer -- this is

            7    condition number 9 in the conditions of parole and Document 61,

            8    Exhibit 1:    I will permit the parole officer to visit my

            9    residence at any time for the purpose of examination and

           10    inspection and the enforcement of the conditions of parole and

           11    submit to searches of my person, property, and possessions as

           12    requested by the parole officer.

           13                 So as requested, that means that in order for there

           14    to be a requirement that the person submit, there has to be a

           15    request from the parole officer, right?

           16           A.    We don't need -- I guess I'm -- maybe I'm

           17    misconstruing the question.

           18           Q.    Okay.

           19           A.    As far as getting permission from the individual?

           20           Q.    Every person who's on parole in New Hampshire

           21    from the New Hampshire Department of Corrections and the

           22    New Hampshire State Prison signs these conditions, right?

           23           A.    Yes, sir.

           24           Q.    And what he has agreed to is to permit a search upon

           25    request by a parole officer?


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            1           A.    Yes, that's --

            2           Q.    That's exactly what he agreed to?

            3           A.    Yup.

            4           Q.    He doesn't -- there's not some other document where

            5    the person agrees, okay, I agree to be searched by -- you know,

            6    if I'm driving down Main Street in Keene and a Keene police

            7    officer pulls me over and they want to search me, someone on

            8    parole is not obligated to consent to that, right?

            9           A.    Correct.

           10           Q.    You -- you could not file a violation of parole for

           11    them refusing consent to a Keene police officer if you had not

           12    requested the search?

           13           A.    Correct.

           14           Q.    Okay.    And you said that the first that you knew

           15    about this matter was -- did you say the next day or a couple

           16    of days later?

           17           A.    It was either -- again, I'm just going by memory.

           18    It was either later that evening, because I believe it was like

           19    an afternoon when it happened, but it was midweek, so it would

           20    have been either later that day or the next day, just because I

           21    had to do paperwork on Mr. Flores --

           22           Q.    Right.

           23           A.    -- within a couple of days that I had to get done,

           24    so I know I knew fairly quickly.

           25           Q.    Okay.    And did you know that Mr. Flores had been


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            1    arrested at that point?

            2           A.    Yes.    That's how I found out.

            3           Q.    Yes.

            4           A.    It was stated to me, your guy was picked up while

            5    they were arresting my guy, I believe was what the conversation

            6    I had with Bill at the time was; just so you know, your guy was

            7    with him when he got arrested and I had the warrant.             So the

            8    officer would notify me of that.

            9           Q.    So you also knew Mr. Francis was arrested?

           10           A.    Yes, I believe --

           11           Q.    You also knew --

           12           A.    -- so.

           13           Q.    You also knew that the car had been searched?

           14           A.    At the time, no.

           15           Q.    You didn't?

           16           A.    I -- no, I don't believe so.

           17           Q.    Okay.    Did you at that point say, I direct you to

           18    search Michael Francis's car because I'm Emilio Flores's parole

           19    officer and I want that car searched?

           20           A.    It wasn't at the time of the incident.           Like I said,

           21    it would have sort of been hours later or the next day.              So the

           22    scene obviously wouldn't still be active at that point.

           23                 So when I found out, I -- when it happened, it had

           24    already transpired.      I was just notified, hey, he's going to be

           25    at the jail, so I could do my paperwork with Mr. Flores.


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            1           Q.    So was there ever a point at any point where you

            2    said, hey, search that car where Mr. Flores had been?

            3           A.    That I said that?

            4           Q.    Yeah.

            5           A.    No.

            6           Q.    Okay.    All right.    And when a person consents to --

            7    you know, agrees to condition number 9 and they agree to search

            8    of their person, property, or possessions, or their residence,

            9    it's -- I should use the exact words.

           10                 It says:     My person, property, and possessions as

           11    requested by a parole officer.         Right?   It says "my" and that

           12    refers to the parolee.

           13           A.    If that's what it says, yes.

           14           Q.    Yes.    Okay.   Well, I mean, so, for example, suppose

           15    that a parolee was in a car with, you know, person X on

           16    Wednesday.    Would you say that you had authority as the parole

           17    officer for the parolee to search that car days later when the

           18    person -- your parolee was no longer in the car?

           19           A.    No.

           20                 MR. GUERRIERO:      Thank you.

           21                 THE COURT:      Mr. Gingrande, any redirect?

           22                 MR. GINGRANDE:      Just briefly, your Honor, if I

           23    could.

           24                              REDIRECT EXAMINATION

           25    BY MR. GINGRANDE:


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            1           Q.     Parole Officer Benard, I'd now like to discuss the

            2    issue that the judge was discussing with defense counsel just

            3    now about the -- the basis for an arrest under 504-A:4.

            4                  So I believe you -- you testified earlier to some of

            5    the bases of arrests that can be made pursuant to that statute.

            6           A.     Correct.

            7           Q.     Can you describe -- and then you were asked the

            8    question, can you arrest a parolee for a violation that's not

            9    an independent crime.

           10           A.     Correct.

           11           Q.     And you said yes, I believe.

           12           A.     Yes, you can.

           13           Q.     Can you -- can you explain that?

           14           A.     If you'd like an example, a very simple one, I can

           15    probably provide it.

           16                  So if I have an individual, let's say, that went to

           17    prison for a crime of first-degree assault and the underlying

           18    mitigating issue with it was alcohol use.            There is a

           19    circumstance where if police stop the individual, and let's say

           20    they're intoxicated, they did not commit one crime whatsoever

           21    and they notify me that they have him in custody and they

           22    believe he's intoxicated, I very -- very much would say you're

           23    going to arrest an individual for my -- for violating parole on

           24    my request, not for new charges, for violations, because with

           25    that specific individual, that would be a trigger for them to


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            1    be falling under the category of potentially new criminal

            2    conduct occurring and/or being a menace to society because you

            3    had that component with the alcohol.

            4                  And that's just one example.

            5           Q.     Okay.    Understood.     And when it comes to the

            6    absconsion part --

            7                  THE COURT:     You know, that's a good example, but

            8    that comes under the classification of the parole officer has

            9    reason to think that the parolee is acting in a way that he

           10    poses a menace to public safety.

           11                  MR. GINGRANDE:      That's true, your Honor.

           12                  THE COURT:     So the statute -- I mean, where in the

           13    statute does it say police officers -- sworn officers who are

           14    not parole and probation officers may arrest for a violation of

           15    a term of probation without changing -- not keeping the parole

           16    officer informed of his change in address?

           17                  This statute would seem to say you -- a sworn

           18    officer cannot arrest a parolee for that.

           19                  MR. GINGRANDE:      I don't think the statute speaks to

           20    that scenario, your Honor.         I would agree.

           21                  THE COURT:     Okay.    Then what are we talking about --

           22    what's the point?       I'm missing your point then.

           23                  MR. GINGRANDE:      I apologize, your Honor.        I'm just

           24    trying to get at the various scenarios in which there is --

           25    there's a violation of parole, for instance, that might raise


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            1    the parole officer's attention that then results in a lawful

            2    arrest.

            3                  THE COURT:     Yeah.    I'm willing to grant -- despite

            4    the way this is written, I'm willing to grant the commonsense

            5    interpretation that if you violate the terms of your parole or

            6    probation, the parole or probation officer can certainly arrest

            7    you for it.     Even though what you've done doesn't amount to a

            8    crime in any universe, he can still arrest you.              Right?

            9                  MR. GINGRANDE:      Yeah.   Yeah.

           10                  THE COURT:     That's not entirely clear, but let's

           11    assume that's the case.

           12                  MR. GINGRANDE:      Yup.

           13                  THE WITNESS:     I can provide another example, if

           14    you'd like.

           15                  THE COURT:     No, I accept that.

           16                  THE WITNESS:     Okay.     Thank you, your Honor.

           17                  THE COURT:     That makes common sense.        But it also

           18    makes sense to me that the parole officer may not want a

           19    parolee arrested, may not want to arrest him, and may not want

           20    him arrested because he's working with him in drug counseling

           21    or whatever, a hundred reasons.

           22                  This seems to limit the ability of a sworn officer

           23    to make an arrest of a parolee or probationer, right?               It

           24    seems -- it seems to say two things:           One, you've got to be

           25    asked by a parole or probation officer before you can do that;


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            1    and, two, the parole or probation officer has to find that he's

            2    in -- the parolee falls into one of these conditions, he's

            3    about to take off, he's a menace to society, something, before

            4    that sworn officer can make the arrest.

            5                  MR. GINGRANDE:      Yup.

            6                  THE COURT:     It seems to be.

            7                  MR. GINGRANDE:      I --

            8                  THE COURT:     So then we get back to the issue of

            9    what's a violation.       What is it?

           10                  MR. GINGRANDE:      What is a violation of parole or --

           11                  THE COURT:     Sure.

           12                  MR. GINGRANDE:      -- what is a qualifying --

           13                  THE COURT:     What's its nature, what's its character,

           14    what's its content?       What is it?     Because does a sworn officer

           15    have an authority to just arrest a parolee because he violated

           16    the terms of parole that don't amount to a crime?              The answer

           17    seems to be no.

           18                  MR. GINGRANDE:      Under the terms of that statute, I

           19    agree with you, your Honor.

           20                  THE COURT:     Okay.

           21                  MR. GINGRANDE:      I wouldn't say anything --

           22                  THE COURT:     The next step, did that happen here.

           23    The answer seems to be yes.          Right?

           24                  MR. GINGRANDE:      That -- well, the arrest certainly

           25    happened, your Honor.        And maybe I can direct --


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            1                  THE COURT:     Oh, no.    No, no.    A qualifying -- an

            2    unqualified arrest, an arrest that doesn't qualify under RSA

            3    504-A:4.

            4                  MR. GINGRANDE:      I would --

            5                  THE COURT:     Nobody asked him, it wasn't a crime

            6    independently, and the parolee didn't fall into one of these

            7    conditions.     And even if they did, no parole or probation

            8    officer made the judgment that he had reason to believe that he

            9    fell into those.      The triggers are many.        The parole officer

           10    also has to have reason to believe that the parolee falls into

           11    one of these categories, right?

           12                  So it's got nothing to do with Officer Jones or the

           13    Manchester Police Department on scene.            It has to do with the

           14    judgment of a parole officer.

           15                  MR. GINGRANDE:      Uh-huh.

           16                  THE COURT:     Right?

           17                  MR. GINGRANDE:      Uh-huh.

           18                  THE COURT:     And none of that happened.         We -- I

           19    think we all agree, right?

           20                  MR. GINGRANDE:      Well, could I ask the witness a

           21    couple questions on that, your Honor?

           22                  THE COURT:     Well, you could, except is he qualified?

           23    It's not the defendant's parole officer.            He didn't request

           24    anything.     He didn't make the arrest.        And what are you going

           25    to ask him, did Duffy request?


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            1                  MR. GINGRANDE:      No, no, that's not what I was

            2    going -- what I would ask him, your Honor, no.              But I was just

            3    going to ask him on the basis of absconsion when it comes to

            4    Michael Francis in particular, whether that --

            5                  THE COURT:     No, no.    What -- do you have evidence

            6    that some authorized parole or probation officer made the

            7    judgment that this defendant posed a risk of absconding?

            8                  MR. GINGRANDE:      Well, I was -- well, I -- I -- not

            9    through -- not necessarily through this witness, no.               It was

           10    just to ask the question about -- about the authority on that

           11    basis.

           12                  THE COURT:     I can read the statute.

           13                  MR. GINGRANDE:      Okay.

           14                  THE COURT:     You know, I'm not perfect, but I can get

           15    the gist of it.

           16                  MR. GINGRANDE:      Fair enough.     Fair enough, your

           17    Honor.

           18                  THE COURT:     And the facts so far, and I don't think

           19    anybody's making a different contention, are they, there was no

           20    request for a parole or probation officer to make this arrest

           21    of the defendant, correct?

           22                  MR. GINGRANDE:      You're going to hear some -- some

           23    officer testimony about that, your Honor.            And I think

           24    that's --

           25                  THE COURT:     Well, is your contention that a -- a


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            1    probation or probation officer made the request that this

            2    arrest be accomplished?

            3                  MR. GINGRANDE:      It's certainly law enforcement's

            4    contention that that is -- that is the case, without making the

            5    representations --

            6                  THE COURT:     Well, it doesn't need to be --

            7                  MR. GINGRANDE:      -- myself as to the --

            8                  THE COURT:     It doesn't need to be contention.

            9    There's got to be some evidence that some identified authorized

           10    parole and probation officer said please make this arrest

           11    because I -- it doesn't have to say I made the judgment, but

           12    there's got to be evidence that he made the judgment that he

           13    falls into one of these categories, right?

           14                  MR. GINGRANDE:      Yeah.   And --

           15                  THE COURT:     Will you have evidence?

           16                  MR. GINGRANDE:      What I expect you to hear, your

           17    Honor, from the officer --

           18                  THE COURT:     Mr. Gingrande, I don't want to be here

           19    at six o'clock and find out that you don't have that evidence.

           20                  MR. GINGRANDE:      Sure.

           21                  THE COURT:     I want to just ask you.        Do you have

           22    that evidence and are you going to present it?

           23                  MR. GINGRANDE:      We're going to present an officer

           24    who says he received that authority from PPO Duffy.               He

           25    believed he had that authority from PPO Duffy.


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            1                  THE COURT:     His belief is irrelevant.        The question

            2    is was he asked.

            3                  MR. GINGRANDE:      I think -- I -- I think we'll have

            4    to --

            5                  THE COURT:     Was he --

            6                  MR. GINGRANDE:      Was he asked specifically to make

            7    the arrest?

            8                  THE COURT:     Okay.    Give it a whirl.

            9                  MR. GINGRANDE:      I think he would say yes.        I can't

           10    make the representation yes or no based on whether there was a

           11    specific request.

           12                  THE COURT:     Why don't we get to that because that's

           13    the pivotal point here, right?

           14                  MR. GINGRANDE:      Okay.   Sure.    I just want -- if I

           15    could just see if I have any further questions for this

           16    witness.

           17                  Yeah, I have no further questions for this witness,

           18    your Honor.

           19                  THE COURT:     Thank you, Officer Benard.         I appreciate

           20    it.

           21                  THE WITNESS:     Thank you, your Honor.

           22                  THE COURT:     And you're excused as a witness.          You

           23    may step down.

           24                  THE WITNESS:     Thank you, sir.

           25                  THE COURT:     All right.


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            1                                (Witness excused.)

            2                  THE COURT:     Do you have another witness?

            3                  MR. GINGRANDE:      Yes, your Honor.      I'd like to call

            4    Sergeant Joe Lorenzo to the stand.           I'll be right back.

            5                  THE COURT:     While we're waiting, Mr. Guerriero, I

            6    haven't -- I just have looked at 504-A:4.            Are there other --

            7    is there a statutory provision around it somewhere that clarify

            8    those issues?

            9                  MR. GUERRIERO:      I -- I read all of the statutes in

           10    504-A and -- to see, because the First Circuit case had said it

           11    did not -- it appeared that New Hampshire's conditions are

           12    different than other states, so I was worried that it had been

           13    updated since that First Circuit case.

           14                  I didn't see anything else that applied.            So it's

           15    really -- this is it, as far as I know.

           16                  THE COURT:     I assume you agree that it's implicit at

           17    least that a parole officer can arrest a parolee for violation

           18    of a term of release no matter how minor.

           19                  MR. GUERRIERO:      The way I read it is that the -- a

           20    probation -- a parole officer can offer -- can authorize

           21    another law enforcement --

           22                  THE COURT:     No, no, I'm not talking about that.           I'm

           23    saying the first sentence.         The section itself seems to start

           24    out with of course a probation and parole officer himself or

           25    herself can arrest a parolee for violating the terms of parole.


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            1                  MR. GUERRIERO:      Of course.

            2                  THE COURT:     No other -- no other requirement.

            3                  MR. GUERRIERO:      That's right.

            4                  THE COURT:     Okay.

            5                  MR. GUERRIERO:      The parole officer can make the

            6    arrest.

            7                  THE COURT:     Well, it's not entirely -- it's not

            8    written that way.       It's just in that section, violation of

            9    terms, and it goes off on when -- when another sworn officer

           10    can make an arrest.

           11                  MR. GUERRIERO:      Our contention is that for -- if you

           12    look at the first sentence of paragraph 2, whenever it doesn't

           13    meet the conditions of parole for immediate arrest, and I take

           14    that to mean when there is either a new crime, a menace to the

           15    public, or a risk of flight, as set forth in I, then they can

           16    authorize a law enforcement officer.           But as for other

           17    violations that don't fall into those categories, the parole

           18    officer has to get a warrant from the parole board and then

           19    once there's a warrant, then anybody can arrest him.

           20                  THE COURT:     All right.     Sorry.    Go ahead,

           21    Mr. Gingrande.      We're just discussing the interpretation of the

           22    statute.

           23                  MR. GINGRANDE:      Understood.

           24                  Your Honor, the government calls Sergeant Joe

           25    Lorenzo to the stand.


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            1                  THE CLERK:     Please remain standing and raise your

            2    right hand.

            3                  JOSEPH LORENZO, having been first duly sworn,

            4    testified as follows:

            5                  THE CLERK:     Thank you.     Please be seated.

            6                  MR. GUERRIERO:      If I could, and I apologize for

            7    interrupting the government, but because of your Honor's

            8    concern about getting right to the point, I -- we have not

            9    alerted you previously, but the -- Mr. Francis's actual parole

           10    officer, who is Mr. Duffy, William Duffy, had a family matter.

           11    And he was under subpoena, but we agreed that if it became

           12    necessary to call him as a witness here that we would ask the

           13    Court for permission to come back another day and bring him.

           14                  So Mr. Duffy, Mr. Francis's actual parole officer,

           15    is not here.     So I didn't want to keep going forward and have

           16    you think that -- that we were going to call him today because

           17    that might try your patience.          So --

           18                  THE COURT:     It won't try my patience.        Thank you.

           19    I'd like to -- you're telling me we may not finish.

           20                  MR. GUERRIERO:      We're going to come back another

           21    day, it sounds like, anyway.

           22                  THE COURT:     Okay.    We'll see how it goes.

           23                  MR. GINGRANDE:      Thank you, your Honor.

           24                  THE CLERK:     Please state your full name for the

           25    record.


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            1                  THE WITNESS:     Joseph Lorenzo.

            2                                 DIRECT EXAMINATION

            3    BY MR. GINGRANDE:

            4           Q.     Sergeant Lorenzo, can you please tell the Court

            5    where you're employed.

            6           A.     At the Manchester Police Department.

            7           Q.     And how long have you been with the Manchester

            8    Police Department?

            9           A.     17 years.

           10           Q.     And in what capacity were you employed with

           11    Manchester Police?

           12           A.     As of now, I'm a sergeant with the anticrime unit.

           13           Q.     Okay.    How long have you been a sergeant with the

           14    anticrime unit?

           15           A.     About two and a half years.

           16           Q.     Okay.    And prior to that, were you employed by

           17    Manchester Police as well?

           18           A.     Yup.    Prior to that, I was a sergeant in patrol.

           19           Q.     Okay.

           20           A.     Just previous to that, I was in detectives, the

           21    investigative division, for eight years.

           22           Q.     Okay.    Any law enforcement experience prior to being

           23    with Manchester Police?

           24           A.     Yes, sir.     I was with the Hampton Police Department,

           25    Hampton, New Hampshire, for -- I started in March of '04.


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            1           Q.     And what was your position there?

            2           A.     I was a part-time police officer.

            3           Q.     Part-time police officer?

            4           A.     Yes, sir.

            5           Q.     Okay.    Thank you, your Honor -- thank you, Sergeant

            6    Lorenzo.     I apologize, your Honor.

            7                  Any other relevant law enforcement experience that

            8    you had prior to that point?

            9           A.     No, sir.

           10           Q.     Okay.    Now, are you aware of an investigation into

           11    the defendant in this case, Michael Francis?

           12           A.     Yes, sir.

           13           Q.     And were you involved in that investigation?

           14           A.     I was.

           15           Q.     And how -- in what capacity were you involved?

           16           A.     So it was my -- the anticrime unit was with Special

           17    Agent Burke.     We were investigating and I was in charge of the

           18    anticrime unit at the time.

           19           Q.     Okay.    And so you were in charge of the anticrime

           20    unit and what -- how did that relate to Mr. Francis?

           21           A.     The -- an investigation spun up concerning him.              I

           22    know Special Agent Burke at the time was going to be taking a

           23    search warrant for his vehicle and we were going to be

           24    assisting in that capacity with the members of the unit.

           25           Q.     Okay.    And was there any other information that you


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            1    had about your -- your involvement or why you were involved

            2    with -- with Mr. Francis regarding that investigation?

            3           A.     No, it was just at the time Special Agent Burke was

            4    working by himself.       He wasn't part of the task force he is

            5    now.    He was working with the guys in my unit.            One of the guys

            6    on the unit did a postarrest interview with Special Agent Burke

            7    that kind of led to this investigation, that got it going, and

            8    I just kind of oversaw, you know, the other detectives doing

            9    the work.     You know, so if there was other investigations going

           10    on, I would just oversee the detectives in the unit and this

           11    was just part -- one of the investigations.

           12                  I don't know if I had a major role in it other than,

           13    you know, approving reports and some of the logistics of stuff

           14    that came up.

           15           Q.     Okay.    But you were involved with -- with the

           16    investigation itself as of September 1, 2021; is that right?

           17           A.     Correct.    I mean, I knew what was going on, and on

           18    that day I was there and I was involved with the day of the

           19    search warrant.

           20           Q.     Okay.    So can you explain just briefly for the Court

           21    your recollection of how the events of that day unfolded?

           22           A.     Yeah.    So there was a search warrant for the vehicle

           23    at some point, you know, while we were on surveillance.                I --

           24    I -- I gave the order that we could stop the vehicle and search

           25    the vehicle.


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            1                  Our SWAT team was the -- was in charge of executing

            2    the search warrant.       They executed the search warrant and

            3    shortly after they executed the search warrant, like almost

            4    simultaneous, I was kind of in traffic and I showed up as -- as

            5    they were, you know, executing it.

            6           Q.     Okay.    Well, let me take a step back.

            7                  So were you involved with -- did you have knowledge

            8    of the observations that law enforcement was making when it

            9    regards Michael Francis driving a vehicle that day prior to --

           10    driving his vehicle that day prior to the -- your showing up in

           11    person on the scene?

           12                  THE COURT:     I'm sorry.     Why are we doing this?

           13                  MR. GINGRANDE:      I'm sorry, your Honor.        I'm just

           14    trying to get to the arrest eventually, but --

           15                  THE COURT:     Ask him about the arrest.

           16                  MR. GINGRANDE:      Okay.   I will -- I'll cut to the

           17    chase.

           18                  THE COURT:     Did you arrest him?

           19                  MR. GINGRANDE:      I'll cut to the chase, your Honor.

           20           Q.     So was Michael Francis arrested that day?

           21           A.     Yes, sir.

           22           Q.     Okay.    And -- and were you -- did you -- you were

           23    aware of that arrest?

           24           A.     I am.

           25           Q.     Okay.    And what were -- and on what basis did you


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            1    make that arrest?       Let me be more specific.

            2                  Were there conversations with Parole Officer Duffy

            3    prior to that arrest?

            4           A.     There was.     So I was -- I was made aware that

            5    Detective Connor Mefford was speaking with PPO Duffy and from

            6    my recollection, my understanding was that we were -- we were

            7    good to arrest Mr. Francis on a parole violation.

            8           Q.     Okay.

            9                  MR. GUERRIERO:      Could I ask that he repeat that?          I

           10    heard him say a detective was speaking to PPO Duffy, but I

           11    didn't hear the detective's name.

           12                  THE COURT:     From his recollection -- oh, Connor

           13    Mefford.

           14                  THE WITNESS:     Connor Mefford.

           15                  MR. GUERRIERO:      Mefford.

           16                  THE WITNESS:     Yes.

           17                  MR. GUERRIERO:      Okay.

           18           Q.     And -- and so it was your understanding that you

           19    were authorized -- you, you not personally, but you as in

           20    Manchester Police Department were authorized -- by PPO Duffy to

           21    make that arrest, right?

           22           A.     To make the arrest yes, sir.

           23           Q.     Okay.    And did that -- did that arrest, in fact,

           24    occur?

           25           A.     It did, sir.


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            1           Q.      Okay.    And were you -- what can you tell the Court

            2    about how that arrest happened?

            3           A.      So Detective Mefford and Detective Kevin Lally,

            4    they're part of the anticrime unit.           They're also part of the

            5    SWAT team.      So when Mr. Francis went to the bank, I know the --

            6    I believe it was Captain Murphy who gave the command to

            7    initiate that they were able to go inside.

            8                   They go inside.     They make the arrest.        I show up

            9    shortly after that.       And I believe there was another detective

           10    who was standing by with Mr. Francis while he was in handcuffs.

           11           Q.      Okay.    And are you aware of any concerns from law

           12    enforcement about Mr. Francis potentially trying to abscond

           13    just prior to your making the actual arrest?

           14           A.      Yes.    So I know that there was discussion,

           15    especially while he was driving his --

           16                   MR. GUERRIERO:     Your Honor, I have to object on this

           17    point.      To my -- and the government can please correct me if

           18    I'm wrong.      But I don't recall there being anything in any

           19    report or any discovery about Manchester Police having concerns

           20    that Mr. Francis would abscond.

           21                   The government dutifully made Jencks disclosures to

           22    me before this hearing.        I don't -- if it's there, I don't

           23    recall it, that -- that Manchester Police were aware of a risk

           24    of him absconding.

           25                   MR. GINGRANDE:     Well, we have an exhibit --


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            1                  THE COURT:     Since you've stood up and since we're

            2    not going to finish today anyway, I think I've been misreading

            3    the statute again.

            4                  I think that -- you know, I think what it really

            5    addresses is -- it addresses the situation in which an arrest

            6    is to be made for a parole violation or probation violation in

            7    the absence of a warrant.         In other words, the rule is you

            8    can't make an arrest of a parolee or probationer unless there's

            9    a warrant.

           10                  Second point, but you can make a warrantless arrest

           11    under these circumstances, and these circumstances require the

           12    probation officer to have a reasonable -- or have reason to

           13    believe that the parolee has committed a new criminal offense

           14    or is conducting himself in such a way as to be a menace to

           15    public safety or there's probable cause to believe that the

           16    probationer or parolee will abscond or commit new criminal

           17    offenses if not arrested.

           18                  That's when you can arrest without a warrant,

           19    whether you're a probation or parole officer or a sworn

           20    officer.

           21                  MR. GUERRIERO:      I agree.

           22                  THE COURT:     Isn't that the way you read it?

           23                  MR. GUERRIERO:      Yes, sir.

           24                  THE COURT:     Well, then, what is -- what -- don't you

           25    have to establish -- if you're trying to say this was a valid


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            1    arrest under 504-A:4, don't you have to establish that a parole

            2    officer made the request and the parole officer had reached

            3    this conclusion or had reason to believe one of these

            4    categories presented itself?

            5                  MR. GINGRANDE:      I think that's correct, your Honor,

            6    yeah.

            7                  THE COURT:     Well, how are you going to do that?           Do

            8    you have a parole officer to say I requested a sworn officer to

            9    make this arrest because I had reason to believe one of the

           10    following categories?

           11                  MR. GINGRANDE:      Yes, your Honor --

           12                  And if you do, why didn't you present him at 1:30?

           13                  MR. GINGRANDE:      Well, it's because -- Mr. Francis's

           14    parole officer is not available today, as --

           15                  THE COURT:     Then you stand up and you say, you know,

           16    we have evidence that these criteria are met, but the witness

           17    isn't here and maybe we can do this some other time.

           18                  MR. GINGRANDE:      Well, I apologize, your Honor.         I'm

           19    trying to get some of that from this witness who -- who was on

           20    the scene at the time --

           21                  THE COURT:     No, this witness wasn't on the scene.

           22    This witness was directing the -- it sounds like directing the

           23    operation and conveying you now may go into the bank to others.

           24                  MR. GINGRANDE:      Involved in the arrest, sure.

           25                  THE COURT:     Well, sure.     Some other sworn officer


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            1    actually put the arrest on him, made -- took him into --

            2    under -- in custody, right?

            3                  MR. GINGRANDE:      Yes, your Honor.

            4                  THE COURT:     And I assume you're not going to -- if

            5    you're going to produce that officer, he's not going to say

            6    Officer Duffy called me up and said he requested me to put him

            7    under arrest for a parole violation because Officer Duffy

            8    thought he fell into the category of possible absconding, did

            9    he?   Do you have that?

           10                  MR. GINGRANDE:      I -- your Honor, I -- I think

           11    that -- that -- I don't want to misrepresent to the Court what

           12    PPO Duffy would say -- what PO Duffy, excuse me, would say, but

           13    I -- but I do think that PO Duffy would agree that there was a

           14    basis, based on Francis possibly skipping, based on the nature

           15    of the parole violations themselves, the fact that they didn't

           16    provide an address to parole officers, he's associating and

           17    harboring a fugitive in this case, Mr. -- Mr. Flores --

           18                  THE COURT:     We -- we, sadly, don't get to go back in

           19    time and rewrite the script.         The script is the script.

           20    Whatever happened, happened, right?

           21                  MR. GINGRANDE:      Yes, your Honor.

           22                  THE COURT:     Okay.    So doesn't this statute say that

           23    if you don't have a warrant to arrest a probationer or a

           24    parolee for a violation of the terms of his parole or

           25    probation, if you don't have a warrant, you can still arrest


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            1    him for that, but he's got to fall into one of these

            2    categories; and, by the way, a parole officer has to ask a

            3    sworn officer to make the arrest because you don't want sworn

            4    officers just making violation arrests all the time because

            5    that might disrupt the supervision and the relationship and on

            6    and on.     Right?

            7                  MR. GINGRANDE:      Right.

            8                  THE COURT:     So you've got to have a request so that

            9    we don't have that problem; and, secondly, probation officer,

           10    you've got to be able to say you have reason to think one of

           11    these categories, one of these situations, exists.               Right?

           12                  MR. GINGRANDE:      Uh-huh.

           13                  THE COURT:     So for you to prove that the arrest was

           14    not an unlawful arrest, it was a valid arrest, don't you have

           15    to bring in a probation officer to say, you know what, I asked

           16    the sworn officer to make the arrest because I had reason to

           17    believe one of these categories existed and, by the way, I

           18    didn't have a warrant, so I had to have one of these.

           19                  Don't you have to have that?

           20                  MR. GINGRANDE:      I -- your Honor, yes.       Honestly, I

           21    thought I could -- I might be able to establish that by the --

           22    by the exhibits and -- but you're right.

           23                  THE COURT:     You can't establish it by the sworn

           24    officers who made the arrest saying, yeah, I thought everything

           25    was good.


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            1                  MR. GINGRANDE:      Well, to the extent that they

            2    believed they at least had the authority.

            3                  And, again, you know, this -- ultimately what we're

            4    deciding is a question of Fourth Amendment reasonableness,

            5    right?

            6                  THE COURT:     I'm not sure of that.

            7                  MR. GINGRANDE:      Well, when it comes to the -- when

            8    it comes to the search itself, that -- that was --

            9                  THE COURT:     But you're claiming search incident to

           10    an arrest.     Predicate of search incident to an arrest is valid

           11    arrest.    It's step one.

           12                  MR. GINGRANDE:      That's one of the bases, your Honor,

           13    absolutely.

           14                  THE COURT:     That's the basis of search incident to

           15    arrest.    Valid -- one, valid arrest; two, search incident to

           16    that arrest.     Right?

           17                  MR. GINGRANDE:      Yes.    Yes, your Honor.

           18                  THE COURT:     So we're at square one.

           19                  Where is the valid arrest?

           20                  MR. GINGRANDE:      Okay.   No, your Honor, I -- I agree

           21    and I -- I do think at this point, you know, the parties had

           22    discussed that if it became necessary to call PPO -- Parole

           23    Officer Duffy, even though he's unavailable today, that we

           24    would do that.      We weren't necessarily sure of how things were

           25    going to play out --


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            1                  THE COURT:     Since it's 4:15, here's an old-school

            2    solution.     Make a proffer.      What do you have?      What are you

            3    going to be able to produce by way of evidence of a lawful,

            4    valid arrest of Mr. Francis in the bank?

            5                  MR. GINGRANDE:       Well, when it comes to what Parole

            6    Officer Duffy would say, I -- I feel --

            7                  THE COURT:     No.    The way you make a proffer is you

            8    say, I'm going to put on evidence from a witness who's going to

            9    get on that stand, swear under oath that he requested that an

           10    arrest be made of Mr. Francis because he violated the terms of

           11    his parole and probation in that, whatever, he gave a bad

           12    address, and based on my knowledge of him generally and so

           13    forth, I had reason at that time to believe that he was in a --

           14    he was going to abscond or he was a menace to public safety or

           15    he was about to commit another crime, something like that.

           16                  MR. GINGRANDE:       Yeah.

           17                  THE COURT:     Because I didn't have a warrant, so I

           18    had to make a warrantless arrest and this is the requirement

           19    for a warrantless arrest.

           20                  Do you have that evidence?

           21                  MR. GINGRANDE:       I -- I cannot -- I do not feel

           22    comfortable making that proffer, your Honor, because my

           23    understanding of -- it's hard for me to -- to fully articulate

           24    what Parole Officer Duffy's position was.            And --

           25                  THE COURT:     Did anybody interview him?


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            1                  MR. GINGRANDE:      Yes, I -- yeah, I spoke to him.          I

            2    did speak to him.

            3                  THE COURT:     What did he say?

            4                  MR. GINGRANDE:      I spoke to Parole Officer Duffy.

            5                  Well, my best understanding of what Parole Officer

            6    Duffy said, and that's all I can really tell you, is that --

            7    that he did not necessarily think that the parole violation of

            8    not reporting an address was a basis to arrest Francis in this

            9    case; he didn't say to arrest him for that parole violation.

           10    And I think that's consistent with the law, as we've discussed.

           11                  He did say that -- that he did agree that --

           12                  THE COURT:     No, it's not consistent with the law

           13    because if he had a warrant, he could have arrested him for

           14    that.

           15                  MR. GINGRANDE:      Well, that's true, your Honor, if he

           16    had a warrant.      But in this case, there was no warrant.

           17                  THE COURT:     Yeah.

           18                  MR. GINGRANDE:      That's all I'm saying.

           19                  THE COURT:     So you're saying -- so you're telling me

           20    Duffy, the star witness on this arrest, is going to say, I

           21    didn't think what he did would warrant an arrest -- a

           22    warrantless arrest under this provision?

           23                  MR. GINGRANDE:      No -- no, not necessarily.        No, I

           24    wouldn't go that far.        But what I was about to say is that I

           25    do think that Parole Officer Duffy felt -- and just based on


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            1    the circumstances, not reporting the parole violation and

            2    harboring a fugitive from justice -- that he was a threat to

            3    abscond.     And so that is why I'm trying to get at these

            4    questions about absconsion from this witness, to help, you

            5    know, support that position.

            6                  THE COURT:     You want Sergeant Lorenzo to say based

            7    upon my personal analysis of the situation, I would think he

            8    posed a risk of absconding and then that evidence reflects upon

            9    what Duffy might have thought as well that would have been more

           10    credible because Sergeant Lorenzo also agreed, something like

           11    that?

           12                  MR. GINGRANDE:      Well, only to the extent, your

           13    Honor, that there was actually a flight risk here.               There was a

           14    flight risk.

           15                  THE COURT:     Well, sure, but -- there might have well

           16    been.    But prior to his arrest, do you have evidence that a

           17    parole officer or probation officer from the state of New

           18    Hampshire had made that judgment and had requested that a

           19    warrantless arrest be conducted by a sworn police officer?                Or

           20    are you saying after the fact, when we've kind of cobbled

           21    together this arrest, hey, of course any reasonable person

           22    would have thought he would have been an absconding risk

           23    because, after all, he had drugs in the car.

           24                  MR. GINGRANDE:      And --

           25                  THE COURT:     Are we in the former or the latter?


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            1                  MR. GINGRANDE:      Your Honor, I think that -- again,

            2    I -- to the extent that I can make a proffer, it's the proffer

            3    that I just made as to what I thought Parole Officer Duffy

            4    would make on that point.         I don't know if Parole Officer Duffy

            5    would definitively say, you know, yes, I -- I told them

            6    arrest -- arrest him at that time because he was -- he would

            7    abscond or I believed he would abscond.

            8                  THE COURT:     Yeah.    You know, time's linear, sadly.

            9                  MR. GINGRANDE:      I understand.     I understand, your

           10    Honor.    I'm not trying to rewrite the record.

           11                  THE COURT:     There comes a point when he's arrested,

           12    right?

           13                  MR. GINGRANDE:      Right.

           14                  THE COURT:     And before he was arrested, do you have

           15    evidence that a probation or parole officer requested that a

           16    sworn officer make that arrest?

           17                  MR. GINGRANDE:      Again, I --

           18                  THE COURT:     Before he was arrested.        Time, tick,

           19    tick, tick, tick, tick.        Before he was arrested.

           20                  MR. GINGRANDE:      I understand, your Honor.        I think

           21    what might have happened here -- I think there might have

           22    been -- there were definitely communications between Parole

           23    Officer Duffy and law enforcement about making this arrest.

           24                  THE COURT:     Before the arrest.

           25                  MR. GINGRANDE:      Before the arrest was made, not


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            1    after the fact, before the arrest was made, that as you just

            2    heard Sergeant Lorenzo report, was, okay, this is the go-ahead

            3    to arrest him.

            4                  So what -- what I don't know is how that was

            5    expressed by Parole Officer Duffy and whether he said, look, do

            6    this on the basis to -- of absconsion; do this on, you know,

            7    some other grounds.       I cannot speak to that.        All I can speak

            8    to --

            9                  THE COURT:     Fair enough.     Fair enough.

           10                  MR. GINGRANDE:      All I can speak to, your Honor, is

           11    that --    what my understanding is what he did not say is arrest

           12    him on the basis of not reporting the address as an independent

           13    parole violation because -- and there was no warrant.

           14                  THE COURT:     Okay.    I'm going to let you off the

           15    hook, but just one more time.

           16                  You interviewed him.

           17                  MR. GINGRANDE:      I did interview him.       And what he

           18    said was very clear, your Honor.          And it's part of the reason,

           19    that, you know, we submitted the affidavit from Parole Officer

           20    Benard in this case instead of Parole Officer Duffy, because I

           21    wasn't -- I wasn't quite clear myself on his recollection of

           22    events and whether that was consistent with law enforcement.

           23                  Because what you'll see is law enforcement believed

           24    they had that authority to make that arrest.             It's in Connor

           25    Mefford's report; it's in Detective O'Neill's report; Sergeant


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            1    Lorenzo is saying that.

            2                  And so to the extent that -- and, obviously, look,

            3    there's another argument here to be made which is to the extent

            4    that the parole officer did not, in fact, authorize that -- and

            5    so this was an unlawful arrest at the time it was made -- two

            6    minutes later, he gets -- they search the car, they do a

            7    cursory search of the car, as Special Agent Burke testified.

            8    They find the drugs, and now there's probable cause to make the

            9    arrest of Francis.

           10                  THE COURT:     Right.    That's a different argument.

           11                  MR. GINGRANDE:      So, ultimately, I'm not sure all

           12    this really matters, but --

           13                  THE COURT:     It matters because defense counsel's

           14    raising it and it presents a legal issue that has to be

           15    resolved and this is the way we have to resolve it.

           16                  MR. GINGRANDE:      Understood, your Honor.        And that's

           17    why, you know, I -- I acknowledge that it may be a bit

           18    frustrating because of -- essentially, I wish I had a

           19    clearer --

           20                  THE COURT:     I assure you, it's not frustrating to

           21    me.   They pay me to sit through these hearings.             I find them

           22    interesting.     I'm just kind of perplexed that you don't --

           23    you're telling me you're presenting this issue, but yet you

           24    don't seem to have the evidence that would -- that would

           25    support it, the argument.


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            1                  MR. GINGRANDE:      Well --

            2                  THE COURT:     I mean, if you interviewed him and you

            3    can't tell me what he said, what -- what kind of witness is he?

            4                  MR. GINGRANDE:      What I -- what I can't tell you is

            5    what he said at that time because I -- and I'm not, frankly,

            6    sure he knows what he said at that time, to be honest.

            7                  THE COURT:     Well, that's not a good start.

            8                  MR. GINGRANDE:      Well, it's not a good start, but

            9    what we do have is law enforcement officers who believe they

           10    got that directive from -- from Parole Officer Duffy.

           11                  THE COURT:     Okay.    Why don't we go -- why don't we

           12    go and give Mr. Guerriero a chance and then see where we are.

           13                  MR. GINGRANDE:      Okay.

           14                  THE COURT:     Let's focus on the arrest and who said

           15    what to who.

           16                  MR. GINGRANDE:      Okay.   Understood.      But so should I

           17    just -- I was going to ask just a --

           18                  THE COURT:     I'm not interested in the feng shui of

           19    absconding and the feng shui --

           20                  MR. GINGRANDE:      Okay.

           21                  THE COURT:     -- of he poses a risk to society.

           22    That's not -- that's not the question.            The question is who

           23    said what to who.       Did a parole officer request this arrest?

           24    On what basis?      Who did he ask, you know.

           25                  MR. GINGRANDE:      Yup.


                                    JOINT APPENDIX 276
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            1                  THE COURT:     If the -- if the Manchester Police

            2    officers were under the impression that they were authorized to

            3    make an arrest for a parole violation, great; why, and then

            4    move on.

            5                  MR. GINGRANDE:      Okay.   Okay.    Your Honor.

            6                  THE COURT:     Thanks.

            7                  MR. GINGRANDE:      Yup.    Thank you.

            8                  So, yeah, with that, no further questions.

            9                  THE COURT:     You were under the impression that the

           10    Manchester Police Department had the authority to make an

           11    arrest of Mr. Francis for a state parole violation?

           12                  THE WITNESS:     Yes, sir.

           13                  THE COURT:     Do you -- why did you have that

           14    impression?     Where does it come from?

           15                  THE WITNESS:     I don't know exactly.        I believe it

           16    went over the radio and I just know that the communications

           17    that were being made over the radio.           It was a plan to execute

           18    the search warrant safely, but also get him into custody safely

           19    because we were going to be arresting him.             I -- I can't speak

           20    to, you know, where all that came from, but I knew our plan.

           21                  And going into the day we didn't have an arrest

           22    warrant, but it -- our plan now was to arrest him and search

           23    the vehicle.     So I know the plan had changed.

           24                  THE COURT:     So you knew you weren't going to arrest

           25    him based on what you were about to find even though you were


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            1    sure you were about to find it.          Your plan was to arrest him on

            2    the parole violation.

            3                  THE WITNESS:     Correct.     Yes, sir.

            4                  THE COURT:     Okay.    And that was radio chatter?

            5                  THE WITNESS:     Radio chatter, yes, sir.

            6                  THE COURT:     Okay.

            7                  THE WITNESS:     And it was all about --

            8                  THE COURT:     So in your mind, the plan was we are

            9    going to search the car, but first we're going to is arrest him

           10    on that other basis?

           11                  THE WITNESS:     Yes.

           12                  THE COURT:     Okay.    Got it.

           13                  MR. GINGRANDE:      Your Honor, I apologize.        Can I ask

           14    just one more question?

           15                  THE COURT:     Sure.

           16                  MR. GINGRANDE:      Thank you.

           17           Q.     So one of the things that is being challenged here

           18    is seizure of a phone based on the arrest.

           19                  Can you please explain to the Court whether

           20    Mr. Francis had a -- was in possession of a phone at the time

           21    that he was arrested.

           22           A.     It was on the bank counter.         So it was his wallet

           23    and phone were on the bank counter.

           24                  At the time of his arrest, I don't know exactly

           25    where he was in the bank when -- when they -- when the SWAT


                                    JOINT APPENDIX 278
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            1    team went in, if he was away or he had just set it down.                I

            2    know when I got -- Mr. Francis was outside in custody, in

            3    cuffs, and I -- I retrieved the wallet and the cell phone from

            4    the bank counter.       The moment that he made police contact, I

            5    don't know exactly the dynamic there.

            6           Q.     Okay.    But what -- what led you to believe that that

            7    was his wallet and phone that were on the bank counter?

            8           A.     The security guard.         So I was going inside the bank

            9    and the security guard saying, hey, that guy you just arrested,

           10    he has his phone and wallet on the counter in here.

           11                  MR. GINGRANDE:      Okay.    Thank you.

           12                  THE COURT:     Sorry, Mr. Guerriero.

           13                                 CROSS-EXAMINATION

           14    BY MR. GUERRIERO:

           15           Q.     Just a few questions to make sure that I have sort

           16    of the order necessary for things for my motion.

           17                  You were at TD Bank on September 1st, 2021, with the

           18    Manchester Police, right?

           19           A.     Yes, sir.

           20           Q.     And the SWAT team, a group of guys in all kinds of

           21    gear, they're the ones that actually effectuated the arrest of

           22    Mr. Francis?

           23           A.     Yes, sir.

           24           Q.     That was inside the bank?

           25           A.     Yes, sir.


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            1           Q.     You went inside the bank immediately after them,

            2    right?

            3           A.     It was within minutes, yes, sir.

            4           Q.     Within minutes?

            5           A.     Yeah.

            6           Q.     Okay.    And you saw that Mr. Francis was arrested

            7    that day inside TD Bank?

            8           A.     By the time I got there, I believe he was outside.

            9           Q.     Okay.

           10           A.     I was in a little bit of traffic.          So --

           11           Q.     Was he in cuffs?

           12           A.     Yes, sir.

           13           Q.     Was he in police custody?

           14           A.     Yes, sir.

           15           Q.     He was not free to leave?

           16           A.     No, sir.

           17           Q.     Okay.    And then some other officer told you that his

           18    wallet and his cell phone were on the counter in the bank?

           19           A.     It was a bank security guard.

           20           Q.     Who was it?

           21           A.     A bank security guard.

           22           Q.     Bank security guard.       Okay.    I remember seeing him

           23    on the video.      Yup.

           24                  And so -- and he told -- the bank security guard

           25    told you that the phone and the wallet on the counter were the


                                    JOINT APPENDIX 280
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            1    phone and the wallet of the person who was arrested?

            2            A.    Yes, sir.

            3            Q.    And you seized the phone and the wallet at that

            4    time?

            5            A.    Yes, sir.

            6            Q.    Okay.    And you put it into custody, into evidence,

            7    with Manchester PD?

            8            A.    Yes, sir.

            9            Q.    And then I believe you were involved in the search

           10    of the car after you retrieved the wallet and the phone from

           11    the counter?

           12            A.    Correct, yes.      So I was involved -- I was made aware

           13    of the cursory search of the vehicle on scene and then the

           14    official search I was a part of back at the station.

           15            Q.    Okay.    All right.     So that was later when the car

           16    was removed to the station?

           17            A.    Yes, sir.

           18            Q.    And also later at the station, you had Mr. Francis

           19    in an interview room?

           20            A.    Yes, sir.

           21            Q.    And, to your knowledge, he had remained in custody

           22    since his arrest inside TD Bank?

           23            A.    Yes, sir.

           24            Q.    Is it fair to say that the statements he made at

           25    that same day, September 1st, in the Manchester Police


                                    JOINT APPENDIX 281
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            1    Department interview room directly followed on his arrest

            2    inside TD Bank?

            3           A.     It was.    I advised him that he was under custodial

            4    arrest and custodial interrogation.

            5                  MR. GUERRIERO:      Thank you.     That's all I have.

            6                  THE COURT:     All right.     Any redirect based on that?

            7                  MR. GINGRANDE:      No, your Honor.

            8                  THE COURT:     Thank you, Sergeant Lorenzo.         Appreciate

            9    it.

           10                  THE WITNESS:     Thank you, sir.

           11                  THE COURT:     You're excused as a witness.         Thank you.

           12                                 (Witness excused.)

           13                  THE COURT:     Do you have any other witnesses?

           14                  MR. GINGRANDE:      Your Honor, the government has no

           15    further witnesses at the time, but we would --

           16                  THE COURT:     Right, right, Mr. Duffy.        Sure.

           17                  And, Mr. Guerriero, do you -- do you have witnesses

           18    you want to --

           19                  MR. GUERRIERO:      We do have Detective O'Neill here,

           20    but I think that he would pretty much be repetitive of what

           21    Detective Lorenzo said, so --

           22                  THE COURT:     Okay.

           23                  MR. GUERRIERO:      I mean, it's -- I don't think I'll

           24    call him back.

           25                  But I would alert the Court that I haven't made a


                                    JOINT APPENDIX 282
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            1    final mental decision on this because I'm sort of thinking out

            2    loud, but I believe that there may be recordings and video, at

            3    least portions of those, that could be relevant to some of the

            4    questions the Court has asked today, so I may like to submit

            5    those whenever -- before we come back.            And those are not in

            6    the record yet.

            7                  I mean, for example, there's a recording of the

            8    interrogation of Mr. Francis where -- I don't think I've

            9    submitted this -- where the two detectives state the reason for

           10    the arrest.     So that's evidence of what they believed at the

           11    time.

           12                  And there's also a statement on video from Special

           13    Agent Burke at the moment of arrest.           So those could be

           14    relevant as well.

           15                  THE COURT:     They could be relevant in establishing

           16    that some authorized probation officer requested the arrest on

           17    that basis.

           18                  MR. GUERRIERO:      Well, I mean, I will tell you, I'll

           19    make a proffer to you, my recollection of what -- and it didn't

           20    stick out to me too much today -- although we've talked about

           21    it, until today it didn't really stick out to me.

           22                  But my recollection is that Special Agent Burke says

           23    on the video inside the bank, someone asks him what's the basis

           24    for the arrest.      And he says, warrant, other agency.

           25                  I think that's -- and what that means, I don't know,


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            1    but apparently he was representing that there was a warrant

            2    which, by all accounts, there was not.            So that may have

            3    contributed to the confusion, I think.

            4                  THE COURT:     Well, I'm warming to the notion that

            5    this A:4 is really a provision that describes when a

            6    warrantless arrest can be made.          And unless there's evidence

            7    that a probation officer made the judgment or had reason to

            8    believe that he fell into one of these categories and had

            9    violated, I suppose -- well, I suppose that the violation is

           10    the predicate and then these conditions are the triggers that

           11    authorize the -- the arrest if requested.            That's the way it

           12    seems to read.

           13                  But, again, you know, as Mr. Gingrande points out,

           14    okay, if it wasn't an authorized arrest under state law, do we

           15    still analyze it as a Fourth Amendment arrest or do you say

           16    it's not an arrest at all?

           17                  MR. GUERRIERO:      I think we -- I agree that we do

           18    have to analyze it under the Fourth Amendment, that the federal

           19    exclusionary rule would not apply to a mere state statutory

           20    violation.

           21                  However, I don't think that there was probable cause

           22    to believe that Mr. Francis had committed any crime that day

           23    and we know that because all of the reports from all of the

           24    agents, they don't say, we're arresting him for some other

           25    crime.


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            1                  THE COURT:     No, no, I understand your -- that --

            2    that's the -- that's the normal Fourth Amendment point, which

            3    is there was no arrest for a crime.

            4                  MR. GUERRIERO:      Right.

            5                  THE COURT:     End of story.     No Fourth Amendment

            6    arrest -- I mean arrest, but no -- not within the Fourth

            7    Amendment, not a reasonable arrest.

            8                  MR. GUERRIERO:      So unless they had some other

            9    authority --

           10                  THE COURT:     I think if there's a state -- an

           11    authorized state arrest, then this is -- obviously it is a

           12    reasonable arrest --

           13                  MR. GUERRIERO:      If the statute --

           14                  THE COURT:     -- in accordance with the Fourth

           15    Amendment.

           16                  MR. GUERRIERO:      Right.

           17                  THE COURT:     But then we're going to move on,

           18    obviously, to --

           19                  MR. GUERRIERO:      Okay.

           20                  THE COURT:     -- everything else, inevitable discovery

           21    and so on and so forth.

           22                  Okay.    When do you want to -- well, why don't you

           23    figure out when it's convenient for you to get Mr. Duffy --

           24                  MR. GUERRIERO:      I know he's not available this week.

           25    I actually emailed with Mr. Duffy as well.             So we'll have to


                                    JOINT APPENDIX 285
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            1    touch base with him and notify the case manager.

            2                  THE COURT:     Yes, that -- yes, convenient to you

            3    and --

            4                  MR. GUERRIERO:      Oh, and our schedules.

            5                  THE COURT:     -- and Lianne will make it convenient to

            6    me as well.

            7                  MR. GUERRIERO:      All right.

            8                  THE COURT:     All right.     Thank you.     Appreciate it.

            9                  THE CLERK:     All rise.

           10                  (Proceedings adjourned at 4:30 p.m.)

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                                     C E R T I F I C A T E



                               I, Liza W. Dubois, do hereby certify that

                 the foregoing transcript is a true and accurate transcription

                 of the within proceedings, to the best of my knowledge, skill,

                 ability and belief.



                 Submitted: 11/2/23                 /s/ Liza W. Dubois
                                                    LIZA W. DUBOIS, RMR, CRR




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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW HAMPSHIRE

       UNITED STATES OF AMERICA

                       v.                                                  No. 1:21-cr-00153-01-SM

       MICHAEL FRANCIS

                           SUPPLEMENT BASED ON NEW DISCOVERY
                       TO MOTION TO SUPPRESS EVIDENCE SEIZED WHEN
                   EXECUTING SEARCH WARRANT FOR A WHITE HONDA ACCORD

                       The defense supplements its motion to suppress with new evidence that, in

       addition to the informant’s Falsifying Physical Evidence conviction, Agent Burke omitted from

       his search warrant affidavit the newly revealed fact that, in the previous month, two Manchester

       Police officers had described the informant as “deceptive,” “not telling me the truth,” and

       “attempting to provide deceitful answers.”


       Agent Burke Has Already Acknowledged that He Omitted from his Affidavit the Informant’s
       Conviction for a Crime of Dishonesty.

                The defense moved to suppress evidence seized from Mr. Francis’s car because the

       affidavit in support of the search warrant did not state probable cause and because Agent Burke

       recklessly or intentionally omitted information which would have resulted in the magistrate

       finding no probable cause. Doc. 35. As set forth in the original motion, the omitted information

       was that the informant, on whose credibility the affidavit depended, was convicted of a felony

       crime of dishonesty, Falsifying Physical Evidence. Id. at 4. That conviction involved the

       informant attempting to conceal his guilt in a drug case.

                The hearing on the motion to suppress started on June 14, 2023, and continues tomorrow.

       In his June testimony, Agent Burke acknowledged that he was aware the informant had been



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       convicted of a felony crime of dishonesty. He said that he did not include that information in his

       affidavit because he decided it did not affect the informant’s credibility.

                The Government notified defense counsel by email on June 27, 2023, that new discovery

       was forthcoming. The Government then sought a protective order regarding the new discovery.

       The defense received a link from the Government on June 30, 2023, to download the new

       discovery. The defense could not download the discovery at the initial link provided but

       eventually was able to gain access to the discovery on July 3, 2023. The new discovery consisted

       of over 400 pages and 9 videos. The defense now supplements the motion to suppress with new

       information from that discovery.


       Agent Burke Left Out Other Evidence of the Informant’s Dishonesty.

                The new discovery contains previously undisclosed evidence regarding the informant’s

       dishonesty. The affidavit offered by Burke detailed the motor vehicle stops of the informant

       which led to his arrest and interrogation by the police, and then his accusations against Francis.

       However, it now turns out that two of the officers who conducted the motor vehicle stops of the

       informant were careful to note in their reports that the informant was being dishonest with law

       enforcement during those encounters. They said the informant was “deceptive,” “not telling me

       the truth,” and “attempting to provide deceitful answers.”

                Manchester Police Officer Brendan Newell stopped a car being driven by the informant

       on July 30, 2021. Officer Newell questioned the informant about where he had been and where

       he was going. After getting inconsistent answers, Officer Newell wrote in his report, “I believed

       [the informant] was being deceptive and not telling me the truth about who he was meeting.”

       Later in the encounter, Officer Newell asked the informant, “what was in the driver’s side door?”

       The informant answered, “sunglasses.” The informant was lying. As detailed in the new

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       discovery, the police found a bag of crystal meth and a “loaded needle” in the driver’s side door

       storage compartment.

                Manchester Police Officer Austin Biery described a similar experience with the

       informant. Officer Biery said, “I also found this physical reaction and behavior to be suspicious

       and indicative of our suspicion of drug activity as [the informant] was clearly nervous, was

       providing erroneous statements, and was tripping over his own statements attempting to provide

       deceitful answers.”

                Since the Government sought a protective order regarding the new discovery, the reports

       of Officer Newell and Officer Biery are being filed under seal contemporaneous with this

       supplement.

                The July 30, 2021, stop described by Officers Newell and Biery is selectively detailed in

       paragraph 8 of Agent Burke’s affidavit for the search warrant. Agent Burke provided a variety of

       other details about the motor vehicle stop – the date, the kind of car the informant was driving,

       the police department involved, the specific drugs seized, and the specific weights of each kind

       of drug. Yet, Agent Burke left out of his affidavit the fact that two Manchester Police officers

       described the informant’s dishonesty in that drug investigation. Reviewing the officers’ reports,

       it is not reasonable to think that Agent Burke had all of the other details but did not know that the

       officers described the informant as “deceptive,” “not telling me the truth,” and “attempting to

       provide deceitful answers.” The only reasonable conclusion is that Burke recklessly or

       intentionally omitted from his affidavit important information regarding the informant’s

       credibility.

                As already established, the informant had a relatively recent prior felony conviction for

       falsifying physical evidence. Agent Burke knew about that but left that out of the affidavit. Now,


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       the Government has revealed that during the July 30, 2021, motor vehicle stop of the informant

       detailed by Burke in his affidavit, two Manchester police officers described the informant as

       dishonest. Significantly, the July 30th conclusions of the two officers that the informant was

       dishonest came just a few weeks before Burke submitted his affidavit to Magistrate Lynch on

       August 25, 2021. In short, Agent Burke had information about his informant’s recent and

       repeated dishonesty in drug investigations, yet he left that information out of his affidavit.


       If Agent Burke Had Told the Entire Story, Magistrate Lynch Would Not Have Found Probable
       Cause for the Search of Francis’s Car.

                The Government has argued in its objection, Doc. 46, and Agent Burke claimed in the

       first hearing, that the informant was credible because he was “a known individual in law

       enforcement custody who was named in the unredacted affidavit submitted to the magistrate.”

       Doc. 46, p. 8; See generally, United States v. Tanguay, 787 F. 3d 44, 50 (1st Cir. 2015).

       However, when the identity of the informant is considered in the light of Agent Burke’s

       omissions regarding the informant’s dishonesty, this factor cuts the other way. Yes, law

       enforcement knew the informant well, but stopping there leaves out the important part of the

       story. The fact is that they knew him well and knew he was not to be trusted. The problem is that

       law enforcement did not reveal that to the magistrate. In these circumstances, the Government

       cannot claim “he was known to us” as the basis for the informant’s credibility when what was

       known, but not revealed to the magistrate, was that the informant recently and repeatedly lied to

       law enforcement during drug investigations.

                The omissions by Burke relate to other factors the First Circuit says to consider in

       assessing an informant’s credibility. See United States v. Maglio, 21 F.4th 179, 185 (1st Cir.

       2021); United States v. Gifford, 727 F.3d 92, 99-102 (1st Cir. 2013); United States v. Tiem Trinh,

       665 F.3d 1, 10 (1st Cir. 2011) (all discussed at length in the original motion suppress).
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                The First Circuit says to look at the “probable veracity” of the informant. Gifford, 727

       F.3d at 99. The Government would argue that the probable veracity of this informant is high

       because his identity was known and he claimed to know details of incriminating conduct

       involving Mr. Francis. However, when those claims are reassessed in light of the informant’s

       repeated and recent dishonesty, a finding of probable veracity cannot be justified. As Burke

       admitted in his testimony, no incriminating facts had been corroborated. The informant did not

       predict any future criminal behavior. He did not provide any text messages or call logs which

       might incriminate Francis. The only information which was actually corroborated were innocent

       facts, such as the description of the car Francis drove. Moreover, the fact the informant offered

       some details in his claims of criminal conduct by Francis is hardly persuasive. After all, the

       informant had offered details when he lied to Officer Newell less than one month before Burke

       submitted the affidavit. Lastly, the informant had no “track record.” He had never provided law

       enforcement with reliable information in the past which turned out to be true. Rather, the

       circumstances are exactly the opposite. He provided information to law enforcement in the past

       which turned out to be false. Surely, if the magistrate had known of the informant’s past lies, he

       would have doubted the “probable veracity” of the informant, especially in the absence of

       corroboration.

                Similarly, Agent Burke cannot legitimately claim that when submitting the affidavit, he

       “assessed, from his professional standpoint, experience, and expertise, the probable significance

       of the informant’s provided information.” Gifford, 727 F.3d at 99; Tiem Trinh, 665 F.3d at 10.

       Burke left out of his affidavit the fact that, within previous month, two Manchester Police

       officers had described the informant as “deceitful,” “deceptive,” and “not telling the truth.”




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       Skipping over those facts, in addition to the Falsifying Physical Evidence conviction, is not how

       a professional, experienced, and expert law enforcement officer assesses credibility.

                Lastly, with respect to “first-hand knowledge” and “corroboration,” Gifford, 727 F.3d at

       99; iem Trinh, 665 F.3d at 10, the Court should recognize that when the informant’s credibility

       is in doubt, claimed first-hand knowledge does not mean much if none of it is verified. To be

       sure, the informant made claims of receiving specific drugs in specific amounts for specific

       prices from Francis. No doubt, the informant was receiving such drugs in such a manner from

       someone, but the affidavit contains no evidence any such claims of criminal conduct were ever

       verified. There is no evidence at all corroborating that the informant had even met Francis. There

       is no corroborating evidence in the affidavit that they had ever talked or sent messages over the

       phone. The informant did not offer any specific dates. If he had, perhaps surveillance video from

       the claimed location would be available to support or refute his claims. The bottom line is that it

       is just common sense that corroboration is essential when the claimed first-hand knowledge

       comes from an informant known to be dishonest.


       Conclusion

                When both the omission regarding the informant’s conviction for Falsifying Physical

       Evidence and the omission of the informant’s deceptive and deceitful statements to Manchester

       Police officers are “read into” the affidavit, it clearly fails to provide probable cause for the

       search of Francis’s car. The affidavit already relied on general claims by the informant that

       Francis provided drugs on unspecified dates, with no other witnesses, no physical evidence, and

       with no corroboration of any incriminating details. When the documented dishonesty of the

       informant is added to the mix, it is clear that a reasonable magistrate would not have found the

       affidavit to provide probable cause for the search.

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       .

       Date: July 11, 2023                                          Respectfully submitted
                                                                    by counsel for Michael Francis,

                                                                    /s/ Richard Guerriero
                                                                    Richard Guerriero, Esq.
                                                                    N.H. Bar No. 10530
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                                                                    39 Central Square, Suite 202
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                                                                    richard@nhdefender.com

                                         CERTIFICATE OF SERVICE

               I hereby certify that this document, filed through the ECF system, will be sent
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       paper copies will be sent to the nonregistered participants on the date the document was signed
       by me.
               _                                                      /s/ Richard Guerriero
                                                                      Richard Guerriero




                                         JOINT APPENDIX 294
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                   **NO COPY OF THIS TRANSCRIPT MAY BE MADE PRIOR TO 1/31/24
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         1                          UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEW HAMPSHIRE
         2

         3      * * * * * * * * * * * * * * * * * *
                                                  *
         4      UNITED STATES OF AMERICA          *
                                                  *
         5                                        * No. 1:21-cr-00153-SM
                            v.                    * July 12, 2023
         6                                        * 1:38 p.m.
                                                  *
         7      MICHAEL FRANCIS,                  *
                                                  *
         8                         Defendant.     *
                                                  *
         9      * * * * * * * * * * * * * * * * * *

        10
                           TRANSCRIPT OF DAY TWO OF EVIDENTIARY HEARING
        11
                             BEFORE THE HONORABLE STEVEN J. MCAULIFFE
        12

        13
                APPEARANCES:
        14

        15      For the Government:          Charles L. Rombeau, AUSA
                                             Aaron G. Gingrande, AUSA
        16                                   United States Attorney's Office

        17
                For the Defendant:           Richard Guerriero, Esq.
        18                                   Lothstein Guerriero, PLLC

        19

        20
                Court Reporter:              Brenda K. Hancock, RMR, CRR
        21                                   Official Court Reporter
                                             United States District Court
        22                                   55 Pleasant Street
                                             Concord, NH 03301
        23                                   (603) 225-1454

        24

        25
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         1                                    I   N   D   E   X

         2      WITNESS:               DIRECT         CROSS       REDIRECT       RECROSS

         3      RYAN BURKE

         4      By Mr. Rombeau                                      37
                By Mr. Guerriero                                                  28/41
         5

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         1                           P   R   O   C   E   E   D   I   N   G   S

         2                 THE CLERK:    All rise for the Honorable Court.             Please

         3      be seated.    The Court is in session and has for consideration

         4      an evidentiary hearing, day two, in the matter of The United

         5      States versus Michael Francis, criminal case 21-cr-153-01-SM.

         6                 THE COURT:    Mr. Guerriero, you were going to call

         7      another witness, I think.         Was that right?        You were going to

         8      call the probation officer?

         9                 MR. GINGRANDE:        Your Honor, so if I could just follow

        10      up on the conversation that we had at the beginning of the last

        11      day of hearing, you had asked for a proffer as to what the

        12      probation officer would say, and you may remember that I

        13      couldn't really directly address your question.

        14                 THE COURT:    All right.      I'm probably off base.         I

        15      thought you needed the time to call him.

        16                 MR. GINGRANDE:        Well, right.    I'm sorry.       We didn't

        17      have him ready to -- readily available that day.                 After the

        18      last hearing we've since had a more robust opportunity to sit

        19      down with Parole Officer Duffy and speak with him about the

        20      events of September 1st, and we can now say that Parole Officer

        21      Duffy's testimony would be that he did not authorize the arrest

        22      of the defendant.

        23                 THE COURT:    He didn't ask for it.

        24                 MR. GINGRANDE:        I'm sorry?

        25                 THE COURT:    He didn't request it.
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         1                 MR. GINGRANDE:     He didn't request it.       That's right.

         2      He would say that he spoke with law enforcement about Francis

         3      and what was happening on September 1st, which was the day of

         4      the arrest, but he would not say that he authorized Francis's

         5      arrest.    He just generally spoke about conditions on which he

         6      could be violated on parole but did not specifically request

         7      the arrest.     And we aren't going to make the argument that

         8      Duffy authorized the arrest in any way.           We're not going to

         9      call other officers to say, No, he did say that --

        10                 THE COURT:    More to the point, you concede the arrest

        11      was unlawful, then?

        12                 MR. GINGRANDE:     That's right.     To the point we do

        13      concede that the arrest was unlawful under 504-A:4, yes, your

        14      Honor.    So, I don't know if --

        15                 THE COURT:    Words matter.      That implies that it might

        16      be lawful under some other theory.

        17                 MR. GINGRANDE:     Well, we would argue that his

        18      detention was lawful and then, as I think you're aware, five

        19      minutes later they discovered the drugs in the car, and so our

        20      argument is that at that point after the initial unlawful

        21      arrest five minutes later the drugs are found, they have

        22      probable cause for the arrest.         The intervening time we would

        23      say he could be lawfully detained during that time but not

        24      lawfully arrested.      So, that's why I phrased it that way, your

        25      Honor.
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         1                  THE COURT:   We all agree there's no claim that the

         2      search of the car was in any way based upon a lawful arrest?

         3                  MR. GINGRANDE:    The search of the car -- the search of

         4      the car was based on --

         5                  THE COURT:   A warrant.

         6                  MR. GINGRANDE:    You're right.     You're right, your

         7      Honor.    Yes.

         8                  THE COURT:   So, Mr. Guerriero, I'll give you a chance.

         9      The impact of this is what?

        10                  MR. GUERRIERO:    Well, I think a factual point that the

        11      government did not recite, and I don't think it was

        12      intentional, but during those five minutes is when

        13      Mr. Francis's phone was taken from him.           They arrested him and

        14      left his phone on the counter.         So, even before they discovered

        15      what was in the car they had acquired custody of the phone.

        16      So, I understand they may have an inevitable discovery

        17      argument.    I think that's speculation.        But that's an important

        18      point, that he was arrested and his phone was left there on the

        19      counter and the police essentially had custody of it at that

        20      point.

        21                  THE COURT:   But he was arrested shortly thereafter

        22      based on what they found in the car, right?

        23                  MR. GUERRIERO:    No.   He was arrested inside the bank,

        24      and he was not --

        25                  THE COURT:   Yeah.    There's no rearrest.       They just
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         1      continued to march, right?

         2                 MR. GUERRIERO:     That's right.     You're correct in the

         3      sense that he was held on what they thought was a state arrest

         4      at Valley Street.      Some days later, I think a week later, there

         5      was a warrant from this court based on a complaint filed here;

         6      I think the initial charge was a firearm charge.             Then he was

         7      arrested technically at Valley Street and brought into federal

         8      custody at that point, but that was a week later.

         9                 That's actually the subject of one of the motions to

        10      suppress that the government is not contesting.

        11                 THE COURT:    So, if the government concedes the arrest

        12      was not lawful, the impact, from your point of view, is the

        13      seizure of the phone.       That's all we're talking about?

        14                 MR. GUERRIERO:     That's right.

        15                 THE COURT:    The seizure of the phone was unlawful, the

        16      phone should have been returned, subsequent warrant was issued,

        17      searched the phone.

        18                 MR. GUERRIERO:     Right.

        19                 THE COURT:    And what's your view; they can't search

        20      the phone pursuant to the subsequent warrant because they

        21      shouldn't have still had it, or what?

        22                 MR. GUERRIERO:     They had it -- the phone itself is the

        23      fruit of an unlawful arrest, and therefore they would not have

        24      had it in their possession.

        25                 THE COURT:    But for the intervening warrant.
                                   JOINT APPENDIX 300
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         1                  MR. GUERRIERO:    But for the -- well, they did not have

         2      a warrant for the phone at that time.

         3                  THE COURT:   No, no, no.     I mean but for the

         4      intervening warrant the phone would have been returned, but if

         5      they didn't have it --

         6                  MR. GUERRIERO:    Well, if they hadn't arrested

         7      Mr. Francis, he would have walked out of the bank with his

         8      phone, and the government wouldn't have it.

         9                  THE COURT:   Right.    And you're suggesting -- I don't

        10      know what you're suggesting -- that in the interim he would

        11      have the phone, life goes on.        Then the warrant is issued.         Now

        12      the phone is subject to search.         And what's your view, that the

        13      search would have been unproductive because he would have wiped

        14      the phone, or they can't get a warrant because they unlawfully

        15      had seized it in the first place or what?           The arrow of time,

        16      should have given back, didn't, but got a warrant, then

        17      searched.

        18                  MR. GUERRIERO:    The phone itself is a direct product

        19      of the unlawful arrest.

        20                  THE COURT:   Forever and ever and ever you can never

        21      get a warrant?

        22                  MR. GUERRIERO:    Well, I mean, if they had returned it

        23      to him and then they got a warrant later, then that might be

        24      different, but that's not what happened.

        25                  THE COURT:   That's what I'm focusing on.         What would
                                   JOINT APPENDIX 301
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         1      be the difference?       The only thing I can think of is you're

         2      implying, well, he would have wiped it, and therefore there

         3      wouldn't have been any evidence when they executed the warrant.

         4      But absent that, I don't see the harmful effect.             They didn't

         5      give me my phone on Thursday.        They should have.       I didn't get

         6      it till -- I never got it.        They should have given it.        But in

         7      the meantime they got a warrant to search it and they searched

         8      it pursuant to a warrant.        I've been harmed.

         9                  How have you been harmed other than you didn't have

        10      your phone for a few days?        Well, I would have wiped it,

        11      because I knew what was on it, and there wouldn't be evidence

        12      against me.     That's more compelling, but is that a valid

        13      argument?

        14                  MR. GUERRIERO:    That's another argument, your Honor,

        15      that he would --

        16                  THE COURT:    So, your argument is just, because they

        17      didn't give it back to him, they couldn't search it once they

        18      got a warrant?

        19                  MR. GUERRIERO:    Well, I mean, for example, he could

        20      have taken further security measures and made it more secure so

        21      that they couldn't break into it, and then we could have

        22      litigated whether they got a chance to break into it in court,

        23      you know, even if they had a search warrant, and he could have

        24      made changes without destroying evidence that prevented access

        25      to the phone.     I mean, I suppose, if he wanted to, he could
                                   JOINT APPENDIX 302
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         1      have gone and hired a lawyer and said, Here's my phone, I'm

         2      worried about it, you can't -- I know you can't destroy it, I

         3      know you can't keep it from the government, but I want to

         4      litigate in court whether the government has access to it

         5      before they're allowed to search it, and the lawyer could have

         6      said, I had his phone, but we don't agree you can search it,

         7      let's litigate it.

         8                 THE COURT:    It seems a bit circular, because the

         9      argument would be, yes, there is a warrant, but you can't

        10      search it pursuant to a warrant because...because why?              Because

        11      you once illegally possessed it.

        12                 MR. GUERRIERO:     I mean, I would have intervened and

        13      asked the Court to have a hearing on whether or not it was a

        14      valid search, whether there was a basis to search his phone and

        15      how far to go on the phone.

        16                 THE COURT:    And the answer would be, well, I don't

        17      know.   Why is the warrant bad?        Is a warrant presumably valid?

        18      What would your argument be?        You can't have a warrant to

        19      search his device that they unlawfully possessed.             That doesn't

        20      sound persuasive.      What other argument is there?

        21                 MR. GUERRIERO:     The drugs that were found in the car,

        22      and this is really more of a trial argument, but the drugs that

        23      were found in the car, there's really not any established

        24      connection between those drugs and any arguably incriminating

        25      stuff on the phone.      Everything on the phone is from a month or
                                   JOINT APPENDIX 303
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         1      longer beforehand, arguably looking at some of the messages on

         2      the phone.     Perhaps Mr. Francis bought drugs for personal use.

         3      But there's nothing on the phone connected to Mr. Flores and

         4      that kilo of cocaine that was in Mr. Francis's car that day.

         5      There's nothing on the phone that connects --

         6                  THE COURT:     Obviously, some magistrate or some judge

         7      thought otherwise when they issued the warrant.

         8                  MR. GUERRIERO:       Well, once they were arrested together

         9      with the kilo in the car, then obviously there's a presence

        10      there, but they wouldn't have had that that day.

        11                  THE COURT:     Wouldn't have had what?

        12                  MR. GUERRIERO:       They wouldn't have had any information

        13      about that.      I mean, before September 1st they had no

        14      connection between the cocaine and Mr. Francis and Mr. Flores.

        15                  THE COURT:     No, but, once they discover it, First

        16      Circuit precedent I think is phones are generally connected

        17      with drug dealing.       So, they find the drugs.         They already have

        18      the phone.     Let's concede they shouldn't have had the phone,

        19      but they get a warrant to search the phone, right?

        20                  MR. GUERRIERO:       Okay.   I think I understand your

        21      Honor's point.      And my point would be that, you don't just --

        22      at least my contention in a lot of motions is that you can't

        23      just search the whole phone and hope you find something that's

        24      incriminating.

        25                  THE COURT:     No.   You get a warrant, and the warrant
                                    JOINT APPENDIX 304
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         1      tells you what you can search for and what you can search.

         2                  MR. GUERRIERO:      The time frame would have been limited

         3      to I assume -- you know, I would expect the probable cause

         4      would be the days surrounding September 1st.

         5                  THE COURT:     I haven't looked at the warrant to search

         6      the phone.     I just assume the warrant describes what you can

         7      search for and where you can search in the phone, doesn't it?

         8      They got a warrant to search the phone, right?

         9                  MR. GUERRIERO:      Yeah.    I believe the warrant for the

        10      phone, I'm going from memory here, but my recollection is it

        11      goes from May to September.

        12                  THE COURT:     All right.     So, presumably a search from

        13      May to September.

        14                  MR. GUERRIERO:      Right.

        15                  THE COURT:     And your argument would have to be, I

        16      think, you can't get a warrant to search a phone that you

        17      possess unlawfully.        Is there any law to that effect?

        18                  MR. GUERRIERO:      Well, I think the government has to

        19      establish some break between the illegal conduct and the search

        20      warrant.     They can't just say, well, we've seized this phone

        21      and -- suppose they had no probable cause whatsoever, and they

        22      seized the phone, and then while it's in their custody a week

        23      later they develop probable cause to search it.

        24                  THE COURT:     Right.

        25                  MR. GUERRIERO:      It's a product of the illegal seizure.
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         1                  THE COURT:     Well, I guess I'm not following you with

         2      that.    They have it as a result of an illegal seizure, they

         3      should have given it back, but what's the harm to the

         4      defendant?     Well, they have my phone and I can't use it.              Okay.

         5      Have they accessed it?        No.     Have they accessed your personal

         6      information?      No.   They get a warrant.       They persuade a

         7      magistrate, a neutral and detached magistrate, that there's

         8      probable cause to think that there's evidence of criminal

         9      activity on that phone.         The magistrate judge, or whoever

        10      issued the warrant, state -- was it a state warrant?

        11                  MR. GINGRANDE:      No.    Federal warrant, your Honor.

        12                  THE COURT:     So, magistrate judge says, All right.

        13      You've persuaded me there's probable cause to believe there's

        14      incriminating evidence on that phone based upon the affidavit

        15      and so forth.      Here's a warrant.       Search that phone for this

        16      for this period of time.         And you say, Oh, no, no, no, no.          I'm

        17      going to argue about that, and I would have argued better if

        18      you had given it back to me.          I'm not sure what that better

        19      argument would be if it had been given back.

        20                  But right now we didn't give it back, so what's the

        21      argument?     The argument is the warrant is invalid.            That's the

        22      only argument.      And why would it be invalid, in what way?             And

        23      you keep saying, Well, because they shouldn't have had the

        24      phone.    And I'm thinking to myself what difference does it make

        25      whether they had the phone, or the defendant had the phone, or
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         1      the proffered lawyer had the phone, or it was in a lock -- what

         2      difference does it make?

         3                  MR. GUERRIERO:      Well, the difference is that the

         4      exclusionary rule which excludes evidence of police unlawful

         5      conduct doesn't mean much if they can accomplish their goals

         6      the way the Court describes.

         7                  THE COURT:     But, of course, they can't, because they

         8      can't search the phone unless they have a warrant.               They can't

         9      search it incident to an arrest, and they didn't.               If they had

        10      done that, easy, then it's a search incident to an unlawful

        11      arrest, it's all suppressed.          But they didn't search it.         They

        12      just had it.      You're trying to say having it is a necessary

        13      predicate to searching it, and I'm not sure it is, because, as

        14      you say, you made the argument you can't destroy the evidence,

        15      so you can't argue that it would have been wiped.               The lawyer

        16      can't hide the evidence from the government.              So, that's not --

        17      it wouldn't be altered or changed in any way from the lawyer's

        18      possession of the phone.         So, why is the information obtained

        19      pursuant to a warrant the fruit of a poisonous tree action in

        20      some way?

        21                  MR. GUERRIERO:      At the risk of repeating myself, your

        22      Honor, the arrest was unlawful --

        23                  THE COURT:     Go ahead, because I don't understand it

        24      yet, and maybe I will.

        25                  MR. GUERRIERO:      I mean, I guess the word that's used
                                    JOINT APPENDIX 307
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         1      in this case is "attenuation."          If the evidence is sufficiently

         2      attenuated from the original unlawful conduct, then it may be

         3      that they can get it and have access to it and it's

         4      sufficiently removed from unlawful conduct.              But what's the

         5      point of having an exclusionary rule for unlawfully arresting

         6      someone and excluding the fruits of that unlawful arrest if

         7      they can just keep the fruits of that arrest and get a warrant

         8      and search it later?        The exclusionary rule completely fails in

         9      that --

        10                  THE COURT:     I disagree.       But that's where we are.

        11      Tell me why the search warrant somehow is dependent on the

        12      unlawful seizure.

        13                  MR. GUERRIERO:      Could I have a second to pull up the

        14      warrant?

        15                  THE COURT:     Sure.    Yeah.

        16                                         (Pause)

        17                  MR. GUERRIERO:      Can I have one second with my client?

        18                  THE COURT:     Certainly.

        19                                         (Pause)

        20                  MR. GUERRIERO:      Your Honor, after discussing with

        21      Mr. Francis, the affidavit for the phone contains information

        22      that was obtained from the search of the other defendant's

        23      phone, from Flores's phone.          It's a little bit complicated in

        24      that that phone was searched after the arrest as well.

        25                  But I do think that the Court should -- regardless of
                                    JOINT APPENDIX 308
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         1      what the Court does on this, a consequence of what your Honor

         2      is suggesting your finding should be would be that nothing --

         3      no information derived from the phone prior to the execution of

         4      the search warrant should be admissible.             So, if they got other

         5      information from looking at the phone before they executed the

         6      search warrant at a minimum that would not be admissible.

         7                  THE COURT:     Right.    I was just thinking that what's

         8      suppressible based upon an unlawful seizure?              The evidence

         9      seized.     What's the evidence seized?         That device.     So, if they

        10      tried to offer the phone, it's not evidence of anything.                 If

        11      they tried to offer the phone you'd say, No, that's the fruit

        12      of a poisonous tree; that was seized pursuant to an unlawful

        13      arrest, so that's not evidentiary --

        14                  MR. GUERRIERO:      Well --

        15                  THE COURT:     -- but the content of the phone is

        16      something different.        They didn't seize the content of the

        17      phone until they got a warrant and it was authorized, so the

        18      content of the phone is different.

        19                  MR. GUERRIERO:      But the government witness is going to

        20      be Michael Francis was standing here at the counter with this

        21      phone and with this check at the time that the SWAT team came

        22      in and arrested him.

        23                  THE COURT:     Yes, it's his phone, but the contents of

        24      the phone remained unavailable to the government until after

        25      subsequent events justified the application for a warrant,
                                    JOINT APPENDIX 309
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         1      which was issued, and the information was gained pursuant to

         2      execution of that warrant.         So, maybe it's easier to separate

         3      it out to phone and content.          Phone, sure, suppress it.

         4      Content?     That's different.

         5                  MR. GUERRIERO:      I don't disagree with that, but their

         6      ability to authenticate the phone and connect it to Michael

         7      Francis I think depends on information from before the

         8      execution of the search warrant.           Certainly, the testimony of

         9      the clerk -- and they may say, well, the contents reveal that

        10      it's Michael Francis's phone, or, We have messages from another

        11      phone that are to Francis's phone number.             They can try to do

        12      that at trial, if your Honor rules as you suggest you will, but

        13      any information from the seizure of the phone --

        14                  THE COURT:     Don't be misled by what I'm implying,

        15      because I'm not implying anything.           I'm actually trying to

        16      figure it out.

        17                  MR. GUERRIERO:      No.   If that's the case, it would

        18      still remain the Court's finding that any information obtained,

        19      including the phone itself or any information related to the

        20      phone from the time of the unlawful arrest until the execution

        21      of the search warrant, that should not be admissible, including

        22      the clerk's --

        23                  THE COURT:     Maybe you're onto something here.

        24                  Don't worry, Mr. Gingrande.         I'll give you a shot.

        25                  But I missed what you were saying.           He's unlawfully
                                    JOINT APPENDIX 310
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         1      arrested.     He's in possession of a phone.          They seize the

         2      phone.    You said there was some information obtained pursuant

         3      to the arrest, some other information that tied the phone to

         4      the defendant?

         5                  MR. GUERRIERO:      So, they didn't -- the affidavit for

         6      the search of the phone, I'm just repeating it quickly, it

         7      doesn't only contain information about the arrest; it contains

         8      information obtained from Emilio Flores's phone purporting to

         9      be communications with Michael Francis.

        10                  THE COURT:     I don't see a problem there.         What's the

        11      problem there?

        12                  MR. GUERRIERO:      It's information they didn't have at

        13      the time that they seized the phone.            So --

        14                  THE COURT:     You're losing me.       They get information

        15      from some other phone, Flores's phone?

        16                  MR. GUERRIERO:      Yup.

        17                  THE COURT:     And that somehow indicates that what, that

        18      Flores is in communication with the defendant?              But they

        19      haven't gotten any information from the defendant or the

        20      defendant's phone yet, right?

        21                  MR. GUERRIERO:      Well, I think they do --

        22                  THE COURT:     Other than, It's my phone.

        23                  MR. GUERRIERO:      Well, there's also a motion to

        24      suppress his statements which are also the result of the

        25      unlawful arrest.       So, like I say, any information before the --
                                    JOINT APPENDIX 311
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         1                  THE COURT:     Let's try to keep it clear.         So, what

         2      statement he makes, That's my phone, something like that?

         3                  MR. GUERRIERO:      Well, the clerk says that he's

         4      standing there in possession of it.

         5                  THE COURT:     That's not a statement.

         6                  MR. GUERRIERO:      No, it's not, but --

         7                  THE COURT:     What statement are you seeking to

         8      suppress?

         9                  MR. GUERRIERO:      That information is a fruit of the

        10      unlawful arrest.

        11                  THE COURT:     It may be, but you referred to a

        12      statement.     What statement are you trying to suppress?

        13                  MR. GUERRIERO:      He made statements back at the

        14      station.

        15                  THE COURT:     No, no, no, no.      I mean when he's arrested

        16      does he make any statements about the phone?

        17                  MR. GUERRIERO:      I don't believe that he made a

        18      statement about the phone.

        19                  THE COURT:     Okay.    So, now going on, they take the

        20      phone, but it's obviously his phone, right?

        21                  MR. GUERRIERO:      Right.

        22                  THE COURT:     Okay.    So, they take the phone.        Now you

        23      go back to the station, now he makes statements related to the

        24      phone?

        25                  MR. GUERRIERO:      I don't think so.
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         1                  THE COURT:     Okay.    So, there are no statements to

         2      suppress there.       We're still just talking about a phone, and

         3      based, I assume, based upon finding the drugs in the car and so

         4      forth they apply for an affidavit, I mean, a warrant to search

         5      the contents of the phone.

         6                  MR. GUERRIERO:       That's correct, your Honor, but

         7      there's no -- I mean, there's no break between the illegal

         8      seizure of the phone and them applying for a search warrant, so

         9      the consequences --

        10                  THE COURT:     No.   But why is that significant unless

        11      the argument is, once you illegally seize a phone you can

        12      never, ever get a search warrant to search the content of that

        13      phone; or, maybe alternatively, you can't get a warrant to

        14      search the content of that phone unless you first give it back,

        15      then you can get a warrant?          But I am aware of no case that

        16      says anything like that.

        17                  MR. GUERRIERO:       I think what the cases say, your

        18      Honor, is that there has to be something to remove the evidence

        19      from the illegal conduct.          The issuance of a warrant --

        20                  THE COURT:     That begs the question what evidence are

        21      we talking about, that thing called a phone or its contents?

        22                  MR. GUERRIERO:       I guess I don't understand how you

        23      suppress the phone itself without also suppressing the content.

        24                  THE COURT:     Easy, easy.     Evidence that he had that

        25      black phone with his name on it is suppressed:              You may not
                                    JOINT APPENDIX 313
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         1      present that to the jury because it was the subject of an

         2      unlawful seizure based upon an unlawful arrest.               That's easy.

         3      Oh, I'm not going to present the phone, but I'm going to

         4      present evidence that he had a phone and in that phone was the

         5      following, I got a search warrant to search the content, and

         6      that's what I found.        Is that relevant evidence?         Yes.   It

         7      should be suppressed.        Why?    Well, because you unlawfully

         8      seized the phone.       Yes, but I got a warrant.

         9                  Is your argument you can't get a warrant unless you,

        10      what, give it back first?         How do you attenuate the unlawful

        11      seizure of the phone?        If your answer is you can't attenuate

        12      it, I mean, you can't break that chain, I'm not sure that's

        13      persuasive.      Obviously, we'll look into it.

        14                  MR. GUERRIERO:      Well, I think the way you would have

        15      it be attenuated would be that there was no evidence in the

        16      affidavit relating to the unlawful arrest.

        17                  THE COURT:     No evidence in the affidavit related to

        18      the unlawful arrest.        But why would that be relevant to whether

        19      there's probable cause to search based on subsequent events,

        20      i.e., the search of the car?

        21                  MR. GUERRIERO:      Well, because they're using

        22      information that was obtained as a result of the unlawful

        23      conduct.     I mean, if they had --

        24                  THE COURT:     You're mixing words, and that makes me

        25      skeptical.     The unlawful arrest, not conduct, the unlawful
                                    JOINT APPENDIX 314
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         1      arrest.

         2                  MR. GUERRIERO:      Okay.

         3                  THE COURT:     So, incident to an arrest, seizure

         4      incident to an arrest.        Unlawful arrest, unlawful seizure,

         5      suppress the evidence.        What evidence?      The phone.     What about

         6      the content?      Is that different?

         7                  MR. GUERRIERO:      If they had an affidavit that did not

         8      describe the unlawful arrest and the seizure incident to that

         9      arrest, but suppose they had, you know, some other witness that

        10      said -- that gave them -- an unrelated witness that gave them

        11      probable cause for the phone, I recognize this phone, I know he

        12      used it, here's his phone number, you didn't know about me but

        13      I'm telling you, you know, I'm a totally reliable witness, if

        14      they had probable cause from that witness, then I think that

        15      would be attenuated, but they have an affidavit partly based on

        16      the search of the codefendant's phone and partly based on the

        17      unlawful arrest in this case.           And so, to say that that's

        18      attenuated from the original unlawful conduct is just not

        19      correct.     If they had completely independent basis for

        20      searching the phone, then, yes, I don't think I would have a

        21      motion to suppress.

        22                  THE COURT:     Okay.    Thank you.

        23                  Mr. Gingrande.      Just let me know your view, your

        24      position.

        25                  MR. GINGRANDE:      Your Honor, I mean, our position is
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         1      essentially what the Court -- first of all, it's what I said

         2      about the fact that there was a lawful detention, you know,

         3      then there was a --

         4                  THE COURT:     You've conceded unlawful arrest.

         5                  MR. GINGRANDE:      Correct.    But five minutes later you

         6      have -- there is probable cause to arrest --

         7                  THE COURT:     I think we're at unlawful arrest, unlawful

         8      seizure.     Now what?

         9                  MR. GINGRANDE:      Okay.    So, if we're at unlawful

        10      seizure, then I think the argument is essentially what the

        11      Court was suggesting, which is, they applied for a warrant, the

        12      warrant was valid, it included facts about why the evidence

        13      that was sought would be on that phone.             It is content that

        14      they're searching the phone for.           That here we don't have an

        15      issue about, you know, a statement -- I don't believe that the

        16      phone -- the phone was not searched prior to application for

        17      the warrant.      We aren't talking about statements made by the

        18      defendant about his phone and suppressing those prior to

        19      application for the warrant.          So, really the warrant in this

        20      instance should be sufficient to search the phone.

        21                  THE COURT:     Are you aware of precedent that talks

        22      about search of illegally seized objects, subsequent warranted

        23      searches of illegally seized objects?

        24                  MR. GINGRANDE:      Well, to the extent that it has to be

        25      attenuated, your Honor, I would just say that there would be
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         1      other ways that that could be introduced.             Attorney Guerriero

         2      was talking about the clerk in this case.             The clerk would be

         3      able to identify this phone as being the defendant's phone,

         4      right?    And, you know, giving back the phone, as you said, I

         5      think would be a funny way to cure that attenuation.                I don't

         6      have precedent readily available to cite for you as to that

         7      particular issue.

         8                  THE COURT:     All right.     The other argument is how did

         9      you know what phone to get a warrant to search it?

        10                  MR. GINGRANDE:      Well, right.     But that's my point,

        11      your Honor, is that I think the government would be able to

        12      establish that through the clerk who saw the phone even prior

        13      to the illegal arrest in this case.            So, there's evidence from

        14      a non-law-enforcement source, right, that I feel would be

        15      sufficient.      Remember, that was left on the bank counter.

        16                  Now, I did want to just say for the record, your

        17      Honor, that we have -- I've conducted a review of body camera

        18      footage, et cetera, and other evidence in this case.                I do not

        19      believe it's correct that the phone was seized prior to the

        20      discovery of the drugs in the car.           I don't want to get

        21      sidetracked with all of that, but I did want to just state

        22      that --

        23                  THE COURT:     But that wasn't a basis for seizing it.

        24                  MR. GINGRANDE:      That's right, your Honor.         So, that's

        25      why I don't want to get sidetracked with that, but Attorney
                                    JOINT APPENDIX 317
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         1      Guerriero said that he believed it was seized prior to

         2      discovery of the drugs.         I don't think that's the case.          It was

         3      left on the bank counter.

         4                  So, my only point, your Honor, is there's a bank

         5      teller there who was actually the one -- and I believe Sergeant

         6      Lorenzo testified to this, that he was made aware of the phone

         7      being on the counter at the bank by the bank teller.                So, you

         8      know, to the extent that --

         9                  THE COURT:     None of that addresses the point that it

        10      was an unlawfully seized item, and the warrant that was sought

        11      and obtained probably was necessarily based upon information

        12      related to the unwarranted seizure, which would be, That's his

        13      phone.    We want a warrant to search a phone.            What phone?     The

        14      defendant's phone.       How do you know it's the defendant's phone?

        15      We took it.      Did you take it lawfully?        No.    None of that

        16      addresses that point.

        17                  MR. GINGRANDE:      Well, my point, your Honor, is let's

        18      imagine a world in which he's not arrested at all, okay?                 And,

        19      instead, what happens is law enforcement, they walk in the

        20      door.

        21                  THE COURT:     Are you heading for inevitable discovery?

        22                  MR. GINGRANDE:      I'm sorry?

        23                  THE COURT:     Are you heading towards inevitable

        24      discovery?

        25                  MR. GINGRANDE:      I don't know if I would categorize it
                                    JOINT APPENDIX 318
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         1      necessarily as inevitable discovery.            I'm just trying to think

         2      about whether that's really what this would be.

         3                  THE COURT:     Or inevitable seizure, I guess, inevitable

         4      inventory.

         5                  MR. GINGRANDE:      Well, what I'm getting at, your Honor,

         6      is essentially that the -- you're asking about how we could

         7      identify, you know, this particular phone.

         8                  THE COURT:     Mr. Guerriero's point of view is it's all

         9      fruit of the poisonous tree.          It starts with an illegal

        10      seizure, and once you seize it any warrant you get in the

        11      future is necessarily going to be based on information related

        12      to an unlawful seizure.         What's that information?        It's his

        13      phone.    And that's key to everything, because, when you apply

        14      for the warrant, you have to say, I think there's evidence of a

        15      crime on that phone?        Why?   Because it's his phone.         Whose

        16      phone?    The defendant's phone.        Why do you think there's

        17      unlawful evidence, evidence of unlawful activity?               Well,

        18      because we seized a bunch of drugs from his car; we might have

        19      arrested him unlawfully, but we seized a bunch of drugs from

        20      his car.     So, drugs, phones, they all go together, issue a

        21      warrant.     And I think what Mr. Guerriero is arguing is you were

        22      in that position because you unlawfully seized the phone, in

        23      that position to identify in the warrant application that phone

        24      as the subject of the search, and that makes it fruit of the

        25      poisonous tree.       I'm not sure I buy that, but that's the
                                    JOINT APPENDIX 319
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         1      argument, I think.

         2                  MR. GINGRANDE:      Yeah, and I understand the argument

         3      the same way, and I guess what I'm saying is I think the

         4      counter argument is that's actually not how we would be aware

         5      -- we wouldn't even need the arrest in this particular instance

         6      to be aware of the phone and the phone's existence and the

         7      phone's existence as the defendant's phone, because in this

         8      case we have a phone that is left on a bank counter while

         9      Mr. Francis is attempting to deposit a check and the bank

        10      teller saying the defendant had that phone.              So, that's my

        11      position, your Honor.

        12                  THE COURT:     All right.     Obviously, we have to look at

        13      that as to that.

        14                  All right.     Who is calling the witnesses?          We don't

        15      need the probation officer anymore, and you're going to recall

        16      the FBI agent?

        17                  MR. GUERRIERO:      I think as long as it's based on what

        18      the government has offered as its proffer and as it's

        19      stipulated to that, that Parole Officer Duffy did not authorize

        20      anyone to make an arrest, and that it was an unlawful arrest,

        21      then I don't want to call him; I don't think we need him to

        22      testify.

        23                  THE COURT:     All right.     So, that's conceded, right?

        24                  MR. GINGRANDE:      Yeah, that's conceded.

        25                  MR. GUERRIERO:      We have Agent Burke is back here
                                    JOINT APPENDIX 320
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         1      today.    I primarily wanted him because there was new discovery,

         2      and I apologize for filing it at the last minute, but I just

         3      have questions for him about that.           I don't intend to revisit

         4      much, if anything, we talked about last time.

         5                  THE COURT:     Okay.    And, obviously, you can respond to

         6      his supplemental.       You don't have to.       You can.

         7                  MR. GINGRANDE:      Yeah.    Your Honor, I mean, we were

         8      going to -- I guess we can make our arguments, but if that

         9      might help the Court, we would be happy to put it in writing.

        10                  THE COURT:     Well, I shouldn't assume.         Are you going

        11      to put the agent on to say -- to determine whether he knew

        12      about those police reports or didn't?

        13                  MR. GUERRIERO:      Yes.

        14                  THE COURT:     Okay.    So, that should be brief?

        15                  MR. GUERRIERO:      I think so.     I mean, I have a page and

        16      a half of questions, so not much.           Okay?

        17                  THE COURT:     Perfect.     All right.

        18                  MR. GUERRIERO:      We are going to tell Officer Duffy

        19      he's free to go.

        20                  THE COURT:     Thank you.

        21                  THE CLERK:     Remain standing and raise your right hand.

        22                  RYAN BURKE, having been duly sworn by the Clerk, was

        23      examined and testified as follows:

        24                  THE CLERK:     Thank you.     Please be seated.       Please

        25      state your full name for the record.
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         1                  THE WITNESS:     Ryan Burke, R-y-a-n, B-u-r-k-e.

         2                  Good afternoon, your Honor.

         3                  THE COURT:     Good to see you again.

         4                                  RECROSS-EXAMINATION

         5      BY MR. GUERRIERO:

         6      Q.     Agent Burke, thank you for coming back today.              I have some

         7      additional questions for you in light of some new reports that

         8      were produced since our last hearing.            But just to quickly put

         9      us in context in 2021, especially May through September,

        10      approximately, you were working for the FBI?

        11      A.     Yes, I was.

        12      Q.     And you were working in conjunction with the Manchester

        13      Police Department?

        14      A.     I was.

        15      Q.     And you were investigating drug cases and firearms cases

        16      and that sort of thing?

        17      A.     That's correct.

        18      Q.     Okay.    And in this case --

        19                  MR. GUERRIERO:      Your Honor, at the last hearing we

        20      discussed openly the identity of the witness, the informant in

        21      this case.      I can refer to him as the "informant," but --

        22                  MR. ROMBEAU:     I don't think we did, actually.           I think

        23      we called him the "cooperating witness."

        24                  MR. GUERRIERO:      Okay.    I remember saying it, but

        25      that's fine.
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         1      Q.     So, when I refer to the "informant," I'm referring to the

         2      primary witness in your affidavit for the search of

         3      Mr. Francis's white Honda.         Do you remember that person?

         4      A.     I do.

         5      Q.     Okay.   And is it correct that at the time that you wrote

         6      the affidavit in support of the search warrant for

         7      Mr. Francis's Honda that you were aware that the informant had

         8      been arrested in both June and July of 2021?

         9      A.     I was aware, yes.

        10      Q.     And you described those arrests in your affidavit?

        11      A.     I did, yes.

        12      Q.     And specifically with regard to the July 30th, 2021

        13      arrest, where Mr. Francis was -- I mean where the informant was

        14      basically stopped in a motor vehicle stop, were you present for

        15      that motor vehicle stop?

        16      A.     I was not.

        17      Q.     And your information about that motor vehicle stop came

        18      from reports from Manchester Police Officers?

        19      A.     It did.

        20      Q.     Okay.   And were those Manchester Police Officers Officer

        21      Biery, B-i-e-r-y and Officer Newell (ph)?

        22      A.     I don't remember their names, but --

        23      Q.     Do you remember reading the reports?

        24      A.     I do remember -- if those are on the reports, then those

        25      would be the names, yes.
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         1      Q.     Repeat that for me.

         2      A.     I did review the reports.         I don't know those two people

         3      personally, so I don't recall their names.

         4      Q.     Okay.    You recall that there was a motor vehicle stop in

         5      Manchester by two Manchester Police Officers?

         6      A.     I do.

         7      Q.     And you included in your description of that stop in your

         8      affidavit the location of the stop and the police department

         9      involved?

        10      A.     I did.

        11      Q.     And you included a description of the automobile that the

        12      informant was driving?

        13      A.     Yes.

        14      Q.     A black Audi A4?

        15      A.     Yes.

        16      Q.     And you included a description of the specific drugs that

        17      were found in the informant's car?

        18      A.     I did.

        19      Q.     Okay.    When you read those reports you also saw that the

        20      reporting officers, I know you don't remember their names,

        21      Biery and Newell, had described the informant as having been

        22      dishonest with them during their encounter?

        23      A.     I don't recall reading that back then.            I've reviewed it

        24      in the past couple of days, so I'm familiar with that

        25      description.
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         1      Q.     Okay.   Did you review those two police reports?

         2      A.     I would have, yes.

         3      Q.     Well, I mean, tell me if you disagree with this.              I have

         4      copies of them I can show you.          Well, first of all, the reports

         5      that you reviewed before coming to court, were they reports

         6      from the Manchester Police Department?

         7      A.     They were.

         8      Q.     And were they the reports from the two police officers who

         9      stopped the informant in Manchester on July 30th, 2021?

        10      A.     They were.

        11      Q.     Okay.   And you've read those -- you're confident that you

        12      read all of those reports?

        13      A.     Yes.

        14      Q.     Okay.   And is it correct to say that one of the police

        15      officers described the informant as being deceptive?

        16      A.     Yes, it does say that.

        17      Q.     And is it correct that one of the police officers said

        18      that the informant was not telling the truth about who he was

        19      meeting?

        20      A.     Yes.

        21      Q.     And the same officer reported or described the informant

        22      lying about what was contained in the driver's side door

        23      compartment of the car?

        24      A.     I recall reading recently that he said there were

        25      sunglasses.      I'm not sure if there were or there weren't
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         1      sunglasses.

         2      Q.     And I can show you a copy of the report.            If I told you

         3      the report says that it wasn't sunglasses, it was meth and a

         4      needle loaded -- a loaded needle with drugs, does that sound

         5      right?

         6      A.     If that's what the report says, then, yes.

         7      Q.     Okay.   All right.     And the other officer, the second

         8      officer, wrote that this informant was being deceitful.

         9      A.     Yes.

        10      Q.     And that he had been trying to get an understanding or

        11      information from the informant about where he was coming from

        12      and where he was going, and the informant was nervous and

        13      behaving suspiciously, and the officer described him as

        14      deceitful?

        15      A.     He did.

        16      Q.     Did you include the information that the informant had

        17      been deceptive during that motor vehicle stop in your

        18      affidavit?

        19      A.     No, I didn't.

        20      Q.     You described all the other details about the motor

        21      vehicle stop?

        22      A.     The details related to the drug --

        23      Q.     The law enforcement agency.         Yes?

        24      A.     Yes.

        25      Q.     The location in Manchester, the kind of drugs, even the
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         1      specific make and model of the car?

         2      A.     Correct.

         3      Q.     But you left out of your report that both the officers had

         4      described this informant as dishonest.

         5      A.     Those were their opinions.         I didn't speak to them about

         6      those opinions.       Again, I don't recall reading those words back

         7      then when I wrote the affidavit, although surely I must have

         8      read the report in its entirety, but I know that virtually

         9      everyone is deceptive to an extent when they're pulled over by

        10      the police.      It's a stressful situation, so it didn't -- it

        11      wouldn't have impacted my assessment of the informant's

        12      statement to me when I interviewed him.

        13      Q.     Okay.   But they were deceptive during a drug investigation

        14      by the Manchester Police Department?

        15      A.     Well, it wasn't a drug investigation, I don't think, it

        16      was just a car stop, and it was an individual with an arrest

        17      warrant who was trying not to get arrested that day.

        18      Q.     Okay.   So, your position would be that, even though there

        19      had been a prior stop of this informant and there was a warrant

        20      out for his arrest on a drug charge, that they weren't

        21      conducting any kind of drug investigation?

        22      A.     No.   Unless the report says otherwise, I think it was just

        23      a car stop like police do on a daily basis.              I don't think they

        24      knew -- they clearly didn't know who it was in the vehicle, I

        25      don't think, when they went to stop the vehicle.               I believe he
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         1      was stopped for a motor vehicle infraction.

         2      Q.     Okay.

         3      A.     But I can review the report if you think it suggests

         4      otherwise.

         5                  MR. GUERRIERO:      May I approach, your Honor?

         6                  THE COURT:     Of course.

         7      Q.     Let me just quickly look at the -- look at the first, the

         8      top of this page, the first half of it.

         9      A.     Okay.   It just looks like they were working a shift from

        10      4:00 to 12:00 and pulled over a car.            You want me to read more?

        11      Q.     Well, read as much as you're comfortable.             I'll have some

        12      questions for you.       It's not a major point but --

        13      A.     Right, yeah.     I think this is a couple of officers who

        14      were wearing plainclothes and probably out patrolling the city

        15      not for anyone in particular, and they just so happened to stop

        16      an individual who they then identified as the -- who we're

        17      calling the informant.        I don't think it was a targeted

        18      operation by any stretch.

        19      Q.     All right.     Is it fair to say that they're not officers in

        20      uniform; they're in plainclothes, right?

        21      A.     They are, but they're not -- I don't believe they are

        22      assigned to any of the drug units for Manchester.               I think it's

        23      just patrol officers that dressed down that day.

        24      Q.     Okay.   And they saw a vehicle that looked suspicious to

        25      them, right?
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         1      A.     I suppose.     I could read it again.        I don't know if it

         2      looked suspicious or if it committed a -- I would assume it

         3      would have had to have committed a motor vehicle infraction for

         4      them to pull it over.

         5      Q.     Well, and I'll let you read it again.            It says, the

         6      officer writes:       Through my training and experience this

         7      behavior appeared to be consistent with that of drug activity,

         8      especially activities observed by other vehicles engaged in a

         9      drug transaction, et cetera.

        10                  And whatever initially provoked their interest in this

        11      vehicle, their suspicion is that the person is involved in some

        12      sort of drug dealing, right?

        13      A.     That certainly states it.

        14      Q.     Sounds like it?

        15      A.     It does.    I didn't read that paragraph when you had it up

        16      here, but it wasn't any sort of long-term investigation by

        17      those two.     They would have just been on patrol that night.

        18      Q.     Okay.   My point is that these two officers concluded in

        19      their reports that, while they were investigating what they

        20      considered to be drug activity, this informant lied to them.

        21      A.     They certainly did write that, and I haven't spoken to

        22      them, so I can't obviously testify to, you know, their

        23      interactions with the individual, but just in my experience and

        24      I think everyone's experience when people get pulled over by

        25      the police it's stressful, and sometimes they're deceptive
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         1      about how fast they might have been driving or whether they

         2      used their blinker or not used their blinker, and in this case

         3      obviously the individual we're calling "informant" knew that he

         4      had an arrest warrant, which would have been the reason he was

         5      deceptive about his name, and I believe that's all -- I believe

         6      that's all -- the only thing that's described with relation to

         7      the deception they describe.          It wasn't about the drug

         8      activity, just his name.         So, it seems to me, again, just

         9      reading it over the past couple of days, he's probably just

        10      trying to avoid being arrested.

        11      Q.     All right.     So, in summary, you would have been aware of

        12      this information from the two officers, the comments about the

        13      informant being deceitful and deceptive, but you didn't think

        14      it belonged in the affidavit for the search warrant for

        15      Mr. Francis's car?

        16      A.     Again, I don't recall reading it back then.             I assume I

        17      must have.      But, no, it just seems ordinary that somebody would

        18      be stressful, would be stressed out and try to avoid being

        19      arrested in a car stop, but I obviously didn't put it in the

        20      affidavit.

        21      Q.     Okay.    So, I just want to -- I'm only going to briefly

        22      refer to the last hearing, but you knew that the informant had

        23      a falsifying physical evidence felony conviction at the time

        24      you wrote the affidavit?

        25      A.     I did.
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         1      Q.     And you knew, even if you don't remember it now, where you

         2      had access to the reports of two police officers that described

         3      the informant as being deceitful, deceptive and not telling the

         4      truth when during the very stops that you describe in your

         5      affidavit, and you do not include that information either.

         6      A.     I didn't, no.

         7                   MR. GUERRIERO:     That's all I have, your Honor.

         8                   THE COURT:    All right.     Mr. Gingrande.

         9                   Sorry.    Mr. Rombeau.

        10                   MR. ROMBEAU:    May I approach, your Honor?

        11                   THE COURT:    Any time.

        12                                REDIRECT EXAMINATION

        13      BY MR. ROMBEAU:

        14      Q.     Special Agent Burke, I have you handling the report that

        15      Attorney Guerriero was just asking you about.              The vehicle that

        16      was pulled over the night of July 30th, 2021, was that

        17      registered to the individual we've been referring to as the

        18      "informant"?

        19      A.     No.

        20      Q.     In fact, was it registered to some other individual?

        21      A.     It was, yes.

        22      Q.     Okay.   And did that individual, according to the

        23      Manchester Police report that you reviewed, have his own

        24      drug-dealing history that was of concern to Manchester Police

        25      when they initiated that stop?
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         1      A.     Actually, it does.       It says they checked their in-house

         2      system and showed that the registered owner had drug arrests,

         3      and, Due to this, we decided to follow the vehicle.

         4      Q.     And when the stop concludes on that evening of July 30th,

         5      did the stopping officers ultimately seek a search warrant for

         6      that Audi A4 we've been talking about?

         7      A.     They did.

         8      Q.     And what did that lead to the discovery of?

         9      A.     Of controlled substances.

        10      Q.     And was this in excess of 400 grams of what ultimately

        11      tested positive for methamphetamine?

        12      A.     Yes.

        13      Q.     And in your experience as a drug investigator at the FBI

        14      is 400 grams of methamphetamine a significant dealing quantity?

        15      A.     It certainly is.

        16      Q.     And the discovery of 400 grams of methamphetamine in a

        17      car, does that, in your experience, impact an individual's

        18      willingness to be truthful with law enforcement?

        19      A.     I would say so, yes.

        20      Q.     Okay.   And why don't we expand on that a little.             Can you

        21      tell the Court why, in your experience, individuals are not

        22      truthful when they're in a car that turns out to have a

        23      significant amount of drugs in it?

        24      A.     Well, they know, obviously, if those drugs are found that

        25      they're going to face significant punishment, and then in this
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         1      individual's case he would have known from the last car stop,

         2      which is sort of a --

         3                  MR. GUERRIERO:      I'm going to object to the speculation

         4      about the informant's state of mind.            I mean, those are things

         5      the Court -- you could draw those conclusions yourself.                 I

         6      don't think the agent's in any better position than anyone else

         7      to draw those conclusions.

         8                  THE COURT:     Up to you.     I'll give you latitude, but

         9      the issue is was there evidence that should have been presented

        10      in the warrant for the magistrate.

        11                  MR. ROMBEAU:     I'll rephrase, your Honor.         Thank you.

        12      Q.     And in your experience working with informants who have --

        13                  THE COURT:     Is this going -- is this heading down the

        14      road of, In my experience I don't report information like

        15      deceptive, lying and so forth in my affidavits?               Because I'm

        16      not sure that would affect anything, right?              The legal question

        17      is should or shouldn't this information have been in this

        18      affidavit.

        19                  MR. ROMBEAU:     And maybe I'll just ask it this way,

        20      your Honor, since I know the Court does have to make a

        21      reckless --

        22                  THE COURT:     It's not intentional.        I don't think

        23      anybody's claiming intentional.

        24                  Are you, Mr. Guerriero?

        25                  MR. GUERRIERO:      As a practical matter, it doesn't make
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         1      any difference.       It's at least reckless, is what I've said in

         2      my motion, and I think that's fine.

         3      Q.     Is it noteworthy to you, as an investigator, that an

         4      individual does not immediately confess to involvement in 400

         5      grams of methamphetamine?

         6      A.     Not at all, and I would go so far as to say that, if

         7      someone's being deceptive to law enforcement on a car stop

         8      precluded them from providing honest information to me, then I

         9      don't think I could probably interview anyone in this courtroom

        10      or elsewhere.      I just think it's that common a thing that

        11      people are stressed on car stops and they say things they don't

        12      mean and they just try to, you know, avoid getting in trouble.

        13      That's sort of human nature.

        14      Q.     All right.     And when you first came into contact with the

        15      cooperating witness a few weeks later, after his arrest in

        16      Loudon, was the informant -- what did the informant have to say

        17      at that point about this July 30th stop?

        18      A.     Well, my interaction with him, I confronted him directly

        19      about the drugs that were found, and he immediately confessed.

        20      I mean, there wasn't much of a --

        21                  MR. GUERRIERO:      I have to raise the objection I raised

        22      at the last hearing.        I mean, the point of this is what was

        23      left out, and everything else is decided by the four corners of

        24      the affidavit.      What other information he had or he may have

        25      put in the affidavit is not relevant in this hearing.
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         1                  THE COURT:     I think I agree.

         2      Q.      I'll just finish, Special Agent Burke, on your interaction

         3      with the informant that led you to drafting the affidavit.                 Did

         4      that interaction affect your assessment of whether or not he

         5      was truthful with you about the circumstances of the July 30th

         6      stop?

         7      A.      No, not at all.     Again, I think deception on a traffic

         8      stop is so common that it didn't affect my assessment of the

         9      information he provided; and, again, I just think deception on

        10      any traffic stop, if that were such a deal breaker for, you

        11      know, collecting information from people, that we wouldn't have

        12      anybody to talk to.        So, when I read that I didn't really think

        13      anything of it.       I just thought that's sort of human nature.

        14                  MR. ROMBEAU:     Nothing further.       Thank you, your Honor.

        15                  THE COURT:     All right.     Anything else, Mr. Guerriero?

        16                  MR. GUERRIERO:      I couple of questions.

        17                           FURTHER RECROSS EXAMINATION

        18      BY MR. GUERRIERO:

        19      Q.      You routinely in your job apply for arrest warrants and

        20      search warrants, right?

        21      A.      I do.

        22      Q.      And you draft affidavits in support of those search

        23      warrants and arrest warrants?

        24      A.      I do.

        25      Q.      And I know, because I've read them, but I want to make
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         1      sure that you agree with me, in some of your search warrants

         2      you write that you find a particular witness or informant to be

         3      credible?

         4      A.     Yes.

         5      Q.     You didn't write that in the affidavit in this case, did

         6      you?

         7      A.     I don't recall, but I did.         Otherwise, I wouldn't have

         8      wrote it in an affidavit and put my name on it.

         9                    MR. GUERRIERO:    That's all the questions I have, your

        10      Honor.    I do want to make sure that -- the government filed a

        11      Motion for Protective Order regarding the new discovery.                 I

        12      filed two police reports under seal, because they had asked for

        13      a protective order.        I'd like to ask that those two police

        14      reports be made part of the record of this hearing, because I

        15      think at the last hearing we agreed that all exhibits to the

        16      pleadings would be part of the record, but we didn't have those

        17      filed at the time.

        18                    THE COURT:   Any objection?

        19                    MR. ROMBEAU:   No, your Honor.

        20                    THE COURT:   All right.     I think I just said grant that

        21      protective order.       Anyway, that's granted.

        22                    MR. ROMBEAU:   Thank you, your Honor.

        23                    THE COURT:   You attached them.       But with that

        24      exception, I guess, the reports will be exhibits for this

        25      hearing.
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         1                  MR. ROMBEAU:     Yes.    I believe they were filed under

         2      seal, and I just ask that they remain under seal but as part of

         3      the record.

         4                  THE COURT:     You want to seal the police reports?

         5      Aren't they public record?

         6                  MR. ROMBEAU:     They identify the informant by name.

         7                  THE COURT:     Oh, they do?     Aren't they redacted?        I

         8      thought I looked at them and they were redacted.

         9                  MR. GUERRIERO:      They're redacted, but the name of the

        10      informant is not redacted.

        11                  THE COURT:     Oh, okay.     All right.

        12                  MR. ROMBEAU:     We can provide a new copy.

        13                  THE COURT:     Perfect.    We'll just substitute a redacted

        14      copy for the exhibit in this hearing.

        15                  MR. ROMBEAU:     Thank you, your Honor.        Yes, we will.

        16      Thank you.

        17                  THE COURT:     Thank you, Agent Burke.        You may step

        18      down.    You're excused as a witness.

        19                  THE WITNESS:     Thank you.

        20                                     (Witness stepped down)

        21                  THE COURT:     Anything else?      Any other witnesses?

        22                  MR. GUERRIERO:      No, your Honor.

        23                  THE COURT:     Do you want to be heard?

        24                  MR. GUERRIERO:      I would like to be heard, your Honor.

        25                  THE COURT:     All right.
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         1                  MR. GUERRIERO:      Your Honor, I think I'll start at

         2      what, frankly, surprised me a little at the last hearing when

         3      your Honor expressed the view that the affidavit for the search

         4      warrant was solid and clearly stated probable cause, and I

         5      would respectfully ask you to reconsider that.

         6                  THE COURT:     On its face.

         7                  MR. GUERRIERO:      Excuse me?

         8                  THE COURT:     On its face.

         9                  MR. GUERRIERO:      Yes.   I would respectfully ask you to,

        10      even if you don't reconsider that conclusion, consider the

        11      basis for it, because it directly impacts how you will review

        12      the evidence that was left out of the warrant when it's read

        13      into the warrant.       Obviously, it's our view that the evidence

        14      that the informant had a prior falsifying physical evidence

        15      conviction for felony --

        16                  THE COURT:     Just so you're not overly upset or

        17      confused, on its face, not knowing anything else, I don't think

        18      anybody could make an argument that that affidavit is

        19      insufficient to establish probable cause, okay?               That's not

        20      what we're talking about here.

        21                  MR. GUERRIERO:      That's right.

        22                  THE COURT:     Okay.

        23                  MR. GUERRIERO:      But I do want to point out what's

        24      missing from the affidavit, to the extent that you were going

        25      to -- and my criticisms of it, that there's no corroboration.
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         1      Well, I'll jump to --

         2                  THE COURT:     As I understand it, the only criticism you

         3      could have in challenging it is to say there's a Franks

         4      violation.

         5                  MR. GUERRIERO:      That's right, your Honor.         Well, this

         6      is what I think I would say is the basis for your conclusion

         7      that it's valid on its face, that under normal circumstances if

         8      the identity of the informant is known to the police, and if

         9      they offer some details that sound reasonable to the police and

        10      the police say, Okay, we're asking for this warrant, and so

        11      it's implied that in their training and experience this person

        12      is credible, that, in the absence of anything else, that is

        13      often found by courts, district and the appellate court, to be

        14      sufficient.

        15                  But what I would note that's missing from this

        16      affidavit is other information that would add to probable

        17      cause, because the one thing that this warrant depends on, the

        18      identity and credibility of the informant, pertains directly to

        19      what was left out of it, so with respect to --

        20                  THE COURT:     Another way of saying there's a Franks

        21      violation.

        22                  MR. GUERRIERO:      Right.

        23                  THE COURT:     Right.    No need to confuse it.        We all

        24      know what a Franks violation is.

        25                  MR. GUERRIERO:      Right.
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         1                  THE COURT:     So, you've got to show that.

         2                  MR. GUERRIERO:      So, the officer left out information

         3      directly regarding the agent -- I'm sorry -- left out

         4      information directly relating to the credibility of the

         5      informant.     Under those circumstances, as the First Circuit has

         6      written in the Gifford case, there has to be some effort by the

         7      police, by the agent to essentially do away with the concern

         8      that this person --

         9                  THE COURT:     But you've got to show that it was either

        10      reckless or intentional; then you've got to show it was

        11      material, it would have made a difference in whether the

        12      warrant was issued.        That's all you have to show.

        13                  MR. GUERRIERO:      Well, I'll take that framework.          It

        14      was clearly reckless.

        15                  THE COURT:     That's not my framework.        That's Franks.

        16                  MR. GUERRIERO:      I understand.      So, leaving out the

        17      information about the credibility of the informant was clearly

        18      reckless.     He knew about a felony crime involving dishonesty

        19      for this informant.        He knew or should have known, he had

        20      access to the reports, he said he would have read the reports,

        21      that two different Manchester Police Officers had called this

        22      informant deceitful, deceptive, not telling the truth, and that

        23      the informant had actually lied to them during their

        24      investigation, which, characterize it how you want, they were

        25      suspicious of drug activity, and, in fact, he was driving some
                                    JOINT APPENDIX 340
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         1      other drug dealer's car.

         2                  So, he left all of that information out.            I don't see

         3      how the Court could find that that is not reckless.

         4                  So, then, to go to the next step, is it relevant to

         5      this warrant?      Well, yes, it is, because there is nothing else

         6      providing probable cause in this warrant.             There is no other

         7      witness, there is no corroboration of any criminal conduct

         8      alleged by the informant.         It's not like the informant engaged

         9      in a controlled buy.        It's not like he predicted some future

        10      criminal conduct.       He literally did not predict any future

        11      conduct of Mr. Francis.         We're going entirely on the

        12      informant's word in this affidavit.            There is no other evidence

        13      from beyond the informant, such as surveillance video, forensic

        14      evidence, like, you know, he brought them a bag that had drugs

        15      in it and they found Mr. Francis's DNA or fingerprints on the

        16      bag.    There's nothing like that.         There's no observations by

        17      police or third parties.

        18                  I mean, there's not even in the affidavit an

        19      allegation that any person in the world had ever seen

        20      Mr. Francis and this informant together.             I mean, this is

        21      entirely on the informant's word.

        22                  In terms of what they did corroborate were purely

        23      innocent details.       The kind of car that Mr. Francis drove, I

        24      mean that's hardly something -- that Mr. Francis is a felon,

        25      again, I mean, it's hard to keep that sort of thing a secret.
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         1      And that's not criminal conduct, and it's certainly not future

         2      conduct.     And that the informant claimed that the drugs had

         3      been delivered to him in an area of Manchester where the police

         4      had sometimes seen Mr. Francis.           I mean, that could apply to

         5      hundreds of people, anybody that's ever in that area.                So,

         6      there's no corroboration of any criminal conduct.

         7                  And, most importantly, and this was the reason for my

         8      last question, this is not an informant that has a track

         9      record.     Sometimes agents have informants that have a track

        10      record; they've provided reliable information in the past.                 The

        11      agent does not relate any circumstances where this informant

        12      ever described some criminal conduct where the police

        13      investigated and confirmed that the informant had provided

        14      accurate information about criminal conduct.

        15                  And, again, I understand, I don't want to go so far as

        16      to, I don't think I have to go so far as saying intentionally,

        17      but I think the Court has seen and I have seen there are times

        18      when an agent does vouch for the credibility and say, I find

        19      this information to be believable that such and such, and maybe

        20      it's implied in the warrant, but I'll just note that in this

        21      affidavit Agent Burke did not specifically say, I find this

        22      person -- I personally find this person to be credible based on

        23      my training and experience.

        24                  So, what you have is a warrant that nothing but the

        25      informant's word and the fact that he revealed his identity and
                                    JOINT APPENDIX 342
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         1      under those circumstances then you look and say, well, under

         2      those circumstances the agent withheld that there was a felony

         3      conviction for dishonesty, that literally 30 days before the

         4      application for this search warrant, 25 days before the

         5      application for this search warrant two Manchester Police

         6      Officers had described this informant as deceitful and

         7      dishonest and not telling the truth.

         8                  And, frankly, I mean, my point is that where the

         9      affidavit for the warrant depends entirely on the word of the

        10      informant, I think Magistrate Lynch or your Honor or any other

        11      judge would have wanted to know and would have seriously

        12      questioned the sufficiency of this affidavit and would have

        13      found that it was not sufficient in the absence of something

        14      else, in the absence of some corroboration, some prediction of

        15      future behavior, some evidence from some other source.                But if

        16      you're going to base it entirely on the word of this informant

        17      and hide from the Court or not reveal to the Court that there's

        18      this evidence of dishonesty, under those circumstances I think

        19      there is a Franks violation, it would have made a difference to

        20      the issuing magistrate, and the Court has to suppress the

        21      evidence.

        22                  THE COURT:     Thank you, Mr. Guerriero.

        23                  Mr. Gingrande.

        24                  MR. GINGRANDE:      Your Honor, I just want to clarify.

        25      Are we going to discuss these motions one by one?               I'll give my
                                    JOINT APPENDIX 343
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         1      response as to the search warrant, because obviously there's

         2      also the arrest issue.

         3                  MR. GUERRIERO:      I don't have anything else on the

         4      arrest issue.      I think we have covered it pretty thoroughly?

         5                  MR. GINGRANDE:      Okay.

         6                  THE COURT:     On that issue, I've just got to look at

         7      the cases and see what the precedent is in this Circuit with

         8      respect to content search as being different from physical

         9      object searches.       I know there's a relationship in the phone.

        10      I just don't know what the precedent is.

        11                  MR. GINGRANDE:      Your Honor, if I could, I might just

        12      extrapolate a bit on my arguments in my closing here, but I'll

        13      keep it brief, in light of what you just said.

        14                  In order to prove reckless disregard for the truth in

        15      this case, your Honor, the defendant must prove that the

        16      affiant in fact entertained serious doubt as to the truth of

        17      the allegations that are made in the complaint.               That is United

        18      States versus Ranney, a First Circuit case from 2002.

        19                  Here, there's no evidence whatsoever that the affiant

        20      entertained doubt as to the truth of the informant's allegation

        21      of the defendant's criminal activity.            He believed the

        22      information provided by the affiant to be true, and he

        23      testified as to why that was.           There are statements against

        24      penal interest in this case.          He was implicating himself in a

        25      conspiracy by explaining what his relationship with
                                    JOINT APPENDIX 344
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         1      Mr. Francis, the defendant, was and the fact that he was

         2      acquiring large amounts of drugs from him.             There were

         3      statements about the details of Mr. Francis, Mr. Francis's car,

         4      about his residence and other personal-identifying information.

         5      He gave specific references to places where the deals were

         6      conducted.     He presented information as to the fact that

         7      Mr. Francis often carried a gun in his car.              He provided other

         8      information that showed his personal knowledge of these events.

         9      I'll circle back to that when I discuss the corroboration that

        10      law enforcement was able to conduct in this instance.

        11                  But the point in the context of the Franks standard is

        12      that Agent Burke testified that he believed the informant, and

        13      he expressed the reasons for those beliefs.              Now, the question

        14      becomes the omissions in this case, were they reckless, and did

        15      they show that he should have entertained serious doubts as to

        16      the credibility of this informant?           And, if anything, the

        17      omissions here are negligent, they are not reckless, because

        18      they're so commonplace, essentially initial denials of criminal

        19      wrongdoing when someone is confronted by law enforcement, that

        20      a law enforcement officer would not have reason to believe that

        21      this affected the credibility of the information being provided

        22      in a post-arrest interview, as occurred in this case.

        23                  And so, now I want to go specifically about the

        24      falsification charge and then discuss the additional reports in

        25      this case.     The violation of New Hampshire RSA, I think it's
                                    JOINT APPENDIX 345
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         1      641:6, for which the informant was convicted was based on the

         2      informant's concealing what appeared to be drugs by dropping

         3      them to the ground and stepping on them in order to impair

         4      their availability, and that was in a simple drug possession

         5      investigation, and that's the language that's in our exhibit to

         6      our objection to defendant's motion.            The statute -- this

         7      tracks Subsection I of the statute for falsifying physical

         8      evidence, which states:         A person commits a class B felony if,

         9      believing an official proceeding as defined in 641:1, Section

        10      II, or an investigation is pending or about to be instituted,

        11      he:    I. Alters, destroys, conceals or removes any thing with a

        12      purpose to impair its verity or availability in such proceeding

        13      or investigation; or II.         Makes, presents or uses anything

        14      which he knows to be false with a purpose to deceive a public

        15      servant who is or may be engaged in such proceeding or

        16      investigation.

        17                  This is comparable to a criminal trying to hide

        18      evidence or trying to dust off his fingerprints so he doesn't

        19      get caught, and it's a predictable response from a criminal who

        20      is being investigated for the crime in the heat of the moment

        21      and when he's being confronted.           So, it doesn't in any way

        22      refute probable cause in this instance, and there's case law to

        23      support that.

        24                  In United States versus Rumney, and this is cited in

        25      our brief, that's a First Circuit case from 1989, the First
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         1      Circuit found that omission of the informant's criminal record

         2      in addition to original denials of his involvement in a

         3      criminal activity did not warrant a Franks hearing because the

         4      facts would not have changed the overall finding of probable

         5      cause, and the court said, and I'm just going to substitute the

         6      word "the informant" for the informant's name in this:                The

         7      informant's denials of involvement were made predictably before

         8      he was confronted with evidence linking him to the robbery.

         9      Once the police gathered enough information to arrest the

        10      informant, he changed his story.           That the police chose not to

        11      include the informant's denials along with the reason for his

        12      recantation is not material to a finding of probable cause.

        13      The informant's credibility was not undercut merely because he

        14      made predictable denials until the police could produce

        15      evidence linking him to the robbery.

        16                  Similar to in Rumney, here the cooperating witness's

        17      physical falsification of drugs as law enforcement was trying

        18      to pin drugs on him is predictable, and it doesn't undermine

        19      his personal involvement at all in the activity that he

        20      describes in the post-arrest interview; and furthermore it's

        21      not a conviction for perjury, and it's not a false statement

        22      conviction, and it doesn't speak to his willingness to falsely

        23      throw someone else under the bus.           It's just simply not what

        24      happened with that violation.          So, the kinds of lies that

        25      matter are the kinds that show that, the defendant's
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         1      willingness to throw someone else under the bus to save

         2      himself, and this conviction doesn't show that willingness, and

         3      neither do the other reports that the defendant cites.

         4                  And I just wanted to say that there are cases to this

         5      effect, your Honor, and we cite one of them.              It's United

         6      States versus Comer, a 10th Circuit case that's listed in the

         7      government's Notice of Supplemental Case Law.

         8                  Now, it's also worth noting that, even if there was

         9      some possibility that the cooperating witness was lying in this

        10      case, a warrant application need not entirely eliminate the

        11      risk that the informant was lying in order to establish

        12      probable cause.       That's First Circuit case law cited in our

        13      brief.    That's the Capozzi case.         Instead, the application must

        14      merely suggest a fair probability that evidence of a crime will

        15      be found in the place to be searched.

        16                  And the logic of the Rumney and Conner (ph) cases,

        17      your Honor, also applies to the supplemental exhibits that were

        18      just submitted by defendant.          They're essentially cumulative to

        19      this falsification charge, because they show when he's

        20      initially confronted by law enforcement the cooperating witness

        21      did something to try to evade or throw police off the scent,

        22      and so under Rumney that is the type of roadside lie that is

        23      not really relevant to a finding of probable cause.

        24                  Now, I want to get specifically into those lies now.

        25      So, if you look at the reports that were submitted as exhibits
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         1      here, the language in the report says that the cooperating

         2      witness said that he was visiting his girlfriend on Prospect

         3      Street, but, upon being asked her name, he stated that he

         4      thought his name was and then began mumbling a name that did

         5      not appear to be a familiar name.           And the other report says

         6      that he said that the name was Eunice or something like that.

         7      And then, when he was asked further about that, as to what

         8      "Eunice" means, he says, Oh, I meant, and then it said his

         9      name, the cooperating witness said, Oh, I meant her name.                 And

        10      then that is the context in which the report goes on to say, I

        11      found this behavior to be suspicious and indicative of our

        12      suspicion of drug activity as to the cooperating witness, who

        13      was clearly nervous, was providing erroneous statements, was

        14      tripping over his own statements attempting to provide

        15      deceitful answers.

        16                  That is the basis of this additional finding -- the

        17      references that Attorney Guerriero was making to these reports

        18      about deceit, that is the context, his not being forthright

        19      about who the name was of his girlfriend who he was visiting in

        20      the context of the car stop, and that's precisely the type of

        21      misinformation, the type of lie that the First Circuit has

        22      found does not support probable cause, because it's so

        23      predictable.      And it speaks to the reason that it is not

        24      reckless for the agent to have omitted that information,

        25      because this is information that, frankly, just didn't pop out
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         1      at him.     He doesn't really recall specifically whether he had

         2      read that language, but he said that, even if it had, this is

         3      something that's commonplace, he wouldn't hold that against

         4      him, and then goes on to explain or previously at the last day

         5      of hearing, at least, explain why he found him to be credible.

         6                  So, the next point I want to make is that, even if you

         7      assume that the omissions were reckless such as the affidavit

         8      would be reformed, the reformed affidavit would still establish

         9      probable cause in this case, and I want to get into that a bit,

        10      because Attorney Guerriero says that there's basically nothing

        11      that was corroborated, there was no criminal activity

        12      corroborated, there was no credible information presented.

        13                  So, I believe the parties believe (ph) on the

        14      appropriate standard in this case, your Honor, and that

        15      standard is United States versus Gifford.             That's a First

        16      Circuit case, 2013, and it sets forth this list of

        17      considerations when determining whether an affidavit in support

        18      of a search warrant that's based primarily -- I apologize --

        19      that's based primarily on information from an informant

        20      establishes probable cause, and the first factor is that the

        21      affidavit establishes the veracity and basis of knowledge of

        22      the cooperating witness's information.

        23                  Now, here the cooperating witness was not an anonymous

        24      tipster.     This was someone who was providing information while

        25      in law enforcement custody, and the cooperating witness was
                                    JOINT APPENDIX 350
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         1      named in the affidavit so he could be held accountable if the

         2      information he provided was false.           There's case law that says

         3      that knowing the cooperating witness's identity itself bolsters

         4      the informant's credibility because it opens the informant up

         5      for charges related to making a false report, and that's United

         6      States versus Croto cited in our brief.

         7                  The cooperating witness also gave the post-arrest

         8      interview in person, it wasn't just some information conveyed

         9      over the phone, and it gave law enforcement an opportunity to

        10      evaluate personally his mannerisms, expressions and his tone,

        11      and Agent Burke testified as to the fact that he found him

        12      credible based on the information he was providing and the

        13      circumstances and being able to evaluate him.

        14                  The cooperating witness's statements against penal

        15      interest, as I already mentioned, they have inherent

        16      reliability, and we cite the case law in our brief as to that.

        17                  And then, importantly, the defense asserts and

        18      asserted during the cross-examination of Agent Burke that an

        19      arrestee has incentives to lie to curry favor with law

        20      enforcement, but cases in the First Circuit support the

        21      government's view that cooperating sources in post-arrest

        22      interviews are actually incentivized to tell the truth, and

        23      that's in United States versus Vongkaysone, which I probably

        24      butchered.     The First Circuit reasons that, when an informant

        25      has been caught dealing in drugs, it is to his advantage to
                                    JOINT APPENDIX 351
Case: 24-1386    Document:
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         1      produce accurate information to the police so as to qualify for

         2      the leniency that he seeks.

         3                  Here, the cooperating witness risked receiving no

         4      benefit and possibly additional charges if he provided false

         5      information, and, as Special Agent Burke testified, they didn't

         6      have a cooperation agreement or something that would have given

         7      him immunity in this case.         That only bolsters that point.

         8                  So, now I want to get into the discussion of the

         9      corroboration, because, your Honor, I do believe that there is

        10      sufficient corroboration here and that it established probable

        11      cause.

        12                  So, the first point I want to make is that law

        13      enforcement, you know, they conducted a search of a database to

        14      find the defendant's residence, which was near the intersection

        15      where the cooperating witness had said he conducted drug

        16      transactions with the defendant, and you'll recall this address

        17      was a true discovery when law enforcement searched for and

        18      corroborated it because it was different than the address that

        19      Francis had reported to his probation officer, and that was the

        20      issue that had been identified as to what the officers believed

        21      that the parole violation was in this case, was not reporting

        22      his correct address to Francis's parole officer.               And so, the

        23      magistrate judge could reasonably find that the proximity of

        24      the informant's reported drug deals to the defendant's

        25      confirmed address through this corroboration of looking through
                                    JOINT APPENDIX 352
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         1      the database did, in fact, show that the informant was

         2      providing truthful information.

         3                  Law enforcement also confirmed, through contacting the

         4      defendant's parole officer and through on-site surveillance,

         5      that the defendant's vehicle matched the detailed description

         6      that had been provided by the cooperating witness, and that

         7      included the make, color, license plate of the vehicle, which

         8      showed, at a minimum, the informant's familiarity with that

         9      vehicle.     And the cooperating witness described that the

        10      defendant took over supplying the cooperating witness with

        11      drugs after the cooperating witness's former supplier, Ryan

        12      Call, who was a member of the same gang as the defendant, the

        13      Gangster Disciples, was incarcerated, and law enforcement

        14      corroborated that the dates that the cooperating witness

        15      provided for that change in his supplier matched up with the

        16      time that the former supplier, Ryan Call, was arrested.

        17                  They were familiar, you know, law enforcement was

        18      familiar with Ryan Call as being in the Gangster Disciples,

        19      they confirmed that he was arrested in early July, and he was

        20      still incarcerated as of the writing of that affidavit, and

        21      that corroborated the informant's description that the

        22      defendant took over the informant's former supplier's operation

        23      after Mr. Call was arrested and between the June 13th, 2021 and

        24      July 30, 2021 car stops.

        25                  Furthermore, the informant's description of the amount
                                    JOINT APPENDIX 353
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         1      of methamphetamine he bought from the defendant per day was

         2      consistent with the amount recovered from the informant's

         3      vehicles, and the prices that he listed were known to law

         4      enforcement to be going rates at that time, and law enforcement

         5      determined that the defendant was a convicted felon, which the

         6      First Circuit has held to be material to the probable cause

         7      determination, and I believe we cite that in our brief as well.

         8      It's United States versus Taylor.

         9                  The defendant's being a felon, therefore, of course,

        10      lent credibility to the informant's assertion that the

        11      defendant was engaging in illegal activity and confirmed that

        12      his regularly carrying a gun in between the driver's seat and

        13      the center console of the vehicle was itself criminal activity.

        14                  So, your Honor, there is sufficient corroboration, we

        15      believe, to show that the information he was providing was

        16      credible in this case, and that, even if you were to add the

        17      omitted information in this case, that probable cause would

        18      still be established.

        19                  Now, having said that, I do want to address, actually,

        20      one more point, just briefly, which defense counsel makes this

        21      point that there was no corroboration of actual criminal

        22      activity that was observed as being ongoing, et cetera, by the

        23      police, but the Supreme Court has explicitly reasoned that

        24      corroboration of things other than illegal activity is

        25      sufficient to validate an informant's report of illegal
                                    JOINT APPENDIX 354
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         1      activity.     That's in Illinois versus Gates, where the Supreme

         2      Court reasoned that corroboration of innocent events described

         3      in an anonymous letter suffice to establish a fair probability

         4      that the defendants were engaged in the uncorroborated criminal

         5      activity that the letter described.            So, even if you believe

         6      that's the case, that does not militate against finding

         7      probable cause in this case.

         8                  I do want to, if I could briefly, address the other

         9      argument that I started to make in the context of the arrest.

        10      There is one other argument that we didn't thoroughly hash our

        11      earlier, your Honor, and that is based on the Supreme Court

        12      cases in Samson versus California and in United States versus

        13      Knights, which we cite in our brief, and the argument goes like

        14      this:    It's that here, because Mr. Francis was on parole at the

        15      time that the search of his phone was conducted, the search

        16      being the seizure in this case of the phone, was conducted,

        17      Mr. Francis lacked any privacy interest recognized by society

        18      as legitimate as against that search at issue, and the

        19      government has a strong countervailing interest in searching

        20      parolees and their property to protect public safety, to

        21      prevent recidivism and to aid a parolee's societal

        22      reintegration, and I do want to extrapolate on that a bit.

        23                  I think the Court is already familiar that, in order

        24      to show that a search is unreasonable, there has to be a

        25      finding that it was both -- there was no subjective -- in
                                    JOINT APPENDIX 355
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         1      addition to showing a subjective expectation of privacy, that

         2      the person searched had an objective expectation of privacy,

         3      one that was objectively reasonable, and the Supreme Court had

         4      held in Samson versus California that a condition of release

         5      can so diminish or eliminate a released prisoner's reasonable

         6      expectation of privacy that a suspicionless search by a law

         7      enforcement officer would not offend the Fourth Amendment; and

         8      then the Supreme Court goes on to analyze United States versus

         9      Knights, which dealt with probationers, and then in Samson

        10      holds that a parolee has even fewer privacy rights, because

        11      parole is essentially an alternative to prison; it's

        12      essentially a prisoner walking around in society.

        13                  And that fits into this case, because the defense's

        14      argument as against why this search was unreasonable we've been

        15      focusing on -- we've been focusing on the arrest, which we have

        16      already discussed at length, but it doesn't necessarily mean

        17      that the search itself in this case of the phone, that seizure

        18      of the phone -- I'm calling it a "search," because under Fourth

        19      Amendment law it would be considered a search to seize the

        20      phone, even though the content wasn't searched --

        21                  THE COURT:     It is a seizure.

        22                  MR. GINGRANDE:      Well, okay.     We'll call it a seizure,

        23      then, your Honor.

        24                  THE COURT:     It is a seizure.

        25                  MR. GINGRANDE:      It is a seizure; I agree with that.
                                    JOINT APPENDIX 356
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         1      But that seizure would be justified based on the fact that at

         2      the time of this arrest -- I'm sorry -- at the time of the

         3      seizing of the phone these surrounding circumstances of his

         4      being on parole, of his being in active violation of his parole

         5      and the information provided by the informant about his

         6      criminal activity and his conditions of parole that

         7      substantially diminished his expectation of privacy as

         8      against --

         9                  THE COURT:     I don't think so.       Those cases turned on

        10      expectations of privacy, as I recall, being limited by things

        11      like imposition of terms, saying, You understand that we can

        12      search your phone anytime, anywhere, anyhow for no reason.                 But

        13      that's not the case here.         Here there is a statutory

        14      expectation of privacy saying without a warrant you won't be

        15      arrested unless these conditions occur and the probation

        16      officer requested any law enforcement officer otherwise capable

        17      of arresting, unless they're asked to do it.              So, you're not

        18      suggesting that the Fourth Amendment says if you're on parole

        19      any federal law enforcement officer at any time can seize and

        20      search anything that a parolee has.            That's not the law.

        21                  MR. GINGRANDE:      I'm not suggesting that, your Honor,

        22      but I thought you might make that point, and so I wanted to

        23      address, point your attention to a specific cases that's

        24      actually cited in the defendant's brief, and that case is

        25      United States versus Graham, 553 F.3d 6, and that's a First
                                    JOINT APPENDIX 357
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         1      Circuit case from 2009.

         2                  THE COURT:     I'm sorry.     I got the cite but not the

         3      title.    Graham?

         4                  MR. GINGRANDE:      Yeah, Graham, G-r-a-h-a-m.         But you

         5      got the cite?

         6                  THE COURT:     Yes.

         7                  MR. GINGRANDE:      And so, and that case specifically

         8      addresses what happens -- the extent to which state law

         9      affects, excuse me, a parolee's expectation of privacy.

        10      Actually, in this case it was a probationer, but, if anything,

        11      parolees have fewer expectations of privacy than probationers,

        12      as the Supreme Court has established.            And what that case said

        13      is that how the search actually occurred and whether it

        14      occurred according to the correct procedure under state law is

        15      not dispositive of whether it was reasonable.              What matters is

        16      not who authorized the search but whether the evidentiary

        17      standard in the probationer or parolee's conditions to the

        18      search were met.

        19                  And in Graham the First Circuit found that whether a

        20      search is constitutional, of course, is governed by federal law

        21      and not state law, and you look at the totality of the

        22      circumstances, as one would expect, and they discussed how

        23      under Massachusetts law, unlike under New Hampshire law, police

        24      were required to obtain a search warrant when conducting a

        25      probation search, and I just note that that is not the law here
                                    JOINT APPENDIX 358
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         1      in New Hampshire.       There's no requirement of obtaining a search

         2      warrant to conduct a probation search.            And the First Circuit

         3      found that the police did not obtain such a search warrant in

         4      that case when conducting a probation search of the defendant.

         5                  So, here they violated state law, didn't get it,

         6      didn't get the warrant, and this was not dispositive in the

         7      case, didn't show that the search was unreasonable.                It was

         8      only one factor in considering the totality of the

         9      circumstances.      And the First Circuit went on to hold that the

        10      police officer's search was reasonable under the totality of

        11      the circumstances despite that failure and by stating as

        12      follows, and they said in Graham -- I think I mentioned Graham

        13      was the appellant.       Graham's expectation of privacy was greatly

        14      diminished by both his status as a probationer and the

        15      probation condition in his probation order that expressly

        16      informed him that the government could force him to submit to

        17      random drug testing and could search him, his property, his

        18      residence or a place he may be living based on reasonable

        19      suspicion rather than the more protective probable cause

        20      standard.     Although Graham's probation --

        21                  THE COURT:     Let me just stop you right there.           That's

        22      just what I was saying earlier.           It's a function of the terms

        23      that are imposed and made known to the person.              It's not a

        24      blanket you can be searched anytime, anywhere, by anyone.

        25      Terms basically require suspicion.
                                    JOINT APPENDIX 359
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         1                  MR. GINGRANDE:      Well, your Honor, so the exhibit I

         2      would point to is document, ECF document 61-1, which is Michael

         3      Francis's conditions of parole in this case, and in those

         4      conditions of parole they're very similar to the ones here.

         5      They say, condition number 8 says, I will submit to breath,

         6      blood or urinalysis testing for the presence of any substance

         7      or provide such other sample for testing or submit to such

         8      other test or procedure as may be directed by the Parole Board

         9      or my parole officer; and separately, I will permit the parole

        10      officer to visit my residence at any time for the purpose of

        11      examination and inspection in the enforcement of the conditions

        12      of parole and submit to searches of my person, property and

        13      possessions as requested by the parole officer.

        14                  So, here there's no standard of, really any

        15      evidentiary standard for the parole officer other than the

        16      request of the parole officer.

        17                  THE COURT:     Well, I would disagree.        We talked about

        18      this at the last hearing.         Sometimes parole officers aren't

        19      really like police officers; they are also like guidance

        20      counselors, and they're like coaches, and they're like

        21      reformists, and they're doing social work as well as law

        22      enforcement work, and sometimes they don't want the police

        23      arresting their parolees because they violated some condition

        24      of parole because they're trying to bring them along.                So, what

        25      you just read, that doesn't translate -- I assume you're not
                                    JOINT APPENDIX 360
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         1      arguing that doesn't translate into any law enforcement officer

         2      at any time can, based on their suspicion, search his apartment

         3      or search his phone.

         4                  MR. GINGRANDE:      No, your Honor.      All I'm saying is

         5      that someone who is on parole would be required to submit to

         6      those searches.

         7                  THE COURT:     By the probation officer, as he agreed to,

         8      not by every person with a badge throughout the nation he might

         9      be traveling in.       Not that.

        10                  MR. GINGRANDE:      I would agree with that, your Honor.

        11                  THE COURT:     Right.    Well, then, what's the issue here?

        12                  MR. GINGRANDE:      Well, so the issue here gets back to

        13      this case in Graham, which is, it's very similar to in Graham,

        14      because what the probationer agreed to in Graham was that these

        15      searches, they could be conducted pursuant to law enforcement

        16      but only if law enforcement obtained a warrant.

        17                  THE COURT:     He has two things going for him.          He has

        18      an agreement that he signed that says, I understand that a

        19      probation officer can search me.           He didn't say, I understand

        20      any law enforcement officer in any county in any state that I

        21      happen to be in can search me.          He didn't say that.        He has a

        22      statute that says you have a statutory expectation of privacy

        23      created by the New Hampshire legislature in that you will not

        24      be searched without a warrant unless certain conditions apply,

        25      one of which is these things occur:            We think you're going to
                                    JOINT APPENDIX 361
Case: 24-1386    Document:
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         1      abscond, and a probation officer asks a law enforcement officer

         2      to arrest you.      Right?

         3                  MR. GINGRANDE:      Yup.

         4                  THE COURT:     I don't think I'm buying the argument that

         5      the Fourth Amendment is so broad that, as long as he agreed to

         6      some search condition, anybody can search him at any time.

         7                  MR. GINGRANDE:      And I would agree with that, your

         8      Honor.    My counter-argument would be that, again, that's not

         9      what the conditions say, and I agree with your interpretation,

        10      because that's not what the condition is.

        11                  THE COURT:     Did a probation officer seize his phone?

        12                  MR. GINGRANDE:      No, no, he did not.       No, he did not,

        13      but he had the expectation that a parole officer could order a

        14      law enforcement officer under certain conditions, certainly.

        15                  THE COURT:     Could ask, right?       Could ask, request.

        16                  MR. GINGRANDE:      Could ask, could request.

        17                  THE COURT:     Not order.

        18                  MR. GINGRANDE:      I apologize.     Yes, could request, and

        19      then law enforcement could thereby search -- conduct that

        20      search, right?      So, that sets the reasonable expectation of

        21      privacy, your Honor, is it is very, very, very low when it

        22      comes to law enforcement searches of his person.

        23                  THE COURT:     You just made two transitions.          Yes, it's

        24      a low expectation compared to what a normal citizen would have,

        25      but, no, it doesn't authorize any law enforcement officer to
                                    JOINT APPENDIX 362
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         1      search him at any time.

         2                  MR. GINGRANDE:      And that's right, but here what you

         3      look at is the totality of the circumstances as against that

         4      background, right, the totality of the circumstances, the

         5      reasonableness of the search?

         6                  THE COURT:     Why are we arguing about an unlawful

         7      seizure that you conceded about two hours ago?

         8                  MR. GINGRANDE:      Well, we conceded that it was an

         9      unlawful arrest, your Honor, and so when we are talking about

        10      the actual --

        11                  THE COURT:     The seizure was incident to an unlawful

        12      arrest.     That makes it an unlawful seizure.

        13                  MR. GINGRANDE:      I guess -- I think this argument is a

        14      little bit broader as to whether or not, even putting the

        15      arrest aside, whether law enforcement could reasonably grab

        16      that phone, because we were talking earlier about scenarios in

        17      which --

        18                  THE COURT:     But not pursuant to an unlawful arrest.

        19      So, now you're switching gears and saying, sure, it was an

        20      unlawful arrest, therefor an unlawful seizure, but you know

        21      what?    The Fourth Amendment is so broad that in this instance

        22      it covers unlawful seizures and makes them lawful because

        23      they're reasonable because his expectations are so low.                 Is

        24      that your argument?

        25                  MR. GINGRANDE:      Well, I mean, I think I'd phrase it a
                                    JOINT APPENDIX 363
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         1      little bit differently, your Honor.

         2                  THE COURT:     Of course you would, but is that it?

         3                  MR. GINGRANDE:      But essentially when it comes to the

         4      privacy interests of parolees, yes, you look at the totality of

         5      the circumstances.

         6                  THE COURT:     We don't need to waste the rest of the

         7      afternoon.

         8                  MR. GINGRANDE:      Okay.

         9                  THE COURT:     I'm not inclined to issue a ruling that

        10      says the Fourth Amendment allows the introduction of evidence

        11      unlawfully seized pursuant to an unlawful arrest because the

        12      expectation of parolees is so weak.            That's not going to

        13      happen.

        14                  MR. GINGRANDE:      Okay.    Fair enough, your Honor.        Fair

        15      enough, your Honor.        So, I will move on -- well, and I should

        16      say, when it comes to this issue about the other grounds for

        17      the arrest, the case law, if your Honor was inquiring about,

        18      you know, would it make sense for us to try and supplementally

        19      brief that issue?

        20                  THE COURT:     About the phone?

        21                  MR. GINGRANDE:      Yeah.

        22                  THE COURT:     If you'd like, sure.       Sure.

        23                  MR. GINGRANDE:      Okay.    All right.     Because I think

        24      there are -- I think it's an issue that we would like

        25      certainly --
                                    JOINT APPENDIX 364
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         1                  THE COURT:     I'm curious.     There might be a simple

         2      answer.     I'm just not aware of it.

         3                  MR. GINGRANDE:      Okay.    Absolutely.     So, we will submit

         4      supplemental briefing on that, and then, when it comes to the

         5      supplemental brief the defense files, we'll kind of decide

         6      whether or not that might be helpful to the Court.

         7                  THE COURT:     All right.     Anything else, Mr. Guerriero?

         8                  MR. GUERRIERO:      Just briefly, your Honor.         Nothing

         9      else regarding the phone and the arrest, but regarding the

        10      informant -- and I guess I have two points.              One, I mean, it

        11      seems to be the government's position that they conclude, the

        12      agent concluded that this informant is the kind of person who

        13      makes things up when he's scared, who lies when he's scared,

        14      which is not surprising, and they describe how scary it is to

        15      be caught with 400 grams of methamphetamine.              That seems to be

        16      a pretty obvious motive to lie and to create a duty on the

        17      agent's part to be suspicious and concerned about the person's

        18      credibility.      I mean, it may be that his dealing with the

        19      agent, that that's a motive for him to say, well, I'd better

        20      give them something good in plain English, but it's also a

        21      motive to protect himself, to try to find something he can say

        22      that is going to help himself.

        23                  And so, under those circumstances we have a person

        24      with maybe a motive to give something good, maybe a motive to

        25      lie because they're scared, and certainly a track history of
                                    JOINT APPENDIX 365
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         1      lying because they're scared, according to the government, and

         2      then you're faced with evidence of two officers saying he's

         3      dishonest, and a prior felony conviction for dishonesty, and it

         4      comes down to the question of is this a judgment for the agent

         5      in deciding what he leaves in or out, or is this something

         6      where the agent has a duty to reveal it to the court and the

         7      court should decide, you know?          Under these circumstances I

         8      can't just go on the fact that the guy's facing a lot of time

         9      so he's motivated to give him something good.              I need something

        10      more, because you haven't corroborated any criminal activity,

        11      he has a motive to lie in addition to a motive to give

        12      something good, and the agent shouldn't be making this decision

        13      by himself, he should be putting it in the affidavit.                That's

        14      our position.

        15                  THE COURT:     All right.     Thank you.     Appreciate it.

        16      Take it under advisement.         How long do you want, ten days?

        17                  MR. GINGRANDE:      Yeah, that would be great, your Honor.

        18                  THE COURT:     You'll file a supplemental brief.

        19                  MR. GUERRIERO:      Yes.

        20                  THE COURT:     All right.     Thank you.

        21                  THE CLERK:     All rise.

        22             (WHEREUPON, the proceedings adjourned at 3:20 p.m.)

        23

        24

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         1                                 C E R T I F I C A T E

         2

         3

         4                  I, Brenda K. Hancock, RMR, CRR and Official Court

         5      Reporter of the United States District Court, do hereby certify

         6      that the foregoing transcript constitutes, to the best of my

         7      knowledge, skill, ability and belief, a true and accurate

         8      transcription of the within proceedings.

         9

        10

        11

        12

        13      Date:       11/2/23             /s/ Brenda K. Hancock
                                                Brenda K. Hancock, RMR, CRR
        14                                      Official Court Reporter

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                                    JOINT APPENDIX 367
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                                     UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW HAMPSHIRE


       UNITED STATES OF AMERICA                       )
                                                      )        Criminal Case No. 1:21-cr-153-SM
                 v.                                   )
                                                      )
       MICHAEL FRANCIS                                )
                                                      )


                             GOVERNMENT’S OBJECTION TO DEFENDANT’S
                               SUPPLEMENT TO MOTION TO SUPPRESS
                 The government submits this brief objection for the purpose of specifically addressing in

       writing the defendant’s argument regarding the sealed exhibits to defendant’s supplement (ECF

       #73). 1

           I.         Inclusion in the Affidavit of the Information in Defendant’s Exhibits Would Not
                      Have Altered the Finding of Probable Cause

                 The defendant’s supplement asserts FBI Special Agent Burke omitted from his affidavit

       that two Manchester Police officers had described the cooperating witness who provided

       information for the search warrant affidavit at issue (the “CW”) as being “deceptive” and “not

       telling the truth” during a motor vehicle stop on July 30, 2021. The defendant argues that, had

       these police officer statements about the CW been included in the affidavit along with the CW’s

       criminal falsification charge, they would have led the Magistrate Judge to conclude the search

       warrant lacked probable cause.




       1
               The government incorporates in this objection its initial objection to defendant’s initial
       motion to suppress evidence seized during the search of defendant’s Honda Accord (ECF #46) as
       well as its closing argument at the suppression hearing, which also addressed the arguments
       raised in defendant’s supplemental filing.
                                           JOINT APPENDIX 368
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                This is simply not so. These exhibits are essentially cumulative to the physical

       falsification of evidence charge defendant previously argued vitiates probable cause: The

       exhibits show that, when initially confronted by law enforcement, the CW did something to

       throw police off the scent of his crime. But the CW’s statements that are characterized as

       deceitful by the officers are precisely the type of “predictable denials” of criminal culpability

       made prior to confrontation with evidence of guilt that the First Circuit has held do not

       undermine an informant’s credibility or refute probable cause. In United States v. Rumney, 867

       F.2d 714 (1st Cir. 1989), the First Circuit found that omission from a search warrant affidavit of

       original denials of an informant’s involvement in criminal activity, along with omissions of his

       criminal record would not have changed the overall finding of probable cause. Id. at 720. In that

       case, the affiant omitted information that the informant initially lied to investigators on two

       separate occasions by denying being involved with a robbery before later admitting his

       involvement. The Court reasoned:

                       [The informant’s] denials of involvement were made, predictably,
                       before he was confronted with evidence linking him to the robbery.
                       Once the police gathered enough information to arrest [the
                       informant], he changed his story. That the police chose not to
                       include [the informant’s] denials along with the reason for his
                       recantation is not material to a finding of probable cause. [The
                       informant’s] credibility was not undercut merely because he made
                       predictable denials until the police could produce evidence linking
                       him to the robbery.

       Id. at 720. 2


       2
               The Court even characterized the informant’s information supporting the search warrant
       affidavit in Rumney as lacking police corroboration, similar to the way the defendant (wrongly)
       attempts to classify this case; but the First Circuit still found that the CW’s predictable denials of
       guilt did not change the probable cause analysis. See id. (“Although this is not a case where the
       affidavit was supported by police corroboration, it is also not a case where the magistrate was
       misled . . . .”) (internal citations omitted).
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                Similar to Rumney, here, the CW made predictable denials to law enforcement of his

       criminal involvement in the heat of the moment, prior to being confronted with evidence of his

       guilt. The statement that caused the two police officers to describe the CW as deceptive was his

       response to a question regarding where he had been coming from when he was first pulled over

       in his vehicle. The CW said he was coming from his girlfriend’s place, and then, when pressed

       on her name, said “Eusis or something like that is his real name.” See Exhibit A to Defendant’s

       Supplement (“Supplement Ex. A”). When officers asked him to clarify why he said “his” real

       name, the CW corrected himself, stating “her name.” Id. The officer therefore concluded he

       “was deceptive and not telling the truth.” Id.; see also Supplement Ex. B (stating second police

       officer’s similar opinion). The CW was also asked about what was in the car side door, and he

       said “sunglasses,” but police later found drugs there. Supplement Ex. A. The officers believed

       he was under the influence of drugs at the time he provided these responses. Supplement Ex. A

       & B.

                These deflective statements simply do not refute the specific information the CW

       provided roughly three weeks later in an in-person, post-arrest interview, when the CW was not

       apparently under the influence of drugs, and after his car was searched and law enforcement

       confronted him with evidence of his guilt. They do not undermine the CW’s knowledge of the

       defendant’s criminal activity, or the corroborative work performed by law enforcement to verify

       the CW’s information, which ranged from corroborating the CW’s former drug supplier’s gang

       connection to the defendant, to corroborating that the defendant had access to an apartment

       which was unknown even to defendant’s parole officer and was near the site where the CW said

       the defendant conducted drug deals with him. See Rumney, 867 F.2d at 721 (finding the




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       informant’s criminal record, omitted from the affidavit, had “no bearing on his intimate

       knowledge of the crime”).

                In contrast to the misleading statements the CW made during the July 30, 2021 car stop,

       the kinds of lies that matter to probable cause analysis are those that show an informant’s

       willingness to falsely accuse someone else to save himself. United States v. Comer, 565 F.

       App'x 729, 733–34 (10th Cir. 2014) (holding the failure to disclose the criminal history of an

       informant including a crime of dishonesty—a check forgery conviction—did not affect the

       probable cause analysis of a search warrant affidavit because it did not show the informant’s

       willingness to falsely implicate another person in a crime, or undermine the basis of the

       informant’s knowledge). Those lies are simply not present in this case.

                Finally, even if there was some possibility that the CW was lying, a warrant application

       need not entirely eliminate the risk that the informant was lying to establish probable cause. See

       United States v. Capozzi, 347 F.3d 327, 333 (1st Cir. 2003). Instead, the application must merely

       “suggest a ‘fair probability’ that evidence of a crime will be found in the place to be

       searched.” Gates, 462 U.S. at 238. The affiant’s Affidavit does so, and would do so regardless

       of reference to the new exhibits the defendant cites, or the physical falsification of evidence

       conviction.

          II.        Special Agent Burke Was Not Reckless in Omitting the Information Contained
                     in Defendant’s Exhibits

                Special Agent Burke was not reckless in omitting the information about the CW’s

       misleading statements during the earlier motor vehicle stop. “To prove reckless disregard for the

       truth, the defendant must prove that the affiant ‘in fact entertained serious doubts as to the truth’

       of the allegations.’” United States v. Ranney, 298 F.3d 74, 78 (1st Cir. 2002) (quoting United

       States v. Williams, 737 F.2d 594, 602 (7th Cir. 1984). There is no evidence whatsoever that

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       Agent Burke entertained such doubts as to the truth of the CW’s statements about the

       defendant’s criminal activity: to the contrary, he testified that he believed CW to be credible

       when he interviewed the CW on August 19, 2021, and the information he provided to be true.

       As Agent Burke testified, he did not specifically recall reading the information about the

       deceptive statements the CW made when first confronted by police during the motor vehicle

       stop: he said this is likely because they did not stand out to him, since the behavior is

       commonplace. As Rumney shows, the First Circuit agrees with Special Agent Burke’s

       assessment: these lies are “predictable” and do not undermine a CW’s reliability. Even if the

       Court concludes the information should nonetheless have been included in the Affidavit, at most

       this would show negligence, which is insufficient to find a Franks violation: defendant has not

       met its burden to show the omission was reckless.

          III.      Conclusion

                 For all of the foregoing reasons, the Court should find that the additional exhibits do not

       change the probable cause analysis, and deny defendant’s motion to suppress.



       DATED: September 15, 2023                       JOHN J. MCCORMACK
                                                       Attorney for the United States
                                                       Acting under authority conferred by
                                                       28 U.S.C. § 515

                                                       /s/ Aaron G. Gingrande
                                                       Aaron G. Gingrande
                                                       Charles L. Rombeau
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                                                       53 Pleasant Street, 4th Floor
                                                       Concord, New Hampshire 03301




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                               UNITED STATES DISTRICT COURT

                                 DISTRICT OF NEW HAMPSHIRE


       United States of America

                v.                                 Case No. 1:21-cr-153-1-SM
                                                   Opinion No. 2023 DNH 126
       Michael Francis


                                           O R D E R

                Michael Francis has been indicted on three counts of

       conspiracy to, and possession with intent to, distribute

       cocaine, fentanyl, and methamphetamine, as well as two firearms

       charges.      Francis moves to suppress (1) evidence obtained in the

       search of his vehicle; and (2) evidence obtained during his

       arrest on September 1, 2021. 1         In his motion to suppress evidence

       obtained during the search of his vehicle, Francis challenges

       the veracity of statements made in the affidavit in support of




       1    In addition, defendant also moves to suppress the
       introduction of evidence gathered by law enforcement during a
       search of his apartment on September 2, 2021. The government
       has agreed that it will not seek to introduce such evidence at
       trial, will move to dismiss Counts 3, 4, and 5 of the indictment
       (all of which are based on evidence seized from the apartment),
       and asks the court to deny the motion as moot.

            Finally, defendant moves to suppress statements he made on
       September 7, 2021. Edwards v. Arizona, 451 U.S. 477 (1981).
       The government agrees that it will not use those statements at
       trial, and asks the court to deny the motion as moot.


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       the warrant, arguing for a hearing under Franks v. Delaware, 438

       U.S. 154, 155 (1978).



                Over the government’s objections, the court held a combined

       Franks and suppression hearing on June 14, 2023, and July 12,

       2023.         Having considered the evidence presented at the hearing,

       as well as the motions, and the parties’ supporting memoranda,

       both motions to suppress are denied.



                                     Factual Background

                Michael Francis is alleged to be a member of the Gangster

       Disciples criminal street gang.           At the time of the events

       relevant to this prosecution, he was an active state parolee.

       The conditions of his parole required Francis to agree to

       searches of his person, property, and possessions, as requested

       by a parole officer; that he would obtain his parole officer’s

       permission before changing residences; and that he would not

       associate with other parolees.



                1.      Cooperating Witness (“CW”)

                A cooperating witness (“CW”) provided information to law

       enforcement officers during a post-arrest interview regarding

       Francis’s alleged criminal activity.            The witness had been

       arrested on warrants relating to two prior motor vehicle stops

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       (on June 13, 2021, and July 30, 2021), both of which led to the

       seizure of a large amount of drugs.            During his August 19, 2021,

       interview, the CW admitted to possessing the drugs seized during

       the June and July motor vehicle stops, and admitted that he

       intended to distribute those drugs.            He also provided

       significant information about his drug suppliers.



                The CW reported that the drugs seized during the June 13

       stop were provided to him by Ryan Call, a member of the Gangster

       Disciples whom the CW had met in prison, and with whom he had

       maintained a relationship.          The CW said that Call informed him

       that the drugs came from Michael Francis, another Gangster

       Disciples member.        After Call was arrested in the early part of

       July, 2021, the CW said he was contacted by Francis, who told

       the CW that he, Francis, would be his supplier going forward.

       The drugs recovered during the July 30 motor vehicle stop had

       been provided by Francis, said the CW.



                In his post-arrest interview, the CW detailed the price and

       quantity of drugs he received regularly from Francis, and

       described the locations where those drug transactions took

       place. One location, according to the CW, was near Rimmon Street

       and Putnam Street, in Manchester, close to where the witness

       believed Francis lived.         The CW said that Francis met with him

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       personally to conduct the transactions.            He described in detail

       the vehicle Francis drove (a Honda Accord), and reported that

       Francis routinely kept a pistol between the driver’s seat and

       center console of the vehicle.



                2.   Law Enforcement Corroboration of CW’s Information

                Following their interview with the CW, law enforcement

       officers corroborated that Ryan Call (the CW’s initial supplier)

       had been arrested in early July, 2021, and remained incarcerated

       at the time of the August interview.            Officers also conducted a

       records check of vehicles registered to Francis, which confirmed

       that Francis’s car matched the Honda Accord described by the CW,

       and Francis’s parole officer confirmed that he regularly used

       that vehicle. 2



                In addition, using a law enforcement database,

       investigators corroborated that Francis resided at 231 Thornton

       Street, in Manchester, 3 close to where the CI said his drug

       transactions with Francis were conducted.             On August 20, 2021,


       2    The vehicle was registered to 73 Schiller St., Apt. 2, in
       Manchester, which was the address that Francis had given to his
       parole officer as his residence.


       3    Francis had not reported this address to his parole officer
       as his current residence.

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       officers set up a surveillance operation at 231 Thornton Steet.

       They observed a person in the rear parking lot of the residence,

       next to a Honda Accord.         Based on his physical characteristics,

       that person appeared to be Michael Francis.             Subsequent

       surveillance conducted at 231 Thornton Street resulted in

       further observations of Francis and/or the Honda Accord.



                Finally, investigators determined that Francis was a

       convicted felon, federally prohibited from possessing any type

       of firearm.



                3.   Warrant to Search Vehicle

                On August 25, 2021, FBI Special Agent Ryan Burke applied

       for a warrant to search the Honda Accord.             That application was

       based primarily on information obtained from the CW, as well as

       law enforcement’s corroboration of that information.               The

       affidavit in support of the warrant was signed by Burke.



                A search warrant was issued by the magistrate judge on

       August 25, 2021.       She found probable cause to believe that a

       search of Francis’s car would result in evidence of criminal

       activity.      The warrant was executed on September 1, 2021.




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                4.   September 1, 2021, Arrest

                On September 1, 2021, law enforcement agents again

       conducted surveillance of the Thornton Street apartment (where

       Francis’s car was parked in the rear).            They observed Francis

       leaving the apartment, enter the Honda Accord, and drive away.

       Armed with the search warrant, the officers followed.               Francis

       drove to a residence on Joliette Street, in Manchester.                There,

       Francis met a man identified by the police as Emilio Flores, an

       associate of Francis’s, a suspected drug dealer, and a state

       parolee. 4      Flores had an outstanding warrant for his arrest on

       a 2018 parole violation.



                Flores went inside the building, and came back out holding

       a bag that he put in the backseat of Francis’s car.               He got into

       the car’s passenger seat, and they drove away.              While following

       Francis and Flores, law enforcement officers contacted Francis’s

       parole officer.       They notified him of the surveillance conducted

       at Francis’s Thornton Street residence, that Francis was

       associating with Flores, and that Flores had brought a bag into

       Francis’s vehicle.




       4    As mentioned, as a parolee, Francis’s parole conditions
       prohibited his association with other parolees.

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                Francis and Flores drove to TD Bank.         Francis got out of

       the car and went inside (Flores remained in the car).                 Officers

       then executed the search warrant, searching Francis’s car.

       Simultaneously, Francis was placed under arrest while still

       inside the bank, for violating the conditions of his parole.

       Flores was arrested as well.



                The initial search of the car revealed a firearm holster

       under the driver’s seat, and a kilogram of cocaine.               A

       subsequent search yielded two cell phones (belonging to Flores),

       $10,000 in cash, and a black bandana purported to be gang

       paraphernalia.



                Francis’s cell phone was sitting on a bank counter when he

       was arrested.       That phone was seized, incident to his arrest.

       Francis was later questioned by two Manchester police officers.

       A recording of that interview is in evidence.              Finally, a

       warrant to search the contents of Francis’s cell phone was

       obtained and executed (21-mj-277-AJ).            That search yielded

       evidence of drug distribution activity.




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       Motion to Suppress Evidence Seized from the Vehicle

                Francis argues that the search of his car was not supported

       by probable cause.        That is because, he says, the affidavit in

       support of the search warrant failed to disclose to the issuing

       magistrate judge that (1) the confidential informant had a prior

       conviction for falsifying physical evidence; and (2) law

       enforcement officers had noted in their reports regarding the

       CW’s July 30, 2021, arrest that he had been dishonest during the

       encounter.      Had that information been disclosed, Francis argues,

       the warrant to search his vehicle would not have issued, since a

       reformed affidavit including that information would not be

       enough to establish probable cause. 5



                Francis first contends that the affidavit relies almost

       entirely on the CW’s word alone.           The corroboration provided by

       law enforcement was insufficient, Francis says, because it

       failed to corroborate any actual criminal conduct.               And, Francis

       says, the affidavit lacks any discussion of the CW’s

       credibility, or whether the CW had provided reliable information

       to law enforcement in the past.           Given those deficiencies,




       5    Francis also makes the argument that the affidavit is
       facially insufficient to establish probable cause. For the
       reasons discussed at the evidentiary hearing, that argument is
       unpersuasive.

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       Francis argues, the magistrate judge’s assessment of probable

       cause would have been negatively impacted by information

       concerning the CW’s past conviction for falsification of

       physical evidence, as well as the CW’s dishonesty during the

       July 31 motor vehicle stop, and a warrant would not have issued.

       Francis argues the affiant’s failure to include that relevant

       information at least constitutes a “reckless disregard for the

       truth.”



                “Probable cause for a search exists where there is a fair

       probability that evidence of a crime will be found in a

       particular place.”        U.S. v. Maglio, 21 F.4th 179, 185 (1st Cir.

       2021) (citations omitted) (cleaned up).            “For a warrant to be

       voided and the fruits of a search excluded, the defendant must:

       (1) show that the affiant in fact made a false statement or

       omission ‘knowingly and intentionally, or with reckless

       disregard for the truth,” (2) make this showing by a

       preponderance of the evidence, and (3) show that, with the

       recklessly omitted information added to the affidavit, the

       reformed affidavit fails to establish probable cause.’”                U.S. v.

       Gifford, 727 F.3d 92, 98–99 (1st Cir. 2013) (quoting U.S. v.

       Tzannos, 460 F.3d 128, 136 (1st Cir. 2006)).




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                “An allegation is made with reckless disregard for the

       truth if the affiant in fact entertained serious doubts as to

       the truth of the allegations or where circumstances evinced

       obvious reasons to doubt the veracity of the allegations in the

       application.”        Gifford, 727 F.3d at 98-99. (internal quotation

       and citations omitted).          “In the case of allegedly material

       omissions, recklessness may be inferred where the omitted

       information was critical to the probable cause determination.”

       Id. at 99 (quotation omitted).            “Negligent omissions — even

       negligent omissions of highly probative information — do not

       satisfy this strict standard.”            U.S. v. Tanguay, 787 F.3d 44, 49

       (1st Cir. 2015) (citing Franks, 438 U.S. at 171) (further

       citations omitted).



                The court fully credits Special Agent Ryan’s testimony –

       there was no intent to omit material information nor any purpose

       to deceive.       Best practices might counsel including the omitted

       information, but failure to include it did not undermine the

       magistrate judge’s assessment.            And, the affidavit, even if

       reformed to include the omitted facts, still establishes

       probable cause supporting issuance of the warrant.                 Neither the

       CW’s prior criminal conviction, nor the CW’s dishonesty as

       described in the July 30 police report are sufficient to

       undermine the probable cause finding.

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                As the Court of Appeals for the First Circuit instructed in

       U.S. v. Tiem Trinh, 665 F.3d 1, 10 (1st Cir. 2011), when an

       affidavit in support of a warrant application relies primarily

       on a witness’s report to law enforcement, courts should:


                apply a nonexhaustive list of factors to examine the
                affidavit's probable cause showing. These factors
                include, among others, (1) whether the affidavit
                establishes the probable veracity and basis of
                knowledge of persons supplying hearsay information;
                (2) whether an informant's statements reflect
                firsthand knowledge; (3) whether some or all of the
                informant's factual statements were corroborated
                wherever reasonable and practicable (e.g., through
                police surveillance); and (4) whether a law
                enforcement affiant assessed, from his professional
                standpoint, experience, and expertise, the probable
                significance of the informant's provided information.


       (internal quotations and citations omitted) (cleaned up).                   Agent

       Burke’s affidavit adequately satisfies those factors and

       establishes probable cause to search, even when the omitted

       information is included.



                First, the affidavit sufficiently establishes the probable

       veracity of the CW.         The CW is identified by name, and he

       plainly implicates himself in the offenses described, in a

       manner consistent with the evidence found.               See Tanguay, 787

       F.32d at 50 (“informant’s trustworthiness may be enhanced in a

       number of ways, including his willingness to reveal his

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       identity, the level of detail in his account, the basis of his

       knowledge, and the extent to which his statements are against

       his interest.”).        Special Agent Burke credibly testified that,

       when assessing the CW’s credibility, he took those circumstances

       into consideration, as well as the fact that the CW was

       providing information while in custody.              Burke testified that

       he:


                 . . . recognized that [the CW] was facing significant
                exposure. [The CW] knew his criminal history, that it
                would result in you know a lengthy prison sentence and
                so it's not something he probably wanted to do and
                decided the only way to potentially receive
                consideration is to provide truthful information to us
                that we could then verify. Otherwise, obviously, if he
                provided fake information to us, that could just
                backfire. So I believe that motivated him to provide
                accurate information so that he could eventually,
                hopefully, receive some type of compensation or
                benefit.


       See United States v. Batista, 31 F.4th 820, 823–24 (1st Cir.

       2022).      (“As we recognized in United States v. Vongkaysone, when

       an informant ‘has been caught dealing in drugs, it is to his

       advantage to produce accurate information to the police so as to

       qualify for the leniency he seeks.’ 434 F.3d 68, 74 (1st Cir.

       2006).      . . . An informant's credibility is further bolstered

       when the informant incriminates himself, as the CW here did in

       revealing his history of purchasing drugs for resale from

       [defendant].”) (internal citations omitted) (cleaned up).                   See


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       also U.S. v. Austin, 991 F.3d 51, 56 (1st Cir. 2021) (“When a

       self-incriminating statement is provided by an informant whose

       identity is known to the authorities, the statement is more

       likely to be true because of the risk inherent in making such a

       statement.”) (internal quotations and citations omitted).



                The information provided by the CW was detailed and

       comprehensive.        Specifically, the CW provided information

       relating to the make, model and identifying details of

       defendant’s car, the location of the reported drug deals, how

       his meet-ups with Francis were arranged, where Francis would

       store drugs to be exchanged at the meet-ups, the nearby location

       of the defendant’s residence, the amounts of drugs the CW

       purchased from Francis, and the prices at which the drugs were

       purchased.       That level of detail (all of which is set out in the

       affidavit) further strengthens the CW’s credibility, making his

       first-hand knowledge plausible.            See U.S. v. Greenburg, 410 F.3d

       63, 67 (1st Cir. 2005) (“A specific, first-hand account of

       possible criminal activity is a hallmark of a credible tip.”)



                Second, law enforcement corroborated several aspects of the

       information provided by the CW, as could be done practically.

       Law enforcement officers corroborated that:



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                •    Francis resided near the intersection where the
                     reported drug deals with the CW occurred (an address
                     he had not shared with his parole officer);

                •    Francis drove a Honda Accord matching the detailed
                     description provided by the CW, including the color,
                     license plate, and a description of the vehicle’s
                     rims (corroborated with Francis’s parole officer and
                     through on-site surveillance);

                •    The CW’s former drug supplier, Ryan Call (familiar
                     to law enforcement as a member of the Gangster
                     Disciples) had indeed been arrested in early July,
                     2021, as the CW stated;

                •    The CW’s description of the amount of drugs he
                     regularly purchased from Francis was consistent with
                     the amount of drugs seized from the CW’s vehicles;

                •    The prices paid by the CW for the drugs were
                     consistent with rates known to law enforcement at
                     that time; and

                •    Francis was a convicted felon.


       As the Supreme Court has noted, “[b]ecause an informant is right

       about some things, he is more probably right about other facts,

       — including the claim regarding               . . . illegal activity.”

       Illinois v. Gates, 462 U.S. 213, 244 (1983) (internal quotation

       omitted).         Defendant criticizes law enforcement for not

       corroborating the CW’s reports of criminal activity, but such

       corroboration is not necessarily required: “It is enough, for

       purposes of assessing probable cause, that corroboration through

       other sources of information reduced the chances of a reckless

       or prevaricating tale, thus providing a substantial basis for


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       crediting the hearsay.”          Id. at 244-45 (internal quotations and

       citations omitted).         See also Tiem Trinh, 665 F.3d 1, 12 (1st

       Cir. 2011) (“case law makes clear that corroboration of even

       innocent activity reported in the tip may support a finding of

       probable cause, and that corroboration of apparently innocent

       activity can establish the reliability of the informant because

       the activity might come to appear suspicious in light of the

       initial tip.”) (internal quotations omitted) (cleaned up).



                Third, the information omitted, while not irrelevant, does

       not meaningfully undermine the substantive information included

       in the affidavit.         “[T]he commission of a past crime does not

       necessarily undercut a person's veracity.”               U.S. v. Tanguay, 787

       F.3d 44, 50 (1st Cir. 2015) (citing U.S. v. Rumney, 867 F.2d

       714, 720–21 (1st Cir. 1989).           “Even a prior conviction for a

       crime of dishonesty is not always dispositive of a witness's

       reliability.”        Id. (citations omitted).        The omitted criminal

       conviction here, while sounding ominous, was the result of the

       CW dropping and then stepping on top of drugs he was holding in

       an attempt to hide them during an ongoing drug possession

       investigation – a fairly predictable “in the heat of the moment”

       response from a criminal under active investigation for a drug

       crime.      See Rumney, 867 F.2d 714, 720 (1st Cir. 1989)

       (informant’s “credibility was not undercut merely because

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       [informant] made predictable denials until the police could

       produce evidence linking him to the robbery.”).                With regard to

       the CW’s behavior during the July 31 traffic stop, Agent Burke

       testified:


                I would go so far as to say that, if someone’s being
                deceptive to law enforcement on a car stop precluded
                them from providing honest information to me, then I
                don’t think I could probably interview anyone in this
                courtroom or elsewhere. I just think it’s that common
                a thing that people are stressed on car stops and they
                say things they don’t mean[,] and they just try to,
                you know, avoid getting in trouble.
                                         . . .

                . . . I think deception on a traffic stop is so common
                that it didn’t affect my assessment of the information
                he [later] provided, and, again, I just think
                deception on any traffic stop, if that were such a
                deal breaker for . . . collecting information from
                people, that we wouldn’t have anybody to talk to. So,
                when I read that, I didn’t really think anything of
                it. I just thought that’s sort of human nature.



       The affidavit “made no secret” of the CW’s criminality,

       reporting that the CW had been arrested on two separate warrants

       for drug offenses, and had provided the information concerning

       Francis during a post-arrest interview.              U.S. v. Belton, 414 F.

       Supp. 2d 101, 110 (D.N.H. 2006), aff'd, 520 F.3d 80 (1st Cir.

       2008) (noting that “despite the omission of certain details of

       that criminality, the magistrate ‘issuing the search warrant

       would manifestly have been aware that [informant] was not a

       model citizen” in considering his reliability’”) (quoting U.S.

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       v. Hall, 171 F.3d 1133, 1142 (8th Cir. 1999)) (cleaned up).

       Neither the conviction nor the CW’s failure to be entirely

       forthright with the police during his July 31 stop would have so

       significantly diminished the CW’s credibility that the

       magistrate judge’s probable cause determination would have been

       different.       See U.S. v. Tanguay, 907 F. Supp. 2d 165, 183–84

       (D.N.H. 2012), (“information from dishonest informants may still

       provide a basis for probable cause.’ It is ‘only in the absence

       of additional evidence to bolster the informant's credibility or

       the reliability of the tip’ that ‘an informant's criminal past

       involving dishonesty is fatal to the reliability of the

       informant's information, and his/her testimony cannot support

       probable cause.’”) (quoting U.S. v. Patayan Soriano, 361 F.3d

       494, 506–07 (9th Cir. 2004) and U.S. v. Elliott, 322 F.3d 710,

       716 (9th Cir. 2003)) (cleaned up).



                Finally, Special Agent Burke, a ten-year veteran of the

       FBI, assessed the significance of the information provided by

       the CW based on his own professional experience, skill, and

       knowledge.       There is no evidence suggesting that Burke harbored

       any doubts at all – let alone serious doubts – about the

       veracity of the affidavit, or that he thought that either of the

       omitted facts were significant in assessing probable cause.



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                In sum, even upon a reformed affidavit, there was a fair

       probability that contraband or evidence of a crime would be

       found in defendant’s car.           Accordingly, defendant’s motion to

       suppress evidence obtained from the search of his vehicle is

       DENIED.



       Motion to Suppress Evidence Obtained During Arrest

                Francis argues – and the government concedes – that his

       arrest, on grounds that he was in violation of his state parole

       conditions, was not authorized under New Hampshire law.

       Therefore, Francis says, evidence obtained from his cell phone,

       which was seized from the bank counter incident to his arrest,

       and the statements he later made to law enforcement officers in

       a post-arrest interview, should be suppressed.



                Francis was arrested in the bank for a state parole

       violation, pursuant to N.H. Rev. Stat. Ann. 504-A:4 (failure to

       inform his parole officer of his change of address).                  But, that

       statute provides that an arrest for a parole violation involving

       non-criminal conduct requires a warrant issued by a parole board

       member, and a request from a parole officer if the arrest is by

       local, or other law enforcement officers.               No warrant or written

       detention order was issued at the time of Francis’s arrest, and



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       a state parole officer did not request that Francis be arrested.

       Accordingly, his arrest was not authorized under state law.



                Again, the government concedes that point, but objects to

       Francis’s motion to suppress on several bases.                First, the

       government argues that seizure of the phone did not violate the

       Fourth Amendment because Francis was a parolee at the time of

       his arrest, and, as a result, had a diminished expectation of

       privacy.      Second, the government argues that law enforcement was

       entitled to detain Francis while the vehicle warrant was being

       executed, and, that Francis would have inevitably been arrested

       on probable cause to believe he was engaged in drug dealing

       after drugs were discovered in his car shortly thereafter. 6

       Therefore, the government says, the seizure of defendant’s phone

       was inevitable, and defendant’s post-arrest interview would have

       inevitably been conducted following his inevitable arrest for

       drug possession.        Finally, the government argues that, even if

       the seizure of the phone was not incident to a lawful arrest,

       the exclusionary rule should not apply because the “unique

       circumstances of defendant’s arrest and compressed timeline with




       6    Francis was initially detained on the purported parole
       violation, until the federal complaint was filed on September 3,
       2021, after which he was arrested on federal charges, and
       brought into federal custody.

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       the execution of the vehicle search warrant do not warrant the

       exclusion of evidence in this case.”             Govt. Supp. Br. in Support

       of Obj. at 5.        Because the inevitable discovery doctrine

       applies, the court need not reach the government’s additional

       arguments.



                The inevitable discovery doctrine provides that, “evidence

       that would inevitably have been discovered without reference to

       the police error or misconduct may be admitted at trial.”                   U.S.

       v. Hughes, 640 F.3d 428, 440 (1st Cir. 2011) (quotations

       omitted).      “Such evidence is admissible so long as (i) the

       lawful means of its discovery are independent and would

       necessarily have been employed, (ii) discovery by that means is

       in fact inevitable, and (iii) application of the doctrine in a

       particular case will not sully the prophylaxis of the Fourth

       Amendment.”       Id. (quotations and citation omitted).



                Here, the “lawful means,” the already-issued and

       contemporaneously executed warrant to search the car, were

       independent of the defendant’s arrest on a parole violation

       inside the bank.        As discussed above, the warrant to search the

       car was valid.        At the time of defendant’s arrest inside TD

       Bank, the search of defendant’s car had begun in the bank’s

       parking lot.       Had defendant not been arrested inside the bank,

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       he surely would have been arrested just moments later after

       drugs were discovered in his car and that information was

       communicated to officers in the bank.              Given the events that

       unfolded following execution of the warrant, it is difficult to

       imagine any circumstance in which Francis’s cell phone would not

       have been seized, if only to inventory it.               In other words, it

       would have “inevitably” been seized moments later.                 The cell

       phone’s contents would likely, as occurred, have been the

       subject of an application for an additional search warrant,

       which, when issued, would have been executed, leading to the

       inevitable discovery of the incriminating information stored on

       the phone.



                Finally, application of the inevitable discovery doctrine

       in this case would not provide any incentive for future police

       misconduct.       The evidence of record makes clear that the

       officers who arrested Francis inside the bank honestly, though

       mistakenly, believed they were authorized to effect an arrest

       based on a clear violation of the terms of Francis’s parole

       conditions.       And, as mentioned, the officers would have, without

       question, arrested Francis moments later when the discovery of

       drugs in his car was communicated to them.               See U.S. v. Almeida,

       434 F.3d 25, 29 (1st Cir. 2006) (noting that where “officers

       would have eventually seized the drugs by arresting Almeida (as

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       they had planned to do before questioning him), they had little

       incentive to try to obtain the crack through unconstitutional

       means when a lawful means was readily available.”).                 As the

       government persuasively points out, the circumstances of this

       case are unusual and unlikely to serve as an incentive for

       police to cut constitutional corners in the future.                 The error

       in arresting Francis was not an error related to probable cause,

       but an error in applying New Hampshire law.



                For these reasons, as well as those argued in the

       government’s briefing in support of its objection (documents no.

       61 and 85), defendant’s motion is DENIED.



                                           Conclusion

                Defendant’s motion to suppress evidence seized when

       executing the search warrant for the white Honda Accord

       (document nos. 35 and 73) is DENIED.             Defendant’s motion to

       suppress cell phone evidence and statements resulting from

       unconstitutional arrest (document no. 54) is DENIED.

                Defendant’s motions to suppress the introduction of

       evidence gathered by law enforcement during a search of his

       apartment on September 2, 2021, (document no. 34), and to

       suppress his statements made on September 7, 2021, (document no.

       36) are deemed moot.

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                SO ORDERED.


                                                     ____________________________
                                                     Steven J. McAuliffe
                                                     United States District Judge
       October 3, 2023

       cc:      Charles L. Rombeau, AUSA
                Aaron G. Gingrande, AUSA
                Richard Guerriero, Esq.
                U.S. Marshal
                U.S. Probation




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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
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                                          UNITED STATES DISTRICT COURT
                                                         District of
                                                     __________      New Hampshire
                                                                  District of __________
                                                                          )
              UNITED STATES OF AMERICA                                    )         JUDGMENT IN A CRIMINAL CASE
                         v.                                               )
                          Michael Francis                                 )
                                                                          )         Case Number: 21-cr-153-01-PB
                                                                          )         USM Number: 63480-509
                                                                          )
                                                                          )          Richard Guerriero, Esq.
                                                                          )         Defendant’s Attorney
THE DEFENDANT:
✔ pleaded guilty to count(s)
G                                     2s of the Superseding Indictment
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended                Count
21 USC §841(a)(1), 841(b)(1)(B)   Possession with Intent to Distribute 500 Grams or More of Cocaine.        9/1/2021                2s




       The defendant is sentenced as provided in pages 2 through                7          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
✔ Count(s) VVVVRI6XSHUVHGLQJ,QGLFWPHQW G is
G                                                                 ✔ are dismissedRQWKHPRWLRQRIWKH8QLWHG6WDWHV
                                                                  G
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                           4/10/2024
                                                                         Date of Imposition of Judgment


                                                                                              /s/ Paul J. Barbadoro
                                                                         Signature of Judge




                                                                         Paul J. Barbadoro U.S. District Judge
                                                                         Name and Title of Judge


                                                                                                           4/10/2024
                                                                         Date


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AO 245B (Rev. 09/19) Judgment in Criminal Case
86'&1+         Sheet 2 — Imprisonment

                                                                                                   Judgment — Page      2       of   7
 DEFENDANT: Michael Francis
 CASE NUMBER: 21-cr-153-01-PB

                                                          IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:

 One Hundred Fifty (150) months.




      ✔ The court makes the following recommendations to the Bureau of Prisons:
      G
           The Court recommends that the defendant participate in substance abuse treatment while in Bureau of Prisons’
           custody. The Court recommends that the defendant participate in educational or vocational training while in Bureau of
           Prisons’ custody. The Court recommends participation in the Bureau of Prisons’ intensive drug treatment program
           (RDAP) while in Bureau of Prisons’ custody.

      ✔ The defendant is remanded to the custody of the United States Marshal.
      G

      G The defendant shall surrender to the United States Marshal for this district:
           G at                                  G a.m.      G p.m.          on                                             .

           G as notified by the United States Marshal.

      G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           G before 2 p.m. on                                            .

           G as notified by the United States Marshal.
           G as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                       to

 at                                               , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                         By
                                                                                              DEPUTY UNITED STATES MARSHAL



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                                                                                                      Judgment—Page     3     of       7
DEFENDANT: Michael Francis
CASE NUMBER: 21-cr-153-01-PB
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 Four (4) years.




                                                      MANDATORY CONDITIONS
   You must not commit another federal, state or local crime.
   You must not unlawfully possess a controlled substance.
   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter,QRWWRH[FHHGGUXJWHVWVSHU\HDURIVXSHUYLVLRQ.
            G The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
   G You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
         restitution. (check if applicable)
5.    G✔ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    G You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    G You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.


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DEFENDANT: Michael Francis
CASE NUMBER: 21-cr-153-01-PB

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date




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DEFENDANT: Michael Francis
CASE NUMBER: 21-cr-153-01-PB

                                         SPECIAL CONDITIONS OF SUPERVISION
 1. You must participate in a substance use treatment program and follow the rules and regulations of that program. The
 probation officer will supervise your participation in the program (provider, location, modality, duration, intensity, etc.). You
 must pay for the cost of treatment to the extent you are able, as determined by the probation officer.

 2. You must not use or possess any controlled substances without a valid prescription. If you do have a valid prescription,
 you must disclose the prescription information to the probation officer and follow the instructions on the prescription.

 3. You must submit to substance abuse testing to determine if you have used a prohibited substance. You shall pay for the
 cost of testing to the extent you are able, as determined by the probation officer. You must not attempt to obstruct or
 tamper with the testing methods.

 4. You must not use or possess alcohol.

 5. You must not knowingly purchase, possess, distribute, administer, or otherwise use any psychoactive substances (e.g.,
 synthetic marijuana, bath salts, etc.) that impair a person’s physical or mental functioning, whether or not intended for
 human consumption, except with the prior approval of the probation officer.

 6. You must not go to, or remain at, any place where you know controlled substances are illegally sold, used, distributed,
 or administered without first obtaining the permission of the probation officer.

 7. You must participate in a gambling addiction treatment program and follow the rules and regulations of that program.
 The probation officer will supervise your participation in the program (provider, location, modality, duration, intensity, etc.).
 You must pay for the cost of treatment to the extent you are able, as determined by the probation officer.

 8. You must not engage in any form of gambling (including, but not limited to, lotteries, online wagering, sports betting) and
 you must not enter any casino or other establishment where gambling is the primary purpose (e.g., horse racetracks,
 off-track betting establishments).

 9. You must not communicate, or otherwise interact, with any known member of the Gangster Disciples, without first
 obtaining the permission of the probation officer.

 10. You must participate in a cognitive-behavioral treatment program and follow the rules and regulations of that program.
 The probation officer will supervise your participation in the program (provider, location, modality, duration, intensity, etc.).
 Such programs may include group sessions led by a counselor or participation in a program administered by the probation
 office. You must pay for the cost of treatment to the extent you are able, as determined by the probation officer.

 11. You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. § 1030
 (e)(1)), other electronic communications or data storage devices or media, or office, to a search conducted by a United
 States Probation Officer. Failure to submit to a search may be grounds for revocation of release. You must warn any other
 occupants that the premises may be subject to searches pursuant to this condition. The probation officer may conduct a
 search under this condition only when reasonable suspicion exists that you have violated a condition of supervision and
 that the areas to be searched contain evidence of this violation. Any search must be conducted at a reasonable time and in
 a reasonable manner.




                                                       JOINT APPENDIX 414
Case: 24-1386             Document:
                          Case       00118186996Document
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                                                         108 Filed Filed: 09/06/2024
                                                                              Page 6 of 7Entry ID: 6665919
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
86'&1+           Sheet 5 — Criminal Monetary Penalties
                                                                                                    Judgment — Page       6    of         7
 DEFENDANT: Michael Francis
 CASE NUMBER: 21-cr-153-01-PB
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment            5HVWLWXWLRQ        )LQH                 $9$$$VVHVVPHQW             -97$$VVHVVPHQW
 TOTALS           $ 100.00                  $                      $                      $                           $


 G The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                 Total Loss***              Restitution Ordered         Priority or Percentage
 




 TOTALS                               $                         0.00            $                   0.00


 G     Restitution amount ordered pursuant to plea agreement $

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       G the interest requirement is waived for the            G fine    G restitution.
       G the interest requirement for the           G fine      G restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
                                                     JOINT APPENDIX 415
 or after September 13, 1994, but before April 23, 1996.
Case: 24-1386             Document:
                          Case       00118186996Document
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                                                                              Page 7 of 7Entry ID: 6665919
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
86'&1+           Sheet 6 — Schedule of Payments

                                                                                                               Judgment — Page      7      of      7
 DEFENDANT: Michael Francis
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                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    ✔ Lump sum payment of $ 100.00
      G                                                         due immediately, balance due

            G     not later than                                    , or
            G     in accordance with G C,           G D,       G E, or         G F below; or
 B    G Payment to begin immediately (may be combined with                   G C,        G D, or       G F below); or
 C    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    G Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F    G Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
 Financial Responsibility Program, are made to the &OHUN 86 'LVWULFW &RXUW  3OHDVDQW 6WUHHW 5RRP  &RQFRUG 1+ 
 3HUVRQDOFKHFNVDUHQRWDFFHSWHG

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 G Joint and Several
      Case Number
      Defendant and Co-Defendant Names                                                     Joint and Several                Corresponding Payee,
      (including defendant number)                         Total Amount                         Amount                          if appropriate




 G The defendant shall pay the cost of prosecution.
 G The defendant shall pay the following court cost(s):
 G The defendant shall forfeit the defendant’s interest in the following property to the United States:


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
 prosecution and court costs.                          JOINT APPENDIX 416
Case: 24-1386     Document:
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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW HAMPSHIRE

       UNITED STATES OF AMERICA

                       v.                                                   No. 1:21-cr-00153-01-PB

       MICHAEL FRANCIS

                                             NOTICE OF APPEAL

                 Notice is hereby given that Defendant, Michael Francis, appeals to the United States

        Court of Appeals for the First Circuit from the District Court’s Judgment and Sentence entered

        in the above-captioned proceeding on April 10, 2024. The Defendant's conditional plea

        permitting the appeal of the denial of his motions to suppress pursuant to Fed. R. Crim. P.

        11(a)(2) was accepted by the court that same day.

       Date: April 18, 2024.                                         By counsel for Michael Francis,

                                                                     /s/ Richard Guerriero
                                                                     Richard Guerriero, Esq.
                                                                     N.H. Bar No. 10530
                                                                     Lothstein Guerriero, PLLC
                                                                     Chamberlain Block Building
                                                                     39 Central Square, Suite 202
                                                                     Keene, NH 03431
                                                                     Telephone: (603) 352-5000
                                                                     richard@nhdefender.com


                                          CERTIFICATE OF SERVICE

                I hereby certify that this document, filed through the ECF system, will be sent

       electronically to registered participants identified on the Notice of Electronic Filing (NEF) and

       paper copies will be sent to the nonregistered participants on the date the document was signed

       by me.

                                                                     /s/ Richard Guerriero
                                                                     Richard Guerriero

                                          JOINT APPENDIX 417
                                                         1
